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                             Exhibit 1
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                                  UNITED STATES
                       SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549


                                                             Form 10-K
 (Mark One)
           ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
             For the fiscal year ended September 30, 2022
                                                                             OR
           TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
             For the transition period from _______ to _______
                                                            Commission file number 1-12383



                      Rockwell Automation, Inc.   (Exact name of registrant as specified in its charter)


                                  Delaware                                                                     XX-XXXXXXX
                        (State or other jurisdiction of                                                     (I.R.S. Employer
                       incorporation or organization)                                                      Identification No.)

                         1201 South Second Street
                           Milwaukee, Wisconsin                                                                  53204
                  (Address of principal executive offices)                                                      (Zip Code)

                                                 Registrant’s telephone number, including area code
                                                                    +1 (414) 382-2000
                                             Securities registered pursuant to Section 12(b) of the Act:

                Title of each class                                   Trading Symbol                    Name of each exchange on which registered

         Common Stock ($1.00 par value)                                     ROK                                    New York Stock Exchange
                                         Securities registered pursuant to Section 12(g) of the Act: None
     Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes  No 
     Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes  No 
       Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of
 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such
 filing requirements for the past 90 days. Yes  No 
       Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405
 of Regulation S-T during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes  No 
       Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting
 company, or an emerging growth company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company,” and
 “emerging growth company” in Rule 12b-2 of the Exchange Act. (Check one):

     Large Accelerated Filer                                                                                    Accelerated Filer                      
     Non-accelerated Filer                                                                                      Smaller Reporting Company              
                                                                                                                 Emerging Growth Company                
       If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with
 any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. 
       Indicate by check mark whether the registrant has filed a report on and attestation to its management’s assessment of the effectiveness of
 its internal control over financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting
 firm that prepared or issued its audit report. 
       Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes  No 
       The aggregate market value of registrant’s voting stock held by non-affiliates of registrant on March 31, 2022 was approximately $32.5 billion.
       114,844,152 shares of registrant’s Common Stock, par value $1 per share, were outstanding on October 31, 2022.
                                                  DOCUMENTS INCORPORATED BY REFERENCE
     Certain information contained in the Proxy Statement for the Annual Meeting of Shareowners of registrant to be held on February 7, 2023, is
 incorporated by reference into Part III hereof.
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PART I

FORWARD-LOOKING STATEMENTS
This Annual Report on Form 10-K contains statements (including               z   the successful development of advanced technologies and
certain projections and business trends) that are “forward-looking               demand for and market acceptance of new and existing
statements” as defined in the Private Securities Litigation Reform Act           hardware and software products;
of 1995. Words such as “believe”, “estimate”, “project”, “plan”, “expect”,   z   our ability to manage and mitigate the risks associated with our
“anticipate”, “will”, “intend”, and other similar expressions may identify       solutions and services businesses;
forward-looking statements. Actual results may differ materially from
                                                                             z   the successful execution of our cost productivity initiatives;
those projected as a result of certain risks and uncertainties, many
of which are beyond our control, including but not limited to:               z   competitive hardware and software products, solutions, and
                                                                                 services, pricing pressures, and our ability to provide high
z   the availability and price of components and materials;                      quality products, solutions, and services;
z   macroeconomic factors, including inflation, global and regional          z   disruptions to our distribution channels or the failure of
    business conditions (including adverse impacts in certain                    distributors to develop and maintain capabilities to sell
    markets, such as Oil & Gas), commodity prices, currency                      our products;
    exchange rates, the cyclical nature of our customers’ capital
                                                                             z   intellectual property infringement claims by others and the
    spending, and sovereign debt concerns;
                                                                                 ability to protect our intellectual property;
z   the severity and duration of disruptions to our business due
                                                                             z   the uncertainty of claims by taxing authorities in the various
    to pandemics (including the COVID-19 pandemic), natural
                                                                                 jurisdictions where we do business;
    disasters (including those as a result of climate change), acts
    of war (including the Russia and Ukraine conflict), strikes,             z   the uncertainties of litigation, including liabilities related to
    terrorism, social unrest or other causes, including the impacts              the safety and security of the hardware and software products,
    of the COVID-19 pandemic and efforts to manage it on the                     solutions, and services we sell;
    global economy, liquidity and financial markets, demand for              z   risks associated with our investment in common stock of
    our hardware and software products, solutions, and services,                 PTC Inc., including the potential for volatility in our reported
    our supply chain, our work force, our liquidity and the value of             quarterly earnings associated with changes in the market value
    the assets we own;                                                           of such stock;
z   the availability and cost of capital;                                    z   our ability to manage costs related to employee retirement and
z   our ability to attract, develop, and retain qualified personnel;             health care benefits; and
z   the successful integration and management of strategic                   z   other risks and uncertainties, including but not limited to those
    transactions and achievement of the expected benefits of                     detailed from time to time in our Securities and Exchange
    these transactions;                                                          Commission (SEC) filings.
z   laws, regulations, and governmental policies affecting our               These forward-looking statements reflect our beliefs as of the
    activities in the countries where we do business, including those        date of filing this report. We undertake no obligation to update or
    related to tariffs, taxation, trade controls (including sanctions        revise any forward-looking statement, whether as a result of new
    placed on Russia), cybersecurity, and climate change;                    information, future events, or otherwise. See Item 1A. Risk Factors
z   the availability, effectiveness, and security of our information         for more information.
    technology systems;
z   our ability to manage and mitigate the risk related to security
    vulnerabilities and breaches of our hardware and software
    products, solutions, and services;




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      Item 1. Business




    ITEM 1. BUSINESS
    GENERAL
    Rockwell Automation, Inc. (“Rockwell Automation” or the                businesses (the A&D Business) to The Boeing Company (Boeing).
    “Company”) is a global leader in industrial automation and digital     In the reorganization, RIC contributed all of its businesses,
    transformation. We connect the imaginations of people with             other than the A&D Business, to the Company and distributed
    the potential of technology to expand what is humanly possible,        all capital stock of the Company to RIC’s shareowners. Boeing
    making the world more productive and more sustainable. Our             then acquired RIC.
    hardware and software products, solutions, and services are
                                                                           As used herein, the terms “we”, “us”, “our”, “Rockwell Automation”,
    designed to meet our customers’ needs to reduce total cost of
                                                                           or the “Company” include wholly-owned and controlled
    ownership, maximize asset utilization, improve time to market,
                                                                           majority-owned subsidiaries and predecessors unless the context
    and reduce enterprise business risk. See Item 7. Management’s
                                                                           indicates otherwise. Information included in this Annual Report
    Discussion and Analysis of Financial Condition and Results of
                                                                           on Form 10-K refers to our continuing businesses unless
    Operations (MD&A) for additional information on our business and
                                                                           otherwise indicated.
    long-term strategy.
                                                                           Whenever an Item of this Annual Report on Form 10-K refers
    The Company continues the business founded as the Allen-Bradley
                                                                           to information in our Proxy Statement for our Annual Meeting
    Company in 1903. The privately-owned Allen-Bradley Company was
                                                                           of Shareowners to be held on February 7, 2023 (the Proxy
    a leading North American manufacturer of industrial automation
                                                                           Statement), or to information under specific captions in Item 7.
    equipment when the former Rockwell International Corporation
                                                                           MD&A, or in Item 8. Financial Statements and Supplementary
    (RIC) purchased it in 1985.
                                                                           Data (the Consolidated Financial Statements), the information
    The Company was incorporated in Delaware in connection with            is incorporated in that Item by reference. All date references to
    a tax-free reorganization completed on December 6, 1996,               years and quarters refer to our fiscal year and quarters, unless
    pursuant to which we divested our former aerospace and defense         otherwise stated.


    OPERATING SEGMENTS
    Starting in fiscal 2021, we have three operating segments: Intelligent Devices, Software & Control, and Lifecycle Services. The Intelligent
    Devices segment includes drives, motion, safety, sensing, industrial components, and configured-to-order products. The Software &
    Control segment includes control and visualization software and hardware, information software, and network and security infrastructure.
    The Lifecycle Services segment includes consulting, professional services and solutions, connected services, and maintenance services,
    as well as the Sensia joint venture.
    Our operating segments share common sales, supply chain, and functional support organizations and conduct business globally. Major
    markets served by all segments consist of discrete end markets (e.g., Automotive, Semiconductor, and Warehousing & Logistics), hybrid
    end markets (e.g., Food & Beverage and Life Sciences), and process end markets (e.g., Oil & Gas, Metals, and Chemicals). See Note 19
    in the Consolidated Financial Statements for additional information on our operating segments.


    GEOGRAPHIC INFORMATION
    We do business in more than 100 countries around the world. The largest sales outside the United States on a country of destination
    basis are in China, Canada, Italy, Mexico, Germany, and the United Kingdom. See Item 1A. Risk Factors for a discussion of risks associated
    with our global operations.


    COMPETITION
    Our competitors range from large, diversified corporations that may also have business interests outside of industrial automation to
    smaller companies that offer a limited portfolio of industrial automation products, solutions, and services. Factors that influence our
    competitive position include the breadth of our product portfolio and scope of solutions, technology differentiation, domain expertise,
    installed base, distribution network, quality of hardware and software products, solutions, and services, global presence, and price.
    Major competitors include Siemens AG, ABB Ltd, Schneider Electric SA, Emerson Electric Co., Mitsubishi Electric Corp., Honeywell
    International Inc., AVEVA Group plc, Dassault Systemes, and Aspen Technology, Inc.




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                                                                                                                                    Item 1. Business




DISTRIBUTION
In most countries, we sell primarily through independent distributors in conjunction with our direct sales force. Approximately 75 percent
of our global sales are through independent distributors. Sales to our largest distributor in 2022, 2021, and 2020, were approximately
10 percent of our total sales.


EMPLOYEES
See Item 7. MD&A for information on our employees, including information related to attracting, developing, and retaining highly qualified talent.


RAW MATERIALS
We purchase a wide range of equipment, components, finished products, and materials used in our business. The raw materials essential
to the manufacture of our products generally are available at competitive prices. We have a broad base of suppliers and subcontractors.
We depend upon the ability of our suppliers and subcontractors to meet performance and quality specifications and delivery schedules.
See Item 1A. Risk Factors for a discussion of risks associated with our reliance on third-party suppliers.


BACKLOG
See Item 7. MD&A for information on our order backlog.


ENVIRONMENTAL PROTECTION REQUIREMENTS
Information about the effect of compliance with environmental protection requirements and resolution of environmental claims is
contained in Note 17 in the Consolidated Financial Statements. See Item 1A. Risk Factors for a discussion of risks associated with
liabilities and costs related to environmental remediation.


PATENTS, LICENSES, AND TRADEMARKS
We own or license numerous patents and patent applications                  The Company’s name and its registered trademark “Rockwell
related to our hardware and software products, solutions, and               Automation®” and other trademarks such as “Allen-Bradley®”,
services. While in the aggregate our patents and licenses are               “A-B®”, “PlantPAx® Process Automation System™”, and “The
important in the operation of our business, we do not believe that          Connected Enterprise®” are important to all of our business
loss or termination of any one of them would materially affect our          segments. In addition, we own other important trademarks that we
business or financial condition. We have received various claims of         use, such as “ControlLogix®” and “CompactLogix®” for our control
patent infringement and requests for patent indemnification. We             systems, “PowerFlex®” for our AC drives, and “Rockwell Software®”,
believe that none of these claims or requests will have a material          “FactoryTalk®”, “Plex Systems®”, and “Fiix®” for our software and
adverse effect on our financial condition. See Item 1A. Risk Factors        cloud offerings.
for a discussion of risks associated with our intellectual property.


SEASONALITY
Our business segments are not subject to significant seasonality. However, the calendarization of our results can vary and may be
affected by the seasonal spending patterns of our customers due to their annual budgeting processes and their working schedules.


AVAILABLE INFORMATION
We maintain a website at https://www.rockwellautomation.com.                soon as reasonably practicable after we file or furnish these reports
Our annual reports on Form 10-K, quarterly reports on Form 10-Q,            with the SEC. All reports we file with the SEC are also available free of
current reports on Form 8-K, and any amendments to such reports             charge via EDGAR through the SEC’s website at https://www.sec.gov.
filed or furnished pursuant to Section 13(a) or 15(d) of the Securities     Our Guidelines on Corporate Governance and charters for our Board
Exchange Act of 1934 (the Exchange Act), as well as our annual              committees are also available on our website. The information
reports to shareowners and Section 16 reports on Forms 3, 4 and 5,          contained on and linked from our website is not incorporated by
are available free of charge on this site through the “Investors” link as   reference into this Annual Report on Form 10-K.


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      Item 1A. Risk Factors




    ITEM 1A. RISK FACTORS
    In the ordinary course of our business, we face various strategic,      A team of senior executives prioritizes identified risks and
    operating, compliance, and financial risks. These risks could have      assigns an executive to address each major identified risk area
    an impact on our business, financial condition, operating results,      and lead action plans to manage risks. Our Board of Directors
    and cash flows. Our most significant risks are set forth below and      provides oversight of the ERM process and reviews significant
    elsewhere in this Annual Report on Form 10-K.                           identified risks. The Audit Committee of the Board of Directors
                                                                            also reviews significant financial risk exposures and the steps
    Our Enterprise Risk Management (ERM) process seeks to identify
                                                                            management has taken to monitor and manage them. Our other
    and address significant risks. Our ERM process assesses, manages,
                                                                            Board committees also play a role in risk management, as set forth
    and monitors risks consistent with the integrated risk framework
                                                                            in their respective charters.
    in the Enterprise Risk Management - Integrated Framework (2017)
    issued by the Committee of Sponsoring Organizations of the              Our goal is to proactively manage risks using a structured
    Treadway Commission (COSO). We believe that risk-taking is              approach in conjunction with strategic planning, with the intent
    an inherent aspect of the pursuit of our strategy. Our goal is to       to preserve and enhance shareowner value. However, the risks
    manage risks prudently rather than avoid risks. We can mitigate         set forth below and elsewhere in this Annual Report on Form 10-K
    risks and their impact on the Company only to a limited extent.         and other risks and uncertainties could adversely affect us and
                                                                            cause our results to vary materially from recent results or from
                                                                            our anticipated future results.


    INDUSTRY AND ECONOMIC RISKS

    ADVERSE CHANGES IN MACROECONOMIC OR INDUSTRY                            prices and the potential for further supply disruptions, including
    CONDITIONS MAY RESULT IN DECREASES IN OUR SALES                         rationing, may have an adverse impact on industrial output and
    AND PROFITABILITY.                                                      could reduce demand for our hardware and software products,
                                                                            solutions, and services in Europe.
    We are subject to macroeconomic cycles and when recessions
    occur, we may experience reduced, canceled or delayed orders,           WE FACE THE POTENTIAL HARMS OF NATURAL
    payment delays or defaults, supply chain disruptions, or other          DISASTERS, INCLUDING THOSE AS A RESULT OF CLIMATE
    adverse events as a result of the economic challenges faced by
    our customers, prospective customers, and suppliers.
                                                                            CHANGE, PANDEMICS, INCLUDING THE COVID-19
                                                                            PANDEMIC, ACTS OF WAR, INCLUDING THE RUSSIA AND
    Demand for our hardware and software products, solutions,               UKRAINE CONFLICT, TERRORISM, INTERNATIONAL
    and services is sensitive to changes in levels of production and        CONFLICTS, OR OTHER DISRUPTIONS TO OUR
    the financial performance of major industries that we serve. As
                                                                            OPERATIONS, THE DURATION AND SEVERITY OF WHICH
    economic activity slows, credit markets tighten, or sovereign
    debt concerns arise, companies tend to reduce their levels of           ARE HIGHLY UNCERTAIN AND DIFFICULT TO PREDICT.
    capital spending, which could result in decreased demand for our        Our business depends on the movement of people and goods
    hardware and software products, solutions, and services.                around the world. Natural disasters (including but not limited to
    As a global company operating in over 100 countries, we face risks      those as a result of climate change), pandemics (including the
    related to foreign currency markets. A strengthening U.S. Dollar        COVID-19 pandemic), acts or threats of war (including the Russia
    (USD) may adversely impact our sales and profitability related to       and Ukraine conflict) or terrorism, international conflicts, power
    business we do outside the U.S.                                         outages, fires, explosions, equipment failures, sabotage, political
                                                                            instability, and the actions taken by governments could cause
    Oil & Gas is a major industry that we serve, including through our      damage to or disrupt our business operations, our suppliers or
    Sensia joint venture. When adverse Oil & Gas industry events arise,     our customers, and could create economic instability. Disruptions
    companies may reduce their levels of spending, which could result       to our information technology (IT) infrastructure from system
    in decreased demand for our hardware and software products,             failures, shutdowns, power outages, telecommunication or utility
    solutions, and services. Demand for our hardware and software           failures, and other events, including disruptions at third-party IT
    products, solutions, and services is sensitive to industry volatility   and other service providers, could also interfere with or disrupt
    and risks including those related to commodity prices, supply           our operations. Although it is not possible to predict such events
    and demand dynamics, production costs, geological and political         or their consequences, these events could decrease demand
    activities, and environmental regulations including those intended      for our hardware and software products, solutions, or services,
    to reduce the impact of climate change.                                 increase our costs, or make it difficult or impossible for us to
    Increases in energy demand and supply disruptions caused by the         deliver products, solutions, or services.
    Russia and Ukraine conflict have resulted in significantly higher
    energy prices, particularly in Europe. Persistent high energy



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                                                                                                                          Item 1A. Risk Factors




The COVID-19 pandemic continues to cause disruption to the                market, is adversely affected by a change in market conditions or
global economy, including in all of the regions in which we, our          otherwise, our cost of borrowings may increase or our ability to
suppliers, distributors, business partners, and customers do              fund operations may be reduced.
business and in which our workforce is located. We continue to
monitor the pandemic, and while periodic local increases and              OUR INDUSTRY IS HIGHLY COMPETITIVE.
decreases in COVID-19 cases are likely, generally the restrictions
due to and in response to the pandemic continue to relax in most          We face strong competition in all of our market segments in
locations. However, the COVID-19 pandemic and efforts to manage           several significant respects. We compete based on breadth and
it, including those by governmental authorities, have had, and            scope of our hardware and software product portfolio and solution
could continue to have, an adverse effect on the economy and              and service offerings, technology differentiation, the domain
our business in many ways. This includes, but is not limited to, a        expertise of our employees and partners, product performance,
continued limit on the movement of goods, services, and to some           quality of our hardware and software products, solutions, and
extent people, including our own workforce, resulting in worldwide        services, knowledge of integrated systems and applications that
disruptions in our supply chain and distribution. Adverse impacts         address our customers’ business challenges, pricing, delivery,
to our customers’ business operations and financial condition             and customer service. The relative importance of these factors
could lead to a decrease in their liquidity and/or spending resulting     differs across the geographic markets and product areas that
in a decrease in demand for and our customers’ ability to pay for         we serve and across our market segments. We seek to maintain
our hardware and software products, solutions, and services.              competitive pricing levels across and within geographic markets
                                                                          by continually developing advanced technologies for new hardware
The unprecedented and continuously evolving nature of the                 and software products and product enhancements and offering
COVID-19 pandemic make the duration and severity of its impacts           complete solutions for our customers’ business problems. In
difficult to predict, which could limit our ability to respond to those   addition, we continue to drive productivity to reduce our cost
impacts. Additionally, the impacts described above and other              structure. If we fail to achieve our objectives, to keep pace with
impacts of the COVID-19 pandemic and responses to it could                technological changes, or to provide high quality hardware and
substantially increase the risk to us from the other risks described      software products, solutions, and services, we may lose business
in this Item 1A. Risk Factors.                                            or experience price erosion and correspondingly lower sales and
                                                                          margins. We expect the level of competition to remain high in the
VOLATILITY AND DISRUPTION OF THE CAPITAL AND                              future, which could limit our ability to maintain or increase our
CREDIT MARKETS MAY RESULT IN INCREASED COSTS TO                           market share or profitability.
MAINTAIN OUR CAPITAL STRUCTURE.
Our ability to access the credit markets and the costs of borrowing
are affected by the strength of our credit rating and current market
conditions. If our access to credit, including the commercial paper


BUSINESS AND OPERATIONAL RISKS
WE RELY ON SUPPLIERS TO PROVIDE EQUIPMENT,                                Any of these uncertainties could adversely affect our profitability
COMPONENTS, AND SERVICES.                                                 and ability to compete. We also maintain several single-source
                                                                          supplier relationships because either alternative sources are not
Our business requires that we buy equipment, components, and              available or the relationship is advantageous due to performance,
services including finished products, electronic components,              quality, support, delivery, capacity, or price considerations.
and commodities. Our reliance on suppliers involves certain               Unavailability of, or delivery delays for, single-source components
risks, including:                                                         or products could adversely affect our ability to ship the related
z   shortages of components, commodities, or other materials,             products in a timely manner. The effect of unavailability or delivery
    which could adversely affect our manufacturing efficiencies           delays would be more severe if associated with our higher volume
    and ability to make timely delivery of our products, solutions,       and more profitable products. Even where substitute sources
    and services;                                                         of supply are available, qualifying alternative suppliers and
                                                                          establishing reliable supplies could cost more or result in delays
z   changes in the cost of these purchases due to inflation,              and a loss of sales.
    exchange rate fluctuations, taxes, tariffs, commodity market
    volatility, or other factors that affect our suppliers;
                                                                          OUR BUSINESS SUCCESS DEPENDS ON ATTRACTING,
z   poor quality or an insecure supply chain, which could adversely
                                                                          DEVELOPING, AND RETAINING HIGHLY QUALIFIED
    affect the reliability and reputation of our hardware and software
    products, solutions, and services;                                    PERSONNEL.
z   embargoes, sanctions, and other trade restrictions that may           Our success depends on the efforts and abilities of our management
    affect our ability to purchase from various suppliers; and            team and employees. The skills, experience, and industry
z   intellectual property risks such as challenges to ownership of        knowledge of our employees significantly benefit our operations
    rights or alleged infringement by suppliers.                          and performance. The market for employees and leaders with



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      Item 1A. Risk Factors




    certain skills and experiences is very competitive, and difficulty      Our hardware and software products, solutions, and services
    attracting, developing, and retaining members of our management         are used by our direct and indirect customers in applications
    team and key employees could have a negative effect on our              that may be subject to information theft, tampering, sabotage,
    business, operating results, and financial condition. Maintaining       or cyber-attacks. Careless or malicious actors could cause a
    a positive and inclusive culture and work environment, offering         customer’s process to be disrupted or could cause equipment to
    attractive compensation, benefits, and development opportunities,       operate in an improper manner that could result in harm to people
    and effectively implementing processes and technology that enable       or property. While we continue to improve the security attributes
    our employees to work effectively and efficiently are important to      of our hardware and software products, solutions, and services,
    our ability to attract and retain employees.                            we can reduce risk, not eliminate it. To a significant extent,
                                                                            the security of our customers’ systems depends on how those
    WE SELL TO CUSTOMERS AROUND THE WORLD AND ARE                           systems are designed, installed, protected, configured, updated
    SUBJECT TO THE RISKS OF DOING BUSINESS IN MANY                          and monitored, and much of this is typically outside our control.
                                                                            In addition, both software and hardware supply chains introduce
    COUNTRIES.
                                                                            security vulnerabilities into many products across the industry.
    We do business in more than 100 countries around the world. In
                                                                            Our business uses technology resources on a dispersed, global
    addition, our manufacturing operations, suppliers, and employees
                                                                            basis for a wide variety of functions including development,
    are located in many places around the world. Less than half of
                                                                            engineering, manufacturing, sales, accounting, and human
    our total sales in 2022 were to customers outside the U.S. The
                                                                            resources. Our vendors, partners, employees, and customers have
    future success of our business depends on growth in our sales in
                                                                            access to, and share, information across multiple locations via
    all global markets. Our global operations are subject to numerous
                                                                            various digital technologies. In addition, we rely on partners and
    financial, legal, and operating risks, such as political and economic
                                                                            vendors, including cloud providers, for a wide range of products
    instability; prevalence of corruption in certain countries;
                                                                            and outsourced activities as part of our internal IT infrastructure
    enforcement of contract and intellectual property rights; and
                                                                            and our commercial offerings. Secure connectivity is important
    compliance with existing and future laws, regulations, and policies,
                                                                            to these ongoing operations. Also, our partners and vendors
    including those related to exports, imports, tariffs, embargoes and
                                                                            frequently have access to our confidential information as well as
    other trade restrictions (including sanctions placed on Russia),
                                                                            confidential information about our customers, employees, and
    investments, taxation, product content and performance,
                                                                            others. We design our security architecture to reduce the risk
    employment, and repatriation of earnings. In addition, we are
                                                                            that a compromise of our partners’ infrastructure, for example a
    affected by changes in foreign currency exchange rates, inflation
                                                                            cloud platform, could lead to a compromise of our internal systems
    rates, and interest rates. The occurrence or consequences of
                                                                            or customer networks. In addition, our Third-Party Risk Program
    these risks may make it more difficult to operate our business
                                                                            manages risk posed by our suppliers that have access to our
    and may increase our costs, which could decrease our profitability
                                                                            confidential information, systems, or network, but this risk cannot
    and have an adverse effect on our financial condition.
                                                                            be eliminated and vulnerabilities at third parties could result in
                                                                            unknown risk exposure to our business and information.
    FAILURES OR SECURITY BREACHES OF OUR PRODUCTS,
    CONNECTED SERVICES, MANUFACTURING ENVIRONMENT,                          The current cyber threat environment indicates increased risk
    SUPPLY CHAIN, OR INFORMATION TECHNOLOGY SYSTEMS                         for all companies, including those in industrial automation and
                                                                            information. Like other global companies, we have experienced
    COULD HAVE AN ADVERSE EFFECT ON OUR BUSINESS.
                                                                            cyber threats and incidents, although none have been material or
    We rely heavily on technology in our hardware and software              had a material adverse effect on our business or financial condition.
    products, solutions, and ser vices for our customers’                   Our information security efforts, under the leadership of our Chief
    manufacturing environment, and in our enterprise infrastructure.        Information Security Officer and Chief Product Security Officer,
    Despite the implementation of security measures, our systems            with the support of the entire management team, include major
    are vulnerable to unauthorized access by nation states, hackers,        programs designed to address security governance and risk, product
    cyber-criminals, malicious insiders, and other actors who may           security, identification and protection of critical assets, insider risk,
    engage in fraud, theft of confidential or proprietary information,      third-party risk, security awareness, and cyber defense operations.
    or sabotage. Our systems could be compromised by malware                We believe these measures reduce, but cannot eliminate, the risk
    (including ransomware), cyber attacks, and other events,                of a cybersecurity incident. Any significant security incidents could
    ranging from widespread, non-targeted, global cyber threats to          have an adverse impact on sales, harm our reputation and cause us
    targeted advanced persistent threats. Given that our hardware           to incur legal liability and increased costs to address such events
    and software products, solutions, and services are used in              and related security concerns.
    critical infrastructure, these threats could indicate increased
    risk for our products, services, solutions, manufacturing, and          AN INABILITY TO RESPOND TO CHANGES IN CUSTOMER
    IT infrastructure. Past global cyber attacks have also been             PREFERENCES COULD RESULT IN DECREASED DEMAND
    perpetuated by compromising software updates in widely-used             FOR OUR PRODUCTS.
    software products, increasing the risk that vulnerabilities or
    malicious content could be inserted into our products. In some          Our success depends in part on our ability to anticipate and offer
    cases, malware attacks were spread throughout the supply                hardware and software products that appeal to the changing needs
    chain, moving from one company to the next via authorized               and preferences of our customers in the various markets we serve.
    network connections.                                                    Developing new hardware and software products requires high


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                                                                                                                      Item 1A. Risk Factors




levels of innovation, and the development process is often lengthy     INTELLECTUAL PROPERTY INFRINGEMENT CLAIMS
and costly. If we are not able to anticipate, identify, develop, and   OF OTHERS AND THE INABILITY TO PROTECT OUR
market products that respond to changes in customer preferences        INTELLECTUAL PROPERTY RIGHTS COULD HARM OUR
and emerging technological and broader industry trends, demand
                                                                       BUSINESS AND OUR CUSTOMERS.
for our products could decline.
                                                                       Others may assert intellectual property infringement claims
THERE ARE INHERENT RISKS IN OUR SOLUTIONS AND                          against us or our customers. We frequently provide a limited
SERVICES BUSINESSES.                                                   intellectual property indemnity in connection with our terms and
                                                                       conditions of sale to our customers and in other types of contracts
Risks inherent in the sale of solutions and services include           with third parties. Indemnification payments and legal expenses
assuming greater responsibility for successfully delivering projects   to defend claims could be costly.
that meet a particular customer specification, including defining
and controlling contract scope, efficiently executing projects, and    In addition, we own the rights to many patents, trademarks, brand
managing the performance and quality of our subcontractors and         names, and trade names that are important to our business. The
suppliers. If we are unable to manage and mitigate these risks, we     inability to enforce our intellectual property rights (including as
could incur cost overruns, liabilities, and other losses that would    a result of counterfeit products and sales made by unauthorized
adversely affect our results of operations.                            resellers) may have an adverse effect on our results of operations.
                                                                       Expenses related to enforcing our intellectual property rights
                                                                       could be significant.
WE RELY ON OUR DISTRIBUTION CHANNEL FOR A
SUBSTANTIAL PORTION OF OUR SALES.
                                                                       INCREASING EMPLOYEE BENEFIT COSTS AND FUNDING
In North America, a large percentage of our sales are through          REQUIREMENTS COULD HAVE A NEGATIVE EFFECT ON
distributors. In certain other countries, the majority of our sales    OUR OPERATING RESULTS AND FINANCIAL CONDITION.
are also through a limited number of distributors. We depend
on the capabilities and competencies of our distributors to sell       One important aspect of attracting and retaining qualified
our hardware and software products, solutions, and services            personnel is continuing to offer competitive employee retirement
and deliver value to our customers. Disruptions to our existing        and health care benefits. The expenses we record for our pension
distribution channel or the failure of distributors to maintain        and other postretirement benefit plans depend on factors such
and develop the appropriate capabilities to sell our hardware          as changes in market interest rates, the value of plan assets,
and software products, solutions, and services could adversely         mortality assumptions, and healthcare trend rates. Significant
affect our sales. A disruption could result from the sale of a         unfavorable changes in these factors would increase our expenses
distributor to a competitor, financial instability of a distributor,   and funding requirements. Expenses and funding requirements
or other events.                                                       related to employer-funded healthcare benefits depend on laws
                                                                       and regulations, which could change, as well as healthcare cost
                                                                       inflation. An inability to control costs and funding requirements
                                                                       related to employee and retiree benefits could negatively impact
                                                                       our operating results and financial condition.


STRATEGIC TRANSACTIONS AND INVESTMENTS RISKS

FAILURE TO IDENTIFY, MANAGE, COMPLETE, AND                             expected benefits of such transactions and we may not be able
INTEGRATE STRATEGIC TRANSACTIONS MAY ADVERSELY                         to successfully address risks and uncertainties inherent in such
AFFECT OUR BUSINESS OR WE MAY NOT ACHIEVE THE                          transactions, including:
EXPECTED BENEFITS OF THESE TRANSACTIONS.                               z   difficulties in integrating the purchased or new operations,
                                                                           technologies, products or services, retaining customers, and
As part of our strategy, we pursue strategic transactions, including
                                                                           achieving the expected benefits of the transaction, such as
acquisitions, joint ventures, investments, and other business
                                                                           sales increases, access to technologies, cost savings, and
opportunities and purchases of technology from third parties. In
                                                                           increases in geographic or product presence, in the desired
order to be successful, we must identify attractive transaction
                                                                           time frames;
opportunities, effectively complete the transaction, and manage
post-closing matters, such as integration of the acquired business     z   loss of key employees or difficulties integrating personnel;
or technology (including related personnel) and cooperation with       z   legal and compliance issues;
our joint venture and other strategic partners. We may not be able     z   unknown or undisclosed and unmitigated cyber risks to
to identify or complete beneficial transaction opportunities given         purchased systems, products, and services;
the intense competition for them. Completing these transactions
                                                                       z   difficulties implementing and maintaining consistent standards,
requires favorable environments and we may encounter
                                                                           financial systems, internal and other controls, procedures,
difficulties in obtaining the necessary regulatory approvals in
                                                                           policies, and information systems;
both domestic and foreign jurisdictions. Even if we successfully
identify and complete such transactions, we may not achieve the


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         Item 1A. Risk Factors




     z   difficulties maintaining relationships with our joint venture         of PTC. We recognize all changes in the fair value of the PTC
         and other strategic partners (including as a result of such joint     Shares (whether realized or unrealized) as gains or losses in our
         venture and other strategic partners having differing business        Consolidated Statement of Operations. Accordingly, changes
         objectives) and managing disputes with such joint venture and         in the fair value of the PTC Shares can materially impact the
         other strategic partners that may arise in connection with our        earnings we report, which introduces volatility in our earnings that
         relationships with them; and                                          is not associated with the results of our business operations. In
     z   difficulties in yielding the desired strategic or financial benefit   particular, significant declines in the fair value of the PTC Shares
         from venture capital investments, including as a result of being      would produce significant declines in our reported earnings.
         a minority investor or macroeconomic conditions.                      While there is an established trading market for shares of PTC
     Strategic transactions and technology investments could result in         common stock, there are limitations on our ability to dispose
     debt, dilution, liabilities, increased interest expense, restructuring    of some or all of the PTC Shares should we wish to reduce our
     charges, and impairment and amortization expenses related to              investment. Until September 2023, we are subject to contractual
     goodwill and identifiable intangible assets.                              restrictions on our ability to transfer the PTC Shares, subject
                                                                               to certain exceptions. In addition, we are subject to certain
                                                                               restrictions on our ability to transfer the PTC Shares under the
     WE OWN COMMON STOCK IN PTC INC. AND ARE EXPOSED
                                                                               securities laws. If we were forced to sell some or all of the PTC
     TO THE VOLATILITY, LIQUIDITY, AND OTHER RISKS                             Shares in the market, there can be no assurance that we would
     INHERENT IN HOLDING THAT STOCK.                                           be able to sell them at prices equivalent to the value of the PTC
     We own common stock of PTC Inc. (PTC), a Nasdaq-listed company.           Shares that we have reported on our Consolidated Balance Sheet,
     We present this investment on our Consolidated Balance Sheet              and we may be forced to sell them at significantly lower prices.
     at its fair value at the end of each reporting period. The fair value     Finally, our equity position in PTC is a minority position, which
     of our shares of PTC common stock (PTC Shares) is subject to              exposes us to further risk as we are not able to exert control
     fluctuation in the future due to the volatility of the stock market,      over PTC.
     changes in general economic conditions, and the performance


     LEGAL, TAX, AND REGULATORY RISKS
     NEW LEGISLATIVE AND REGULATORY ACTIONS COULD                              Compliance with privacy and cybersecurity regulations could
     ADVERSELY AFFECT OUR BUSINESS.                                            increase our operating costs as part of our efforts to protect
                                                                               and safeguard our sensitive data, personal information, and IT
     Legislative and regulatory action, including those related to             infrastructure. Failure to maintain information privacy could result
     corporate income taxes, the environment, materials, products,             in legal liability or reputational harm.
     certification, and labeling, privacy, cybersecurity, or climate
     change, may be taken in the jurisdictions where we operate that           In addition, increased public awareness and concern regarding
     may affect our business activities or may otherwise increase our          climate change may result in more requirements or expectations
     costs to do business.                                                     that could mandate more restrictive or expansive standards,
                                                                               such as more prescriptive reporting of environmental, social,
     In October 2021, the Organization for Economic Cooperation                and governance metrics. There continues to be a lack of
     and Development (OECD) and G20 Finance Ministers reached                  consistent climate change legislation and standards, which
     an agreement that, among other things, ensures that income                creates uncertainty. While the Company has adopted certain
     earned in each jurisdiction that a multinational enterprise               voluntary targets, environmental laws, regulations, or standards
     operates in is subject to a minimum corporate income tax rate of          may be changed, accelerated, or adopted and impose significant
     at least 15%. Discussions related to the formal implementation            operational restrictions and compliance requirements upon the
     of this agreement, including within the tax law of each member            Company, its products, or customers, which could negatively
     jurisdiction including the United States, are ongoing. Enactment          impact the Company’s business, capital expenditures, results of
     of this regulation in its current form would increase the amount          operations, and financial condition.
     of global corporate income tax paid by the Company.
     We are increasingly required to comply with various environmental         CLAIMS FROM TAXING AUTHORITIES COULD HAVE AN
     and other material, product, certification, and labeling laws and         ADVERSE EFFECT ON OUR INCOME TAX EXPENSE AND
     regulations (including the emerging European Union Eco-design             FINANCIAL CONDITION.
     for Sustainable Products Regulation). Our customers may also
     be required to comply with such legislative and regulatory                We conduct business in many countries, which requires us to
     requirements. These requirements could increase our costs                 interpret and comply with the income tax laws and rulings in each of
     and could potentially have an adverse effect on our ability to do         those taxing jurisdictions. Due to the ambiguity of tax laws among
     business in certain jurisdictions. Changes in these requirements          those jurisdictions as well as the uncertainty of how underlying
     could impact demand for our hardware and software products,               facts may be construed, our estimates of income tax liabilities may
     solutions, and services.                                                  differ from actual payments or assessments. We must successfully
                                                                               defend any claims from taxing authorities to avoid an adverse effect
                                                                               on our operating results and financial condition.

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                                                                                                              Item 4. Mine Safety Disclosures




POTENTIAL LIABILITIES AND COSTS FROM LITIGATION                         and discharges into the air, ground, and water, the quality of air and
(INCLUDING ASBESTOS CLAIMS AND ENVIRONMENTAL                            bodies of water, and the handling, use, and disposal of specified
REMEDIATION) COULD REDUCE OUR PROFITABILITY.                            substances. Our financial responsibility to clean up contaminated
                                                                        property or for natural resource damages may extend to previously
Various lawsuits, claims, and proceedings have been or may be           owned or used properties, waterways and properties owned by
asserted against us relating to the conduct of our business or          unrelated companies or individuals, as well as properties that we
of our divested businesses, including those pertaining to the           currently own and use, regardless of whether the contamination is
safety and security of the hardware and software products,              attributable to prior owners. We have been named as a potentially
solutions, and services we sell, employment, contract matters,          responsible party at cleanup sites and may be so named in the
and environmental remediation.                                          future, and the costs associated with these current and future
                                                                        sites may be significant.
We have been named as a defendant in lawsuits alleging personal
injury as a result of exposure to asbestos that was used in certain     We have, from time to time, divested certain of our businesses.
of our products many years ago. Our products may also be used           In connection with these divestitures, certain lawsuits, claims,
in hazardous industrial activities, which could result in product       and proceedings may be instituted or asserted against us related
liability claims. The uncertainties of litigation (including asbestos   to the period that we owned the businesses, either because we
claims) and the uncertainties related to the collection of insurance    agreed to retain certain liabilities related to these periods or
proceeds make it difficult to predict the ultimate resolution of        because such liabilities fall upon us by operation of law. In some
these lawsuits.                                                         instances, the divested business has assumed the liabilities;
Our operations are subject to various environmental regulations         however, it is possible that we might be responsible for satisfying
concerning human health, the limitation and control of emissions        those liabilities if the divested business is unable to do so.




ITEM 1B. UNRESOLVED STAFF COMMENTS
None.



ITEM 2. PROPERTIES
Our global headquarters in Milwaukee, Wisconsin, an owned facility,     There are no major encumbrances (other than financing
includes product development, sales, marketing, manufacturing,          arrangements, which in the aggregate are not significant) on any
supply chain operations, finance, and other administrative              of our properties or equipment. Our properties and equipment
and executive office functions. Most of our other facilities            are in good operating condition and are adequate for our present
are leased and shared across our three operating segments.              needs. We do not anticipate difficulty in renewing existing leases
At September 30, 2022, the Company had approximately 50                 as they expire or in finding alternative facilities.
manufacturing and distribution locations worldwide, disbursed
evenly across our regions.



ITEM 3. LEGAL PROCEEDINGS
The information required by this Item 3 is contained in Note 17 in the Consolidated Financial Statements within the section entitled
Other Matters.



ITEM 4. MINE SAFETY DISCLOSURES
Not applicable.




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       Item 4A. Information about our Executive Officers




     ITEM 4A. INFORMATION ABOUT OUR EXECUTIVE OFFICERS
     The name, age, office and position held with the Company, and principal occupations and employment during the past five years of each
     of the executive officers of the Company as of November 1, 2022 are:

      Name, Office and Position, and Principal Occupations and Employment                                                                      Age
      Blake D. Moret             Chairman of the Board since January 1, 2018, and President and Chief Executive Officer since July 1, 2016      59
      Nicholas C. Gangestad      Senior Vice President and Chief Financial Officer since March 1, 2021; previously Senior Vice President and    58
                                 Chief Financial Officer, 3M Company (consumer goods, health care and worker safety)
      Scott A. Genereux          Senior Vice President and Chief Revenue Officer since February 1, 2021; previously Executive Vice              59
                                 President of Worldwide Field Operations at Veritas (provider of information management services)
                                 (2017-2020), and Senior Vice President at Oracle (cloud applications and platform services)

      Rebecca W. House           Senior Vice President, Chief People (since July 2020) and Legal Officer and Secretary since January 3, 2017   49
      Frank C. Kulaszewicz       Senior Vice President Lifecycle Services since October 1, 2020; previously Senior Vice President               58
      Veena M. Lakkundi          Senior Vice President, Strategy and Corporate Development since November 1, 2021; previously Senior            53
                                 Vice President, Strategy & Business Development (2020-2021), Vice President and General Manager,
                                 Industrial Adhesives and Tapes Division (2019-2020), Vice President and Chief Ethics & Compliance Officer,
                                 Compliance and Business Conduct, Legal Affairs (2017-2019) at 3M Company (consumer goods, health care
                                 and worker safety)
      John M. Miller             Vice President and Chief Intellectual Property Counsel                                                         55
      Tessa M. Myers             Senior Vice President Intelligent Devices since June 6, 2022; previously Vice President and General           46
                                 Manager, Production Operations Management (from April 2021-June 2022), Vice President, Product
                                 Management (from October 2020-April 2021), and Regional President, North America
      Christopher Nardecchia Senior Vice President and Chief Information Officer since November 1, 2017                                        60
      Cyril P. Perducat          Senior Vice President (since June 1, 2021) and Chief Technology Officer since July 1, 2021; previously         53
                                 Executive Vice President, Schneider Electric (energy and automation digital solutions)
      Terry L. Riesterer         Vice President and Controller since November 29, 2019; previously Vice President, Corporate Financial         54
                                 Planning and Analysis and Corporate Development (from August 2016-November 2019) and Vice President,
                                 Global Finance Operations
      Brian A. Shepherd          Senior Vice President Software and Control since February 1, 2021; previously President, Production            57
                                 Software SFx (2019-2020) and Senior Vice President, Software Solutions (2017-2019) at Hexagon
                                 Manufacturing Intelligence (metrology and manufacturing solution specialist), and Executive Vice
                                 President, PTC Inc. (digital technology)
      Isaac R. Woods             Vice President and Treasurer since October 1, 2020; previously Director, Finance, Power Control Business       37
                                 (from March 2019-October 2020), Director, Capital Markets (from January 2017-March 2019), and Manager,
                                 Corporate Finance and Investor Relations
      Francis S. Wlodarczyk      Senior Vice President since June 1, 2022; previously Senior Vice President Intelligent Devices (from           57
                                 October 2020-June 2022) and Senior Vice President (from July 2018-October 2020)

     There are no family relationships, as defined by applicable SEC rules, between any of the above executive officers and any other executive
     officer or director of the Company. No officer of the Company was selected pursuant to any arrangement or understanding between
     the officer and any person other than the Company. All executive officers are elected annually.




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                                                      Item 7. Management’s Discussion and Analysis of Financial Condition and Results of Operations




OVERVIEW                                                                   in nature, EPS growth above sales growth, return on invested
                                                                           capital in excess of 20 percent, and free cash flow equal to about
Rockwell Automation, Inc. is a global leader in industrial automation      100 percent of Adjusted Income. We expect acquisitions to add
and digital transformation. We connect the imaginations of people          a percentage point or more per year to long-term sales growth.
with the potential of technology to expand what is humanly
possible, making the world more productive and more sustainable.           Our customers face the challenge of remaining globally cost
Overall demand for our hardware and software products, solutions,          competitive and automation can help them achieve their
and services is driven by:                                                 productivity and sustainability objectives. Our value proposition
                                                                           is to help our customers reduce time to market, lower total cost of
z   investments in manufacturing, including upgrades, modifications        ownership, improve asset utilization and manage enterprise risks.
    and expansions of existing facilities or production lines, and new
    facilities or production lines;
                                                                           DIFFERENTIATION THROUGH TECHNOLOGY INNOVATION
z   investments in basic materials production capacity, which may          AND DOMAIN EXPERTISE
    be related to commodity pricing levels;
z   our customers’ needs for faster time to market, operational            Our integrated control and information architecture, with Logix at
    productivity, asset management and reliability, and enterprise         its core, is an important differentiator. We are the only automation
    risk management;                                                       provider that can support discrete, process, batch, safety, motion,
                                                                           and power control on the same hardware platform with the same
z   our customers’ needs to continuously improve quality, safety,          software programming environment. Our integrated architecture
    and sustainability;                                                    is scalable with standard open communications protocols making
z   industry factors that include our customers’ new product               it easier for customers to implement it more cost effectively. Our
    introductions, demand for our customers’ products or services,         information software portfolio, combined with the software made
    and the regulatory and competitive environments in which our           available as a result of our strategic alliance with PTC, is the most
    customers operate;                                                     comprehensive and flexible information platform in the industry.
z   levels of global industrial production and capacity utilization;       Through the combination of this technology and our domain
                                                                           expertise we help customers to achieve additional productivity
z   regional factors that include local political, social, regulatory,
                                                                           benefits, such as reduced unplanned downtime, improved energy
    and economic circumstances; and
                                                                           efficiency, higher quality, and increased throughput yield.
z   the spending patterns of our customers due to their annual
    budgeting processes and their working schedules.                       Intelligent motor control is one of our core competencies and
                                                                           an important aspect of an automation system. These hardware
LONG-TERM STRATEGY                                                         and software products and solutions enhance the availability,
                                                                           efficiency and safe operation of our customers’ critical and
Our strategy is to bring The Connected Enterprise to life by               most energy-intensive plant assets. Our intelligent motor
integrating control and information across the enterprise. We              control offering can be integrated seamlessly with the Logix
deliver customer outcomes by combining advanced industrial                 architecture.
automation with the latest information technology. Our growth
and performance strategy seeks to:                                         Domain expertise refers to the industry and application knowledge
                                                                           required to deliver solutions and services that support customers
z   achieve organic sales growth in excess of the automation               through the entire life cycle of their automation investment. The
    market by expanding our served market and strengthening our            combination of industry-specific domain expertise of our people
    competitive differentiation;                                           with our innovative technologies enables us to help our customers
z   grow market share of our core platforms;                               solve their manufacturing and business challenges.
z   drive double digit growth in information solutions and
    connected services;                                                    GLOBAL EXPANSION
z   drive double digit growth in annual recurring revenue (ARR);           As the manufacturing world continues to expand, we must be able
z   acquire companies that serve as catalysts to organic growth by         to meet our customers’ needs around the world. Approximately
    increasing our information solutions and high-value services           66 percent of our employees and less than half of our total sales
    offerings and capabilities, expanding our global presence, or          are outside the U.S. We continue to expand our footprint in
    enhancing our process expertise;                                       emerging markets.
z   enhance our market access by building our channel capability           As we expand in markets with considerable growth potential
    and partner network;                                                   and shift our global footprint, we expect to continue to broaden
z   deploy human and financial resources to strengthen                     the portfolio of hardware and software products, solutions, and
    our technology leadership and our intellectual capital                 services that we provide to our customers in these regions. We
    business model;                                                        have made significant investments to globalize our manufacturing,
z   continuously improve quality and customer experience; and              product development and customer-facing resources in order to
                                                                           be closer to our customers throughout the world. The emerging
z   drive annual cost productivity.                                        markets of Asia Pacific, including China and India, Latin America,
By implementing the above strategy, we seek to achieve our                 Central and Eastern Europe and Africa are projected to be
long-term financial goals, including above-market organic sales            the fastest growing over the long term, due to higher levels
growth, increasing the portion of our total revenue that is recurring      of infrastructure investment and the growing middle-class

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                                                      Item 7. Management’s Discussion and Analysis of Financial Condition and Results of Operations




In April 2020, we acquired ASEM, S.p.A., a provider of digital             forth by employees. Our code of conduct, along with our partner
automation technologies based in Italy. ASEM’s products will allow         code of conduct and supplier code of conduct prohibits corrupt
us to provide customers with a high degree of configurability for          acts, bribery, and anticompetitive behavior. Employee training is
their industrial computing needs, allow them to achieve faster             used to reinforce our values companywide, with participation in
time to market, lower their cost of ownership, improve asset               trainings related to ethics, environment, health and safety, and
utilization, and better manage enterprise risk.                            emergency responses at or near 100%.
In April 2020, we also acquired Kalypso, LP, a privately-held              There are several ways in which we attract, develop, and retain
U.S.-based software delivery and consulting firm specializing in the       highly qualified talent, including:
digital transformation of industrial companies with a strong client
                                                                           z   we make the safety and health of our employees a top priority.
base in life sciences, consumer products and industrial high-tech.
                                                                               We strive for zero workplace injuries and illnesses and operate
In January 2020, we acquired Avnet Data Security, LTD, an                      in a manner that recognizes safety as fundamental to Rockwell
Israel-based cybersecurity provider with over 20 years of                      Automation being a great place to work. In fiscal 2022, we
experience. Avnet’s combination of service delivery, training,                 achieved 0.38 recordable cases per 100 employees.
research, and managed services enables us to serve more                    z   we capture and act upon employee feedback through our annual
customers and accelerate our portfolio development.                            employee engagement survey. It measures several engagement
In October 2019, we completed the formation of a joint venture,                indicators and drivers and provides an overall employee
Sensia, a fully integrated digital oilfield automation solutions               engagement index (EEI) with external benchmark comparison.
provider, with SLB. The joint venture leverages SLB’s oil and                  The latest survey, conducted in March 2022, showed an EEI of
gas domain knowledge and our automation and information                        76, which was equal to a global norm for this index. Our global
expertise. Rockwell Automation owns 53% of Sensia and SLB                      inclusion index score was 77, two points higher than the global
owns 47% of Sensia.                                                            benchmark of 75.
In October 2019, we also acquired MESTECH Services, a global               z   we invest in growth and development of our employees. As the
provider of Manufacturing Execution Systems / Manufacturing                    pace of change increases, it is important we provide re-skilling
Operations Management, digital solutions consulting, and systems               and upskilling opportunities for our technical talent, along with soft
integration services. The acquisition of MESTECH expands                       skills and leadership development for all. We offer a portfolio of all
our capabilities to profitably grow information solutions and                  employee, managerial, and leader training that spans on-demand,
connected services globally and accelerate our ability to help our             virtual, and live instructor-led formats. Our programs focus on
customers execute digital transformation initiatives.                          basic as well as transformational skills. We take pride in our culture
                                                                               and in fiscal 2021 created an opportunity for our employees to
In January 2019, we acquired Emulate3D, an innovative engineering              participate in team-based culture workshops. In fiscal 2022, the
software developer whose products digitally simulate and emulate               majority of our employees completed one or more of our training
industrial automation systems. This acquisition enables our                    programs representing over 500,000 learning hours.
customers to virtually test machine and system designs before
                                                                           z   we offer employee assistance and work life benefits to all global
incurring manufacturing and automation costs and committing
                                                                               employees. Our comprehensive benefits include healthcare
to a final design.
                                                                               benefits, disability and life insurance benefits, paid time off,
In addition, we make venture investments that enable access to                 and leave programs. Rockwell offers plans and resources to help
complementary and leading edge technologies aligned with our                   employees meet future savings goals through defined benefit
strategic priorities, accelerating internal development efforts,               and retirement savings plans. We offer flextime, remote work,
reducing time to market, and as a hedge against disruptive                     and part-time arrangements whenever business conditions
technologies.                                                                  permit. We believe that face to face interaction is critical for our
                                                                               culture, innovation, people development, and engagement, and
We believe these acquisitions and investments will help us expand
                                                                               that flexible, virtual work arrangements help employees be more
our served market and deliver value to our customers.
                                                                               productive and engaged. During fiscal 2022, we launched our
                                                                               Hybrid Workplace Program, which combines the values of both
ATTRACTING, DEVELOPING, AND RETAINING HIGHLY                                   physical workspaces and virtual work options, both of which are
QUALIFIED TALENT                                                               important for attracting, retaining, and developing talent and
At Rockwell Automation, we promise to expand human possibility                 facilitating innovation, engagement, and productivity.
within our company and throughout the world of industrial                  We monitor employee retention and attrition rates by demographic
production, and we work to attract and develop highly engaged              factors including by gender, ethnicity, generation, years of
people who can and want to do their best work.                             service, career role, region, business, and function. We generally
Our commitment to diversity, equity, and inclusion starts at the           experienced higher attrition rates in fiscal 2022 as compared to
top. Our 11 board members include three female and two African             fiscal 2021. We believe the increase is consistent with market
American directors. In fiscal 2021, we hired our first chief diversity     trends experienced broadly across labor markets in fiscal 2022. We
officer and made investments to accelerate our efforts to increase         use attrition rate information to identify and address unfavorable
diversity, equity, and inclusion across the company.                       trends to mitigate risk to our business. See Item 1A. Risk Factors
                                                                           for a discussion of risks relating to our inability to attract, develop,
A culture of integrity is fundamental to Rockwell’s core values,           and retain highly qualified talent.
including a formal ethics and compliance organization and an
Ombuds office that investigates ethical and legal concerns brought

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During 2022, inflation in the U.S. has had an impact on our input           Our total order backlog consists of (in millions):
costs and pricing. The Producer Price Index (PPI), published by
the Bureau of Labor Statistics, measures the average change                                                                September 30,
over time in the selling prices received by domestic producers
                                                                                                                          2022                      2021
for their output. PPI for September 30, 2022, June 30, 2022,
March 31, 2022, and December 31, 2021, increased 8.5 percent,                Intelligent Devices               $        2,086.1       $        1,052.8
11.3 percent, 11.7 percent, and 10.0 percent, respectively,
compared to September 30, 2021, June 30, 2021, March 31, 2021,               Software & Control                         1,456.8                     618.2
and December 31, 2020. These figures are as of November 8, 2022,             Lifecycle Services                          1,654.1               1,239.5
and are subject to revision by the issuing organization.
                                                                             Total Company                     $        5,197.0       $        2,910.5
NON-U.S. ECONOMIC TRENDS
                                                                            See Note 2 in the Consolidated Financial Statements for additional
In 2022, sales to customers outside the U.S. accounted for                  information on the nature of our products and services and
less than half of our total sales. These customers include both             revenue recognition.
indigenous companies and multinational companies with a global
presence. In addition to the global factors previously mentioned            We are closely managing our end-to-end supply chain, from
in the Overview section, international demand, particularly in              sourcing to production to customer delivery, with a particular
emerging markets, has historically been driven by the strength              focus on all critical and at-risk suppliers and supplier locations
of the industrial economy in each region, investments in                    globally. We have made large-scale investments to increase
infrastructure, and expanding consumer markets. We use changes              capacity across our network in support of our orders growth.
in key countries’ gross domestic product (GDP), IP, and PMI as              Additional actions we are taking include:
indicators of the growth opportunities in each region where we              z    extending order visibility to our supply base to ensure we are
do business. Industrial output outside the U.S. was mixed in the                 appropriately planning for extended component lead times;
fourth quarter of fiscal 2022.
                                                                            z    securing longer-term supply agreements with critical partners;
Global GDP forecasts are mixed, with Europe, Middle East, and
Africa and Latin America projected to see slowing growth from               z    re-engineering of existing products to increase component
2022 to 2023 and Asia projected to see flat to slightly higher                   supply resiliency;
growth. Supply chain disruptions, labor shortages, and global
                                                                            z    capacity investments, including redundant manufacturing lines
inflation are expected to remain persistent in 2023, along with
                                                                                 and additional electronic assembly equipment; and
elevated geopolitical instability.
                                                                            z    qualification of additional suppliers to diversify our supplier base.
SUPPLY CHAIN                                                                We believe these and other actions we are taking will over time
We have a global supply chain, including a network of suppliers             normalize our product lead times and reduce our backlog.
and manufacturing and distribution facilities. The supply chain
is stressed by increased demand, along with pandemic-related                COVID-19 PANDEMIC
and other global events that have put additional pressures on
manufacturing output and freight lanes. This has resulted in and            We continue to monitor the impacts of the COVID-19 pandemic
could continue to result in:                                                on all aspects of our business and geographies. Uncertainty on
                                                                            the duration and severity of those impacts remains due to the
z   disruptions in our supply chain;
                                                                            evolving nature of the pandemic, government responses to it,
z   difficulty in procuring or inability to procure components and          and regulations across the geographies in which our business
    materials necessary for our hardware and software products,             operates. We are continuously responding to the changing
    solutions, and services;
                                                                            conditions created by the pandemic and evolving regulations and
z   increased costs for commodities, components, and freight                remain focused on our priorities including employee health and
    services; and                                                           safety, our customer needs, and protecting critical investments
z   delays in delivering, or an inability to deliver, our hardware and      to drive long-term differentiation.
    software products, solutions, and services.

OUTLOOK
The table below provides guidance for sales growth and earnings per share for fiscal 2023 as of November 8, 2022. Our guidance reflects
record backlog and assumes continued supply chain stabilization.
                          Sales Growth Guidance                                                            EPS Guidance
Reported sales growth                             7.5% - 11.5%                  Diluted EPS                                        $9.54 - $10.34
Organic sales growth(1)                           9.0% - 13.0%                  Adjusted EPS(1)                                $10.20 - $11.00
      Inorganic sales growth                        ~ 1.0%

      Currency translation                          ~ (2.5)%

(1) Organic sales growth and Adjusted EPS are non-GAAP measures. See Supplemental Sales Information and Adjusted Income, Adjusted EPS, and Adjusted
    Effective Tax Rate Reconciliation for more information on these non-GAAP measures.
Note: Guidance includes estimated impact of CUBIC acquisition in fiscal year 2023.
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     SUMMARY OF RESULTS OF OPERATIONS
     The following table reflects our sales and operating results (in millions, except per share amounts and percentages):

                                                                                                                     Year Ended September 30,
                                                                                                            2022                    2021                   2020
      Sales
        Intelligent Devices (a)                                                              $           3,544.6       $          3,311.9    $          2,956.0
        Software & Control (b)                                                                           2,312.9                 1,947.0                 1,681.3
        Lifecycle Services (c)                                                                           1,902.9                  1,738.5                1,692.5
      Total sales (d)                                                                        $           7,760.4       $         6,997.4     $          6,329.8
      Segment operating earnings(1)
        Intelligent Devices (e)                                                              $              717.6      $           702.1     $             587.8
        Software & Control (f)                                                                             666.7                   531.0                   473.8
        Lifecycle Services (g)                                                                             158.3                   158.2                   196.3
      Total segment operating earnings (h)      (2)
                                                                                                         1,542.6                  1,391.3                1,257.9
      Purchase accounting depreciation and amortization                                                   (103.9)                   (55.1)                  (41.4)
      Corporate and other                                                                                  (104.7)                 (120.6)                 (98.9)
      Non-operating pension and postretirement benefit cost                                                  (4.7)                  (63.8)                 (37.4)
      Change in fair value of investments                                                                  (136.9)                 397.4                   153.9
      Legal settlement                                                                                         —                    70.0                       —
      Interest expense, net                                                                                (118.8)                  (93.0)                 (98.0)
      Income before income taxes (i)                                                                     1,073.6                 1,526.2                  1,136.1
      Income tax provision                                                                                 (154.5)                 (181.9)                 (112.9)
      Net income                                                                                            919.1                1,344.3                 1,023.2
     Net loss attributable to noncontrolling interests                                                      (13.1)                  (13.8)                  (0.2)
      NET INCOME ATTRIBUTABLE TO ROCKWELL AUTOMATION                                         $             932.2       $          1,358.1    $           1,023.4
      DILUTED EPS                                                                            $              7.97       $            11.58    $              8.77
      ADJUSTED EPS      (3)
                                                                                             $              9.49       $            9.43     $              7.87
      DILUTED WEIGHTED AVERAGE OUTSTANDING SHARES                                                           116.7                   117.1                  116.6
      Pre-tax margin (i/d)                                                                                   13.8%                   21.8%                   17.9%
      Intelligent Devices segment operating margin (e/a)                                                    20.2%                    21.2%                  19.9%
      Software & Control segment operating margin (f/b)                                                     28.8%                   27.3%                   28.2%
      Lifecycle Services segment operating margin (g/c)                                                       8.3%                    9.1%                   11.6%
      Total segment operating margin (h/d)(2)
                                                                                                             19.9%                   19.9%                  19.9%
      (1) See Note 19 in the Consolidated Financial Statements for the definition of segment operating earnings.
      (2) Total segment operating earnings and total segment operating margin are non-GAAP financial measures. We exclude purchase accounting depreciation
          and amortization, corporate and other, non-operating pension and postretirement benefit cost, change in fair value of investments, the $70 million legal
          settlement in fiscal 2021, interest expense, net, and income tax provision because we do not consider these items to be directly related to the operating
          performance of our segments. We believe total segment operating earnings and total segment operating margin are useful to investors as measures of
          operating performance. We use these measures to monitor and evaluate the profitability of our operating segments. Our measures of total segment operating
          earnings and total segment operating margin may be different from measures used by other companies.
      (3) Adjusted EPS is a non-GAAP earnings measure. See Adjusted Income, Adjusted EPS, and Adjusted Effective Tax Rate Reconciliation for more information on
          this non-GAAP measure.




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2022 COMPARED TO 2021

SALES
Sales in fiscal 2022 increased 10.9 percent compared to 2021. Organic sales increased 11.3 percent. Currency translation decreased sales
by 2.7 percentage points. Acquisitions increased sales by 2.3 percentage points. Organic annual recurring revenue at September 30, 2022,
grew approximately 14 percent compared to September 30, 2021. See Organic Annual Recurring Revenue for information on this measure.
Pricing increased sales in our Intelligent Devices and Software & Control operating segments by approximately 3.3 percentage points.
The table below presents our sales for the year ended September 30, 2022, attributed to the geographic regions based upon country of
destination, and the percentage change from the same period in 2021 (in millions, except percentages). The results by region, segment,
and industry were primarily driven by component availability rather than the underlying demand.

                                                                                                                                       Change in Organic
                                                                                                                 Change vs.                   Sales(1) vs.
                                                                                     Year Ended                  Year Ended                  Year Ended
                                                                              September 30, 2022          September 30, 2021          September 30, 2021
North America                                                             $               4,722.0                         14.3%                       10.7%
Europe, Middle East and Africa                                                             1,437.6                         2.3%                        11.8%
Asia Pacific                                                                               1,088.0                          7.5%                      10.8%
Latin America                                                                                512.8                        14.8%                       15.8%
TOTAL COMPANY SALES                                                       $               7,760.4                         10.9%                        11.3%
(1)   Organic sales and organic sales growth exclude the effect of acquisitions, changes in currency exchange rates, and divestitures. See Supplemental Sales
      Information for information on these non-GAAP measures.


CORPORATE AND OTHER                                                              DILUTED EPS AND ADJUSTED EPS
Corporate and other expenses were $104.7 million in fiscal 2022                  Fiscal 2022 Net income attributable to Rockwell Automation was
compared to $120.6 million in fiscal 2021. The prior year includes               $932.2 million or $7.97 per share, compared to $1,358.1 million
deal costs associated with the acquisition of Plex Systems.                      or $11.58 per share in fiscal 2021. The decreases in Net income
                                                                                 attributable to Rockwell Automation and diluted EPS were
INCOME BEFORE INCOME TAXES                                                       primarily due to the PTC adjustments and a $70 million pre-tax
                                                                                 favorable legal settlement in the first quarter of fiscal 2021,
Income before income taxes decreased to $1,073.6 million in                      partially offset by higher operating earnings. Adjusted EPS was
2022 from $1,526.2 million in 2021, primarily due to fair-value                  $9.49 in fiscal 2022, up 0.6 percent compared to $9.43 in fiscal
adjustments recognized in connection with our investment in                      2021, primarily due to higher sales, including price increases, and
PTC (the “PTC adjustments”) and a $70 million pre-tax favorable                  lower incentive compensation, partially offset by higher input
legal settlement in the first quarter of fiscal 2021, partially offset           costs, higher investment spend, higher tax rate, and the prior year
by higher operating earnings. Total segment operating earnings                   favorable legal settlement.
increased to $1,542.6 million from $1,391.3 million in 2021, primarily
due to higher sales, including price increases, and lower incentive
compensation, partially offset by higher input costs and higher                  INTELLIGENT DEVICES
investment spend.
                                                                                 SALES
INCOME TAXES                                                                     Intelligent Devices sales increased 7.0 percent in 2022 compared
The effective tax rate in 2022 was 14.4 percent compared to                      to 2021. Organic sales increased 9.7 percent. The effects of
11.9 percent in 2021. The Adjusted Effective Tax Rate in 2022 was                currency translation decreased sales by 2.7 percentage points.
16.0 percent compared to 11.6 percent in 2021. The increases in                  All regions experienced sales increases.
the effective tax rate and the Adjusted Effective Tax Rate were
primarily due to higher discrete benefits in the prior year.                     SEGMENT OPERATING MARGIN
See Note 16 in the Consolidated Financial Statements for a                       Intelligent Devices segment operating earnings increased 2.2 percent
complete reconciliation of the United States statutory tax rate to               year over year. Segment operating margin decreased to 20.2 percent
the effective tax rate and more information on tax events in 2022                in 2022 from 21.2 percent in 2021, primarily driven by higher input
and 2021 affecting each year’s respective tax rates.                             costs and higher investment spend, partially offset by higher sales,
                                                                                 including pricing increases, and lower incentive compensation.




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     SOFTWARE & CONTROL                                                                LIFECYCLE SERVICES

     SALES                                                                             SALES
     Software & Control sales increased 18.8 percent in 2022 compared                  Lifecycle Services sales increased 9.5 percent in 2022 compared
     to 2021. Organic sales increased 13.8 percent. The effects of                     to 2021. Organic sales increased 11.4 percent. The effects of
     currency translation decreased sales by 2.7 percentage points                     currency translation decreased sales by 2.5 percentage points
     and acquisitions increased sales by 7.7 percentage points. All                    and acquisitions increased sales by 0.6 percentage points. All
     regions experienced reported and organic sales increases, except                  regions experienced sales increases.
     for EMEA where organic sales increased but unfavorable currency
     translation reduced reported sales.                                               SEGMENT OPERATING MARGIN
                                                                                       Lifecycle Services segment operating earnings increased 0.1
     SEGMENT OPERATING MARGIN
                                                                                       percent year over year. Segment operating margin decreased to
     Software & Control segment operating earnings increased                           8.3 percent in 2022 from 9.1 percent in 2021, driven by supply chain
     25.6 percent year over year. Segment operating margin increased                   constraints and higher investment spend, partially offset by higher
     to 28.8 percent in 2022 from 27.3 percent in 2021, primarily due                  sales and lower incentive compensation.
     to higher sales, including pricing increases, and lower incentive
     compensation, partially offset by higher input costs, higher
     investment spend, and the impact of acquisitions.


     2021 COMPARED TO 2020

     SALES
     Sales in fiscal 2021 increased 10.5 percent compared to 2020. Organic sales increased 6.7 percent of which pricing increased sales by
     approximately 1 percent. Currency translation increased sales by 2.3 percentage points. Acquisitions increased sales by 1.5 percentage
     points. Organic annual recurring revenue (ARR) at September 30, 2021 grew approximately 18 percent compared to September 30, 2020.
     See Organic Annual Recurring Revenue for information on this measure.
     The table below presents our sales for the year ended September 30, 2021, attributed to the geographic regions based upon country of
     destination, and the percentage change from the same period a year ago (in millions, except percentages):

                                                                                                                                             Change in Organic
                                                                                                                     Change vs.                     Sales(1) vs.
                                                                                           Year Ended                Year Ended                   Year Ended
                                                                                    September 30, 2021        September 30, 2020           September 30, 2020
      North America                                                             $                4,132.8                        9.9%                        8.0%
      Europe, Middle East and Africa                                                             1,405.7                       12.5%                        2.8%
      Asia Pacific                                                                               1,012.2                       16.5%                       10.3%
      Latin America                                                                                446.7                        (1.1)%                      (0.1)%
      TOTAL COMPANY SALES                                                       $                6,997.4                       10.5%                        6.7%
      (1)   Organic sales and organic sales growth exclude the effect of acquisitions, changes in currency exchange rates, and divestitures. See Supplemental Sales
            Information for information on these non-GAAP measures.

     z   Reported and organic sales in North America increased in                      z   Asia Pacific reported and organic sales increased year over year,
         discrete and hybrid industries, partially offset by weakness in                   primarily due to strength in Semiconductor, Life Sciences, and
         process industries, particularly Oil & Gas.                                       Tire. Reported sales also increased due to favorable currency
     z   EMEA reported and organic sales increased primarily due                           translation.
         to strength in Food & Beverage and Tire. Reported sales                       z   Reported and organic sales in Latin America decreased year
         also increased due to currency translation and sales from                         over year, primarily due to weakness in Mining and Oil & Gas,
         acquisitions.                                                                     partially offset by growth in Food & Beverage.




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CORPORATE AND OTHER                                                         INTELLIGENT DEVICES
Corporate and other expenses were $120.6 million in fiscal 2021
compared to $98.9 million in fiscal 2020. The increase was                  SALES
primarily driven by deal costs associated with the acquisition of           Intelligent Devices sales increased 12.0 percent in 2021 compared
Plex Systems.                                                               to 2020. Organic sales increased 9.7 percent and the effect of
                                                                            currency translation increased sales by 2.3 percentage points.
INCOME BEFORE INCOME TAXES                                                  All regions experienced sales increases.
Income before income taxes increased 34 percent from
$1,136.1 million in 2020 to $1,526.2 million in 2021, primarily due to      SEGMENT OPERATING MARGIN
the PTC adjustments recognized in 2021 and 2020, higher operating           Intelligent Devices segment operating earnings increased
earnings, and a $70 million pre-tax favorable legal settlement in           19.4 percent. Operating margin was 21.2% percent in 2021
the first quarter of fiscal 2021. Total segment operating earnings          compared to 19.9% percent in 2020, primarily due to higher sales,
increased 11 percent year over year from $1,257.9 million in 2020           partially offset by the reinstatement of incentive compensation.
to $1,391.3 million in 2021, primarily due to higher sales, partially
offset by the reinstatement of incentive compensation and the
reversal of temporary pay actions taken in fiscal 2020.                     SOFTWARE & CONTROL

INCOME TAXES                                                                SALES

The effective tax rate in 2021 was 11.9 percent compared to                 Software & Control sales increased 15.8 percent in 2021 compared
9.9 percent in 2020. The increase in the effective tax rate was             to 2020. Organic sales increased 10.0 percent, the effect of
primarily due to the effect of tax benefits recognized upon the             currency translation increased sales by 2.5 percentage points, and
formation of the Sensia joint venture in fiscal 2020 and other discrete     acquisitions increased sales by 3.3 percentage points. All regions
items. The Adjusted Effective Tax Rate in 2021 was 11.6 percent             experienced sales increases.
compared to 12.4 percent in 2020. The decrease in the Adjusted
Effective Tax Rate was primarily due to higher discrete benefits in         SEGMENT OPERATING MARGIN
the current year.                                                           Software & Control segment operating earnings increased
See Note 16 in the Consolidated Financial Statements for a                  12.1 percent year over year. Segment operating margin was
complete reconciliation of the United States statutory tax rate to          27.3 percent in 2021 compared to 28.2 percent a year ago, primarily
the effective tax rate and more information on tax events in 2021           due to higher planned investment spend and the reinstatement of
and 2020 affecting each year’s respective tax rates.                        incentive compensation, partially offset by higher sales.

DILUTED EPS AND ADJUSTED EPS                                                LIFECYCLE SERVICES
Fiscal 2021 Net income attributable to Rockwell Automation was
$1,358.1 million or $11.58 per share, compared to $1,023.4 million          SALES
or $8.77 per share in fiscal 2020. The increase in Net income               Lifecycle Services sales increased 2.7 percent in 2021 compared
attributable to Rockwell Automation and diluted EPS were                    to 2020. Organic sales decreased 1.8 percent. The effects of
primarily due to higher sales and the PTC adjustments, partially            currency translation increased sales by 2.2 percentage points,
offset by the reinstatement of incentive compensation and the               and acquisitions increased sales by 2.3 percentage points.
reversal of temporary pay actions taken in fiscal 2020. Fiscal 2021         Reported sales increased in EMEA and Asia Pacific, were flat in
Adjusted EPS was $9.43, up 19.8% percent compared to $7.87 in               North America, and decreased in Latin America. Organic sales
fiscal 2020, primarily due to higher sales, partially offset by the         decreased in all regions except Asia Pacific.
reinstatement of incentive compensation and the reversal of
temporary pay actions taken in fiscal 2020.                                 SEGMENT OPERATING MARGIN
OPERATING SEGMENTS                                                          Lifecycle Services segment operating earnings decreased
                                                                            19.4 percent year over year. Segment operating margin was
The following is a discussion of our results by operating segment.          9.1 percent in 2021 compared to 11.6 percent a year ago, primarily
See Note 19 in the Consolidated Financial Statements for                    due to the reinstatement of incentive compensation.
additional information on each segment and our definition of
segment operating earnings.




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The following are reconciliations of Net income attributable to Rockwell Automation, diluted EPS, and effective tax rate to Adjusted
Income, Adjusted EPS, and Adjusted Effective Tax Rate, respectively (in millions, except per share amounts and percentages):

                                                                                                                           Year Ended September 30,
                                                                                                                      2022                2021             2020
Net income attributable to Rockwell Automation                                                               $        932.2     $       1,358.1      $   1,023.4
      Non-operating pension and postretirement benefit cost                                                             4.7               63.8              37.4
      Tax effect of non-operating pension and postretirement benefit cost                                               (1.9)             (16.0)            (10.1)
      Purchase accounting depreciation and amortization attributable to Rockwell                                       91.9               43.2              29.4
      Automation
      Tax effect of purchase accounting depreciation and amortization attributable to                                 (22.3)              (10.5)             (7.0)
      Rockwell Automation
      Change in fair value of investments(1)                                                                          136.9              (397.4)          (153.9)
      Tax effect of change in fair value of investments        (1)
                                                                                                                      (30.8)               64.7                —
ADJUSTED INCOME                                                                                              $       1,110.7    $       1,105.9      $     919.2
Diluted EPS                                                                                                  $         7.97     $         11.58      $      8.77
      Non-operating pension and postretirement benefit cost                                                            0.04               0.55              0.32
      Tax effect of non-operating pension and postretirement benefit cost                                             (0.02)              (0.14)           (0.09)
      Purchase accounting depreciation and amortization attributable to Rockwell
      Automation                                                                                                       0.78               0.37              0.25
      Tax effect of purchase accounting depreciation and amortization attributable to
      Rockwell Automation                                                                                              (0.19)             (0.09)           (0.06)
      Change in fair value of investments       (1)
                                                                                                                        1.17              (3.39)            (1.32)
      Tax effect of change in fair value of investments        (1)
                                                                                                                      (0.26)              0.55                 —
ADJUSTED EPS                                                                                                 $         9.49     $         9.43       $      7.87
Effective tax rate                                                                                                     14.4%               11.9%             9.9%
      Tax effect of non-operating pension and postretirement benefit cost                                                0.1%               0.5%             0.6%
      Tax effect of purchase accounting depreciation and amortization attributable to
      Rockwell Automation                                                                                               0.6%                0.4%             0.4%
      Tax effect of change in fair value of investments        (1)
                                                                                                                        0.9%                (1.2)%            1.5%
ADJUSTED EFFECTIVE TAX RATE                                                                                            16.0%               11.6%            12.4%
(1)     Primarily relates to the change in fair value of investment in PTC.




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                                                                                                                                                         Fiscal 2023
                                                                                                                                                          Guidance
      Diluted EPS                                                                                                                                      $9.54 - $10.34
            Non-operating pension and postretirement benefit cost                                                                                            0.05
            Tax effect of non-operating pension and postretirement benefit cost                                                                              (0.01)
            Purchase accounting depreciation and amortization attributable to Rockwell Automation                                                            0.81
            Tax effect of purchase accounting depreciation and amortization attributable to Rockwell Automation                                              (0.19)
            Change in fair value of investments  (1)
                                                                                                                                                               —
            Tax effect of change in fair value of investments   (1)
                                                                                                                                                               —
      ADJUSTED EPS        (2)
                                                                                                                                                       $10.20 - $11.00
      Effective tax rate                                                                                                                                    ~ 17.7%
            Tax effect of non-operating pension and postretirement benefit cost                                                                              ~ —%
            Tax effect of purchase accounting depreciation and amortization attributable to Rockwell Automation                                             ~ 0.3%
            Tax effect of change in fair value of investments(1)                                                                                             ~ —%
      ADJUSTED EFFECTIVE TAX RATE                                                                                                                           ~ 18.0%
      (1) The year ended September 30, 2022, included a loss on investment of $136.9 million primarily due to the change in fair value of investment in PTC. Fiscal 2023
          guidance excludes estimates of these adjustments on a forward-looking basis due to variability, complexity, and limited visibility of these items.
      (2) Fiscal 2023 guidance based on Adjusted Income attributable to Rockwell, which includes an adjustment for SLB’s non-controlling interest in Sensia.


     ORGANIC ANNUAL RECURRING REVENUE
     ARR is a key metric that enables measurement of progress in growing our recurring revenue business. It represents the annual contract
     value of all active recurring revenue contracts at any point in time. Recurring revenue is defined as a revenue stream that is contractual,
     typically for a period of 12 months or more, and has a high probability of renewal. The probability of renewal is based on historical renewal
     experience of the individual revenue streams, or management’s best estimates if historical renewal experience is not available. Organic
     ARR growth is calculated as the dollar change in ARR, adjusted to exclude the effects of currency translation and acquisitions, divided
     by ARR as of the prior period. The effects of currency translation are excluded by calculating Organic ARR on a constant currency
     basis. When we acquire businesses, we exclude the effect of ARR in the current period for which there was no comparable ARR in the
     prior period. Organic ARR growth is also used as a financial measure of performance for our annual incentive compensation. Because
     ARR is based on annual contract value, it does not represent revenue recognized during a particular reporting period or revenue to be
     recognized in future reporting periods and is not intended to be a substitute for revenue, contract liabilities, or backlog.


     FINANCIAL CONDITION
     The following is a summary of our cash flows from operating, investing, and financing activities, as reflected in the Consolidated
     Statement of Cash Flows (in millions):

                                                                                                                             Year Ended September 30,

                                                                                                                          2022                2021                  2020

      Cash provided by (used for)

            Operating activities                                                                                $         823.1     $       1,261.0     $          1,120.5

            Investing activities                                                                                            (7.8)          (2,626.6)                (618.0)

            Financing activities                                                                                         (934.2)            1,297.8                 (798.9)

            Effect of exchange rate changes on cash                                                                        (52.6)              16.8                    8.4

      DECREASE IN CASH, CASH EQUIVALENTS, AND RESTRICTED CASH                                                   $         (171.5) $           (51.0) $             (288.0)




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The following table summarizes free cash flow, which is a non-GAAP financial measure (in millions):


                                                                                                                         Year Ended September 30,

                                                                                                                       2022                2021             2020

Cash provided by operating activities                                                                      $           823.1     $       1,261.0   $      1,120.5

Capital expenditures                                                                                                   (141.1)           (120.3)            (113.9)

FREE CASH FLOW                                                                                             $           682.0     $       1,140.7   $      1,006.6

Our definition of free cash flow takes into consideration capital                   capital, including higher receivables and inventory to support
investments required to maintain the operations of our businesses                   business growth, and higher incentive compensation payments
and execute our strategy. Cash provided by operating activities                     in fiscal 2022 compared to fiscal 2021. Supply chain constraints
adds back non-cash depreciation expense to earnings but does                        have also negatively impacted our working capital efficiency.
not reflect a charge for necessary capital expenditures. Our
                                                                                    We repurchased approximately 1.3 million shares of our common
definition of free cash flow excludes the operating cash flows and
                                                                                    stock under our share repurchase program in 2022 at a total
capital expenditures related to our discontinued operations, if any.
                                                                                    cost of $301.1 million and an average cost of $223.05 per share.
Operating, investing, and financing cash flows of our discontinued
                                                                                    In 2021, we repurchased approximately 1.1 million shares of our
operations, if any, are presented separately in our Consolidated
                                                                                    common stock under our share repurchase program at a total
Statement of Cash Flows. In our opinion, free cash flow provides
                                                                                    cost of $301.4 million and an average cost of $263.43 per share.
useful information to investors regarding our ability to generate
                                                                                    At September 30, 2022, there were $1.6 million of outstanding
cash from business operations that is available for acquisitions
                                                                                    common stock share repurchases recorded in Accounts payable
and other investments, service of debt principal, dividends, and
                                                                                    that did not settle until 2023. At September 30, 2021, there were
share repurchases. We use free cash flow, as defined, as one
                                                                                    $1.8 million of outstanding common stock share repurchases
measure to monitor and evaluate our performance, including as
                                                                                    recorded in Accounts payable that did not settle until 2022. Our
a financial measure for our annual incentive compensation. Our
                                                                                    decision to repurchase shares in 2023 will depend on business
definition of free cash flow may be different from definitions used
                                                                                    conditions, free cash flow generation, other cash requirements,
by other companies.
                                                                                    and stock price. On both July 24, 2019, and May 2, 2022, the Board
Cash provided by operating activities was $823.1 million for the                    of Directors authorized us to expend an additional $1.0 billion
year ended September 30, 2022, compared to $1,261.0 million                         to repurchase shares of our common stock. At September 30,
for the year ended September 30, 2021. Free cash flow was                           2022, we had approximately $1,251.3 million remaining for share
$682.0 million for the year ended September 30, 2022, compared                      repurchases under our existing board authorizations. See Item 5.
to $1,140.7 million for the year ended September 30, 2021. The                      Market for Registrant’s Common Equity, Related Stockholder
year-over-year decreases in cash provided by operating activities                   Matters, and Issuer Purchases of Equity Securities, for additional
and free cash flow were primarily due to increases in working                       information regarding share repurchases.
We expect future uses of cash to include working capital requirements, capital expenditures, additional contributions to our retirement
plans, acquisitions of businesses and other inorganic investments, dividends to shareowners, repurchases of common stock, and
repayments of debt. We expect capital expenditures in 2023 to be approximately $190 million. Significant long-term uses of cash include
the following (in millions):

                                                                                             Payments by Period

                                                       Total            2023            2024             2025              2026             2027       Thereafter

Long-term debt and interest(1)               $      5,942.1     $       713.0   $       110.9    $      406.6      $      102.3      $     102.3   $     4,507.0

Minimum lease payments (Note 18)                      395.8              98.8            82.8            59.6              40.7             29.8             84.1

Postretirement benefits(2)                             44.2               6.6              6.1             5.5                 5.0           4.5             16.5

Pension funding contribution(3)                         26.1             26.1               —                  —                 —             —                —

Transition tax(4)                                     264.8              31.1            58.4             77.9             97.4                —                —

TOTAL                                        $      6,673.0     $      875.6    $      258.2     $      549.6      $     245.4       $     136.6   $     4,607.6
(1)   The amounts for Long-term debt assume that the respective debt instruments will be outstanding until their scheduled maturity dates and include interest but
      exclude unamortized discount. See Note 7 in the Consolidated Financial Statements for more information regarding our Long-term debt.




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      (2) Our postretirement benefit plans are unfunded and are subject to change. Amounts reported are estimates of future benefit payments, to the extent estimable.
      (3) Amounts reported for pension funding contributions reflect current estimates. Contributions to our pension plans beyond 2023 will depend on future investment
          performance of our pension plan assets, changes in discount rate assumptions, and governmental regulations in effect at the time. Amounts subsequent to
          2023 are excluded from the summary above, as we are unable to make a reasonably reliable estimate of these amounts. The minimum contribution for our U.S.
          pension plan as required by the Employee Retirement Income Security Act (ERISA) is currently zero. We may make additional contributions to this plan at the
          discretion of management.
      (4) Under the Tax Cuts and Jobs Act of 2017 (the “Tax Act”), the Company may elect to pay the transition tax interest-free over eight years, with 8% due in each of
          the first five years, 15% in year six, 20% in year seven, and 25% in year eight.

     We expect to fund future uses of cash with a combination of                          the notes, the Company made a net payment of $28.0 million to the
     existing cash balances, cash generated by operating activities,                      counterparties from the August 2021 issuance and $35.7 million to
     commercial paper borrowings, or a new issuance of debt or                            the counterparty from the March 2019 issuance. The $28.0 million
     other securities. In addition, we have access to unsecured credit                    and $35.7 million net losses on the settlement of the treasury
     facilities with various banks.                                                       locks were recorded in Accumulated other comprehensive loss,
                                                                                          net of tax effect, and are being amortized over the term of the
     At September 30, 2022, the majority of our Cash and cash
                                                                                          corresponding notes, and recognized as an adjustment to Interest
     equivalents were held by non-U.S. subsidiaries. As a result of the
                                                                                          expense in the Consolidated Statement of Operations.
     broad changes to the U.S. international tax system under the Tax
     Act, we account for taxes on earnings of substantially all of our                    In April 2020, we entered into a $400.0 million senior unsecured
     non-U.S. subsidiaries including both non-U.S. and U.S. taxes. We                     364-day term loan credit agreement and were advanced the
     have concluded that earnings of a limited number of our non-U.S.                     full loan amount. Interest on these borrowings was based on
     subsidiaries are indefinitely reinvested.                                            short-term money market rates in effect during the period the
                                                                                          borrowings were outstanding. We repaid the $400.0 million term
     Our Short-term debt as of September 30, 2022 and 2021, includes
                                                                                          loan in September 2020.
     commercial paper borrowings of $317.0 million and $484.0 million,
     respectively, with weighted average interest rates of 3.03 percent                   On June 29, 2022, we replaced our former $1.25 billion unsecured
     and 0.18 percent, respectively, and weighted average maturity                        revolving credit facility with a new five-year $1.5 billion unsecured
     periods of 22 days and 90 days, respectively. Also included                          revolving credit facility, expiring in June 2027. We can increase
     in Short-term debt as of September 30, 2022 and 2021, are                            the aggregate amount of this credit facility by up to $750.0 million,
     $42.3 million and 23.5 million, respectively, of interest-bearing                    subject to the consent of the banks in the credit facility. We did not
     loans from SLB to Sensia, due in December 2022.                                      borrow against this credit facility or the former credit facility during
                                                                                          the periods ended September 30, 2022 and 2021. Borrowings under
     In August 2021, we issued $1.5 billion aggregate principal amount
                                                                                          our new $1.5 billion credit facility bear interest based on short-term
     of long-term notes in a registered public offering. The offering
                                                                                          money market rates in effect during the period the borrowings are
     consisted of $600.0 million of 0.35% notes due in August
                                                                                          outstanding. The terms of this credit facility contain covenants
     2023, $450.0 million of 1.75% notes due in August 2031, and
                                                                                          under which we agree to maintain an EBITDA-to-interest ratio of at
     $450.0 million of 2.80% notes due in August 2061, all issued at a
                                                                                          least 3.0 to 1.0. The EBITDA-to-interest ratio is defined in the credit
     discount. Net proceeds to the Company from the debt offering
                                                                                          facility as the ratio of consolidated EBITDA (as defined in the facility)
     were $1,485.6 million. We used these net proceeds primarily to
                                                                                          for the preceding four quarters to consolidated interest expense
     fund the acquisition of Plex. Refer to Note 4 in the Consolidated
                                                                                          for the same period.
     Financial Statements for additional information on this acquisition.
                                                                                          LIBOR was the primary basis for determining interest payments on
     In March 2019, we issued $1.0 billion aggregate principal amount
                                                                                          borrowings under our former $1.25 billion credit facility. Our new
     of long-term notes in a registered public offering. The offering
                                                                                          $1.5 billion credit facility uses the secured overnight funding rate
     consisted of $425.0 million of 3.50% notes due in March 2029 and
                                                                                          (SOFR) as the primary basis for determining interest payments.
     $575.0 million of 4.20% notes due in March 2049, both issued at
     a discount. Net proceeds to the Company from the debt offering                       Among other uses, we can draw on our credit facility as a standby
     were $987.6 million. We used these net proceeds primarily to repay                   liquidity facility to repay our outstanding commercial paper as it
     our outstanding commercial paper, with the remaining proceeds                        matures. This access to funds to repay maturing commercial paper
     used for general corporate purposes.                                                 is an important factor in maintaining the short-term credit ratings
                                                                                          set forth in the table below. Under our current policy with respect
     We entered into treasury locks to manage the potential change
                                                                                          to these ratings, we expect to limit our other borrowings under our
     in interest rates in anticipation of the issuance of the $1.5 billion
                                                                                          credit facility, if any, to amounts that would leave enough credit
     aggregate notes in August 2021 and the $1.0 billion of fixed rate
                                                                                          available under the facility so that we could borrow, if needed, to
     debt in March 2019. These treasury locks were designated as and
                                                                                          repay all of our then outstanding commercial paper as it matures.
     accounted for as cash flow hedges. The effective differentials paid
     on these treasury locks was initially recorded in Accumulated other                  Separate short-term unsecured credit facilities of approximately
     comprehensive loss, net of tax effect. As a result of the changes                    $214.1 million at September 30, 2022, were available to non-U.S.
     in the interest rates on the treasury locks between the time we                      subsidiaries, of which approximately $30.0 million was committed
     entered into the treasury locks and the time we priced and issued                    under letters of credit. Borrowings under our non-U.S. credit




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facilities at September 30, 2022 and 2021, were not significant.            During the fourth quarter of fiscal 2021, as a result of the additional
We were in compliance with all covenants under our credit                   leverage added to fund the Plex acquisition, Standard & Poor’s elected
facilities at September 30, 2022 and 2021. There are no significant         to downgrade our Outlook from “Stable” to “Negative”. No changes
commitment fees or compensating balance requirements under                  were made to existing ratings by Moody’s or Fitch. The following is a
our credit facilities.                                                      summary of our credit ratings as of September 30, 2022:

Credit Rating Agency                                                                    Short Term Rating          Long Term Rating          Outlook

Standard & Poor’s                                                                                      A-1                         A       Negative
Moody’s                                                                                               P-2                         A3         Stable
Fitch Ratings                                                                                           F1                         A         Stable

Our ability to access the commercial paper market, and the related          We use foreign currency forward exchange contracts to manage
costs of these borrowings, is affected by the strength of our credit        certain foreign currency risks. We enter into these contracts to
ratings and market conditions. We have not experienced any                  hedge our exposure to foreign currency exchange rate variability
difficulty in accessing the commercial paper market. If our access          in the expected future cash flows associated with certain
to the commercial paper market is adversely affected due to a               third-party and intercompany transactions denominated in foreign
change in market conditions or otherwise, we would expect to rely           currencies forecasted to occur within the next two years. We also
on a combination of available cash and our unsecured committed              use these contracts to hedge portions of our net investments
credit facility to provide short-term funding. In such event, the           in certain non-U.S. subsidiaries against the effect of exchange
cost of borrowings under our unsecured committed credit facility            rate fluctuations on the translation of foreign currency balances
could be higher than the cost of commercial paper borrowings.               to the U.S. dollar. In addition, we use foreign currency forward
                                                                            exchange contracts that are not designated as hedges to offset
We regularly monitor the third-party depository institutions that
                                                                            transaction gains or losses associated with some of our assets and
hold our cash and cash equivalents and short-term investments.
                                                                            liabilities resulting from intercompany loans or other transactions
We diversify our cash and cash equivalents and short-term
                                                                            with third parties that are denominated in currencies other than
investments among counterparties to minimize exposure to any
                                                                            our entities’ functional currencies. Our foreign currency forward
one of these entities.
                                                                            exchange contracts are usually denominated in currencies of
On December 10, 2021, the Company entered a 10b5-1 plan related             major industrial countries. We diversify our foreign currency
to our PTC Shares, pursuant to which a broker will make periodic            forward exchange contracts among counterparties to minimize
sales of some of our PTC Shares on behalf of the Company, subject           exposure to any one of these entities.
to the terms of the plan. Starting in June 2022, the Company made
                                                                            Cash dividends declared to shareowners were $520.8 million in
periodic sales of our PTC Shares in the open market, outside of
                                                                            2022 ($4.48 per common share), $497.5 million in 2021 ($4.28 per
the parameters of the existing 10b5-1 plan. All of our sales of PTC
                                                                            common share), and $472.8 million in 2020 ($4.08 per common
are consistent with the transfer restrictions in the securities
                                                                            share). Our quarterly dividend rate as of September 30, 2022, is
purchase agreement, as amended, with PTC. As of September 30,
                                                                            $1.12 per common share ($4.48 per common share annually), which
2022, the fiscal year-to-date sales of our PTC shares under our
                                                                            is determined at the sole discretion of our Board of Directors.
10b5-1 plan and open market sales resulted in a gross inflow of
$202.4 million. This excludes any tax liability related to the realized
gain on investment. These proceeds, and any proceeds from
future sales, will support our future uses of cash.


SUPPLEMENTAL SALES INFORMATION
We translate sales of subsidiaries operating outside of the United          performance. When we acquire businesses, we exclude sales
States using exchange rates effective during the respective                 in the current period for which there are no comparable sales in
period. Therefore, changes in currency exchange rates affect                the prior period. We determine the effect of changes in currency
our reported sales. Sales by acquired businesses also affect our            exchange rates by translating the respective period’s sales using
reported sales. We believe that organic sales, defined as sales             the same currency exchange rates that were in effect during the
excluding the effects of acquisitions and changes in currency               prior year. When we divest a business, we exclude sales in the
exchange rates, which is a non-GAAP financial measure, provides             prior period for which there are no comparable sales in the current
useful information to investors because it reflects regional and            period. Organic sales growth is calculated by comparing organic
operating segment performance from the activities of our                    sales to reported sales in the prior year, excluding divestitures.
businesses without the effect of acquisitions and changes in                We attribute sales to the geographic regions based on the country
currency exchange rates. We use organic sales as one measure                of destination.
to monitor and evaluate our regional and operating segment




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     The following is a reconciliation of reported sales to organic sales by geographic region (in millions):

                                                                                                                                          Year Ended
                                                                                                                                         September 30,
                                                                                       Year Ended September 30, 2022                         2021
                                                                                                Less:        Effect of
                                                                         Reported            Effect of     Changes in         Organic        Reported
                                                                            Sales         Acquisitions      Currency            Sales           Sales
      North America                                                $       4,722.0    $         152.0 $           (6.5) $     4,576.5    $     4,132.8
      Europe, Middle East and Africa                                        1,437.6               6.8          (140.5)         1,571.3         1,405.7
      Asia Pacific                                                         1,088.0                0.4           (34.4)        1,122.0          1,012.2
      Latin America                                                           512.8               2.3             (6.6)          517.1          446.7
      TOTAL COMPANY SALES                                          $       7,760.4    $          161.5 $       (188.0) $      7,786.9    $     6,997.4


                                                                                                                                          Year Ended
                                                                                                                                         September 30,
                                                                                       Year Ended September 30, 2021                         2020
                                                                                                Less:        Effect of
                                                                         Reported            Effect of     Changes in         Organic        Reported
                                                                            Sales         Acquisitions      Currency            Sales           Sales
      North America                                                $       4,132.8    $          48.1 $          24.6     $   4,060.1    $     3,760.2
      Europe, Middle East and Africa                                       1,405.7               44.9            76.9         1,283.9          1,249.3
      Asia Pacific                                                          1,012.2               0.6            53.1           958.5           868.7
      Latin America                                                          446.7                0.3             (4.7)         451.1            451.6
      TOTAL COMPANY SALES                                          $       6,997.4    $          93.9 $         149.9     $   6,753.6    $    6,329.8

     The following is a reconciliation of reported sales to organic sales by operating segment (in millions):

                                                                                                                                          Year Ended
                                                                                                                                         September 30,
                                                                                       Year Ended September 30, 2022                         2021
                                                                                                Less:        Effect of
                                                                         Reported            Effect of     Changes in         Organic        Reported
                                                                            Sales         Acquisitions      Currency            Sales           Sales
      Intelligent Devices                                          $       3,544.6    $             — $         (89.8) $      3,634.4    $     3,311.9
      Software & Control                                                   2,312.9              150.6           (52.7)        2,215.0          1,947.0
      Lifecycle Services                                                   1,902.9               10.9           (45.5)        1,937.5          1,738.5
      TOTAL COMPANY SALES                                          $       7,760.4    $          161.5 $       (188.0) $      7,786.9    $     6,997.4


                                                                                                                                          Year Ended
                                                                                                                                         September 30,
                                                                                       Year Ended September 30, 2021                         2020
                                                                                                Less:        Effect of
                                                                         Reported            Effect of     Changes in         Organic        Reported
                                                                            Sales         Acquisitions      Currency            Sales           Sales
      Intelligent Devices                                          $        3,311.9   $             — $          70.5     $   3,241.4    $     2,956.0
      Software & Control                                                    1,947.0              54.8            42.1         1,850.1          1,681.3
      Lifecycle Services                                                    1,738.5               39.1           37.3         1,662.1          1,692.5
      TOTAL COMPANY SALES                                          $       6,997.4    $          93.9 $         149.9     $   6,753.6    $    6,329.8




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CRITICAL ACCOUNTING ESTIMATES
We believe the following accounting estimates are the most critical      of revenue growth and margins for our Sensia reporting unit may
to the understanding of our financial statements as they could have      be impacted by its concentration within the Oil & Gas industry and
the most significant effect on our reported results and require          with its customer base. Demand for Sensia hardware and software
subjective or complex judgments by management. Accounting                products, solutions, and services is sensitive to industry volatility
principles generally accepted in the United States require us to         and risks, including those related to commodity prices, supply
make estimates and assumptions that affect the reported amounts          and demand dynamics, production costs, geological activity, and
of assets and liabilities at the date of the consolidated financial      political activities. If such factors impact our ability to achieve
statements and revenues and expenses during the periods                  forecasted revenue growth rates and margins, the fair value of the
reported. These estimates are based on our best judgment about           reporting unit could decrease, which may result in an impairment.
current and future conditions, but actual results could differ from      We determined the discount rate using our weighted average
those estimates. Refer to Note 1 in the Consolidated Financial           cost of capital adjusted for risk factors including risk associated
Statements for information regarding our significant accounting          with our above market revenue growth assumptions, historical
policies.                                                                performance, and industry-specific and economic factors.
                                                                         Based on these assumptions and estimates, the fair value of the
GOODWILL - SENSIA REPORTING UNIT                                         Sensia reporting unit exceeded its carrying value by approximately
The quantitative test of goodwill for impairment requires us to          20 percent in the second quarter and approximately 15 percent
estimate the fair value of our reporting units. During the second        in the fourth quarter. Therefore, we deemed that no impairment
quarter of fiscal 2022, we performed our annual quantitative             existed during the year ended September 30, 2022, on $315.9 million
impairment test for our Sensia reporting unit. As a result of ongoing    of Goodwill allocated to the Sensia reporting unit.
supply chain constraints and market volatility, we identified a          More information regarding goodwill impairment testing is
triggering event in the fourth quarter of fiscal 2022 for our Sensia     contained in Note 1 and Note 3 in the Consolidated Financial
reporting unit, which required an interim quantitative impairment        Statements.
test. We determined the fair value of the reporting unit for both
tests under a combination of an income approach derived from
discounted cash flows and a market multiples approach using
                                                                         RETIREMENT BENEFITS - PENSION
selected comparable public companies.                                    Pension costs and obligations are actuarially determined and
                                                                         are influenced by assumptions used to estimate these amounts,
Critical assumptions used in this approach included management’s
                                                                         including the discount rate. Changes in any of the assumptions
estimated future revenue growth rates, estimated future margins,
                                                                         and the amortization of differences between the assumptions and
and discount rate. Estimated future revenue growth and margins
                                                                         actual experience will affect the amount of pension expense in
are based on management’s best estimate about current and
                                                                         future periods.
future conditions. The revenue growth rate assumption reflects
significant growth over the next five years before moderating back       Our global pension expense in 2022 was $74.4 million compared to
to a growth rate approximating longer term average inflationary          $157.0 million in 2021. Approximately all of our 2022 global pension
rates. The forecasted near-term growth rate assumes that                 expense and 76 percent of our global projected benefit obligation
revenue will return to pre-pandemic levels due to the abatement          relate to our U.S. pension plan. The discount rate used to determine
of pandemic-related disruptions. Margin assumptions reflect that         our 2022 U.S. pension expense was 3.86 percent, compared to
the cost pressure in the current year related to inflation and supply    2.90 percent for 2021.
chain challenges will be compensated through pricing achieved on
future orders. We believe the assumptions and estimates made             For 2023, our U.S. discount rate will increase to 5.65 percent
were reasonable and appropriate, which are based on a number             from 3.86 percent in 2022. The discount rate was set as of our
of factors, including historical experience, reference to external       September 30 measurement date and was determined by modeling
product available market and industry growth publications, analysis      a portfolio of bonds that match the expected cash flow of our
of peer group projections, and information obtained from reporting       benefit plans.
unit management, including backlog. Actual results and forecasts




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       Item 7. Management’s Discussion and Analysis of Financial Condition and Results of Operations




     The changes in our discount rate has an inverse relationship with our net periodic benefit cost and projected benefit obligation. The
     following chart illustrates the estimated change in projected benefit obligation and annual net periodic benefit cost assuming a change
     of 25 basis points in the discount rate for our U.S. pension plans (in millions):

                                                                                                                            Pension Benefits

                                                                                                                         Change in         Change in Net
                                                                                                                         Projected             Periodic
                                                                                                                           Benefit              Benefit
                                                                                                                         Obligation               Cost(1)
      Discount rate                                                                                            $              69.0    $              5.3
      (1)   Change includes both operating and non-operating pension costs.

     More information regarding pension benefits is contained in Note 14 in the Consolidated Financial Statements.

     REVENUE RECOGNITION - CUSTOMER INCENTIVES                                     reasonable and appropriate, these estimates require judgment
                                                                                   and are based in part on historical experience and information
     We offer various incentive programs that provide distributors                 obtained from Plex management.
     and direct sale customers with cash rebates, account credits,
     or additional hardware and software products, solutions, and                  The key assumption requiring the use of judgement in the valuation
     services based on meeting specified program criteria. Customer                of the customer relationship intangible asset was the customer
     incentives are recognized as a reduction of sales if distributed              attrition rate of 5 percent. This rate was selected based on historical
     in cash or customer account credits. We record accruals at the                experience and information obtained from Plex management.
     time of revenue recognition as a current liability within Customer            A change in the customer attrition rate of 250 basis points would
     returns, rebates and incentives in our Consolidated Balance Sheet             result in a change of $63 million in intangible assets. The key
     or, where a right of setoff exists, as a reduction of Receivables.            assumptions requiring the use of judgement in the valuation of the
     Customer incentives for additional hardware and software                      technology intangible asset were the royalty rate of 25 percent and
     products, solutions, and services to be provided are considered               the obsolescence factor. The royalty rate was based on a detailed
     distinct performance obligations. As such, we allocate revenue to             analysis considering the importance of the technology to the overall
     them based on relative standalone selling price. Until the incentive          enterprise and market royalty data. A change in the royalty rate of
     is redeemed, the revenue is recorded as a contract liability.                 500 basis points would result in a change of $47 million in intangible
                                                                                   assets. The obsolescence factor was calculated assuming phase
     Our primary incentive program provides distributors with cash                 out over ten years based on discussions with Plex management,
     rebates or account credits based on agreed amounts that vary                  the nature of the technology, its integration into customers’
     depending on the customer to whom our distributor ultimately                  manufacturing systems, and other third-party information for
     sells the product. A critical assumption used in estimating the               similar transactions. A two-year change in this assumption would
     accrual for this program is the time period from when revenue                 result in a change of $52 million in intangible assets.
     is recognized to when the rebate is processed. Our estimate is
     based primarily on historical experience. If the time period were             More information regarding this business combination is contained
     to change by 10 percent, the effect would be an adjustment to the             in Note 4 in the Consolidated Financial Statements.
     accrual of approximately $25.7 million.
     More information regarding our revenue recognition and returns,
                                                                                   ACQUISITIONS - SENSIA JOINT VENTURE
     rebates and incentives policies are contained in Note 1 and Note 2            INTANGIBLE ASSETS VALUATION
     in the Consolidated Financial Statements.                                     We recorded assets acquired and liabilities assumed in connection
                                                                                   with the formation of Sensia based on their estimated fair values
     ACQUISITIONS - PLEX INTANGIBLE ASSETS                                         as of the acquisition date of October 1, 2019. The accounting for a
     VALUATION                                                                     business combination requires the excess of the purchase price
                                                                                   for the acquisition over the net book value of assets acquired
     The accounting for a business combination requires the excess                 to be allocated to the identifiable assets of the acquired entity.
     of the purchase price for the acquisition over the net book value             Any unallocated portion is recognized as goodwill. We engaged
     of assets acquired to be allocated to the identifiable assets of the          an independent third-party valuation specialist to assist with the
     acquired entity. Any unallocated portion is recognized as goodwill.           fair value allocation of the purchase price paid in connection with
     We engaged an independent third-party valuation specialist to                 formation of the Sensia joint venture to intangible assets, which
     assist with the fair value allocation of the purchase price paid for          required the use of several assumptions and estimates. Although
     the acquisition of Plex to intangible assets. This required the use           we believe the assumptions and estimates made were reasonable
     of several assumptions and estimates including the customer                   and appropriate, these estimates are based on historical
     attrition rate, forecasted cash flows attributable to existing                experience and information obtained from Sensia management.
     customers, and the discount rate for the customer relationship                The key assumption requiring the use of judgment was the
     intangible asset and the royalty rate, forecasted revenue growth              customer attrition rates ranging from 7.5 percent to 25 percent.
     rates, and the discount rate for the technology intangible asset.             A change in the customer attrition rate of 250 basis points would
     Although we believe the assumptions and estimates made were                   result in a change of $40.4 million in intangible assets.
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                                                                                Item 7A. Quantitative and Qualitative Disclosures About Market Risk




RECENT ACCOUNTING PRONOUNCEMENTS
See Note 1 in the Consolidated Financial Statements regarding recent accounting pronouncements.



ITEM 7A.	QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT
          MARKET RISK
We are exposed to market risk during the normal course of                  as derivative financial instruments in the form of foreign currency
business from changes in foreign currency exchange rates and               forward exchange contracts. We sometimes use interest rate swap
interest rates. We manage exposure to these risks through a                contracts to manage the balance of fixed and floating rate debt.
combination of normal operating and financing activities as well


FOREIGN CURRENCY RISK
We are exposed to foreign currency risks that arise from normal            and liabilities. For such assets and liabilities without offsetting
business operations. These risks include the translation of local          foreign currency forward exchange contracts, a 10 percent
currency balances of foreign subsidiaries, transaction gains and           adverse change in the underlying foreign currency exchange rates
losses associated with intercompany loans with foreign subsidiaries,       would reduce our pre-tax income by approximately $35.1 million.
and transactions denominated in currencies other than a location’s
                                                                           We record all derivatives on the balance sheet at fair value
functional currency. Our objective is to minimize our exposure to
                                                                           regardless of the purpose for holding them. The use of foreign
these risks through a combination of normal operating activities
                                                                           currency forward exchange contracts allows us to manage
and the use of foreign currency forward exchange contracts.
                                                                           transactional exposure to exchange rate fluctuations as the
Contracts are usually denominated in currencies of major industrial
                                                                           gains or losses incurred on these contracts will offset, in whole
countries. The fair value of our foreign currency forward exchange
                                                                           or in part, losses or gains on the underlying foreign currency
contracts is an asset of $120.1 million and a liability of $32.2 million
                                                                           exposure. Derivatives that are not designated as hedges for
at September 30, 2022. We enter into these contracts with major
                                                                           accounting purposes are adjusted to fair value through earnings.
financial institutions that we believe to be creditworthy.
                                                                           For derivatives that are hedges, depending on the nature of the
We do not enter into derivative financial instruments for speculative      hedge, changes in fair value are either offset by changes in the
purposes. The strengthening of the U.S. dollar against foreign             fair value of the hedged assets, liabilities, or firm commitments
currencies has an unfavorable impact on our sales and results of           through earnings or recognized in other comprehensive loss until
operations. While future changes in foreign currency exchange rates        the hedged item is recognized in earnings. We recognize the
are difficult to predict, our sales and profitability may be adversely     ineffective portion of a derivative’s change in fair value in earnings
affected if the U.S. dollar strengthens relative to current levels.        immediately. There was no impact on earnings due to ineffective
                                                                           hedges in 2022, 2021, or 2020. A hypothetical 10 percent adverse
Certain of our locations have assets and liabilities denominated
                                                                           change in underlying foreign currency exchange rates associated
in currencies other than their functional currencies. We enter
                                                                           with the hedged exposures and related contracts would not be
into foreign currency forward exchange contracts to offset the
                                                                           significant to our financial condition or results of operations.
transaction gains or losses associated with some of these assets


INTEREST RATE RISK
In addition to existing cash balances and cash provided by normal          A hypothetical 50 basis point increase in average market interest
operating activities, we use a combination of short-term and               rates related to our short-term debt would not be significant to
long-term debt to finance operations. We are exposed to interest           our results of operations or financial condition.
rate risk on certain of these debt obligations.
                                                                           We had outstanding fixed rate long-term and current portion of
Our Short-term debt as of September 30, 2022 and 2021, includes            long-term debt obligations with a carrying value of $3,476.9 million
commercial paper borrowings of $317.0 million and $484.0 million,          at September 30, 2022, and $3,471.4 million at September 30,
respectively, with weighted average interest rates of 3.03 percent         2021. The fair value of this debt was approximately $3,074.5 million
and 0.18 percent, respectively, and weighted average maturity              at September 30, 2022, and $3,881.6 million at September 30,
periods of 22 days and 90 days, respectively. Also included                2021. The potential increase in fair value on such fixed-rate debt
in Short-term debt as of September 30, 2022 and 2021, is                   obligations from a hypothetical 50 basis point decrease in market
$42.3 million and $23.5 million, respectively, of interest-bearing         interest rates would not be significant to our results of operations
loans from SLB to Sensia, due in December 2022. We have issued,            or financial condition. We currently have no plans to repurchase
and anticipate continuing to issue, short-term commercial paper            our outstanding fixed-rate instruments before their maturity and,
obligations as needed. Changes in market interest rates on                 therefore, fluctuations in market interest rates would not have an
commercial paper borrowings affect our results of operations.              effect on our results of operations or shareowners’ equity.

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     ITEM 8. FINANCIAL STATEMENTS AND SUPPLEMENTARY DATA

     CONSOLIDATED BALANCE SHEET
     (IN MILLIONS, EXCEPT PER SHARE AMOUNTS)
                                                                                             September 30,
                                                                                              2022              2021
      ASSETS
      Current assets
        Cash and cash equivalents                                                      $     490.7     $       662.2
        Receivables                                                                         1,736.7          1,424.5
        Inventories                                                                         1,054.2             798.1
        Other current assets                                                                  329.1             178.6
          Total current assets                                                              3,610.7          3,063.4
      Property, net of accumulated depreciation                                              586.5              581.9
      Operating lease right-of-use assets                                                     321.0            377.7
      Goodwill                                                                             3,524.0           3,625.9
      Other intangible assets, net                                                           902.0            1,021.8
      Deferred income taxes                                                                  384.3             380.9
      Long-term investments                                                                 1,056.0           1,363.5
      Other assets                                                                           374.2             286.5
      TOTAL                                                                            $   10,758.7    $     10,701.6
      LIABILITIES AND SHAREOWNERS’ EQUITY
      Current liabilities
        Short-term debt                                                                $     359.3     $       509.7
        Current portion of long-term debt                                                    609.1                6.8
        Accounts payable                                                                    1,028.0            889.8
        Compensation and benefits                                                            292.7             408.0
        Contract liabilities                                                                 507.0             462.5
        Customer returns, rebates and incentives                                              373.1            237.8
        Other current liabilities                                                            403.0             477.6
          Total current liabilities                                                        3,572.2           2,992.2
      Long-term debt                                                                        2,867.8          3,464.6
      Retirement benefits                                                                     471.2            720.6
      Operating lease liabilities                                                            263.5             313.6
      Other liabilities                                                                      567.3              516.5
      Commitments and contingent liabilities (Note 17)
      Shareowners’ equity
        Common stock ($1.00 par value, shares issued: 181.4)                                  181.4             181.4
        Additional paid-in capital                                                          2,007.1           1,933.6
        Retained earnings                                                                   8,411.8          8,000.4
        Accumulated other comprehensive loss                                                 (917.5)          (1,017.1)
        Common stock in treasury, at cost (shares held: 66.2 and 65.4, respectively)       (6,957.2)         (6,708.7)
          Shareowners’ equity attributable to Rockwell Automation, Inc.                    2,725.6           2,389.6
        Noncontrolling interests                                                              291.1            304.5
          Total shareowners’ equity                                                         3,016.7          2,694.1
      TOTAL                                                                            $   10,758.7    $     10,701.6
      See Notes to Consolidated Financial Statements.

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CONSOLIDATED STATEMENT OF OPERATIONS
(IN MILLIONS, EXCEPT PER SHARE AMOUNTS)

                                                                    Year Ended September 30,
                                                                 2022              2021              2020
Sales
 Products and solutions                                 $     6,993.4      $    6,285.2     $     5,663.6
 Services                                                       767.0             712.2             666.2
                                                              7,760.4           6,997.4           6,329.8
Cost of sales
 Products and solutions                                       (4,173.4)        (3,638.7)         (3,305.9)
 Services                                                      (485.0)           (461.0)           (428.7)
                                                             (4,658.4)         (4,099.7)         (3,734.6)
 Gross profit                                                 3,102.0           2,897.7           2,595.2
Selling, general and administrative expenses                  (1,766.7)        (1,680.0)          (1,479.8)
Change in fair value of investments                             (136.9)           397.4             153.9
Other (expense) income (Note 15)                                   (1.6)            5.7              (29.7)
Interest expense                                                (123.2)           (94.6)            (103.5)
Income before income taxes                                     1,073.6          1,526.2            1,136.1
Income tax provision (Note 16)                                  (154.5)           (181.9)           (112.9)
NET INCOME                                                       919.1         1,344.3            1,023.2
 Net loss attributable to noncontrolling interests                (13.1)           (13.8)             (0.2)
NET INCOME ATTRIBUTABLE TO ROCKWELL AUTOMATION, INC.    $       932.2      $    1,358.1     $     1,023.4
Earnings per share:
Basic                                                   $        8.02      $      11.69     $        8.83
Diluted                                                 $         7.97     $      11.58     $        8.77
Weighted average outstanding shares:
Basic                                                            115.9            116.0              115.8
Diluted                                                          116.7             117.1             116.6
See Notes to Consolidated Financial Statements.




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     CONSOLIDATED STATEMENT OF COMPREHENSIVE INCOME
     (IN MILLIONS)
                                                                                                           Year Ended September 30,

                                                                                                         2022           2021           2020

      Net income                                                                                   $     919.1    $   1,344.3     $   1,023.2
      Other comprehensive income (loss)
        Pension and other postretirement benefit plan adjustments                                       246.5          576.4              9.3
        (net of tax expense of ($76.0), ($181.0), and ($3.4))
        Currency translation adjustments                                                                (185.4)          31.4            25.7
        Net change in cash flow hedges (net of tax (expense) benefit of ($14.3), $3.1, and $6.6)         38.2            (11.4)         (18.5)
      Other comprehensive income                                                                         99.3          596.4             16.5
      Comprehensive income                                                                             1,018.4        1,940.7         1,039.7
        Comprehensive loss attributable to noncontrolling interests                                      (13.4)         (14.5)           (0.5)
      COMPREHENSIVE INCOME ATTRIBUTABLE TO ROCKWELL AUTOMATION, INC.                               $   1,031.8    $   1,955.2     $   1,040.2
      See Notes to Consolidated Financial Statements.




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CONSOLIDATED STATEMENT OF CASH FLOWS                                             Year Ended September 30,

(IN MILLIONS)                                                                  2022              2021            2020
Operating activities:
Net income                                                           $         919.1 $        1,344.3 $       1,023.2
Adjustments to arrive at cash provided by operating activities
  Depreciation                                                                 126.6            123.9            122.5
  Amortization of intangible assets                                            112.3              65.9             50.2
  Change in fair value of investments                                          136.9           (397.4)          (153.9)
  Share-based compensation expense                                              68.1               51.7            46.1
  Retirement benefit expense                                                    76.4             155.1           129.5
  Pension contributions                                                        (53.6)            (35.8)           (84.1)
  Deferred income taxes                                                        (33.6)           (184.1)           (65.7)
  Net loss (gain) on disposition of property                                     0.6               0.5            (12.4)
  Settlement of interest rate derivatives                                         —              (28.0)            22.0
  Changes in assets and liabilities, excluding effects
  of acquisitions and foreign currency adjustments
    Receivables                                                               (415.6)           (138.1)            (9.0)
    Inventories                                                              (292.8)          (202.8)             30.4
    Accounts payable                                                           172.0            184.8              (5.0)
    Contract liabilities                                                       102.0            104.4             43.3
    Compensation and benefits                                                   (78.2)          174.6            (44.6)
    Income taxes                                                              (129.3)             57.2            (11.8)
    Other assets and liabilities                                                112.2            (15.2)           39.8
      Cash provided by operating activities                                    823.1          1,261.0          1,120.5
Investing activities:
Capital expenditures                                                          (141.1)           (120.3)          (113.9)
Acquisition of businesses, net of cash acquired                                (16.6)        (2,488.5)         (550.9)
Purchases of investments                                                      (59.8)              (13.6)          (10.7)
Proceeds from sale of investments                                             210.2                  —             37.9
Proceeds from sale of property                                                   0.6                0.4            14.9
Other investing activities                                                        (1.1)            (4.6)            4.7
  Cash used for investing activities                                             (7.8)       (2,626.6)          (618.0)
Financing activities:
Net issuance of short-term debt                                                  40.8           275.9               —
Issuance of short-term debt, net of issuance costs                                18.8           211.4           423.6
Issuance of long-term debt, net of discount and issuance costs                      —         1,485.6               —
Repayment of short-term debt                                                  (210.0)              (2.5)       (400.0)
Repayment of long-term debt                                                         —                —         (300.7)
Cash dividends                                                                (519.4)           (497.1)         (472.8)
Purchases of treasury stock                                                   (301.3)          (299.7)         (264.2)
Proceeds from the exercise of stock options                                       57.9           154.6           214.4
Other financing activities                                                       (21.0)          (30.4)            0.8
  Cash (used for) provided by financing activities                           (934.2)          1,297.8           (798.9)
Effect of exchange rate changes on cash                                         (52.6)             16.8            8.4
Decrease in cash, cash equivalents, and restricted cash                        (171.5)            (51.0)        (288.0)
Cash, cash equivalents, and restricted cash at beginning of year               679.4            730.4          1,018.4
Cash, cash equivalents, and restricted cash at end of year           $         507.9 $          679.4 $          730.4
Components of cash, cash equivalents, and restricted cash
  Cash and cash equivalents                                          $        490.7 $          662.2 $          704.6
  Restricted cash, current (Other current assets)                               8.6                —                —
  Restricted cash, noncurrent (Other assets)                                    8.6              17.2            25.8
  TOTAL CASH, CASH EQUIVALENTS, AND RESTRICTED CASH                  $        507.9 $          679.4 $          730.4

See Notes to Consolidated Financial Statements.
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     CONSOLIDATED STATEMENT OF SHAREOWNERS’ EQUITY
     (IN MILLIONS, EXCEPT PER SHARE AMOUNTS)

                                                                                                                              Total
                                                                                      Accumulated   Common             attributable
                                                       Additional                           other    stock in           to Rockwell                           Total
                                           Common        paid-in       Retained     comprehensive treasury, at         Automation,      Noncontrolling shareowners’
                                             stock        capital      earnings              loss       cost                    Inc.        interests        equity
      Balance at September 30, 2019 $ 181.4            $ 1,709.1      $ 6,440.2     $      (1,488.0) $ (6,438.5) $           404.2      $          —     $    404.2
      Net income (loss)                            —            —       1,023.4                   —              —          1,023.4              (0.2)       1,023.2
      Other comprehensive
                                                   —            —              —                16.8             —             16.8              (0.3)          16.5
      income (loss)
      Common stock issued
      (including share-based                       —          77.0             —                  —         183.5            260.5                 —          260.5
      compensation impact)
      Share repurchases                            —            —              —                  —        (254.9)           (254.9)               —         (254.9)
      Cash dividends declared(1)                   —            —        (472.8)                  —              —           (472.8)               —          (472.8)
      Adoption of accounting
                                         —                      —         149.0              (146.8)             —              2.2                —             2.2
      standard
      Change in noncontrolling
                                         —                   44.6              —                3.8              —             48.4            319.5          367.9
      interest
      Balance at September 30, 2020 $ 181.4            $ 1,830.7      $ 7,139.8     $       (1,614.2) $ (6,509.9) $         1,027.8     $      319.0     $   1,346.8
      Net income (loss)                            —            —        1,358.1                  —              —          1,358.1             (13.8)       1,344.3
      Other comprehensive
                                                   —            —              —              597.1              —            597.1              (0.7)        596.4
      income (loss)
      Common stock issued
      (including share-based                       —        103.5              —                  —         102.7            206.2                 —          206.2
      compensation impact)
      Share repurchases                            —            —              —                  —         (301.5)          (301.5)               —          (301.5)
      Cash dividends declared(1)                   —            —         (497.5)                 —              —           (497.5)               —          (497.5)
      Change in noncontrolling
                                         —                    (0.6)            —                  —              —             (0.6)               —            (0.6)
      interest
      Balance at September 30, 2021 $ 181.4            $ 1,933.6      $ 8,000.4     $        (1,017.1) $ (6,708.7) $       2,389.6      $      304.5     $   2,694.1
      Net income (loss)                            —            —         932.2                   —              —           932.2              (13.1)         919.1
      Other comprehensive
                                                   —            —              —               99.6              —             99.6              (0.3)         99.3
      income (loss)
      Common stock issued
      (including share-based                       —         73.5              —                  —          52.6             126.1                —           126.1
      compensation impact)
      Share repurchases                            —            —              —                  —         (301.1)           (301.1)              —          (301.1)
      Cash dividends declared(1)          —        —                    (520.8)                  —            —             (520.8)                —          (520.8)
      Balance at September 30, 2022 $ 181.4 $ 2,007.1                 $ 8,411.8 $            (917.5) $ (6,957.2) $         2,725.6 $            291.1    $   3,016.7
      (1)   Cash dividends were $4.48 per share in 2022; $4.28 per share in 2021; and $4.08 per share in 2020.
      See Notes to Consolidated Financial Statements.




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NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 1.        BASIS OF PRESENTATION AND ACCOUNTING POLICIES
Rockwell Automation, Inc. (“Rockwell Automation” or the                sells the product. We also offer various other incentive programs
“Company”) is a global leader in industrial automation and digital     that provide distributors and direct sale customers with cash
transformation. We connect the imaginations of people with             rebates, account credits, or additional hardware and software
the potential of technology to expand what is humanly possible,        products, solutions, and services based on meeting specified
making the world more productive and more sustainable.                 program criteria. Certain distributors are offered a right to return
                                                                       product, subject to contractual limitations.
BASIS OF PRESENTATION                                                  We record accruals for customer returns, rebates and incentives
Our consolidated financial statements are prepared in accordance       at the time of revenue recognition based primarily on historical
with accounting principles generally accepted in the United States     experience. Returns are presented on the Consolidated Balance
of America (U.S. GAAP).                                                Sheet as a right of return asset and refund liability. Incentives in
                                                                       the form of rebates are estimated at the individual customer level
                                                                       and are recorded as a reduction of sales. Customer incentives
PRINCIPLES OF CONSOLIDATION                                            for additional hardware and software products, solutions, and
The accompanying consolidated financial statements include the         services to be provided are considered distinct performance
accounts of the Company and its wholly-owned and controlled            obligations. As such, we allocate revenue to them based on
majority-owned subsidiaries. Intercompany accounts and                 relative standalone selling price. Until the incentive is redeemed,
transactions have been eliminated in consolidation. Investments        the revenue is recorded as a contract liability.
in affiliates over which we do not have control but exercise
significant influence are accounted for using the equity method        TAXES ON REVENUE PRODUCING TRANSACTIONS
of accounting. These affiliated companies are not material
individually or in the aggregate to our financial position, results    Taxes assessed by governmental authorities on revenue producing
of operations, or cash flows.                                          transactions, including sales, value added, excise, and use taxes,
                                                                       are recorded on a net basis (excluded from revenue).
USE OF ESTIMATES
                                                                       CASH AND CASH EQUIVALENTS
The preparation of consolidated financial statements in
accordance with U.S. GAAP requires us to make estimates and            Cash and cash equivalents include time deposits, certificates of
assumptions that affect the reported amounts of assets and             deposit, and other fixed income securities with original maturities
liabilities at the date of the consolidated financial statements and   of three months or less at the time of purchase.
revenues and expenses during the periods reported. Actual results
could differ from those estimates. We use estimates in accounting      RECEIVABLES
for, among other items, customer returns, rebates, and incentives;
                                                                       We record an allowance for doubtful accounts based on
allowance for doubtful accounts; excess and obsolete inventory;
                                                                       customer-specific analysis and general matters such as current
share-based compensation; acquisitions, including consolidation
                                                                       assessments of past due balances and economic conditions.
and intangible assets; goodwill impairment; product warranty
                                                                       Receivables are recorded net of an allowance for doubtful
obligations; capitalization of internal-use software; retirement
                                                                       accounts of $13.1 million at September 30, 2022, and $13.2 million
benefits; litigation, claims, and contingencies, including
                                                                       at September 30, 2021. In addition, receivables are recorded
environmental and asbestos matters, conditional asset retirement
                                                                       net of an allowance for certain customer returns, rebates, and
obligations, and contractual indemnifications; leases; and income
                                                                       incentives of $13.9 million at September 30, 2022, and $6.7 million
taxes. We account for changes to estimates and assumptions
                                                                       at September 30, 2021. The changes to our allowance for doubtful
prospectively when warranted by factually-based experience.
                                                                       accounts during the years ended September 30, 2022 and 2021,
                                                                       were not material and primarily consisted of current-period
REVENUE RECOGNITION                                                    provisions, write-offs charged against the allowance, recoveries
See Note 2 for our revenue recognition policy under Accounting         collected, and foreign currency translation.
Standards Codification (ASC) 606.
                                                                       INVENTORIES
RETURNS, REBATES AND INCENTIVES                                        Inventories are recorded at the lower of cost or market using
Our primary incentive program provides distributors with cash          the first-in, first-out (FIFO) or average cost methods. Market is
rebates or account credits based on agreed amounts that vary           determined on the basis of estimated realizable values.
depending on the customer to whom our distributor ultimately




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     INVESTMENTS
     Investments include time deposits, certificates of deposit, other       it is necessary to perform a quantitative goodwill impairment
     fixed income securities, and equity securities. Investments             test. Our reporting units for goodwill evaluation consist of the
     with original maturities longer than three months at the time of        Intelligent Devices segment, the Software & Control segment,
     purchase and less than one year from period end are classified          the Lifecycle Services segment (excluding Sensia), and Sensia.
     as short-term. All other investments are classified as long-term.       When performing the quantitative goodwill impairment test,
     Fixed income securities meeting the definition of a security            we determine the fair value of each reporting unit under a
     are accounted for as available-for-sale and recorded at fair            combination of an income approach derived from discounted cash
     value. Equity securities with a readily determinable fair value         flows and a market multiples approach using selected comparable
     are recorded at fair value. Equity securities that do not have a        public companies.
     readily determinable fair value, which we account for using the
                                                                             Significant assumptions used in the income approach include:
     measurement alternative under U.S. GAAP, are recorded at the
                                                                             management’s forecasted cash flows, including estimated future
     investment cost, less impairment, plus or minus observable
                                                                             revenue growth rates and margins, discount rates, and terminal
     price changes (in orderly transactions) of an identical or similar
                                                                             value. Forecasts of future revenue growth and margins are based
     investment of the same issuer. All other investments are recorded
                                                                             on management’s best estimates. Actual results and forecasts of
     at cost, which approximates fair value.
                                                                             revenue growth and margins for our Sensia reporting unit may be
                                                                             impacted by its concentration within the Oil & Gas industry and
     PROPERTY                                                                with its customer base. Demand for Sensia hardware and software
     Property, including internal-use software and software to provide       products, solutions, and services is sensitive to industry volatility
     a service (e.g. SaaS arrangements), is recorded at cost. Equipment      and risks, including those related to commodity prices, supply
     under finance leases are stated at the present value of minimum         and demand dynamics, production costs, geological activity, and
     lease payments. We calculate depreciation of property using             political activities. Discount rates are determined using a weighted
     the straight-line method over 3 to 40 years for buildings and           average cost of capital adjusted for risk factors specific to the
     improvements, 3 to 20 years for machinery and equipment, and            reporting unit, with comparison to market and industry data. The
     3 to 10 years for computer hardware and internal-use software.          terminal value is estimated following the common methodology
     We capitalize significant renewals and enhancements and write           of calculating the present value of estimated perpetual cash
     off replaced units. Implementation costs incurred in a cloud            flow beyond the last projected period assuming constant
     computing arrangement that is a service contract are recorded           discount and long-term growth rates. Significant assumptions
     in Other current assets and Other assets on the Consolidated            used in the market multiples approach include selection of the
     Balance Sheet and are amortized over the expected service               comparable public companies and calculation of the appropriate
     period. We expense maintenance and repairs, as well as renewals         market multiples.
     of minor amounts. Property acquired during the year that is             We amortize all intangible assets with finite useful lives on a
     accrued within Accounts payable or Other current liabilities            straight-line basis over their estimated useful lives. Useful lives
     at year end is considered to be a non-cash investing activity           assigned range from 3 to 15 years for trademarks, 8 to 20 years
     and is excluded from cash used for capital expenditures in the          for customer relationships, 4 to 17 years for technology, and
     Consolidated Statement of Cash Flows. Capital expenditures of           3 to 30 years for other intangible assets.
     $23.0 million, $31.5 million, and $27.2 million were accrued within
     Accounts payable and Other current liabilities at September 30,         Intangible assets also include costs of on-premise software
     2022, 2021, and 2020, respectively.                                     developed or purchased by our software business to be sold,
                                                                             leased, or otherwise marketed. Amortization of these computer
                                                                             software products is calculated on a product-by-product basis
     GOODWILL AND OTHER INTANGIBLE ASSETS                                    as the greater of (a) the unamortized cost at the beginning of
     Goodwill and Other intangible assets generally result from business     the year times the ratio of the current year gross revenue for a
     acquisitions. We account for business acquisitions by allocating        product to the total of the current and anticipated future gross
     the purchase price to tangible and intangible assets acquired and       revenue for that product or (b) the straight-line amortization over
     liabilities assumed at their fair values; the excess of the purchase    the remaining estimated economic life of the product.
     price over the allocated amount is recorded as goodwill.
     We perform our annual evaluation of goodwill and indefinite life        IMPAIRMENT OF LONG-LIVED ASSETS
     intangible assets for impairment as required under U.S. GAAP            We evaluate the recoverability of the recorded amount of
     during the second quarter of each year, or more frequently if           long-lived assets, including property, operating lease right-of-use
     events or circumstances change that would more likely than              assets, capitalized implementation costs of a cloud computing
     not reduce the fair value of a reporting unit below its carrying        arrangement, and other intangible assets, whenever events or
     value. Any excess in carrying value over the estimated fair value       changes in circumstances indicate that the recorded amount of
     is charged to results of operations. For our annual evaluation of       an asset may not be fully recoverable. Impairment is assessed
     goodwill, we may perform a qualitative test to determine whether        when the undiscounted expected future cash flows derived from
     it is more likely than not that the fair value of a reporting unit is   an asset are less than its carrying amount. If we determine that an
     less than its carrying amount in order to determine whether             asset is impaired, we measure the impairment to be recognized as



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the amount by which the recorded amount of the asset exceeds              investments, and derivatives. The valuation methodologies for
its fair value. We report assets to be disposed of at the lower of        these financial instruments are described in Notes 7, 10, 11, and 14.
the recorded amount or fair value less cost to sell. We determine
                                                                          We also determine fair value assessments in conjunction with
fair value using a discounted future cash flow analysis.
                                                                          intangible valuations of acquisitions and our annual impairment
                                                                          testing of goodwill and indefinite lived intangible assets. The
DERIVATIVE FINANCIAL INSTRUMENTS                                          valuation methodologies for these assets are described in
We use derivative financial instruments in the form of foreign            Notes 3 and 4.
currency forward exchange contracts to manage certain foreign             The methods described in these Notes may produce a fair value
currency risks. We enter into these contracts to hedge our                calculation that may not be indicative of net realizable value or
exposure to foreign currency exchange rate variability in the             reflective of future fair values. Furthermore, while we believe
expected future cash flows associated with certain third-party            our valuation methods are appropriate and consistent with
and intercompany transactions denominated in foreign currencies           other market participants, the use of different methodologies
forecasted to occur within the next two years. We also use these          or assumptions to determine the fair value of certain financial
contracts to hedge portions of our net investments in certain             instruments could result in a different fair value measurement
non-U.S. subsidiaries against the effect of exchange rate                 at the reporting date.
fluctuations on the translation of foreign currency balances to the
U.S. dollar. Additionally, we use derivative financial instruments in
the form of interest rate swap contracts to manage our borrowing
                                                                          FOREIGN CURRENCY TRANSLATION
costs of certain long-term debt and use treasury locks to manage          We translate assets and liabilities of subsidiaries operating
the potential change in interest rates in anticipation of issuance of     outside of the United States with a functional currency other than
fixed rate debt. We designate and account for these derivative            the U.S. dollar into U.S. dollars using exchange rates at the end of
financial instruments as hedges under U.S. GAAP.                          the respective period. We translate sales, costs, and expenses at
                                                                          average exchange rates effective during the respective period. We
Furthermore, we use foreign currency forward exchange contracts
                                                                          report foreign currency translation adjustments as a component
that are not designated as hedges to offset transaction gains
                                                                          of Other comprehensive income (loss). Currency transaction gains
or losses associated with some of our assets and liabilities
                                                                          and losses are included in results of operations in the period
resulting from intercompany loans or other transactions with
                                                                          incurred.
third parties that are denominated in currencies other than our
entities’ functional currencies. It is our policy to execute such
instruments with global financial institutions that we believe            RESEARCH AND DEVELOPMENT EXPENSES
to be creditworthy and not to enter into derivative financial             We expense research and development (R&D) costs as incurred;
instruments for speculative purposes. Foreign currency forward            these costs were $440.9 million in 2022, $422.5 million in 2021,
exchange contracts are usually denominated in currencies of               and $371.5 million in 2020. We include R&D expenses in Cost of
major industrial countries.                                               sales in the Consolidated Statement of Operations.

FAIR VALUE OF FINANCIAL INSTRUMENTS                                       INCOME TAXES
We record various financial instruments at fair value. U.S. GAAP          We account for uncertain tax positions by determining whether
defines fair value as the price that would be received for an asset       it is more likely than not that a tax position will be sustained
or paid to transfer a liability (exit price) in an orderly transaction    upon examination based on the technical merits of the position.
between market participants in the principal or most advantageous         For tax positions that meet the more likely than not recognition
market for the asset or liability. U.S. GAAP also classifies the inputs   threshold, we determine the amount of benefit to recognize in the
used to measure fair value into the following hierarchy:                  Consolidated Financial Statements based on our assertion of
                                                                          the most likely outcome resulting from an examination, including
Level 1:     Quoted prices in active markets for identical assets or      the resolution of any related appeals or litigation processes.
             liabilities.
Level 2:     Quoted prices in active markets for similar assets or        EARNINGS PER SHARE
             liabilities, quoted prices for identical or similar assets
             or liabilities in markets that are not active, or inputs     We present basic and diluted earnings per share (EPS) amounts.
             other than quoted prices that are observable for the         Basic EPS is calculated by dividing earnings available to common
             asset or liability.                                          shareowners, which is income excluding the allocation to
                                                                          participating securities, by the weighted average number of
Level 3:     Unobservable inputs for the asset or liability.              common shares outstanding during the year, excluding restricted
                                                                          stock. Diluted EPS amounts are based upon the weighted average
We hold financial instruments consisting of cash and short-term
                                                                          number of common and common-equivalent shares outstanding
debt. The fair values of our cash and short-term debt approximate
                                                                          during the year. We use the treasury stock method to calculate
their carrying amounts as reported in our Consolidated Balance
                                                                          the effect of outstanding share-based compensation awards,
Sheet due to the short-term nature of these instruments.
                                                                          which requires us to compute total employee proceeds as the sum
We also hold financial instruments consisting of long-term debt,
                                                                          of the amount the employee must pay upon exercise of the award
                                                                          and the amount of unearned share-based compensation costs

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     attributed to future services. Share-based compensation awards          from the diluted EPS calculation. U.S. GAAP requires unvested
     for which the total employee proceeds of the award exceed the           share-based payment awards that contain non-forfeitable rights
     average market price of the same award over the period have an          to dividends or dividend equivalents, whether paid or unpaid, to be
     antidilutive effect on EPS, and accordingly, we exclude them from       treated as participating securities and included in the computation
     the calculation. Antidilutive share-based compensation awards           of EPS pursuant to the two-class method. Our participating
     for the years ended September 30, 2022 (0.4 million shares), 2021       securities are composed of restricted stock and non-employee
     (0.2 million shares), and 2020 (1.6 million shares), were excluded      director restricted stock units.
     The following table reconciles basic and diluted EPS amounts (in millions, except per share amounts):

                                                                                                   2022               2021               2020
      Net income attributable to Rockwell Automation, Inc.                              $         932.2     $       1,358.1    $       1,023.4
      Less: Allocation to participating securities                                                  (2.9)              (2.1)               (1.0)
      NET INCOME AVAILABLE TO COMMON SHAREOWNERS                                        $         929.3     $       1,356.0    $       1,022.4
      Basic weighted average outstanding shares                                                    115.9              116.0              115.8
      Effect of dilutive securities
        Stock options                                                                               0.7                 1.0                0.7
        Performance shares                                                                           0.1                0.1                0.1
      DILUTED WEIGHTED AVERAGE OUTSTANDING SHARES                                                  116.7               117.1             116.6
      Earnings per share:
      Basic                                                                             $          8.02     $         11.69    $          8.83
      Diluted                                                                           $          7.97     $         11.58    $          8.77


     SHARE-BASED COMPENSATION                                                insurers or other third parties is probable but a right of setoff
                                                                             does not exist, we record a liability for the total estimated costs
     We recognize share-based compensation expense for equity                of remediation and a receivable for the estimated recovery. At
     awards on a straight-line basis over the service period of the award    environmental sites where we are the sole responsible party, we
     based on the fair value of the award as of the grant date.              record a liability for the total estimated costs of remediation.
                                                                             Ongoing operating and maintenance expenditures included in our
     PRODUCT AND WORKERS’ COMPENSATION                                       environmental remediation obligations are discounted to present
     LIABILITIES                                                             value over the probable future remediation period. Our remaining
                                                                             environmental remediation obligations are undiscounted due to
     We record accruals for product and workers’ compensation                subjectivity of timing and/or amount of future cash payments.
     claims in the period in which they are probable and reasonably
     estimable. Our principal self-insurance programs include product
                                                                             CONDITIONAL ASSET RETIREMENT OBLIGATIONS
     liability and workers’ compensation where we self-insure up to
     a specified dollar amount. Claims exceeding this amount up to           We record liabilities for costs related to legal obligations
     specified limits are covered by insurance policies purchased from       associated with the retirement of a tangible, long-lived asset that
     commercial insurers. We estimate the liability for the majority of      results from the acquisition, construction, development, or the
     the self-insured claims using our claims experience for the periods     normal operation of the long-lived asset. The obligation to perform
     being valued.                                                           the asset retirement activity is not conditional even though the
                                                                             timing or method may be conditional.
     ENVIRONMENTAL AND ASBESTOS MATTERS
                                                                             LEASES
     We record liabilities for environmental and asbestos matters in the
     period in which our responsibility is probable and the costs can be     We have operating leases primarily for real estate, vehicles, and
     reasonably estimated. We make changes to the liabilities in the         equipment. We have finance leases primarily for equipment.
     periods in which the estimated costs of remediation change. At          We determine if a contract is, or contains, a lease at contract
     third-party environmental sites where more than one potentially         inception. A right-of-use (ROU) asset and a corresponding lease
     responsible party has been identified, we record a liability for our    liability are recognized at commencement for contracts that are,
     estimated allocable share of costs related to our involvement           or contain, a lease with an original term greater than 12 months.
     with the site, as well as an estimated allocable share of costs         ROU assets represent our right to use an underlying asset during
     related to the involvement of insolvent or unidentified parties. If     the lease term, including periods for which renewal options are
     we determine that recovery from insurers or other third parties         reasonably certain to be exercised, and lease liabilities represent
     is probable and a right of setoff exists, we record the liability net   our obligation to make lease payments arising from the lease.
     of the estimated recovery. If we determine that recovery from           Operating lease expense is recognized on a straight-line basis over



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the lease term for leases with an original term of 12 months or        most leases, among other changes to existing lease accounting
less. Amortization expense of the ROU asset for finance leases is      guidance. This standard also requires additional qualitative and
recognized on a straight-line basis over the lease term and interest   quantitative disclosures about leasing activities. We adopted this
expense for finance leases is recognized based on the incremental      standard using the modified retrospective transition method,
borrowing rate.                                                        which resulted in an immaterial cumulative-effect adjustment to
                                                                       the opening balance of retained earnings as of October 1, 2019, our
Some leasing arrangements require variable payments that
                                                                       adoption date. The amount of lease ROU assets and corresponding
are dependent on usage or may vary for other reasons, such as
                                                                       lease liabilities recorded in the Consolidated Balance Sheet upon
payments for insurance and tax payments. A portion of our real
                                                                       adoption were $316 million and $329 million, respectively. We
estate leases is generally subject to annual changes based upon
                                                                       have implemented necessary changes to accounting policies,
an index. The changes based upon the index are treated as variable
                                                                       processes, controls and systems to enable compliance with
lease payments. The variable portion of lease payments is not
                                                                       this standard.
included in our ROU assets or lease liabilities and is expensed
when incurred. We elected to not separate lease and nonlease           In February 2018, the FASB issued a new standard regarding the
components of contracts for most underlying asset classes.             reporting of comprehensive loss, which gives entities the option
Accordingly, all expenses associated with a lease contract are         to reclassify tax effects of the Tax Cuts and Jobs Act of 2017 (the
accounted for as lease expenses.                                       “Tax Act”) stranded in accumulated other comprehensive loss
                                                                       into retained earnings. We adopted this standard as of October 1,
Lease liabilities are recognized at the contract commencement
                                                                       2019, and elected to reclassify tax effects of approximately
date based on the present value of remaining lease payments
                                                                       $147 million from accumulated other comprehensive loss into
over the lease term. To calculate the lease liabilities we use
                                                                       retained earnings.
our incremental borrowing rate. We determine our incremental
borrowing rate at the commencement date using our unsecured            In June 2016, the FASB issued a new standard that requires
borrowing rate, adjusted for collateralization and lease term. For     companies to utilize a current expected credit losses impairment
leases denominated in a currency other than the U.S. dollar, the       (CECL) model for certain financial assets, including trade and other
collateralized borrowing rate in the foreign currency is determined    receivables. The CECL model requires that estimated expected
using the U.S. dollar and foreign currency swap spread. Long-term      credit losses, including allowance for doubtful accounts, consider
operating lease liabilities are presented as Operating lease           a broader range of information such as economic conditions and
liabilities and current operating lease liabilities are included       expected changes in market conditions. We adopted the new
in Other current liabilities in the Consolidated Balance Sheet.        standard as of October 1, 2020. The adoption of this standard
Long-term finance lease liabilities are presented as Long-term         did not have a material impact on our Consolidated Financial
debt and current finance lease liabilities are included in Other       Statements.
current liabilities in the Consolidated Balance Sheet.
                                                                       In October 2021, the FASB issued a new standard that requires
ROU assets are recognized at the contract commencement                 companies to apply ASC 606 to recognize and measure contract
date at the value of the related lease liability, adjusted for any     assets and contract liabilities in a business combination. We
prepayments, lease incentives received, and initial direct costs       retroactively adopted the new standard as of October 1, 2021. The
incurred. Operating lease ROU assets are presented as Operating        adoption of this standard did not have a material impact on our
lease right-of-use assets and finance lease ROU assets are             Consolidated Financial Statements.
presented as Property in the Consolidated Balance Sheet.
Lease expenses, including amortization of ROU assets, for              RECENTLY ISSUED ACCOUNTING
operating and finance leases are recognized on a straight-line         PRONOUNCEMENTS
basis over the lease term and recorded in Cost of sales and
                                                                       In September 2022, the FASB issued a new standard, which
Selling, general and administrative expenses in the Consolidated
                                                                       requires the buyer in a supplier finance program to disclose
Statement of Operations. Interest expense for finance leases is
                                                                       information about the key terms of the program, outstanding
recorded in Interest expense in the Consolidated Statement of
                                                                       confirmed amounts as of the end of the period, a rollforward
Operations.
                                                                       of such amounts during each annual period, and a description
                                                                       of where in the financial statements outstanding amounts are
RECENTLY ADOPTED ACCOUNTING                                            presented. We are currently assessing the impact of this standard
PRONOUNCEMENTS                                                         on our financial statement disclosures.
In February 2016, the Financial Accounting Standards Board             We do not expect any other recently issued accounting
(FASB) issued a new standard on accounting for leases that             pronouncements to have a material impact on our Consolidated
requires lessees to recognize ROU assets and lease liabilities for     Financial Statements and related disclosures.




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     NOTE 2. REVENUE RECOGNITION

     NATURE OF PRODUCTS AND SERVICES
     Substantially all of our revenue is from contracts with customers.        which may result in accounting for all the products or services in
     We recognize revenue as promised products are transferred to, or          a contract as a single performance obligation.
     services are performed for, customers in an amount that reflects
                                                                               For each performance obligation in a contract, we determine
     the consideration to which we expect to be entitled in exchange
                                                                               whether the performance obligation is satisfied over time. A
     for those products and services. Our offerings consist of industrial
                                                                               performance obligation is satisfied over time if it meets any of
     automation and information products, solutions, and services.
                                                                               the following criteria: (i) the customer simultaneously receives
     Our products include hardware, software, and configured-to-order          and consumes the benefits provided by our performance as we
     products. Our solutions include custom-engineered systems                 perform, or (ii) our performance creates or enhances an asset that
     and software. Our services include customer technical support             the customer controls as the asset is created or enhanced, or
     and repair, asset management and optimization consulting, and             (iii) our performance does not create an asset for which we have
     training. Also included in our services is a portion of revenue related   an alternative use and we have an enforceable right to payment for
     to spare parts that are managed within our services offering.             performance completed to date. If one or more of these criteria
                                                                               are met, then we recognize revenue over time using a method that
     Our operations are comprised of the Intelligent Devices segment,
                                                                               depicts performance. If none of the criteria are met, then control
     the Software & Control segment, and the Lifecycle Services
                                                                               transfers to the customer at a point in time and we recognize
     segment. Revenue from the Intelligent Devices and Software &
                                                                               revenue at that point in time.
     Control segments is predominantly comprised of product sales,
     which are recognized at a point in time. The Software & Control           Our products represent standard, catalog products for which we
     segment also contains revenue from software products, which               have an alternative use, and therefore we recognize revenue at a
     may be recognized over time if certain criteria are met. Revenue          point in time when control of the product transfers to the customer.
     from the Lifecycle Services segment is predominantly comprised            For the majority of our products, control transfers upon shipment,
     of solutions and services, which are primarily recognized over            though for some contracts control may transfer upon delivery.
     time. See Note 19 for more information.                                   Product-type contracts are generally one year or less in length.
     In most countries, we sell primarily through independent                  Revenue in our Software & Control segment also includes
     distributors in conjunction with our direct sales force. We sell large    revenue from perpetual and subscription software licenses under
     systems and service offerings principally through our direct sales        on-premise and SaaS arrangements. When on-premise software
     force, though opportunities are sometimes identified through              licenses are determined to be distinct performance obligations,
     distributors.                                                             we recognize the related revenue at a point in time when the
                                                                               customer is provided the right to use the license, while revenue
     PERFORMANCE OBLIGATIONS                                                   allocated to upgrades and support are recognized over the term
                                                                               of the contract. To the extent that the on-premise license is not
     We use executed sales agreements and purchase orders to                   considered distinct, revenue is recognized over time over the
     determine the existence of a customer contract.                           period the related services are performed. Revenue from SaaS
     For each customer contract, we determine if the products and              arrangements, which allow customers to use hosted software over
     services promised to the customer are distinct performance                the contract period without taking possession of the software, are
     obligations. A product or service is distinct if both of the following    recognized over time during the period the customer is provided
     criteria are met at contract inception: (i) the customer can benefit      the right to use the software.
     from the product or service on its own or together with other             We offer a wide variety of solutions and services to our customers,
     readily available resources, and (ii) our promise to transfer the         for which we recognize revenue over time or at a point in time
     product or perform the service is separately identifiable from            based on the contract as well as the type of solution or service.
     other promises in the contract. The fact that we regularly sell a         If one or more of the three criteria above for over-time revenue
     product or service separately is an indicator that the customer can       recognition are met, we recognize revenue over time as cost
     benefit from a product or service on its own or with other readily        is incurred, as work is performed, or based on time elapsed,
     available resources.                                                      depending on the type of customer contract. If none of these
     The objective when assessing whether our promises to transfer             criteria are met, we recognize revenue at a point in time when
     products or perform services are distinct within the context of           control of the asset being created or enhanced transfers to the
     the contract is to determine whether the nature of the promise            customer, typically upon delivery. More than half of our solutions
     is to transfer each of those products or perform those services           and services revenue is from contracts that are one year or less in
     individually, or whether the promise is to transfer a combined item       length. For certain solutions and services offerings, when we have
     or items to which the promised products or services are inputs.           the right to invoice our customers in an amount that corresponds
     If a promised product or service is not distinct, we combine that         to our performance completed to date, we apply the practical
     product or service with other promised products or services until         expedient to measure progress and recognize revenue based on
     it comprises a bundle of products or services that is distinct,           the amount for which we have the right to invoice the customer.




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When assessing whether we have an alternative use for an asset,            performing services for, a customer. We estimate the transaction
we consider both contractual and practical limitations. These              price at contract inception, and update the estimate each
include: (i) the level and cost of customization of the asset that is      reporting period for any changes in circumstances. In some cases
required to meet a customer’s needs, (ii) the activities, cost, and        a contract may involve variable consideration, including rebates,
profit margin after any rework that would be required before the           credits, allowances for returns, or other similar items that generally
asset could be directed for another use, and (iii) the portion of the      decrease the transaction price. We use historical experience to
asset that could not be reworked for an alternative use.                   estimate variable consideration, including any constraint.
At times we provide products and services free of charge to our            The transaction price (including any discounts and variable
customers as incentives when the customers purchase other                  consideration) is allocated between separate products and
products or services. These represent distinct performance                 services based on their relative standalone selling prices. The
obligations. As such, we allocate revenue to them based on relative        standalone selling prices are determined based on the prices at
standalone selling price.                                                  which we separately sell each good or service. For items that are
                                                                           not sold separately, we estimate the standalone selling price using
Most of our global warranties are assurance in nature and do
                                                                           available information such as market reference points and other
not represent distinct performance obligations. See Note 9 for
                                                                           observable data.
additional information and disclosures. We occasionally offer
extended warranties to our customers that are considered a                 We have elected the practical expedient to exclude sales taxes and
distinct performance obligation, to which we allocate revenue,             other similar taxes from the measurement of the transaction price.
which is recognized over the extended warranty period.
We account for shipping and handling activities performed after            SIGNIFICANT PAYMENT TERMS
control of a product has been transferred to the customer as a             Our standard payment terms vary globally but do not result in
fulfillment cost. As such, we have applied the practical expedient         a significant delay between the timing of invoice and payment.
and we accrue for the costs of shipping and handling activities if         We occasionally negotiate other payment terms during the
revenue is recognized before contractually agreed shipping and             contracting process. We do not typically include significant
handling activities occur.                                                 financing components in our contracts with customers. We have
                                                                           elected the practical expedient to not adjust the transaction price
UNFULFILLED PERFORMANCE OBLIGATIONS                                        for the period between transfer of products or performance of
                                                                           services and customer payment if expected to be one year or less.
As of September 30, 2022, we expect to recognize approximately
$1,200 million of revenue in future periods from unfulfilled               For most of our products, we invoice at the time of shipment and
performance obligations from existing contracts with customers.            we do not typically have significant contract balances. For our
We expect to recognize revenue of approximately $520 million from          solutions and services as well as some of our products, timing may
our remaining performance obligations over the next 12 months              differ between revenue recognition and billing. Depending on the
with the remaining balance recognized thereafter.                          terms agreed to with the customer, we may invoice in advance of
                                                                           performance or we may invoice after performance. When revenue
We have applied the practical expedient to exclude the value of
                                                                           recognition exceeds billing we recognize a receivable, and when
remaining performance obligations for (i) contracts with an original
                                                                           billing exceeds revenue recognition we recognize a contract
term of one year or less and (ii) contracts for which we recognize
                                                                           liability.
revenue in proportion to the amount we have the right to invoice
for services performed. The amounts above also do not include
the impact of contract renewal options that are unexercised as             DISAGGREGATION OF REVENUE
of September 30, 2022.                                                     The following table presents our revenue disaggregation by
                                                                           geographic region for our three operating segments (in millions).
TRANSACTION PRICE                                                          We attribute sales to the geographic regions based on the country
                                                                           of destination.
The transaction price is the amount of consideration to which we
expect to be entitled in exchange for transferring products to, or

                                        Year Ended September 30, 2022                             Year Ended September 30, 2021

                                Intelligent   Software      Lifecycle               Intelligent    Software &        Lifecycle
                                   Devices    & Control     Services      Total        Devices        Control        Services               Total

North America               $     2,223.7 $     1,542.2 $      956.1 $ 4,722.0 $      2,075.4 $       1,186.3    $       871.1    $       4,132.8
Europe, Middle East and
Africa                              629.3        350.4         457.9    1,437.6         595.9           375.0           434.8             1,405.7
Asia Pacific                        443.5         291.8        352.7    1,088.0         432.5          273.9            305.8             1,012.2
Latin America                        248.1        128.5        136.2     512.8          208.1            111.8           126.8             446.7
TOTAL COMPANY SALES $            3,544.6 $      2,312.9 $ 1,902.9 $ 7,760.4 $          3,311.9 $      1,947.0    $     1,738.5    $      6,997.4


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     CONTRACT LIABILITIES
     Contract liabilities primarily relate to consideration received in advance of performance under the contract.
     Below is a summary of our Contract liabilities balance, the portion not expected to be recognized within twelve months is included
     within Other liabilities in the Consolidated Balance Sheet (in millions):

                                                                                                     September 30, 2022             September 30, 2021

     Balance as of beginning of fiscal year                                                      $                  462.5      $                325.3
     Balance as of end of period                                                                                    541.3                       462.5

     The most significant changes in our Contract liabilities balance     COSTS TO OBTAIN AND FULFILL A CONTRACT
     during the twelve months ended September 30, 2022 and 2021,
     were due to amounts billed, partially offset by revenue recognized   We capitalize and amortize certain incremental costs to obtain
     on amounts billed during the period and revenue recognized that      and fulfill contracts. These costs primarily consist of incentives
     was included in the Contract liabilities balance at the beginning    paid to sales personnel, which are considered incremental costs to
     of the period.                                                       obtain customer contracts. We elected the practical expedient to
                                                                          expense incremental costs to obtain a contract when the contract
     In the twelve months ended September 30, 2022, we recognized         has a duration of one year or less for most classes of contracts.
     revenue of approximately $373.1 million that was included in         Our capitalized contract costs, which are included in Other
     the Contract liabilities balance at September 30, 2021. In the       assets in our Consolidated Balance Sheet, are not significant as
     twelve months ended September 30, 2021, we recognized                of September 30, 2022 and 2021. There was no impairment loss
     revenue of approximately $256.1 million that was included in         in relation to capitalized costs in the period.
     the Contract liabilities balance at September 30, 2020. We did
     not have a material amount of revenue recognized in the twelve
     months ended September 30, 2022 and 2021, from performance
     obligations satisfied or partially satisfied in previous periods.


     NOTE 3. GOODWILL AND OTHER INTANGIBLE ASSETS
     Changes in the carrying amount of Goodwill were (in millions):

                                                                               Intelligent       Software &           Lifecycle
                                                                                  Devices           Control           Services                   Total

      Balance as of October 1, 2020                                       $         535.1    $         497.3    $           617.9     $       1,650.3
      Acquisition of businesses                                                         —             1,937.3               12.8               1,950.1
      Translation                                                                     8.0               12.9                 4.6                 25.5
      Balance as of September 30, 2021                                    $         543.1    $       2,447.5    $        635.3        $       3,625.9
      Acquisition of businesses                                                         —                  —                 12.1                 12.1
      Translation and other                                                         (40.1)             (48.8)               (25.1)              (114.0)
      BALANCE AS OF SEPTEMBER 30, 2022                                    $        503.0     $       2,398.7    $       622.3         $       3,524.0

     We performed our annual evaluation of goodwill and indefinite        constraints and market volatility, we identified a triggering event
     life intangible assets for impairment during the second quarter      in the fourth quarter of fiscal 2022 for our Sensia reporting unit,
     of fiscal 2022 and concluded that these assets were not impaired.    which required an interim quantitative impairment test. As a result
     For our annual evaluation, we performed qualitative tests for our    of that quantitative test, we concluded that the $315.9 million
     Intelligent Devices, Software & Control, and Lifecycle Services      of Goodwill within the Sensia reporting unit was not impaired.
     (excluding Sensia) reporting units and a quantitative test for       Refer to Note 1 for additional information on our goodwill
     our Sensia reporting unit. As a result of ongoing supply chain       impairment evaluations.




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Other intangible assets consist of (in millions):

                                                                                                               September 30, 2022
                                                                                                 Carrying            Accumulated
                                                                                                 Amount              Amortization             Net
Amortized intangible assets
  Software products                                                                    $              97.6      $            57.9    $       39.7
  Customer relationships                                                                            582.7                   107.2           475.5
  Technology                                                                                         410.8                  119.3           291.5
  Trademarks                                                                                         70.4                    19.4             51.0
  Other                                                                                                6.4                    5.8             0.6
  Total amortized intangible assets                                                                1,167.9                 309.6            858.3
Allen-Bradley® trademark not subject to amortization                                                 43.7                      —             43.7
OTHER INTANGIBLE ASSETS                                                                $           1,211.6      $          309.6     $      902.0


                                                                                                               September 30, 2021
                                                                                                   Carrying          Accumulated
                                                                                                   Amount            Amortization             Net
Amortized intangible assets
  Software products                                                                        $           90.4      $           43.2    $       47.2
  Customer relationships                                                                              595.9                  75.4           520.5
  Technology                                                                                         420.8                    71.7          349.1
  Trademarks                                                                                           73.8                  13.3            60.5
  Other                                                                                                  7.1                  6.3             0.8
  Total amortized intangible assets                                                                 1,188.0                 209.9           978.1
Allen-Bradley® trademark not subject to amortization                                                   43.7                     —            43.7
OTHER INTANGIBLE ASSETS                                                                    $        1,231.7      $          209.9    $     1,021.8

Software products represent costs of computer software to be sold, leased, or otherwise marketed. Software products amortization
expense was $9.4 million in 2022, $11.9 million in 2021, and $10.2 million in 2020. Estimated total amortization expense for all amortized
intangible assets is $110.2 million in 2023, $107.1 million in 2024, $103.8 million in 2025, $102.7 million in 2026, and $95.8 million in 2027.


NOTE 4.	ACQUISITIONS

FISCAL 2022 ACQUISITIONS
In November 2021, we acquired AVATA, a services provider for             Pro forma consolidated sales for the year ended September 30,
supply chain management, enterprise resource planning, and               2022 and 2021, were approximately $7.8 billion and $7.1 billion,
enterprise performance management solutions. We assigned the             respectively, and the impact on earnings is not material. The
full amount of goodwill related to this acquisition to our Lifecycle     preceding pro forma consolidated financial results of operations are
Services segment.                                                        as if the preceding fiscal 2022 acquisitions and the October 2022
                                                                         acquisition of CUBIC (see Note 20) occurred on October 1, 2020.
In March 2022, we, through our Sensia affiliate, acquired Swinton
                                                                         The pro forma information is presented for informational purposes
Technology, a provider of metering supervisory systems and
                                                                         only and is not indicative of the results of operations that would
measurement expertise in the Oil & Gas industry. We assigned the
                                                                         have been achieved had the transaction occurred as of that time.
full amount of goodwill related to this acquisition to our Lifecycle
                                                                         Acquisition-related costs recorded as expenses in the year ended
Services segment.
                                                                         September 30, 2022, were not material.




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     FISCAL 2021 ACQUISITIONS

     PLEX ACQUISITION
     In August 2021, we acquired Plex Systems, a cloud-native              We recorded assets acquired and liabilities assumed in connection
     smart manufacturing platform. Plex offers a single-instance,          with this acquisition based on their estimated fair values as of the
     multi-tenant Software-as-a-Service manufacturing platform             acquisition date of August 31, 2021. The aggregate purchase price
     operating at scale, including advanced manufacturing execution        allocation is as follows (in millions):
     systems, quality, and supply chain management capabilities.

                                                                                                                                  Purchase Price
                                                                                                                                      Allocation
      Accounts receivable                                                                                                     $             14.8
      All other assets                                                                                                                     28.3
      Goodwill                                                                                                                           1,730.0
      Intangible assets                                                                                                                   531.4
      Total assets acquired                                                                                                             2,304.5
        Less: Contract liabilities                                                                                                         (29.2)
        Less: Other liabilities assumed                                                                                                    (33.4)
        Less: Deferred income taxes                                                                                                        (36.4)
      NET ASSETS ACQUIRED                                                                                                     $         2,205.5

                                                                                                                                      Purchase
                                                                                                                                  Consideration
      TOTAL PURCHASE CONSIDERATION, NET OF CASH ACQUIRED                                                                      $         2,205.5

     Intangible assets identified include $276.4 million of customer       The key assumption requiring the use of judgement in the valuation
     relationships, $232.8 million of technology, and $22.2 million of     of the customer relationship intangible asset was the customer
     trade names (approximately 12-year weighted average useful            attrition rate of 5 percent; other assumptions included forecasted
     life). We assigned the full amount of goodwill and all other assets   cash flows attributable to the existing customers and the discount
     acquired to our Software & Control segment. The goodwill              rate. The key assumptions requiring the use of judgement in the
     recorded represents intangible assets that do not qualify for         valuation of the technology intangible asset were the royalty rate
     separate recognition. This goodwill arises because the purchase       of 25 percent and the obsolescence factor estimating a phase out
     price for Plex reflects a number of factors including the future      over 10 years; other assumptions included forecasted revenue
     earnings and cash flow potential of the business, the strategic       growth rates and the discount rate.
     fit and resulting synergies from the complementary portfolio of
     leading software-as-a-service applications, industry expertise,       OTHER ACQUISITIONS
     and market access. We do not expect the goodwill to be deductible
     for tax purposes. The intangible assets were valued using an          In October 2020, we acquired Oylo, a privately-held industrial
     income approach, specifically the relief from royalty method and      cybersecurity services provider based in Barcelona, Spain. We
     multi-period excess earnings method. The relief from royalty          assigned the full amount of goodwill related to this acquisition to
     method calculates value based on hypothetical payments that           our Lifecycle Services segment.
     would be saved by owning an asset rather than licensing it. The       In December 2020, we acquired Fiix Inc., a privately-held, artificial
     multi-period excess earnings method is the isolation of cash          intelligence enabled computerized maintenance management
     flows from a single intangible asset and measures fair value by       system (CMMS) company based in Toronto, Ontario, Canada. We
     discounting them to present value. These values are considered        assigned the full amount of goodwill related to this acquisition to
     level 3 measurements under the U.S. GAAP fair value hierarchy.        our Software & Control segment.




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We recorded assets acquired and liabilities assumed in connection with these acquisitions based on their estimated fair values as of
the respective acquisition dates. The aggregate purchase price allocation for these acquisitions is as follows (in millions):
                                                                                                                               Purchase Price
                                                                                                                                   Allocation
Accounts receivable                                                                                                        $             6.0
All other assets                                                                                                                         15.9
Goodwill                                                                                                                               224.8
Intangible assets                                                                                                                       69.6
Total assets acquired                                                                                                                   316.3
  Less: Liabilities assumed                                                                                                             (25.5)
  Less: Deferred income taxes                                                                                                            (3.7)
NET ASSETS ACQUIRED                                                                                                        $            287.1

                                                                                                                                   Purchase
                                                                                                                               Consideration
TOTAL PURCHASE CONSIDERATION, NET OF CASH ACQUIRED                                                                         $           287.1

Intangible assets identified include $69.6 million of customer         Acquisition-related costs recorded as expenses for all of the
relationships, technology, and trade names (approximately 11-year      preceding acquisitions in the year ended September 30, 2021,
weighted average useful life). We assigned $12.8 million of goodwill   were not material.
to our Lifecycle Services segment and $212.0 million of goodwill
to our Software & Control segment, which represents intangible         FISCAL 2020 ACQUISITIONS
assets that do not qualify for separate recognition. We do not
expect the goodwill to be deductible for tax purposes.
                                                                       SENSIA JOINT VENTURE
The total sales included in our consolidated results for all of the
                                                                       On October 1, 2019, we completed the formation of a joint
preceding acquisitions for the year ended September 30, 2021,
                                                                       venture, Sensia, a fully integrated digital oilfield automation
were approximately $27.9 million.
                                                                       solutions provider. Rockwell Automation owns 53% of Sensia and
Pro forma consolidated sales for the year ended September 30,          SLB owns 47% of Sensia. As part of the transaction, we made
2021 and 2020, were approximately $7.2 billion and $6.5 billion,       $247.0 million of net cash payments to SLB, which were funded
respectively, and the impact on earnings is not material. The          by cash on hand. We control Sensia and, as of October 1, 2019,
preceding pro forma consolidated financial results of operations       have consolidated Sensia in our financial results. As part of the
are as if all of preceding fiscal 2021 acquisitions occurred on        joint venture operations, Sensia regularly transacts with SLB,
October 1, 2019. The pro forma information is presented for            primarily relating to purchases and sales of goods and services.
informational purposes only and is not indicative of the results       These transactions are not material to Rockwell Automation for
of operations that would have been achieved had the transaction        the years ended September 30, 2022, 2021, and 2020.
occurred as of that time.




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     We recorded assets acquired and liabilities assumed in connection with the formation of Sensia based on their estimated fair values
     as of the acquisition date of October 1, 2019. The purchase price allocation is as follows (in millions):

                                                                                                                                      Purchase
                                                                                                                                Price Allocation

      Accounts receivable                                                                                                       $            31.2
      Inventory                                                                                                                             33.2
      Other current assets                                                                                                                    1.2
      Property, plant and equipment                                                                                                           9.3
      Other assets                                                                                                                            6.2
      Goodwill                                                                                                                             307.4
      Intangible assets                                                                                                                     254.1
      Total assets acquired                                                                                                                642.6
        Less: Liabilities assumed                                                                                                           (18.3)
        Less: Deferred income taxes                                                                                                          (2.6)
        Less: Noncontrolling interest portion                                                                                              (293.8)
      NET ASSETS ACQUIRED                                                                                                       $          327.9

                                                                                                                                        Purchase
                                                                                                                                    Consideration

      Cash, net of cash acquired                                                                                                $          247.0
      Noncontrolling interest portion of Rockwell Automation’s contributed business                                                         25.8
      Additional paid in capital adjustment                                                                                                  48.1
      Other                                                                                                                                   7.0
      TOTAL PURCHASE CONSIDERATION, NET OF CASH ACQUIRED                                                                        $          327.9

     Intangible assets assigned include $254.1 million of customer          OTHER ACQUISITIONS
     relationships, technology, and trade names (approximately 11-year
     weighted average useful life). We assigned the full amount of          In October 2019, we acquired MESTECH Services (MESTECH),
     goodwill and all other assets acquired to our Lifecycle Services       a global provider of Manufacturing Execution Systems/
     segment. The majority of the goodwill recorded is expected to          Manufacturing Operations Management, digital solutions
     be deductible for tax purposes. The assets were valued using           consulting, and systems integration services. We assigned the
     an income approach, specifically the relief from royalty method        full amount of goodwill related to this acquisition to our Lifecycle
     and multi-period excess earnings method. The relief from royalty       Services segment.
     method calculates value based on hypothetical payments that            In January 2020, we acquired Avnet Data Security, LTD (Avnet),
     would be saved by owning an asset rather than licensing it. The        an Israel-based cybersecurity provider with over 20 years of
     multi-period excess earnings method is the isolation of cash           experience providing cybersecurity services. We assigned the
     flows from a single intangible asset and measures fair value by        full amount of goodwill related to this acquisition to our Lifecycle
     discounting them to present value. These values are considered         Services segment.
     level 3 measurements under the U.S. GAAP fair value hierarchy.
     Key assumptions used in the valuation of these intangible assets       In April 2020, we acquired ASEM, S.p.A. (ASEM), a leading provider
     included: (1) a discount rate of 11%, (2) the estimated remaining      of digital automation technologies. We assigned the full amount
     life of technology and trademarks of from 5 to 15 years, and (3) the   of goodwill related to this acquisition to our Software & Control
     customer attrition rate ranging from 7.5% to 25%.                      segment.

     The fair value of the noncontrolling interest of the contributed       In April 2020, we also acquired Kalypso, LP (Kalypso), a
     business upon acquisition was $293.8 million. The consolidated         privately-held U.S.-based software delivery and consulting firm
     value of Sensia at October 1, 2019, was recorded at fair value         specializing in the digital transformation of industrial companies
     for SLB’s contribution and at carrying value for Rockwell              with a strong client base in life sciences, consumer products and
     Automation’s contribution.                                             industrial high-tech. We assigned the full amount of goodwill
                                                                            related to this acquisition to our Lifecycle Services segment.
     The total incremental sales resulting from the Sensia joint venture
     included in our consolidated results for the twelve months ended
     September 30, 2020, were approximately $191.0 million.


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We recorded assets acquired and liabilities assumed in connection with these acquisitions based on their estimated fair values as of
the respective acquisition dates. The aggregate purchase price allocation for these acquisitions is as follows (in millions):

                                                                                                                                    Purchase
                                                                                                                              Price Allocation
Accounts receivable                                                                                                           $           33.8
Inventory                                                                                                                                  9.6
Other current assets                                                                                                                        1.0
Property, plant and equipment                                                                                                              5.9
Other assets                                                                                                                               2.2
Goodwill                                                                                                                                 244.5
Intangible assets                                                                                                                         76.5
Total assets acquired                                                                                                                    373.5
  Less: Liabilities assumed                                                                                                               (28.6)
  Less: Deferred income taxes                                                                                                             (14.4)
NET ASSETS ACQUIRED                                                                                                           $          330.5


                                                                                                                                      Purchase
                                                                                                                                  Consideration

TOTAL PURCHASE CONSIDERATION, NET OF CASH ACQUIRED                                                                            $          330.5

Intangible assets assigned include $76.5 million of customer            The total sales included in our consolidated results from these four
relationships, technology, and trade names (approximately 10-year       acquisitions for the twelve months ended September 30, 2020,
weighted average useful life). We assigned $161.2 million of goodwill   were approximately $41.8 million.
to our Software & Control segment and $83.3 million of goodwill to
                                                                        Acquisition-related costs recorded as expenses for all of the
our Lifecycle Services segment. Approximately $69.0 million of the
                                                                        preceding acquisitions in the year ended September 30, 2020,
goodwill recorded is expected to be deductible for tax purposes.
                                                                        were not material.
The purchase consideration includes $25.8 million of contingent
consideration held in an escrow account and recorded in other
assets as restricted cash in the Consolidated Balance Sheet.


NOTE 5.	INVENTORIES
Inventories consist of (in millions):

                                                                                                                    September 30,
                                                                                                                     2022                 2021

Finished goods                                                                                           $          325.0    $           287.0
Work in process                                                                                                     317.3               229.3
Raw materials                                                                                                        411.9               281.8
INVENTORIES                                                                                              $        1,054.2    $           798.1




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     NOTE 6.	PROPERTY, NET
     Property consists of (in millions):

                                                                                                                    September 30,
                                                                                                                      2022             2021
      Land                                                                                                  $          4.6     $        4.8
      Buildings and improvements                                                                                     399.0            397.6
      Machinery and equipment                                                                                       1,201.6          1,244.3
      Internal-use software                                                                                          540.7            522.4
      Construction in progress                                                                                       142.9             156.4
        Total                                                                                                      2,288.8          2,325.5
      Less: Accumulated depreciation                                                                               (1,702.3)        (1,743.6)
      PROPERTY, NET                                                                                         $        586.5     $      581.9



     NOTE 7.	LONG-TERM AND SHORT-TERM DEBT
     Long-term debt consists of (in millions):

                                                                                                                    September 30,
                                                                                                                      2022              2021
      0.35% notes, payable in August 2023                                                                   $        600.0     $      600.0
      2.875% notes, payable in March 2025                                                                             311.0            315.6
      6.70% debentures, payable in January 2028                                                                      250.0            250.0
      3.50% notes, payable in March 2029                                                                             425.0            425.0
      1.75% notes, payable in August 2031                                                                            450.0            450.0
      6.25% debentures, payable in December 2037                                                                     250.0            250.0
      4.20% notes, payable in March 2049                                                                             575.0            575.0
      2.80% notes, payable in August 2061                                                                            450.0            450.0
      5.20% debentures, payable in January 2098                                                                      200.0            200.0
      Unamortized discount, capitalized lease obligations and other                                                   (34.1)           (44.2)
      Total debt                                                                                                   3,476.9           3,471.4
      Less: Current portion                                                                                          (609.1)            (6.8)
      LONG-TERM DEBT                                                                                        $      2,867.8     $    3,464.6

     Our Short-term debt as of September 30, 2022 and 2021, includes       a discount. Net proceeds to the Company from the debt offering
     commercial paper borrowings of $317.0 million and $484.0 million,     were $1,485.6 million. We used these net proceeds primarily
     respectively, with weighted average interest rates of 3.03 percent    to fund the acquisition of Plex. Refer to Note 4 for additional
     and 0.18 percent, respectively, and weighted average maturity         information on this acquisition.
     periods of 22 days and 90 days, respectively. Also included
                                                                           In March 2019, we issued $1.0 billion aggregate principal amount
     in Short-term debt as of September 30, 2022 and 2021, are
                                                                           of long-term notes in a registered public offering. The offering
     $42.3 million and $23.5 million, respectively, of interest-bearing
                                                                           consisted of $425.0 million of 3.50% notes due in March 2029 and
     loans from SLB to Sensia, due in December 2022.
                                                                           $575.0 million of 4.20% notes due in March 2049, both issued at
     In August 2021, we issued $1.5 billion aggregate principal            a discount. Net proceeds to the Company from the debt offering
     amount of long-term notes in a registered public offering.            were $987.6 million. We used these net proceeds primarily to repay
     The offering consisted of $600.0 million of 0.35% notes due in        our outstanding commercial paper, with the remaining proceeds
     August 2023, $450.0 million of 1.75% notes due in August 2031,        used for general corporate purposes.
     and $450.0 million of 2.80% notes due in August 2061, all issued at


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We entered into treasury locks to manage the potential change           outstanding. The terms of this credit facility contain covenants
in interest rates in anticipation of the issuance of the $1.5 billion   under which we agree to maintain an EBITDA-to-interest ratio of
aggregate notes in August 2021 and the $1.0 billion of fixed rate       at least 3.0 to 1.0. The EBITDA-to-interest ratio is defined in the
debt in March 2019. These treasury locks were designated as and         credit facility as the ratio of consolidated EBITDA (as defined in the
accounted for as cash flow hedges. The effective differentials paid     facility) for the preceding four quarters to consolidated interest
on these treasury locks was initially recorded in Accumulated other     expense for the same period.
comprehensive loss, net of tax effect. As a result of the changes
                                                                        Among other uses, we can draw on our credit facility as a standby
in the interest rates on the treasury locks between the time we
                                                                        liquidity facility to repay our outstanding commercial paper as it
entered into the treasury locks and the time we priced and issued
                                                                        matures. Under our current policy, we expect to limit our other
the notes, the Company made a net payment of $28.0 million to the
                                                                        borrowings under our credit facility, if any, to amounts that would
counterparties from the August 2021 issuance and $35.7 million to
                                                                        leave enough credit available under the facility so that we could
the counterparty from the March 2019 issuance. The $28.0 million
                                                                        borrow, if needed, to repay all of our then outstanding commercial
and $35.7 million net losses on the settlement of the treasury
                                                                        paper as it matures.
locks were recorded in Accumulated other comprehensive loss,
net of tax effect, and are being amortized over the term of the         Separate short-term unsecured credit facilities of approximately
corresponding notes, and recognized as an adjustment to Interest        $214.1 million at September 30, 2022, were available to
expense in the Consolidated Statement of Operations.                    non-U.S. subsidiaries, of which approximately $30.0 million
                                                                        was committed under letters of credit. Borrowings under our
On June 29, 2022, we replaced our former $1.25 billion unsecured
                                                                        non-U.S. credit facilities at September 30, 2022 and 2021, were
revolving credit facility with a new five-year $1.5 billion unsecured
                                                                        not significant. We were in compliance with financial covenants
revolving credit facility, expiring in June 2027. We can increase the
                                                                        under our credit facilities at September 30, 2022 and 2021.
aggregate amount of this credit facility by up to $750.0 million,
                                                                        There are no significant commitment fees or compensating
subject to the consent of the banks in the credit facility. We did
                                                                        balance requirements under our credit facilities.
not borrow against this credit facility or the former credit facility
during the periods ended September 30, 2022, or 2021. Borrowings        Interest payments were $120.4 million during 2022, $91.8 million
under this credit facility bear interest based on short-term money      during 2021, and $101.7 million during 2020.
market rates in effect during the period the borrowings are
The following table presents the carrying amounts and estimated fair values of Long-term debt in the Consolidated Balance Sheet
(in millions):

                                                                                  September 30, 2022                         September 30, 2021
                                                                             Carrying Value        Fair Value           Carrying Value       Fair Value

Current portion of long-term debt                                        $           609.1 $            589.1       $                6.8 $          6.8
Long-term debt                                                                     2,867.8           2,485.4                  3,464.6          3,874.8

We base the fair value of long-term debt upon quoted market prices for the same or similar issues and therefore consider this a Level 2
fair value measurement. The fair value of long-term debt considers the terms of the debt excluding the impact of derivative and hedging
activity. Refer to Note 1 for further information regarding levels in the fair value hierarchy. The carrying value of our short-term debt
approximates fair value.


NOTE 8. OTHER CURRENT LIABILITIES
Other current liabilities consist of (in millions):

                                                                                                                             September 30,
                                                                                                                             2022                 2021

Unrealized losses on foreign exchange contracts (Note 11)                                                       $             31.2     $          16.9
Product warranty obligations (Note 9)                                                                                         16.5                18.0
Taxes other than income taxes                                                                                                 65.6                59.8
Accrued interest                                                                                                              18.1                17.8
Income taxes payable                                                                                                          81.1              188.4
Operating lease liabilities                                                                                                   83.3                89.9
Other                                                                                                                        107.2                86.8
OTHER CURRENT LIABILITIES                                                                                       $           403.0      $       477.6


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     NOTE 9.	PRODUCT WARRANTY OBLIGATIONS
     We record a liability for product warranty obligations at the time of sale to a customer based upon historical warranty experience. Most
     of our products are covered under a warranty period that runs for twelve months from either the date of sale or installation. We also
     record a liability for specific warranty matters when they become known and reasonably estimable.
     Changes in product warranty obligations were (in millions):

                                                                                                                                  September 30,
                                                                                                                                  2022               2021

      Beginning balance                                                                                                 $          18.0    $         20.8
      Warranties recorded at time of sale                                                                                          14.5               17.3
      Adjustments to pre-existing warranties                                                                                       (3.6)              (6.2)
      Settlements of warranty claims                                                                                              (12.4)             (13.9)
      ENDING BALANCE                                                                                                    $          16.5    $         18.0



     NOTE 10.	INVESTMENTS
     Our investments consist of (in millions):

                                                                                                                                  September 30,
                                                                                                                                  2022               2021

      Fixed income securities                                                                                           $          12.6    $          0.6
      Equity securities (level 1)                                                                                                928.8             1,267.6
      Equity securities (other)                                                                                                    76.4               27.1
      Other                                                                                                                       50.8               68.8
      Total investments                                                                                                         1,068.6            1,364.1
      Less: Short-term investments        (1)
                                                                                                                                  (12.6)              (0.6)
      LONG-TERM INVESTMENTS                                                                                             $       1,056.0    $      1,363.5
      (1)   Short-term investments are included in Other current assets in the Consolidated Balance Sheet.


     EQUITY SECURITIES
     Equity securities (level 1) consist of 8,879,717 and 10,582,010                     securities are recorded at the investment cost, less impairment,
     shares of PTC Inc. (PTC) common stock (the “PTC Shares”) at                         plus or minus observable price changes (in orderly transactions)
     September 30, 2022 and 2021, respectively. The PTC Shares are                       of an identical or similar investment of the same issuer in the
     classified as level 1 in the fair value hierarchy, as described in                  Consolidated Balance Sheet. Observable price changes are
     Note 1, and are recognized at fair value in the Consolidated Balance                classified as level 2 in the fair value hierarchy, as described in
     Sheet using the most recent closing price of PTC common stock                       Note 1. The carrying values at September 30, 2022 and 2021,
     quoted on Nasdaq.                                                                   include cumulative upward adjustments from observed price
                                                                                         changes of $17.2 million and $5.1 million, respectively.
     Equity securities (other) consist of various securities that do
     not have a readily determinable fair value, which we account
     for using the measurement alternative under U.S. GAAP. These




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We record gains and losses on investments within the Change in fair value of investments line in the Consolidated Statement of
Operations. The gains and losses on investments we recorded for the following periods were (in millions):

                                                                                                2022                2021                2020
Net (loss) gain on equity securities (level 1)                                       $         (136.4)    $        392.3     $         153.9
Net gain on equity securities (other)                                                             15.1                5.1                  —
Equity method loss on Other investments                                                          (15.6)                —                   —
Change in fair value of investments                                                            (136.9)             397.4               153.9
TOTAL NET UNREALIZED (LOSS) GAIN ON EQUITY SECURITIES                                $         (165.9)    $        397.4     $         153.9

Refer to Note 1 for further information regarding levels in the fair value hierarchy. We did not have any transfers between levels of fair
value measurements during the periods presented.


NOTE 11.	DERIVATIVE INSTRUMENTS
We use foreign currency forward exchange contracts and foreign          currencies forecasted to occur within the next two years (cash
currency denominated debt obligations to manage certain                 flow hedges). We report in Other comprehensive income (loss)
foreign currency risks. We also use interest rate swap contracts        the effective portion of the gain or loss on derivative financial
and treasury locks to manage risks associated with interest rate        instruments that we designate and that qualify as cash flow
fluctuations. The following information explains how we use and         hedges. We reclassify these gains or losses into earnings in the
value these types of derivative instruments and how they impact         same periods when the hedged transactions affect earnings. To
our consolidated financial statements.                                  the extent forward exchange contracts designated as cash flow
                                                                        hedges are ineffective, changes in value are recorded in earnings
Additional information related to the impacts of cash flow hedges
                                                                        through the maturity date. There was no impact on earnings due
on Other comprehensive income (loss) is included in Note 12.
                                                                        to ineffective cash flow hedges. At September 30, 2022, we had
                                                                        a U.S. dollar-equivalent gross notional amount of $839.0 million
TYPES OF DERIVATIVE INSTRUMENTS AND                                     of foreign currency forward exchange contracts designated as
HEDGING ACTIVITIES                                                      cash flow hedges. We entered into treasury locks to manage the
                                                                        potential change in interest rates in anticipation of the issuance
CASH FLOW HEDGES                                                        of $1.5 billion and $1.0 billion of fixed rate debt in August 2021 and
                                                                        March 2019, respectively. Treasury locks are accounted for as cash
We enter into foreign currency forward exchange contracts to            flow hedges since they hedge the risk of an increase in treasury
hedge our exposure to foreign currency exchange rate variability        rates for the forecasted interest payments of an anticipated
in the expected future cash flows associated with certain               fixed-rate debt issuance.
third-party and intercompany transactions denominated in foreign
The pre-tax amount of gains (losses) recorded in Other comprehensive income (loss) related to cash flow hedges that would have been
recorded in the Consolidated Statement of Operations had they not been so designated was (in millions):

                                                                                                2022                2021                2020
Forward exchange contracts                                                           $           70.5     $         (10.8) $             (9.7)
Treasury locks                                                                                      —               (28.0)                 —

The pre-tax amount of gains (losses) reclassified from Accumulated other comprehensive loss into the Consolidated Statement of
Operations related to derivative forward exchange contracts designated as cash flow hedges, which offset the related gains and
losses on the hedged items during the periods presented, was (in millions):

                                                                                                2022                2021                2020
Sales                                                                                $            0.7     $           1.9    $           (0.7)
Cost of sales                                                                                    21.8               (25.4)               19.6
Selling, general and administrative expenses                                                     (0.9)                1.5                (1.4)
Interest expense                                                                                 (3.6)               (2.3)               (2.1)
TOTAL                                                                                $           18.0     $        (24.3)    $          15.4

Approximately $39.3 million of pre-tax net unrealized gains on cash flow hedges as of September 30, 2022, will be reclassified into earnings
during the next twelve months. We expect that these net unrealized gains will be offset when the hedged items are recognized in earnings.

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     NET INVESTMENT HEDGES                                                  other comprehensive loss within Shareowners’ equity where they
                                                                            offset gains and losses recorded on our net investments globally.
     We use foreign currency forward exchange contracts and foreign         To the extent forward exchange contracts or foreign currency
     currency denominated debt obligations to hedge portions of             denominated debt designated as net investment hedges are
     our net investments in non-U.S. subsidiaries (net investment           ineffective, changes in value are recorded in earnings through
     hedges) against the effect of exchange rate fluctuations on the        the maturity date. There was no impact on earnings due to
     translation of foreign currency balances to the U.S. dollar. For all   ineffective net investment hedges. At September 30, 2022, we
     instruments that are designated as net investment hedges and           had no foreign currency forward exchange contracts designated
     meet effectiveness requirements, the net changes in value of the       as net investment hedges.
     designated hedging instruments are recorded in Accumulated
     The pre-tax amount of losses recorded in Other comprehensive income (loss) related to net investment hedges that would have been
     recorded in the Consolidated Statement of Operations had they not been so designated was (in millions):

                                                                                                   2022               2021              2020
      Forward exchange contracts                                                         $            —    $           (0.8) $            (1.3)


     FAIR VALUE HEDGES                                                      of these fair value hedges were recorded as gains or losses in
                                                                            Interest expense and are offset by the losses or gains on the
     We used interest rate swap contracts to manage the borrowing           underlying debt instruments, which are also recorded in Interest
     costs of certain long-term debt. In February 2015, we issued           expense. In May 2020, we settled all outstanding interest rate
     $600.0 million aggregate principal amount of fixed rate notes          swaps and received $22.0 million from the counterparties. This
     (“2025 Notes”). Upon issuance of these notes, we entered into          gain on the settlement of the interest rate swaps was recorded
     fixed-to-floating interest rate swap contracts that effectively        as an adjustment to the carrying value of the 2025 Notes and is
     converted these notes from fixed rate debt to floating rate debt.      being amortized over the remaining term of those notes as an
     We designated these contracts as fair value hedges because             adjustment to Interest expense in the Consolidated Statement
     they hedged the changes in fair value of the fixed rate notes          of Operations.
     resulting from changes in interest rates. The changes in value
     The pre-tax amount of net gains recognized within the Consolidated Statement of Operations related to derivative instruments
     designated as fair value hedges, which fully offset the related net gains and losses on the hedged debt instruments during the periods
     presented, was (in millions):

                                                                                                   2022               2021              2020
      Interest income                                                                    $            —    $             —     $         15.1


     DERIVATIVES NOT DESIGNATED AS HEDGING                                  with some of these assets and liabilities. Gains and losses on
     INSTRUMENTS                                                            derivative financial instruments for which we do not elect hedge
                                                                            accounting are recognized in the Consolidated Statement of
     Certain of our locations have assets and liabilities denominated in    Operations in each period, based on the change in the fair value of
     currencies other than their functional currencies resulting from       the derivative financial instruments. At September 30, 2022, we had
     intercompany loans and other transactions with third parties           a U.S. dollar-equivalent gross notional amount of $1,066.1 million
     denominated in foreign currencies. We enter into foreign currency      of foreign currency forward exchange contracts not designated as
     forward exchange contracts that we do not designate as hedging         hedging instruments.
     instruments to offset the transaction gains or losses associated
     The pre-tax amount of gains (losses) from forward exchange contracts not designated as hedging instruments recognized in the
     Consolidated Statement of Operations was (in millions):

                                                                                                   2022               2021              2020
      Cost of sales                                                                      $           0.5   $           (0.2)   $          6.1
      Other (expense) income                                                                        38.6               (8.1)             (11.8)
      TOTAL                                                                              $          39.1   $          (8.3)    $         (5.7)




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FAIR VALUE OF DERIVATIVE INSTRUMENTS
We recognize all derivative financial instruments as either assets       We diversify our foreign currency forward exchange contracts
or liabilities at fair value in the Consolidated Balance Sheet. We       among counterparties to minimize exposure to any one of these
value our forward exchange contracts using a market approach.            entities. Our foreign currency forward exchange contracts are
We use a valuation model based on inputs including forward and           usually denominated in currencies of major industrial countries.
spot prices for currency and interest rate curves. We did not            The U.S. dollar-equivalent gross notional amount of our forward
change our valuation techniques during fiscal 2022, 2021, or 2020.       exchange contracts totaled $1,905.1 million at September 30,
It is our policy to execute such instruments with major financial        2022. Currency pairs (buy/sell) comprising the most significant
institutions that we believe to be creditworthy and not to enter         contract notional values were Euro/United States dollar (USD),
into derivative financial instruments for speculative purposes.          USD/Canadian dollar, and USD/Mexican peso.
The fair value of our derivatives and their location in our Consolidated Balance Sheet were (in millions):

                                                                                                           Fair Value (Level 2)

Derivatives Designated as Hedging Instruments               Balance Sheet Location              September 30, 2022          September 30, 2021

Forward exchange contracts                                  Other current assets            $                 52.2      $                  7.6
Forward exchange contracts                                  Other assets                                       8.0                         2.1
Forward exchange contracts                                  Other current liabilities                        (10.2)                       (7.4)
Forward exchange contracts                                  Other liabilities                                  (1.0)                      (0.2)
TOTAL                                                                                       $                49.0       $                  2.1


                                                                                                            Fair Value (Level 2)

Derivatives Not Designated as Hedging Instruments            Balance Sheet Location              September 30, 2022         September 30, 2021

Forward exchange contracts                                   Other current assets            $                 59.9     $                  4.4
Forward exchange contracts                                   Other current liabilities                         (21.0)                      (9.5)
TOTAL                                                                                        $                 38.9     $                  (5.1)

Refer to Note 1 for further information regarding levels in the fair value hierarchy.




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     NOTE 12. SHAREOWNERS’ EQUITY

     COMMON STOCK
     At September 30, 2022, the authorized stock of the Company consisted of one billion shares of common stock, par value $1.00 per
     share, and 25 million shares of preferred stock, without par value. At September 30, 2022, 15.0 million shares of authorized common
     stock were reserved for various incentive plans.
     Changes in outstanding common shares are summarized as follows (in millions):

                                                                                                         2022                    2021                     2020

      Beginning balance                                                                                  116.0                   116.2                    115.7
      Treasury stock purchases                                                                             (1.3)                   (1.1)                    (1.4)
      Common stock issued (including share-based compensation impact)                                      0.5                     0.9                      1.9
      ENDING BALANCE                                                                                     115.2                   116.0                    116.2

     At September 30, 2022 and 2021, there were $1.6 million and $1.8 million, respectively, of outstanding common stock share repurchases
     recorded in Accounts payable.

     ACCUMULATED OTHER COMPREHENSIVE LOSS
     Changes in Accumulated other comprehensive loss attributable to Rockwell Automation by component were (in millions):

                                                                         Pension and other        Accumulated          Net unrealized                      Total
                                                                           postretirement             currency          gains (losses)            accumulated
                                                                                benefit plan        translation          on cash flow                     other
                                                                          adjustments, net        adjustments,            hedges, net          comprehensive
                                                                            of tax (Note 14)          net of tax                 of tax         loss, net of tax

      Balance as of September 30, 2019                               $              (1,133.7) $          (341.3)   $             (13.0)    $           (1,488.0)
        Other comprehensive (loss) income before reclassifications                   (100.2)               26.0                   (7.3)                   (81.5)
        Amounts reclassified from accumulated                                         109.5                   —                   (11.2)                  98.3
        other comprehensive loss
      Other comprehensive income (loss)                                                 9.3                26.0                  (18.5)                    16.8
      Adoption of accounting standard/other                                          (146.8)                3.8                      —                   (143.0)
      BALANCE AS OF SEPTEMBER 30, 2020                               $             (1,271.2) $           (311.5)   $             (31.5)    $           (1,614.2)
        Other comprehensive income (loss) before reclassifications                   438.9                 31.4                  (29.2)                   441.1
        Amounts reclassified from accumulated                                         138.2                   —                   17.8                    156.0
        other comprehensive loss
      Other comprehensive income (loss)                                               577.1                31.4                   (11.4)                  597.1
      BALANCE AS OF SEPTEMBER 30, 2021                               $               (694.1) $           (280.1)   $            (42.9)     $            (1,017.1)
        Other comprehensive income (loss) before reclassifications                    170.7              (184.9)                  51.2                     37.0
        Amounts reclassified from accumulated                                          75.6                   —                  (13.0)                   62.6
        other comprehensive loss
      Other comprehensive income (loss)                                              246.3               (184.9)                 38.2                     99.6
      BALANCE AS OF SEPTEMBER 30, 2022                               $              (447.8) $           (465.0)    $              (4.7)    $             (917.5)




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The reclassifications out of Accumulated other comprehensive loss to the Consolidated Statement of Operations were (in millions):

                                                                               Year Ended September 30,
                                                                                                                               Affected Line in the Conso idated
                                                                            2022                 2021                 2020         Statement of Operations

Pension and other postretirement benefit plan
adjustments(1)
      Amortization of prior service credit                       $           (0.2)   $            (4.0)    $           (4.5)   Other (expense) income
      Amortization of net actuarial loss                                     60.1               142.5                148.7     Other (expense) income
      Settlement and curtailment charges                                     38.6                39.8                    —     Other (expense) income
                                                                             98.5                178.3               144.2     Income before income taxes
                                                                            (22.9)               (40.1)               (34.7)   Income tax provision
                                                                 $           75.6    $          138.2      $         109.5     Net income attributable to
                                                                                                                               Rockwell Automation, Inc.
Net unrealized (gains) losses on cash flow hedges
      Forward exchange contracts                                 $           (0.7)   $             (1.9)   $            0.7    Sales
      Forward exchange contracts                                            (21.8)               25.4                 (19.6)   Cost of sales
      Forward exchange contracts                                              0.9                  (1.5)                1.4    Selling, general and
                                                                                                                               administrative expenses
      Treasury locks related to 2019 and 2021 debt                            3.6                  2.3                  2.1    Interest expense
      issuances
                                                                            (18.0)               24.3                 (15.4)   Income before income taxes
                                                                              5.0                 (6.5)                 4.2    Income tax provision
                                                                 $          (13.0)   $            17.8     $          (11.2)   Net income attributable to
                                                                                                                               Rockwell Automation, Inc.
TOTAL RECLASSIFICATIONS                                          $          62.6     $          156.0      $          98.3     Net income attributable to
                                                                                                                               Rockwell Automation, Inc.
(1)     These components are included in the computation of net periodic benefit costs. See Note 14 for further information.



NOTE 13. SHARE-BASED COMPENSATION
During 2022, 2021, and 2020, we recognized $68.1 million,                             of stock appreciation rights, performance shares, performance
$51.7 million, and $46.1 million of pre-tax share-based compensation                  units, restricted stock units, or restricted stock. Our Directors Plan
expense, respectively. The total income tax benefit related to                        authorized us to deliver up to 0.5 million shares of our common
share-based compensation expense was $11.2 million, $8.6 million,                     stock upon exercise of stock options, upon grant, or in payment
and $7.7 million during 2022, 2021, and 2020, respectively. As of                     of restricted stock units. Shares relating to awards under our
September 30, 2022, total unrecognized compensation cost related                      2012 Plan that terminate by expiration, forfeiture, cancellation,
to share-based compensation awards, net of estimated forfeitures,                     or otherwise without the issuance or delivery of shares or that
was $101.9 million, which we expect to recognize over a weighted                      are settled in cash in lieu of shares will be available for further
average period of approximately 2.0 years.                                            awards under the 2020 Plan. Approximately 10.1 million shares
                                                                                      under our 2020 Plan remain available for future grant or payment
During 2020, we adopted, and our shareowners approved, our 2020
                                                                                      at September 30, 2022. We use treasury stock to deliver shares
Long-Term Incentives Plan (2020 Plan), which replaced our 2012
                                                                                      of our common stock under these plans. Our 2020 Plan does not
Long-Term Incentives Plan, as amended (2012 Plan), and our 2003
                                                                                      permit share-based compensation awards to be granted after
Directors Stock Plan, as amended (Directors Plan). Our 2020 Plan
                                                                                      February 4, 2030.
authorizes us to deliver up to 13.0 million shares of our common
stock upon exercise of stock options, upon grant, or in payment




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     STOCK OPTIONS
     We have granted non-qualified and incentive stock options to           The per share weighted average fair value of stock options granted
     purchase our common stock under various incentive plans at             during the years ended September 30, 2022, 2021, and 2020, was
     prices equal to the fair market value of the stock on the grant        $87.68, $55.50, and $35.80, respectively. The total intrinsic value of
     dates. The exercise price for stock options granted under the plans    stock options exercised was $52.8 million, $108.4 million, and $151.6
     may be paid in cash, already-owned shares of common stock, or          million during 2022, 2021, and 2020, respectively. We estimated the
     a combination of cash and such shares. Stock options expire ten        fair value of each stock option on the date of grant using the Black-
     years after the grant date and vest ratably over three years.          Scholes pricing model and the following assumptions:

                                                                                                  2022                   2021                    2020
      Average risk-free interest rate                                                              0.38%                 0.38%                    1.63%
      Expected dividend yield                                                                      1.28%                  1.73%                   2.08%
      Expected volatility                                                                              31%                  31%                     24%
      Expected term (years)                                                                           4.8                 4.9                      4.9

     The average risk-free interest rate is based on U.S. Treasury          volatility using daily historical volatility of our stock price over the
     security rates corresponding to the expected term in effect as         most recent period corresponding to the expected term as of the
     of the grant date. The expected dividend yield is based on the         grant date. We determined the expected term of the stock options
     expected annual dividend as a percentage of the market value of        using historical data adjusted for the estimated exercise dates of
     our common stock as of the grant date. We determined expected          unexercised options.
     A summary of stock option activity for the year ended September 30, 2022, is as follows:

                                                                                                                                              Aggregate
                                                                                                                    Wtd. Avg.           Intrinsic Value
                                                                                          Wtd. Avg.                Remaining          of In-The-Money
                                                                            Shares        Exercise           Contractual Term                   Options
                                                                    (in thousands)           Price                    (years)               (in millions)
      Outstanding at October 1, 2021                                        2,496     $      173.07
      Granted                                                                 164           350.75
      Exercised                                                              (363)           159.50
      Forfeited                                                               (48)           241.22
      Canceled                                                                  (3)          221.49
      OUTSTANDING AT SEPTEMBER 30, 2022                                    2,246             186.72                      6.0      $                90.0
      Exercisable at September 30, 2022                                      1,717           166.64                       5.3                      84.9

     The amount of options expected to vest is materially consistent with those outstanding and not yet exercisable.


     PERFORMANCE SHARE AWARDS                                               performance periods and will be paid, to the extent earned, in
                                                                            the fiscal quarter following the end of the applicable three-year
     Certain officers and key employees are also eligible to receive        performance period. Beginning with the awards granted in fiscal
     shares of our common stock in payment of performance share             2021, the total shareowner return is measured relative to the
     awards granted to them. Grantees of performance shares will            performance of companies in the following S&P 500 Selected GICS
     be eligible to receive shares of our common stock depending            groups: Capital Goods, Software and Services, and Technology
     upon our total shareowner return, assuming reinvestment of all         Hardware and Equipment. The number of shares actually earned
     dividends, relative to the performance of companies in the S&P         for awards granted in fiscal 2022 and 2021 will range from zero
     500 Index over a three-year period for the awards granted in fiscal    percent to 200 percent of the targeted number of performance
     2020. The number of shares actually earned for awards granted          shares for the three-year performance periods and will be paid,
     in fiscal 2020 will range from zero percent to 200 percent of          to the extent earned, in the fiscal quarter following the end of the
     the targeted number of performance shares for the three-year           applicable three-year performance period.




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A summary of performance share activity for the year ended September 30, 2022, is as follows:

                                                                                                                                                Wtd. Avg.
                                                                                                                                               Grant Date
                                                                                                                             Shares                 Share
                                                                                                                     (in thousands)             Fair Value
Outstanding at October 1, 2021                                                                                                 119     $          232.94
Granted(1)                                                                                                                      37                 481.28
Adjustment for performance results achieved       (2)
                                                                                                                                21                155.04
Vested and issued                                                                                                              (68)               155.04
Forfeited                                                                                                                       (12)               316.27
OUTSTANDING AT SEPTEMBER 30, 2022                                                                                               97                354.29
(1) Performance shares granted assuming achievement of performance goals at target.
(2) Adjustments were due to the number of shares vested under fiscal 2019 awards at the end of the three-year performance period ended September 30, 2021,
    being higher than the target number of shares.

The following table summarizes information about performance shares vested during the years ended September 30, 2022, 2021, and
2020:

                                                                                                       2022                   2021                 2020
Percent payout                                                                                           144%                   93%                   77%
Shares vested (in thousands)                                                                              68                     31                   28
Total fair value of shares vested (in millions)                                            $            23.4     $              7.4        $         5.6

For the three-year performance period ending September 30, 2022, the payout will be 177% of the target number of shares, with a
maximum of approximately 48,000 shares to be delivered in payment under the awards in December 2022.

The per share fair value of performance share awards granted during the years ended September 30, 2022, 2021, and 2020, was
$481.28, $298.10, and $265.04, respectively, which we determined using a Monte Carlo simulation and the following assumptions:

                                                                                                       2022                   2021                 2020
Average risk-free interest rate                                                                         0.94%                  0.19%                1.58%
Expected dividend yield                                                                                 1.28%                  1.73%                2.06%
Expected volatility                                                                                       36%                   37%                   25%

The average risk-free interest rate is based on the three-year U.S. Treasury security rate in effect as of the grant date. The expected
dividend yield is based on the expected annual dividend as a percentage of the market value of our common stock as of the grant date.
The expected volatilities were determined using daily historical volatility for the most recent three-year period as of the grant date.

RESTRICTED STOCK AND RESTRICTED STOCK UNITS
We grant restricted stock and restricted stock units to certain employees, and non-employee directors may elect to receive a portion of
their compensation in restricted stock units. Restrictions on employee restricted stock and employee restricted stock units generally
lapse over periods ranging from one to five years. Director restricted stock units generally are payable upon retirement. We value
restricted stock and restricted stock units at the closing market value of our common stock on the date of grant. The weighted average
fair value of restricted stock and restricted stock unit awards granted during the years ended September 30, 2022, 2021, and 2020, was
$298.44, $265.32, and $200.36, respectively. The total fair value of shares vested during the years ended September 30, 2022, 2021,
and 2020, was $35.6 million, $10.4 million, and $8.7 million, respectively.




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     A summary of restricted stock and restricted stock unit activity for the year ended September 30, 2022, is as follows:


                                                                                                                                                   Wtd. Avg.
                                                                                                                                                  Grant Date
                                                                                                                                   Shares              Share
                                                                                                                           (in thousands)          Fair Value

      Outstanding at October 1, 2021                                                                                                 351      $      239.89
      Granted                                                                                                                        252             298.44
      Vested                                                                                                                         (116)            231.97
      Forfeited                                                                                                                      (39)            275.08
      OUTSTANDING AT SEPTEMBER 30, 2022                                                                                             448               271.71

     We also granted approximately 3,300 shares of unrestricted common stock to non-employee directors during the year ended September
     30, 2022. The weighted average grant date fair value of the unrestricted stock awards granted during the years ended September 30,
     2022, 2021, and 2020, was $345.00, $228.80, and $171.51, respectively.


     NOTE 14.	RETIREMENT BENEFITS
     We sponsor funded and unfunded pension plans and other                          We made a voluntary contribution of $50.0 million to our U.S.
     postretirement benefit plans for our employees. The pension plans               qualified pension plan in 2020.
     provide for monthly pension payments to eligible employees after
                                                                                     We sponsor various defined contribution savings plans that allow
     retirement. Pension benefits for salaried employees generally are
                                                                                     eligible employees to contribute a portion of their income in
     based on years of credited service and average earnings. Pension
                                                                                     accordance with plan specific guidelines. We contribute to savings
     benefits for hourly employees are primarily based on specified
                                                                                     plans and/or will match a percentage of the employee contributions
     benefit amounts and years of service. Effective July 1, 2010, we
                                                                                     up to certain limits. The Company contributions to defined
     closed participation in our U.S. and Canada pension plans to
                                                                                     contribution plans are based on age and years of service and range
     employees hired after June 30, 2010. Employees hired after June
                                                                                     from 3% to 7% of eligible compensation. However, effective from
     30, 2010 are instead eligible to participate in defined contribution
                                                                                     May 2020 through November 2020, we temporarily suspended the
     plans. Effective October 1, 2010, we also closed participation in our
                                                                                     401(k) matching contribution for all U.S. employees to address the
     U.K. pension plan to employees hired after September 30, 2010, and
                                                                                     then-current and anticipated economic conditions resulting from
     these employees are now eligible for a defined contribution plan.
                                                                                     the global COVID-19 pandemic. Expense related to these plans was
     Benefits to be provided to plan participants hired before July 1,
                                                                                     $63.8 million in 2022, $58.5 million in 2021, and $50.9 million in 2020.
     2010 or October 1, 2010, respectively, are not affected by these
     changes. Our policy with respect to funding our pension obligations             Other postretirement benefits are primarily in the form of retirement
     is to fund at a minimum the amount required by applicable laws                  medical plans that cover certain employees in the U.S. and Canada and
     and governmental regulations. We were not required to make                      provide for the payment of certain medical costs of eligible employees
     contributions to satisfy minimum funding requirements in our U.S.               and dependents after retirement. The postretirement benefit plan
     pension plans in 2022, 2021, or 2020. We did not make voluntary                 was closed to employees hired after December 31, 2004.
     contributions to our U.S. qualified pension plan in 2022 and 2021.

     NET PERIODIC BENEFIT COST
     The components of net periodic benefit cost (income) were (in millions):

                                                                    Pension Benefits                                 Other Postretirement Benefits
                                                         2022                2021              2020               2022               2021            2020
      Service cost                               $           70.9    $       90.1      $        91.1      $         0.8     $         1.2     $         1.0
      Interest cost                                      135.6              125.6              136.4                1.3               1.2               1.6
      Expected return on plan assets                    (230.7)            (241.3)           (244.8)                 —                  —                —
      Amortization
        Prior service cost (credit)                           0.6             1.4                0.9               (0.8)             (5.4)             (5.4)
        Net actuarial loss                                   59.4           141.4              147.3                0.7                1.1              1.4
      Settlement and curtailment charges                     38.6            39.8                 —                  —                  —                —
      NET PERIODIC BENEFIT COST (INCOME)         $       74.4        $      157.0      $      130.9       $         2.0     $         (1.9)   $        (1.4)

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The service cost component is included in Cost of sales and Selling, general and administrative expenses in the Consolidated Statement
of Operations. All other components are included in Other (expense) income in the Consolidated Statement of Operations.
Significant assumptions used in determining net periodic benefit cost (income) were (in weighted averages):

                                                          Pension Benefits                                         Other Postretirement Benefits
                                                 2022              2021                   2020                   2022            2021              2020
U.S. PLANS
Discount rate                                    3.86%             2.90%                  3.30%                  2.50%            2.15%            2.90%
Expected return on plan assets                   7.00%             7.25%                  7.50%                    —                 —               —
Compensation increase rate                       3.40%             3.40%                  3.40%                    —                 —               —
NON-U.S. PLANS
Discount rate                                     2.01%               1.56%               1.60%                  2.90%           2.20%             2.65%
Expected return on plan assets                   4.59%             4.68%                   5.11%                   —                 —               —
Compensation increase rate                       3.00%             2.90%                  3.06%                    —                 —               —


NET BENEFIT OBLIGATION
Benefit obligation, plan assets, funded status, and net liability information is summarized as follows (in millions):

                                                                              Pension Benefits                           Other Postretirement Benefits
                                                                                2022                    2021                   2022                 2021
Benefit obligation at beginning of year                           $           4,751.8      $        5,026.9         $           51.5     $          57.0
Service cost                                                                     70.9                   90.1                     0.8                 1.2
Interest cost                                                                   135.6                  125.6                     1.3                 1.2
Actuarial gains                                                               (1,216.8)               (162.6)                    (1.1)              (4.9)
Plan amendments                                                                   4.6                    0.1                       —                  —
Plan participant contributions                                                    2.2                    2.8                     3.8                 3.1
Benefits paid                                                                  (153.8)                (156.9)                   (11.7)              (8.8)
Settlements and curtailments                                                   (320.4)                (219.3)                      —                  —
Currency translation and other                                                 (108.5)                  45.1                    (0.4)                2.7
Benefit obligation at end of year                                             3,165.6                4,751.8                   44.2                 51.5
Plan assets at beginning of year                                              4,192.2               3,838.0                        —                  —
Actual return on plan assets                                                   (768.0)                 653.7                       —                  —
Company contributions                                                            54.3                   34.9                     7.9                 5.7
Plan participant contributions                                                    2.2                    2.8                     3.8                 3.1
Benefits paid                                                                  (153.8)                (156.9)                   (11.7)              (8.8)
Settlements and curtailments                                                   (312.2)                (219.3)                      —                  —
Currency translation and other                                                  (110.8)                 39.0                       —                  —
Plan assets at end of year                                                    2,903.9                4,192.2                       —                  —
FUNDED STATUS OF PLANS                                            $            (261.7)     $         (559.6)        $         (44.2)     $         (51.5)
Net amount on balance sheet consists of
  Other assets                                                    $             158.8      $           118.5        $              —     $            —
  Compensation and benefits                                                      (15.1)                (37.0)                   (6.4)               (5.7)
  Retirement benefits                                                          (405.4)                 (641.1)                 (37.8)              (45.8)
NET AMOUNT ON BALANCE SHEET                                       $            (261.7)     $         (559.6)        $         (44.2)     $         (51.5)




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     The actuarial gains recorded within the benefit obligation in 2022 were primarily the result of an increase in the discount rate for the
     U.S. Plans, which increased from 3.10% in 2021 to 5.65% in 2022. The actuarial gains recorded in 2021 were primarily the result of an
     increase in the discount rate for the U.S. Plans, which increased from 2.90% in 2020 to 3.10% in 2021. Approximately 76 percent of our
     2022 global projected benefit obligation relates to our U.S. pension plan.
     Amounts included in Accumulated other comprehensive loss, net of tax, which have not yet been recognized in net periodic benefit
     cost (income) are as follows (in millions):

                                                                                             Pension Benefits                         Other Postretirement Benefits
                                                                                                2022                   2021                   2022                   2021
      Prior service (credit) cost                                                  $            (61.3)   $            (30.7)     $              4.7     $             4.1
      Net actuarial loss                                                                       503.9                  718.7                     0.5                   2.0
      TOTAL                                                                        $          442.6      $           688.0       $              5.2     $              6.1

     During 2022, we recognized prior service costs (credits), settlements, and curtailments of $38.4 million ($30.0 million net of tax) and net
     actuarial losses of $60.1 million ($45.6 million net of tax) in pension and other postretirement net periodic benefit cost (income), which were
     included in Accumulated other comprehensive loss at September 30, 2021.
     The accumulated benefit obligation for our pension plans was $2,982.0 million and $4,393.0 million at September 30, 2022 and 2021,
     respectively.
     Information regarding our pension plans with projected benefit obligations in excess of the fair value of plan assets (underfunded plans) are
     as follows (in millions):

                                                                                                                                                 2022                2021
      Projected benefit obligation                                                                                                   $        2,529.0       $     4,210.5
      Fair value of plan assets                                                                                                               2,108.5             3,532.4

     Information regarding our pension plans with accumulated benefit obligations in excess of the fair value of plan assets (underfunded
     plans) are as follows (in millions):

                                                                                                                                                 2022                2021
      Accumulated benefit obligation                                                                                                 $        2,365.5       $      3,510.7
      Fair value of plan assets                                                                                                               2,108.5              3,156.7

     Significant assumptions used in determining the benefit obligations were (in weighted averages):

                                                                                         Pension Benefits                            Other Postretirement Benefits
                                                                                           2022                    2021                     2022                    2021
      U.S. PLANS
      Discount rate                                                                         5.65%                  3.10%                     5.70%                 2.50%
      Compensation increase rate                                                            3.30%                  3.40%                        —                      —
      Health care cost trend rate      (1)
                                                                                               —                      —                     6.50%                  6.00%
      NON-U.S. PLANS
      Discount rate                                                                         4.35%                  2.03%                     5.10%                 2.90%
      Compensation increase rate                                                            3.03%                  3.00%                        —                      —
      Health care cost trend rate(1)                                                           —                      —                     4.50%                  4.50%
      (1)   The health care cost trend rate reflects the estimated increase in gross medical claims costs. As a result of the plan amendment adopted effective October
            1, 2002, our effective per person retiree medical cost increase is zero percent beginning in 2005 for the majority of our postretirement benefit plans. For our
            other plans, we assume the gross health care cost trend rate will remain at 6.50% in 2023 and decrease to 5.00% in 2025 for U.S. Plans and will not change in
            future periods for Non-U.S. Plans.




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ESTIMATED FUTURE PAYMENTS
We expect to contribute $26.1 million related to our global pension plans and $6.6 million to our postretirement benefit plans in 2023.
The following benefit payments, which include employees’ expected future service, as applicable, are expected to be paid (in millions):

                                                                                                                                       Other
                                                                                                                             Postretirement
                                                                                                     Pension Benefits              Benefits
2023                                                                                                  $         446.8 $                  6.6
2024                                                                                                             219.9                   6.1
2025                                                                                                            225.5                    5.5
2026                                                                                                            229.6                    5.0
2027                                                                                                             237.2                   4.5
2028-2032                                                                                                       1,187.0                 16.5


PLAN ASSETS
In determining the expected long-term rate of return on assets assumption, we consider actual returns on plan assets over the long
term, adjusted for forward-looking considerations, such as inflation, interest rates, equity performance, and the active management
of the plan’s invested assets. We also considered our current and expected mix of plan assets in setting this assumption. This resulted
in the selection of the weighted average long-term rate of return on assets assumption. Our global weighted average targeted and
actual asset allocations at September 30, by asset category, are:

                                                                                                                   September 30,
                                                                       Allocation          Target
Asset Category                                                             Range      Allocations                2022                 2021

Equity securities                                                       40% – 65%              50%                  53%                 56%
Debt securities                                                        30% – 50%               43%                  41%                 38%
Other                                                                    0% – 15%               7%                   6%                   6%

The investment objective for pension funds related to our              Mutual funds — Valued at the net asset value (NAV) reported by
defined benefit plans is to meet the plan’s benefit obligations,       the fund.
while maximizing the long-term growth of assets without undue
                                                                       Corporate debt — Valued at either the yields currently available
risk. We strive to achieve this objective by investing plan assets
                                                                       on comparable securities of issuers with similar credit ratings or
within target allocation ranges and diversification within asset
                                                                       valued under a discounted cash flow approach that maximizes
categories. Target allocation ranges are guidelines that are
                                                                       observable inputs, such as current yields of similar instruments,
adjusted periodically based on ongoing monitoring by plan
                                                                       but includes adjustments for certain risks that may not be
fiduciaries. Investment risk is controlled by rebalancing to
                                                                       observable such as credit and liquidity risks.
target allocations on a periodic basis and ongoing monitoring
of investment manager performance relative to the investment           Government securities — Valued at the most recent closing price
guidelines established for each manager.                               on the active market on which the individual securities are traded
                                                                       or, absent an active market, utilizing observable inputs such as
As of September 30, 2022 and 2021, our pension plans do not
                                                                       closing prices in less frequently traded markets.
directly own our common stock.
                                                                       Common collective trusts — Valued at the NAV as determined by
In certain countries where we operate, there are no legal
                                                                       the custodian of the fund. The NAV is based on the fair value of
requirements or financial incentives provided to companies to
                                                                       the underlying assets owned by the fund, minus its liabilities then
pre-fund pension obligations. In these instances, we typically
                                                                       divided by the number of units outstanding.
make benefit payments directly from cash as they become due,
rather than by creating a separate pension fund.                       Private equity and alternative equity — Valued at the estimated fair
                                                                       value, as determined by the respective fund manager, based on
The valuation methodologies used for our pension plans’
                                                                       the NAV of the investment units held at year end, which is subject
investments measured at fair value are described as follows. There
                                                                       to judgment.
have been no changes in the methodologies used at September
30, 2022 and 2021.                                                     Real estate funds — Consists of the real estate funds, which
                                                                       provide an indirect investment into a diversified and multi-sector
Common stock — Valued at the closing price reported on the active
                                                                       portfolio of property assets. Publicly-traded real estate funds are
market on which the individual securities are traded.


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     valued at the most recent closing price reported on the SIX Swiss        assets. Other fixed income investments are valued at the most
     Exchange. The remainder is valued at the estimated fair value,           recent closing price reported in the markets in which the individual
     as determined by the respective fund manager, based on the               securities are traded, which may be infrequently.
     NAV of the investment units held at year end, which is subject
                                                                              Refer to Note 1 for further information regarding levels in the fair
     to judgment.
                                                                              value hierarchy.
     Insurance contracts — Valued at the aggregate amount of
                                                                              In accordance with ASC Subtopic 820-10, certain investments
     accumulated contribution and investment income less amounts
                                                                              that are measured at fair value using the NAV (or its equivalent)
     used to make benefit payments and administrative expenses,
                                                                              practical expedient have not been classified in the fair value
     which approximates fair value.
                                                                              hierarchy. The fair value amounts presented in this table are
     Other — Consists of other fixed income investments and common            intended to permit reconciliation of the fair value hierarchy to
     collective trusts with a mix of equity and fixed income underlying       the line items presented in the consolidated financial statements.
     The following table presents our pension plans’ investments measured at fair value as of September 30, 2022 (in millions):

                                                                                  Level 1           Level 2            Level 3              Total
      U.S. PLANS
        Cash and cash equivalents                                         $           3.1   $            —    $             —    $            3.1
        Equity securities
          Mutual funds                                                              53.1                 —                  —                53.1
          Common stock                                                             532.9                 —                  —              532.9
          Common collective trusts                                                     —              621.1                 —               621.1
        Fixed income securities
          Corporate debt                                                               —              453.1                 —               453.1
          Government securities                                                    224.8               41.6                 —              266.4
          Common collective trusts                                                     —              143.6                 —               143.6
      Total U.S. Plans investments in fair value hierarchy                $        813.9    $       1,259.4   $             —            2,073.3
      U.S. Plans investments measured at NAV
          Private equity                                                                                                                     18.0
      TOTAL U.S. PLANS INVESTMENTS                                                                                                        2,091.3
      NON-U.S. PLANS
        Cash and cash equivalents                                         $         13.3    $            —    $             —                13.3
        Equity securities
          Common stock                                                             143.2                 —                  —              143.2
          Common collective trusts                                                     —              185.1                 —               185.1
        Fixed income securities
          Corporate debt                                                               —               39.7                 —               39.7
          Government securities                                                       1.3                —                  —                 1.3
          Common collective trusts                                                     —              291.3                 —               291.3
        Other types of investments
          Real estate funds                                                            —               63.7                 —                63.7
          Insurance contracts                                                          —                 —                54.9              54.9
          Other                                                                        —                 —                 3.8                3.8
      Total Non-U.S. Plans investments in fair value hierarchy            $        157.8    $         579.8   $           58.7             796.3
      Non-U.S. Plans investments measured at NAV
          Real estate funds                                                                                                                  16.3
      TOTAL NON-U.S. PLANS INVESTMENTS                                                                                                     812.6
      TOTAL INVESTMENTS MEASURED AT FAIR VALUE                                                                                   $       2,903.9




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The following table presents our pension plans’ investments measured at fair value as of September 30, 2021 (in millions):

                                                                          Level 1            Level 2             Level 3               Total
U.S. PLANS
  Cash and cash equivalents                                      $           3.5    $             —    $              —    $             3.5
  Equity securities
    Mutual funds                                                            88.7                  —                   —                88.7
    Common stock                                                         1,159.8                  —                   —              1,159.8
    Common collective trusts                                                   —              609.2                   —               609.2
  Fixed income securities
    Corporate debt                                                             —              678.2                   —               678.2
    Government securities                                                 290.5                66.5                   —               357.0
    Common collective trusts                                                   —               119.7                  —                119.7
  Other types of investments
    Insurance contracts                                                        —                  —                 0.9                 0.9
Total U.S. Plans investments in fair value hierarchy             $       1,542.5    $        1,473.6   $            0.9              3,017.0
U.S. Plans investments measured at NAV
    Private equity                                                                                                                     30.3
TOTAL U.S. PLANS INVESTMENTS                                                                                                        3,047.3
NON-U.S. PLANS
  Cash and cash equivalents                                      $           8.5    $             —    $              —                 8.5
  Equity securities
    Common stock                                                           170.3                  —                   —               170.3
    Common collective trusts                                                   —              334.9                   —               334.9
  Fixed income securities
    Corporate debt                                                             —               64.7                   —                64.7
    Government securities                                                    1.4                  —                   —                  1.4
    Common collective trusts                                                   —              357.0                   —               357.0
  Other types of investments
    Real estate funds                                                          —                81.1                  —                 81.1
    Insurance contracts                                                        —                  —               106.2               106.2
    Other                                                                      —                  —                  4.7                 4.7
Total Non-U.S. Plans investments in fair value hierarchy         $         180.2    $         837.7    $           110.9             1,128.8
Non-U.S. Plans investments measured at NAV
    Real estate funds                                                                                                                   16.1
TOTAL NON-U.S. PLANS INVESTMENTS                                                                                                    1,144.9
TOTAL INVESTMENTS MEASURED AT FAIR VALUE                                                                                   $        4,192.2




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     The table below sets forth a summary of changes in fair market value of our pension plans’ Level 3 assets for the year ended
     September 30, 2022 (in millions):

                                                                                            Unrealized         Purchases, Sales,
                                                     Balance           Realized Gains            Gains           Issuances, and                      Balance
                                               October 1, 2021               (Losses)         (Losses)         Settlements, Net            September 30, 2022

      U.S. PLANS
        Insurance contracts                $                 0.9   $               —    $            —     $                (0.9)      $                     —
      NON-U.S. PLANS
        Insurance contracts                             106.2                      —              (50.9)                    (0.4)                         54.9
        Other                                                4.7                   —               (0.7)                    (0.2)                          3.8
                                           $             111.8     $               —    $         (51.6)   $                (1.5)      $                  58.7

     The table below sets forth a summary of changes in fair market value of our pension plans’ Level 3 assets for the year ended
     September 30, 2021 (in millions):

                                                                                            Unrealized         Purchases, Sales,
                                                     Balance           Realized Gains            Gains           Issuances, and                        Balance
                                               October 1, 2020               (Losses)         (Losses)         Settlements, Net              September 30, 2021

      U.S. PLANS
        Insurance contracts                $                 0.9   $               —    $            —     $                  —        $                   0.9
      NON-U.S. PLANS
        Insurance contracts                              110.2                     —               (5.7)                     1.7                         106.2
        Other                                                4.6                   —                0.1                       —                             4.7
                                           $             115.7     $               —    $          (5.6)   $                 1.7       $                  111.8



     NOTE 15. OTHER (EXPENSE) INCOME
     The components of Other (expense) income were (in millions):

                                                                                                           2022                     2021                  2020

      Interest income                                                                         $                4.4   $               1.6       $            5.5
      Royalty income                                                                                       10.9                     10.2                   8.9
      Legacy product liability and environmental charges                                                   (15.6)                  (10.6)                 (14.5)
      Non-operating pension and postretirement benefit cost                                                 (4.7)                  (63.8)                 (37.4)
      Legal settlement (Note 17)                                                                                —                   70.0                     —
      Other                                                                                                    3.4                   (1.7)                  7.8
      OTHER (EXPENSE) INCOME                                                                  $             (1.6)    $               5.7       $         (29.7)




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NOTE 16.	INCOME TAXES

SELECTED INCOME TAX DATA (IN MILLIONS):
                                                                                                                   2022                  2021                  2020
Components of Income before income taxes
  United States                                                                                       $           371.3     $           885.1     $           556.2
  Non-United States                                                                                               702.3                  641.1                579.9
TOTAL                                                                                                 $         1,073.6     $         1,526.2     $          1,136.1
Components of Income tax provision
 Current
  United States                                                                                       $             71.6    $           149.6     $             68.1
  Non-United States                                                                                               102.9                 190.7                   96.6
  State and local                                                                                                   13.6                 25.7                   13.9
TOTAL CURRENT                                                                                                     188.1                 366.0                  178.6
 Deferred
  United States                                                                                                    (10.7)               (154.7)                (32.8)
  Non-United States                                                                                                (13.0)                (19.0)                (24.7)
  State and local                                                                                                   (9.9)                (10.4)                 (8.2)
 Total deferred                                                                                                   (33.6)                (184.1)                (65.7)
INCOME TAX PROVISION                                                                                  $           154.5     $            181.9    $            112.9
TOTAL INCOME TAXES PAID                                                                               $          340.2      $           329.3     $            187.9

Income tax liabilities of $233.7 million and $264.8 million related to the U.S. transition tax under the Tax Act that are payable greater
than 12 months from September 30, 2022 and 2021, respectively, are recorded in Other liabilities in the Consolidated Balance Sheet.
Furthermore, taxes paid as a result of the transition tax was $31.2 million in each of the years ended September 30, 2022 and 2021,
respectively, and $28.7 million during the year ended September 30, 2020 as included in total income taxes paid.

EFFECTIVE TAX RATE RECONCILIATION
The reconciliation between the U.S. federal statutory rate and our effective tax rate was:

                                                                                                                2022                   2021                   2020
Statutory tax rate                                                                                               21.0%                  21.0%                  21.0%
State and local income taxes                                                                                     0.5                     1.4                    0.8
Non-United States taxes                                                                                          (5.4)                  (3.8)                  (5.0)
Repatriation of foreign earnings                                                                                   1.1                   0.9                    1.3
Foreign-derived intangible income                                                                                (0.5)                  (2.8)                   (1.0)
Settlements with taxing authorities                                                                                —                     (1.0)                 (0.2)
Sensia formation                                                                                                  0.1                    0.1                    (1.1)
Change in valuation allowance       (1)
                                                                                                                 (0.5)                   (1.7)                 (2.7)
Share-based compensation                                                                                         (1.0)                   (1.1)                  (1.9)
Research and development tax credit                                                                              (1.0)                  (0.6)                   (1.1)
Other                                                                                                             0.1                   (0.5)                  (0.2)
EFFECTIVE INCOME TAX RATE                                                                                       14.4%                   11.9%                   9.9%
(1)   During fiscal 2021, we reversed our valuation allowance against deferred tax assets associated with the change in fair value of the PTC Shares. This resulted in
      a decrease to the effective tax rate of 1.7% and no remaining valuation allowance related to PTC Shares, as described further in the table below.

We operate in certain non-U.S. tax jurisdictions under government-sponsored tax incentive programs, which may be extended if certain
additional requirements are met. The program, which generates the primary benefit has been extended to expire in 2032. The tax benefit
attributable to these programs was $58.3 million ($0.50 per diluted share) in 2022, $61.2 million ($0.52 per diluted share) in 2021, and
$59.1 million ($0.51 per diluted share) in 2020.
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     DEFERRED TAXES
     The tax effects of temporary differences that give rise to our net deferred income tax assets (liabilities) consists of (in millions):

                                                                                                                        2022                  2021
      Deferred income tax assets
        Compensation and benefits                                                                            $           26.7    $             41.7
        Inventory                                                                                                        10.4                  12.8
        Returns, rebates and incentives                                                                                  61.7                  37.5
        Retirement benefits                                                                                             80.7                  153.1
        Environmental remediation and other site-related costs                                                          23.6                  22.8
        Share-based compensation                                                                                         21.5                  18.5
        Other accruals and reserves                                                                                    249.9              250.2
        Net operating loss carryforwards                                                                                85.2              130.4
        Tax credit carryforwards                                                                                         19.3                 20.3
        Capital loss carryforwards                                                                                       13.0                  15.3
        Other                                                                                                            10.7                 23.7
        Subtotal                                                                                                       602.7              726.3
        Valuation allowance                                                                                             (23.1)                (32.6)
        Net deferred income tax assets                                                                                 579.6              693.7
      Deferred income tax liabilities
        Property                                                                                                        (36.9)                (43.7)
        Intangible assets                                                                                              (149.8)            (160.5)
        Investments                                                                                                     (26.0)                (64.3)
        Unremitted earnings of foreign subsidiaries                                                                     (20.0)                (42.0)
        Other                                                                                                            (2.1)                 (2.3)
        Deferred income tax liabilities                                                                                (234.8)            (312.8)
      TOTAL NET DEFERRED INCOME TAX ASSETS                                                                   $         344.8     $        380.9

     We provide for deferred taxes on the majority of earnings of our non-U.S. subsidiaries and have done so since the enactment of the
     Tax Act in 2017. We do not provide for deferred taxes on a limited number of our non-U.S. subsidiaries established in jurisdictions that
     apply significant restrictions for repatriating cash. The amount of cumulative non-distributed earnings considered to be indefinitely
     reinvested outside the U.S. at September 30, 2022, is $120.4 million. It is not practicable to estimate the amount of additional taxes
     that may be payable upon distribution of these earnings.
     We believe it is more likely than not that we will realize our deferred tax assets through the reduction of future taxable income, other
     than for the deferred tax assets reflected below.




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Tax attributes and related valuation allowances at September 30, 2022 consists of (in millions):

                                                                                                 Tax Benefit         Valuation       Carryforward
Tax attributes and related valuation allowances                                                     Amount          Allowance         Period Ends
Non-United States net operating loss carryforward                                            $             3.7 $           3.7       2023 - 2030
Non-United States net operating loss carryforward                                                         42.2             1.6         Indefinite
Non-United States capital loss carryforward                                                               12.9           12.8          Indefinite
United States credit carryforward                                                                          9.3              —         2030 - 2041
United States capital loss carryforward                                                                    0.1              —               2026
United States net operating loss carryforward                                                              0.1              —        2023 - 2036
United States net operating loss carryforward                                                             26.5              —          Indefinite
State and local net operating loss carryforward                                                           12.7             1.1       2024 - 2040
State tax credit carryforward                                                                             10.0              —        2023 - 2037
Subtotal                                                                                                  117.5          19.2
Other deferred tax assets                                                                                  3.9            3.9          Indefinite
TOTAL                                                                                        $            121.4 $        23.1


UNRECOGNIZED TAX BENEFITS
A reconciliation of our gross unrecognized tax benefits, excluding interest and penalties, is as follows (in millions):

                                                                                                 2022                   2021               2020
Gross unrecognized tax benefits balance at beginning of year                        $             4.3       $           25.5     $          19.9
Additions based on tax positions related to the current year                                       0.1                   0.1                  —
Additions based on tax positions related to prior years                                             —                    0.4                 5.6
Reductions related to settlements with taxing authorities                                         (0.5)                 (18.1)                —
Reductions related to lapses of statute of limitations                                              —                   (3.6)                 —
GROSS UNRECOGNIZED TAX BENEFITS BALANCE AT END OF YEAR                              $             3.9       $            4.3     $         25.5

The amount of gross unrecognized tax benefits that would reduce         in the next 12 months as a result of the resolution of tax matters
our effective tax rate if recognized was $3.9 million, $4.3 million,    in various global jurisdictions and the lapses of statutes of
and $25.5 million at September 30, 2022, 2021, and 2020,                limitations. If all of the unrecognized tax benefits were recognized,
respectively.                                                           the net reduction to our income tax provision, including the
                                                                        recognition of interest and penalties and offsetting tax assets,
Accrued interest and penalties related to unrecognized tax
                                                                        could be up to $4.7 million.
benefits were $1.4 million and $1.5 million at September 30, 2022
and 2021, respectively. We recognize interest and penalties related     We conduct business globally and are routinely audited by the
to unrecognized tax benefits in the income tax provision. In 2022,      various tax jurisdictions in which we operate. We are no longer
benefits and expenses net to zero. Benefits (expense) recognized        subject to U.S. federal income tax examinations for years before
in 2021 and 2020 were $2.5 million and ($0.7) million, respectively.    2018 and are no longer subject to state, local, and non-U.S. income
                                                                        tax examinations for years before 2014.
We believe it is reasonably possible that the amount of gross
unrecognized tax benefits could be reduced by up to $3.3 million


NOTE 17. COMMITMENTS AND CONTINGENT LIABILITIES

ENVIRONMENTAL MATTERS                                                   resolution of environmental claims have been accomplished
                                                                        without material effect on our business, financial condition, or
Federal, state, and local requirements relating to the discharge        results of operations.
of substances into the environment, the disposal of hazardous
wastes, and other activities affecting the environment have and         We have been designated as a potentially responsible party
will continue to have an effect on our manufacturing operations.        at 14 Superfund sites, excluding sites as to which our records
Thus far, compliance with environmental requirements and                disclose no involvement or as to which our potential liability has


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     been finally determined and assumed by third parties. In addition,      there are lawsuits that name us as defendants, together with
     various other lawsuits, claims, and proceedings have been               hundreds of other companies. But in all cases, for those claimants
     asserted against us seeking remediation of alleged environmental        who do show that they worked with our products or products of
     impairments, principally at previously owned properties.                divested businesses for which we are responsible, we nevertheless
                                                                             believe we have meritorious defenses, in substantial part due to
     Based on our assessment, we believe that our expenditures for
                                                                             the integrity of the products, the encapsulated nature of any
     environmental capital investment and remediation necessary
                                                                             asbestos-containing components, and the lack of any impairing
     to comply with present regulations governing environmental
                                                                             medical condition caused by our products. We defend those cases
     protection and other expenditures for the resolution of
                                                                             vigorously. Historically, we have been dismissed from the vast
     environmental claims will not have a material effect on our
                                                                             majority of these claims with no payment to claimants.
     business, financial condition, or results of operations. We
     cannot assess the possible effect of compliance with future             Additionally, we have maintained insurance coverage that includes
     requirements. Environmental remediation cost liabilities, net of        indemnity and defense costs, over and above self-insured
     related expected recoveries, were $46.0 million and $53.6 million       retentions, for many of these claims. We believe these
     as of September 30, 2022 and 2021, respectively.                        arrangements will provide substantial coverage for future defense
                                                                             and indemnity costs for these asbestos claims for many years into
     CONDITIONAL ASSET RETIREMENT OBLIGATIONS                                the future. The uncertainties of asbestos claim litigation make it
                                                                             difficult to predict accurately the ultimate outcome of asbestos
     We accrue for costs related to a legal obligation associated with       claims. That uncertainty is increased by the possibility of adverse
     the retirement of a tangible long-lived asset that results from the     rulings or new legislation affecting asbestos claim litigation or the
     acquisition, construction, development, or the normal operation         settlement process. Subject to these uncertainties and based
     of the long-lived asset. The obligation to perform the asset            on our experience defending asbestos claims, we do not believe
     retirement activity is not conditional even though the timing or        these lawsuits will have a material effect on our business, financial
     method may be conditional. Identified conditional asset retirement      condition, or results of operations. Asbestos liabilities, net of
     obligations include asbestos abatement and remediation of soil          related insurance coverage, were $14.3 million and $6.2 million
     contamination beneath current and previously divested facilities.       as of September 30, 2022 and 2021, respectively.
     We estimate conditional asset retirement obligations using
     site-specific knowledge and historical industry expertise. There        We have, from time to time, divested certain of our businesses. In
     have been no significant changes in liabilities incurred, liabilities   connection with these divestitures, certain lawsuits, claims, and
     settled, accretion expense, or revisions in estimated cash flows for    proceedings may be instituted or asserted against us related to the
     the years ended September 30, 2022, 2021, and 2020. Conditional         period that we owned the businesses, either because we agreed
     asset retirement obligations, net of related expected recoveries,       to retain certain liabilities related to these periods or because
     were $24.6 million and $23.6 million as of September 30, 2022           such liabilities fall upon us by operation of law. In some instances
     and 2021, respectively.                                                 the divested business has assumed the liabilities; however, it is
                                                                             possible that we might be responsible to satisfy those liabilities if
                                                                             the divested business is unable to do so. We do not believe these
     OTHER MATTERS                                                           liabilities will have a material effect on our business, financial
     Various other lawsuits, claims, and proceedings have been               condition, or results of operations.
     or may be instituted or asserted against us relating to the             In many countries we provide a limited intellectual property
     conduct of our business, including those pertaining to product          indemnity as part of our terms and conditions of sale and at times
     liability, environmental, safety and health, intellectual property,     in other contracts with third parties. As of September 30, 2022,
     employment, and contract matters. Although the outcome of               we were not aware of any material indemnification claims that
     litigation cannot be predicted with certainty and some lawsuits,        were probable or reasonably possible of an unfavorable outcome.
     claims, or proceedings may be disposed of unfavorably to us,            Historically, claims that have been made under the indemnification
     we believe the disposition of matters that are pending or have          agreements have not had a material impact on our business,
     been asserted will not have a material effect on our business,          financial condition, or results of operations; however, to the
     financial condition, or results of operations. The following outlines   extent that valid indemnification claims arise in the future, future
     additional background for obligations associated with asbestos,         payments by us could be significant and could have a material
     divested businesses, and intellectual property.                         adverse effect on our business, financial condition, or results of
     We (including our subsidiaries) have been named as a defendant          operations in a particular period. During the first quarter of fiscal
     in lawsuits alleging personal injury as a result of exposure to         2021, we reached a favorable settlement agreement regarding
     asbestos that was used in certain components of our products            litigation of a trademark infringement and false advertising matter
     many years ago, including products from divested businesses for         and received $70 million. The settlement gain is recorded in Other
     which we have agreed to defend and indemnify claims. Currently          (expense) income in the Consolidated Statement of Operations.




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NOTE 18.	LEASES
We have operating leases primarily for real estate, vehicles, and               which allows the Company to carry forward the historical assessments
equipment. We have finance leases primarily for equipment. Our                  of whether contracts are, or contain, leases, lease classification, and
leases have remaining lease terms from less than one year to                    initial direct costs. We also elected to not record lease ROU assets or
approximately 16 years.                                                         lease liabilities for leases with an original term of 12 months or less. We
                                                                                elected to use the remaining lease term for purposes of calculating
We elected the package of practical expedients permitted under the              the incremental borrowing rate upon transition.
transition guidance within the new standard on accounting for leases,

The components of lease expense were (in millions):

                                                                                                         2022                 2021                    2020

Operating lease expense        (1)                                                           $          103.6     $          109.8          $        104.6

Variable lease expense   (2)                                                                              16.6                 15.8                    15.6

Finance lease expense
  Amortization of right-of-use assets                                                                      6.9                  1.7                     1.3

  Interest on lease liabilities                                                                            0.6                 0.4                     0.4

TOTAL LEASE EXPENSE                                                                          $           127.7    $          127.7          $         121.9
(1) Operating lease expense includes short-term lease expense, which was not material.
(2) Variable lease expense includes sublease income, which was not material.

Supplemental balance sheet information related to leases consists of:
                                                                                                                                     2022             2021

Weighted average remaining lease term
  Operating leases                                                                                                            6.3 years           6.8 years
  Finance leases                                                                                                              3.0 years           4.3 years
Weighted average discount rate
  Operating leases                                                                                                                     2.07%           1.79%
  Finance leases                                                                                                                       2.04%          3.96%

Undiscounted maturities of lease liabilities as of September 30, 2022, were (in millions):

                                                                                                                  Finance Leases            Operating Leases

2023                                                                                                        $                 9.5       $              89.3
2024                                                                                                                          8.2                       74.6
2025                                                                                                                          4.6                      55.0
2026                                                                                                                           1.6                      39.1
2027                                                                                                                           1.6                     28.2
Thereafter                                                                                                                     1.3                     82.8
  Total undiscounted lease payments                                                                         $                26.8       $             369.0
Less: Imputed interest                                                                                                         (1.1)                   (22.5)
TOTAL LEASE LIABILITIES                                                                                     $                25.7       $             346.5

As of September 30, 2022, we have additional operating leases for facilities that have not yet commenced with undiscounted lease
obligations of approximately $11.0 million. These leases will commence in fiscal 2023.




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     Supplemental cash flow information related to leases consists of (in millions):
                                                                                                       2022               2021               2020
      Cash paid for amounts included in the measurement of lease liabilities
          Operating cash flows from operating leases                                        $         102.9    $         108.5    $          103.6
          Operating cash flows from finance leases                                                       0.6               0.4                0.4
          Financing cash flows from finance leases                                                       8.8                1.8                1.2
      Right-of-use assets obtained in exchange for lease obligations
          Operating leases                                                                  $          63.4    $          90.6    $          131.2
          Financing leases                                                                              11.8               0.9                  —



     NOTE 19. BUSINESS SEGMENT INFORMATION
     We determine our operating segments based on the information              products include programmable automation controllers, design,
     used by our chief operating decision maker, our Chief Executive           visualization and simulation software, human machine interface
     Officer, to allocate resources and assess performance. We                 products, industrial computers, machine safety and process
     organize our business into three operating segments: Intelligent          safety products, industrial networks, and security products.
     Devices, Software & Control, and Lifecycle Services. This change
                                                                               Our production operations portfolio helps industrial clients to
     simplifies our structure around essential offerings, leverages our
                                                                               plan, execute, manage, and optimize their production leveraging
     sharpened industry focus, and recognizes the growing importance
                                                                               industrial data and software. Our software products include
     of software in delivering value to our customers. The composition
                                                                               manufacturing execution systems, performance, quality, supply
     of our segments is as follows:
                                                                               chain management, data management, edge, analytics, and
                                                                               machine learning software that enables customers to improve
     INTELLIGENT DEVICES                                                       operational productivity and meet regulatory requirements. These
     The Intelligent Devices operating segment combines a                      solutions enable enterprise visibility, reduction of unplanned
     comprehensive portfolio of smart products that create the                 downtime, and optimization of processes.
     foundation of an agile, resilient, and sustainable production
     system. This comprehensive portfolio includes:                            LIFECYCLE SERVICES
     z   Power Control - Low and medium voltage variable frequency             The Lifecycle Services operating segment contains a complete
         drives as well as low and medium voltage motor control;               portfolio of professionally delivered services and value-added
     z   Motion Control - Servo drives, rotary servo motors, linear            solutions. This comprehensive portfolio combines technology
         actuators, and independent cart technologies offering a               and domain expertise to help maximize customers’ investment and
         comprehensive portfolio of servo control technologies;                provide total lifecycle support as they innovate, design, operate,
                                                                               and sustain their business investments. This includes:
     z   Safety, Sensing, & Industrial Components - Safety devices,
         sensing devices, motor control and circuit protection devices,        z   consulting services including safety, security, and digital
         operator devices, signaling devices, relays, and electrical               transformation strategy and design;
         control accessories; and                                              z   professional services including global automation and
     z   Micro Control & Distributed I/O - Micro programmable logic                information program and project management and delivery
         controllers and distributed input/output platforms.                       capabilities;
                                                                               z   connected services including operational technology/plant
     SOFTWARE & CONTROL                                                            network, cybersecurity, cloud, predictive/prescriptive analytics,
                                                                                   remote support, and managed services;
     The Software & Control operating segment contains a
     comprehensive portfolio of production automation and production           z   field services including asset management, on-site support,
     operations platforms, including hardware and software. This                   and safety;
     integrated portfolio is merging information technology (IT)               z   workforce services including instructor-led and virtual training,
     and operational technology (OT), bringing the benefits of the                 learning, and enablement;
     Connected Enterprise to the production system.                            z   Sensia Joint Venture, which exclusively serves the oil, gas, and
     Our production automation portfolio is multi-discipline and                   petrochemical industry through a combination of connected
     scalable with the ability to handle applications in discrete,                 products and digital automation services and solutions; and
     batch/hybrid and continuous process, drives control, motion               z   industrial automation and information solutions and
     and robotics control, machine safety and process safety. Our                  custom-engineered systems that incorporate our own and
                                                                                   third-party hardware and software products.



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Sales and operating results of our reportable segments were (in millions):

                                                                                              2022                2021                2020
Sales
  Intelligent Devices                                                             $        3,544.6     $        3,311.9    $       2,956.0
  Software & Control                                                                       2,312.9              1,947.0             1,681.3
  Lifecycle Services                                                                       1,902.9              1,738.5            1,692.5
TOTAL                                                                             $        7,760.4     $       6,997.4     $       6,329.8
Segment operating earnings
  Intelligent Devices                                                             $           717.6    $         702.1     $         587.8
  Software & Control                                                                         666.7               531.0               473.8
  Lifecycle Services                                                                         158.3               158.2               196.3
    Total                                                                                  1,542.6              1,391.3             1,257.9
Purchase accounting depreciation and amortization                                            (103.9)              (55.1)              (41.4)
Corporate and other                                                                          (104.7)             (120.6)              (98.9)
Non-operating pension and postretirement benefit cost                                          (4.7)              (63.8)              (37.4)
Change in fair value of investments                                                          (136.9)             397.4               153.9
Legal settlement                                                                                 —                70.0                   —
Interest expense, net                                                                        (118.8)              (93.0)              (98.0)
INCOME BEFORE INCOME TAXES                                                        $        1,073.6     $       1,526.2     $        1,136.1

Among other considerations, we evaluate performance and               single legal entity are either at cost or cost plus a mark-up, which
allocate resources based upon segment operating earnings before       does not necessarily represent a market price. Sales between legal
purchase accounting depreciation and amortization, corporate          entities are at an appropriate transfer price. We allocate costs
and other, non-operating pension and postretirement benefit           related to shared segment operating activities to the segments
cost, change in fair value of investments, the $70 million legal      consistent with the methodology used by management to assess
settlement in fiscal 2021, interest expense, net, and income tax      segment performance.
provision. Depending on the product, intersegment sales within a




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     The following tables summarize the identifiable assets at September 30, 2022, 2021, and 2020, and the provision for depreciation and
     amortization and the amount of capital expenditures for property for the years then ended, for each of the reportable segments and
     Corporate (in millions):

                                                                                                           2022                    2021                   2020
      Identifiable assets
        Intelligent Devices                                                                    $        2,070.0      $          2,143.3         $       1,585.0
        Software & Control                                                                               3,887.6               4,000.4                  1,072.7
        Lifecycle Services                                                                               1,968.4                2,124.3                 1,915.0
        Corporate                                                                                       2,832.7                 2,433.6                 2,692.0
      TOTAL                                                                                    $        10,758.7     $         10,701.6         $       7,264.7
      Depreciation and amortization
        Intelligent Devices                                                                    $           45.8      $             48.6         $          51.8
        Software & Control                                                                                 47.0                    49.1                   40.6
        Lifecycle Services                                                                                 40.5                    35.3                    37.1
        Corporate                                                                                            1.7                    1.7                     1.8
          Total                                                                                            135.0                  134.7                   131.3
      Purchase accounting depreciation and amortization                                                   103.9                    55.1                    41.4
      TOTAL                                                                                    $          238.9      $            189.8         $         172.7
      Capital expenditures for property
        Intelligent Devices                                                                    $           45.6      $             52.0         $          51.3
        Software & Control                                                                                 29.7                    30.4                    19.3
        Lifecycle Services                                                                                 32.9                    19.6                   24.9
        Corporate                                                                                          32.9                    18.3                    18.4
      TOTAL                                                                                    $           141.1     $            120.3         $         113.9

     Identifiable assets at Corporate consist principally of cash, net            $247.3 million at September 30, 2022, 2021, and 2020, respectively,
     deferred income tax assets, prepaid pension, and property.                   for which depreciation expense has been allocated to segment
     Property shared by the segments and used in operating activities             operating earnings based on the expected benefit to be realized
     is also reported in Corporate identifiable assets and Corporate              by each segment. Corporate capital expenditures in 2022, 2021,
     capital expenditures. Corporate identifiable assets include                  and 2020, primarily consist of property that will be shared by our
     shared net property balances of $205.8 million, $275.8 million, and          operating segments.
     We conduct a significant portion of our business activities outside the United States. The following tables present sales and property
     by geographic region (in millions):

                                                                   Sales                                                      Property
                                                       2022                2021            2020                2022                  2021                  2020
      North America                         $       4,722.0    $      4,132.8     $     3,760.2     $         430.7       $          416.1          $     429.4
      Europe, Middle East and Africa                 1,437.6          1,405.7            1,249.3               78.9                      91.1               81.9
      Asia Pacific                                  1,088.0           1,012.2             868.7                58.6                  54.8                  42.8
      Latin America                                   512.8            446.7               451.6                   18.3              19.9                  20.3
      TOTAL                                 $       7,760.4    $     6,997.4      $     6,329.8     $         586.5       $         581.9           $     574.4

     We attribute sales to the geographic regions based on the country            In most countries, we sell primarily through independent
     of destination. Sales in North America include $4,315.5 million,             distributors in conjunction with our direct sales force. We sell large
     $3,740.2 million, and $3,425.1 million related to the U.S. in 2022,          systems and service offerings principally through our direct sales
     2021, and 2020, respectively.                                                force, though opportunities are sometimes identified through
                                                                                  distributors. Sales to our largest distributor in 2022, 2021, and 2020,
                                                                                  which are attributable to all three segments, were approximately
                                                                                  10 percent of our total sales.



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                                                                                            Item 8. Financial Statements and Supplementary Data




NOTE 20. SUBSEQUENT EVENT
On October 31, 2022, we acquired CUBIC, a company that specializes in modular systems for the construction of electrical panels,
headquartered in Bronderslev, Denmark. As of the acquisition date, we will record a preliminary purchase price allocation for the assets
acquired and liabilities assumed in connection with the acquisition based on their estimated fair values as of the acquisition date.
The preliminary purchase price allocation is as follows (in millions):

                                                                                                                                 Purchase Price
                                                                                                                                     Allocation

Net current and other tangible assets, net of cash acquired                                                        $                       64.9
Goodwill and other intangible assets                                                                                                      103.0
Total assets acquired                                                                                                                     167.9
  Less: Liabilities assumed                                                                                                                (33.2)
NET ASSETS ACQUIRED                                                                                                $                      134.7
                                                                                                                                      Purchase
                                                                                                                                  Consideration
TOTAL PURCHASE CONSIDERATION, NET OF CASH ACQUIRED                                                                 $                      134.7

We will assign the full amount of goodwill to our Intelligent Devices    determine the fair value of the net assets as of the acquisition date.
segment. We do not expect the goodwill to be deductible for tax          The measurement period for the valuation of net assets acquired
purposes.                                                                ends as soon as information on the facts and circumstances that
                                                                         existed as of the acquisition date becomes available, but not to
The allocation of the purchase price to identifiable assets is based
                                                                         exceed 12 months following the acquisition date. Adjustments in
on preliminary information. We have not completed our analysis of
                                                                         purchase price allocations may require a change in the amounts
identifying and estimating the fair value of identifiable intangible
                                                                         allocated to net assets acquired during the periods in which the
assets acquired. The allocation of the purchase price to identifiable
                                                                         adjustments are determined.
assets above is based on the preliminary valuations performed to




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       REPORT OF INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM




     REPORT OF INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM
     To the Shareowners and the Board of Directors of
     Rockwell Automation, Inc.
     Milwaukee, Wisconsin

     OPINIONS ON THE FINANCIAL STATEMENTS AND INTERNAL CONTROL OVER
     FINANCIAL REPORTING
     We have audited the accompanying consolidated balance sheets               In our opinion, the financial statements referred to above present
     of Rockwell Automation, Inc. and subsidiaries (the “Company”) as of        fairly, in all material respects, the financial position of the Company
     September 30, 2022 and 2021, the related consolidated statements           as of September 30, 2022 and 2021, and the results of its operations
     of operations, comprehensive income, cash flows, and shareowners’          and its cash flows for each of the three years in the period ended
     equity for each of the three years in the period ended September 30,       September 30, 2022, in conformity with accounting principles
     2022, and the related notes and the schedule listed in the Index at        generally accepted in the United States of America. Also, in our
     Item 15 (a)(2) (collectively referred to as the “financial statements”).   opinion, the Company maintained, in all material respects, effective
     We also have audited the Company’s internal control over financial         internal control over financial reporting as of September 30, 2022,
     reporting as of September 30, 2022, based on criteria established          based on criteria established in Internal Control — Integrated
     in Internal Control — Integrated Framework (2013) issued by the            Framework (2013) issued by COSO.
     Committee of Sponsoring Organizations of the Treadway Commission
     (COSO).

     BASIS FOR OPINIONS
     The Company’s management is responsible for these financial                Our audits of the financial statements included performing
     statements, for maintaining effective internal control over financial      procedures to assess the risks of material misstatement of
     reporting, and for its assessment of the effectiveness of internal         the financial statements, whether due to error or fraud, and
     control over financial reporting, included in the accompanying             performing procedures to respond to those risks. Such procedures
     Management’s Report on Internal Control over Financial Reporting.          included examining, on a test basis, evidence regarding the
     Our responsibility is to express an opinion on these financial             amounts and disclosures in the financial statements. Our audits
     statements and an opinion on the Company’s internal control over           also included evaluating the accounting principles used and
     financial reporting based on our audits. We are a public accounting        significant estimates made by management, as well as evaluating
     firm registered with the Public Company Accounting Oversight               the overall presentation of the financial statements. Our audit
     Board (United States) (PCAOB) and are required to be independent           of internal control over financial reporting included obtaining
     with respect to the Company in accordance with the U.S. federal            an understanding of internal control over financial reporting,
     securities laws and the applicable rules and regulations of the            assessing the risk that a material weakness exists, and testing
     Securities and Exchange Commission and the PCAOB.                          and evaluating the design and operating effectiveness of internal
                                                                                control based on the assessed risk. Our audits also included
     We conducted our audits in accordance with the standards of the
                                                                                performing such other procedures as we considered necessary in
     PCAOB. Those standards require that we plan and perform the
                                                                                the circumstances. We believe that our audits provide a reasonable
     audit to obtain reasonable assurance about whether the financial
                                                                                basis for our opinions.
     statements are free of material misstatement, whether due to
     error or fraud, and whether effective internal control over financial
     reporting was maintained in all material respects.

     DEFINITION AND LIMITATIONS OF INTERNAL CONTROL OVER FINANCIAL REPORTING
     A company’s internal control over financial reporting is a process         being made only in accordance with authorizations of management
     designed to provide reasonable assurance regarding the reliability         and directors of the company; and (3) provide reasonable assurance
     of financial reporting and the preparation of financial statements         regarding prevention or timely detection of unauthorized
     for external purposes in accordance with generally accepted                acquisition, use, or disposition of the company’s assets that could
     accounting principles. A company’s internal control over financial         have a material effect on the financial statements.
     reporting includes those policies and procedures that (1) pertain to
                                                                                Because of its inherent limitations, internal control over financial
     the maintenance of records that, in reasonable detail, accurately
                                                                                reporting may not prevent or detect misstatements. Also,
     and fairly reflect the transactions and dispositions of the assets of
                                                                                projections of any evaluation of effectiveness to future periods are
     the company; (2) provide reasonable assurance that transactions
                                                                                subject to the risk that controls may become inadequate because
     are recorded as necessary to permit preparation of financial
                                                                                of changes in conditions, or that the degree of compliance with
     statements in accordance with generally accepted accounting
                                                                                the policies or procedures may deteriorate.
     principles, and that receipts and expenditures of the company are

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                                                                                       REPORT OF INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM




CRITICAL AUDIT MATTER
The critical audit matter communicated below is a matter arising        communication of critical audit matters does not alter in any way
from the current-period audit of the financial statements that          our opinion on the financial statements, taken as a whole, and
was communicated or required to be communicated to the                  we are not, by communicating the critical audit matter below,
audit committee and that (1) relate to accounts or disclosures          providing a separate opinion on the critical audit matter or on the
that are material to the financial statements and (2) involved our      accounts or disclosures to which it relates.
especially challenging, subjective, or complex judgments. The

GOODWILL VALUATION - SENSIA REPORTING UNIT - REFER TO NOTE 3 TO THE FINANCIAL
STATEMENTS
CRITICAL AUDIT MATTER DESCRIPTION                                       HOW THE CRITICAL AUDIT MATTER WAS
The Company performed an impairment evaluation of the goodwill          ADDRESSED IN THE AUDIT
for the Sensia reporting unit by comparing the estimated fair value     Our audit procedures related to the selection of the discount rate
of the reporting unit to its carrying value. In order to estimate the   and forecasts of future revenues and EBITDA margins for the
fair value of the reporting unit, management is required to make        Sensia reporting unit included the following for both quantitative
significant estimates and assumptions related to the discount           tests, among others:
rate and forecasts of future revenues and Earnings Before Interest
Taxes Depreciation & Amortization (“EBITDA”) margins. Changes           l   We tested the effectiveness of controls over management’s
in these assumptions could have a significant impact on the fair            goodwill impairment evaluation, including those over the
value of the reporting unit, the amount of any goodwill impairment          selection of the discount rate and management’s development
charge, or both. The goodwill balance was $3,524.0 million as of            of forecasts of future revenues and EBITDA margins.
September 30, 2022, of which $315.9 million related to the Sensia       l   We evaluated the reasonableness of management’s forecasts
reporting unit. The Company performed their annual quantitative             by comparing the forecasts to (1) historical results, (2) internal
test for goodwill impairment during the second quarter of fiscal            communications to management and those charged with
2022. Further, the Company identified a triggering event in                 governance of Sensia, and (3) forecasted information included
the fourth quarter of fiscal 2022 for the Sensia reporting unit             in analyst and industry reports for the Company and its peer
due to ongoing supply chain constraints and market volatility,              companies, including the impact of economic factors on
which required a quantitative test for goodwill impairment to be            Sensia’s Oil & Gas customers.
performed. The Company determined that the fair value of the            l   With the assistance of our fair value specialists, we evaluated
Sensia reporting unit exceeded its carrying value by approximately          the reasonableness of the discount rate by (1) testing the source
20 percent in the second quarter and approximately 15 percent               information underlying the determination of the discount rate;
in the fourth quarter; therefore, no impairment was recognized              (2) testing the mathematical accuracy of the calculations; and
during the year ended September 30, 2022.                                   (3) developing a range of independent estimates and comparing
We identified the impairment evaluation of goodwill for the                 those to the discount rate selected by management.
Sensia reporting unit as a critical audit matter because of the         /s/ DELOITTE & TOUCHE LLP
inherent subjectivity involved in management’s estimates and
assumptions related to the discount rate and forecasts of future        Milwaukee, Wisconsin
revenues and EBITDA margins. The audit procedures to evaluate           November 8, 2022
the reasonableness of management’s estimates and assumptions            We have served as the Company’s auditor since 1967.
related to the selection of the discount rate and forecasts of future
revenues and EBITDA margins required a high degree of auditor
judgment and an increased extent of effort, including the need to
involve our fair value specialists.




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       Item 9. Changes in and Disagreements with Accountants on Accounting and Financial Disclosure




     ITEM 9. CHANGES IN AND DISAGREEMENTS WITH ACCOUNTANTS
             ON ACCOUNTING AND FINANCIAL DISCLOSURE
     None.



     ITEM 9A. CONTROLS AND PROCEDURES

     EVALUATION OF DISCLOSURE CONTROLS AND PROCEDURES
     Under the supervision and with the participation of our                     as defined in Rule 13a-15(e) and Rule 15d-15(e) under the Exchange
     management, including the Chief Executive Officer and Chief                 Act. Based on that evaluation, our Chief Executive Officer and
     Financial Officer, we have evaluated the effectiveness, as of               Chief Financial Officer have concluded that our disclosure controls
     September 30, 2022, of our disclosure controls and procedures,              and procedures were effective as of September 30, 2022.


     MANAGEMENT’S REPORT ON INTERNAL CONTROL OVER FINANCIAL REPORTING
     We are responsible for establishing and maintaining adequate                evaluation, management has concluded that our internal control
     internal control over financial reporting, as defined in Rule               over financial reporting was effective as of September 30, 2022.
     13a-15(f) under the Exchange Act. Our internal control over
                                                                                 The effectiveness of our internal control over financial reporting,
     financial reporting is a process designed to provide reasonable
                                                                                 as of September 30, 2022, has been audited by Deloitte & Touche
     assurance regarding the reliability of our financial reporting and
                                                                                 LLP, as stated in their report that is included on the previous page.
     the preparation of financial statements for external purposes in
     accordance with generally accepted accounting principles. Under             Because of its inherent limitations, internal control over financial
     the supervision and with the participation of our management,               reporting may not prevent or detect misstatements. Also,
     including the Chief Executive Officer and Chief Financial Officer,          projections of any evaluation of effectiveness to future periods are
     we evaluated the effectiveness of our internal control over financial       subject to the risk that controls may become inadequate because
     reporting based on the framework in Internal Control - Integrated           of changes in conditions, or that the degree of compliance with
     Framework (2013) issued by the Committee of Sponsoring                      the policies or procedures may deteriorate.
     Organizations of the Treadway Commission (COSO). Based on that


     CHANGES IN INTERNAL CONTROL OVER FINANCIAL REPORTING
     There has not been any change in our internal control over financial reporting (as such term is defined in Rule 13a-15(f) under the Exchange
     Act) during the fiscal quarter to which this report relates that has materially affected, or is reasonably likely to materially affect, our
     internal control over financial reporting.



     ITEM 9B. OTHER INFORMATION
     None.



     ITEM 9C.	DISCLOSURE REGARDING FOREIGN JURISDICTIONS THAT
               PREVENT INSPECTIONS
     Not applicable.




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PART III

ITEM 10.	DIRECTORS, EXECUTIVE OFFICERS, AND CORPORATE
          GOVERNANCE
Other than the information below, the information required by                     We have adopted a code of ethics that applies to our executive
this Item 10 is incorporated by reference to the sections entitled                officers, including the principal executive officer, principal
Corporate Governance, Election of Directors, and Stock Ownership                  financial officer, and principal accounting officer. A copy
Information in the Proxy Statement.                                               of our Code of Conduct is posted on our Internet site at
                                                                                  https://www.rockwellautomation.com under the “Investors” link.
No nominee for director was selected pursuant to any arrangement
                                                                                  In the event that we amend or grant any waiver from a provision of
or understanding between the nominee and any person other
                                                                                  the code of ethics that applies to the principal executive officer,
than the Company pursuant to which such person is or was to be
                                                                                  principal financial officer, or principal accounting officer, and
selected as a director or nominee. See also the information about
                                                                                  that requires disclosure under applicable SEC rules, we intend
executive officers of the Company under Item 4A of Part I.
                                                                                  to disclose such amendment or waiver and the reasons therefor
                                                                                  on our Internet site.



ITEM 11. EXECUTIVE COMPENSATION
The information required by this Item 11 is incorporated by reference to the sections entitled Executive Compensation, Election of
Directors, Corporate Governance, and Compensation Committee Report in the Proxy Statement.



ITEM 12.	SECURITY OWNERSHIP OF CERTAIN BENEFICIAL OWNERS
          AND MANAGEMENT AND RELATED STOCKHOLDER MATTERS
Other than the information below, the information required by this Item 12 is incorporated by reference to the section entitled Stock
Ownership Information in the Proxy Statement.
The following table provides information, as of September 30, 2022, about our common stock that may be issued upon the exercise
of options, warrants, and rights granted to employees, consultants, or directors under all of our existing equity compensation plans.

                                                                                                                                      Number of Securities
                                                                Number of Securities                                                Remaining Available for
                                                                        to be issued               Weighted Average                  Future Issuance under
                                                                    upon Exercise of                 Exercise Price of          Equity Compensation Plans
                                                                Outstanding Options,             Outstanding Options,        (excluding Securities reflected
                                                                Warrants, and Rights             Warrants, and Rights                         in Column (a))
 Plan Category                                                                    (a)                              (b)                                    (c)
 Equity compensation plans approved by shareowners                          2,862,970(1)         $               186.72(2)                        10,106,671(3)
 Equity compensation plans not approved by                                           —                              n/a                                    —
 shareowners
 TOTAL                                                                      2,862,970            $               186.72                           10,106,671
 (1) Represents outstanding options, shares issuable in payment of outstanding performance shares (at maximum payout), and restricted stock units under our
     2020 Long-Term Incentives Plan, 2012 Long-Term Incentives Plan, 2008 Long-Term Incentives Plan, and 2003 Directors Stock Plan.
 (2) Represents the weighted average exercise price of outstanding options and does not take into account the performance shares and restricted stock units.
 (3) Represents shares available for future issuance under our 2020 Long-Term Incentives Plan.




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       Item 13. Certain Relationships and Related Transactions, and Director Independence




     ITEM 13. 	CERTAIN RELATIONSHIPS AND RELATED TRANSACTIONS,
                AND DIRECTOR INDEPENDENCE
     The information required by this Item 13 is incorporated by reference to the sections entitled Corporate Governance and Election of
     Directors in the Proxy Statement.



     ITEM 14. PRINCIPAL ACCOUNTANT FEES AND SERVICES
     The information required by this Item 14 is incorporated by reference to the section entitled Audit Matters in the Proxy Statement.




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PART IV

ITEM 15. EXHIBITS AND FINANCIAL STATEMENT SCHEDULES
(a) Financial Statements, Financial Statement Schedule, and Exhibits
   (1) Financial Statements (all financial statements listed below are those of the Company and its consolidated subsidiaries)

                                                                                                                                     Page
Consolidated Balance Sheet, September 30, 2022 and 2021                                                                                 34
Consolidated Statement of Operations, years ended September 30, 2022, 2021, and 2020                                                    35
Consolidated Statement of Comprehensive Income, years ended September 30, 2022, 2021, and 2020                                          36
Consolidated Statement of Cash Flows, years ended September 30, 2022, 2021, and 2020                                                    37
Consolidated Statement of Shareowners’ Equity, years ended September 30, 2022, 2021, and 2020                                           38
Notes to Consolidated Financial Statements                                                                                              39
Report of Independent Registered Public Accounting Firm (PCAOB ID No. 34)                                                               78

   (2) Financial Statement Schedule for the years ended September 30, 2022, 2021, and 2020
                                                                                                                                     Page
Schedule II—Valuation and Qualifying Accounts                                                                                           88
       chedules not filed herewith are omitted because of the absence of conditions under which they are required or because the
      S
      information called for is shown in the consolidated financial statements or notes thereto.
   (3) Exhibits
      3-a     Restated Certificate of Incorporation of the Company, filed as Exhibit 3 to the Company’s Quarterly Report on Form 10-Q for
              the quarter ended March 31, 2002, is hereby incorporated by reference.
      3-b     By-Laws of the Company, as amended and restated effective June 8, 2016, filed as Exhibit 3.2 to the Company’s Current
              Report on Form 8-K dated June 10, 2016, are hereby incorporated by reference.
     4-a-1    Indenture dated as of December 1, 1996 between the Company and The Bank of New York Trust Company, N.A. (formerly
              JPMorgan Chase, successor to The Chase Manhattan Bank, successor to Mellon Bank, N.A.), as Trustee, filed as Exhibit 4-a to
              Registration Statement No. 333-43071, is hereby incorporated by reference.
    4-a-2     Form of certificate for the Company’s 6.70% Debentures due January 15, 2028, filed as Exhibit 4-b to the Company’s Current
              Report on Form 8-K dated January 26, 1998, is hereby incorporated by reference.
    4-a-3     Form of certificate for the Company’s 5.20% Debentures due January 15, 2098, filed as Exhibit 4-c to the Company’s Current
              Report on Form 8-K dated January 26, 1998, is hereby incorporated by reference.
    4-a-4     Form of certificate for the Company’s 6.25% Debentures due December 31, 2037, filed as Exhibit 4.2 to the Company’s Current
              Report on Form 8-K dated December 3, 2007, is hereby incorporated by reference.
    4-a-5     Form of certificate for the Company’s 2.05% Notes due March 1, 2020, filed as Exhibit 4.1 to the Company’s Current Report on
              Form 8-K dated February 17, 2015, is hereby incorporated by reference.
    4-a-6     Form of certificate for the Company’s 2.875% Notes due March 1, 2025, filed as Exhibit 4.2 to the Company’s Current Report
              on Form 8-K dated February 17, 2015, is hereby incorporated by reference.
    4-a-7     Form of certificate for the Company’s 3.50% Notes due March 1, 2029, filed as Exhibit 4.1 to the Company’s Current Report on
              Form 8-K dated March 1, 2019, is hereby incorporated by reference.
    4-a-8     Form of certificate for the Company’s 4.20% Notes due March 1, 2049, filed as Exhibit 4.2 to the Company’s Current Report on
              Form 8-K dated March 1, 2019, is hereby incorporated by reference.
    4-a-9     Description of the Company’s Securities filed as Exhibit 4-a-9 to the Company’s Annual Report on Form 10-K for the year
              ended September 30, 2019, is hereby incorporated by reference.




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       Item 15. Exhibits and Financial Statement Schedules




         4-a-10     Form of certificate for the Company’s 0.35% Notes due August 15, 2023, filed as Exhibit 4.1 to the Company’s Current Report
                    on Form 8-K dated August 17, 2021, is hereby incorporated by reference.
          4-a-11    Form of certificate for the Company’s 1.75% Notes due August 15, 2031, filed as Exhibit 4.2 to the Company’s Current Report
                    on Form 8-K dated August 17, 2021, is hereby incorporated by reference.
         4-a-12     Form of certificate for the Company’s 2.80% Notes due August 15, 2061, filed as Exhibit 4.3 to the Company’s Current Report
                    on Form 8-K dated August 17, 2021, is hereby incorporated by reference.
         *10-a-1    Copy of the Company’s 2003 Directors Stock Plan, filed as Exhibit 4-d to the Company’s Registration Statement on Form S-8
                    (No. 333-101780), is hereby incorporated by reference.
        *10-a-2     Memorandum of Amendments to the Company’s 2003 Directors Stock Plan approved and adopted by the Board of Directors
                    of the Company on April 25, 2003, filed as Exhibit 10.1 to the Company’s Quarterly Report on Form 10-Q for the quarter ended
                    June 30, 2003, is hereby incorporated by reference.
        *10-a-3     Memorandum of Amendments to the Company’s 2003 Directors Stock Plan approved and adopted by the Board of Directors of
                    the Company on November 7, 2007, filed as Exhibit 10.3 to the Company’s Quarterly Report on Form 10-Q for the quarter ended
                    December 31, 2007, is hereby incorporated by reference.
        *10-a-4     Memorandum of Amendments to the Company’s 2003 Directors Stock Plan approved and adopted by the Board of Directors of
                    the Company on September 3, 2008, filed as Exhibit 10-b-16 to the Company’s Annual Report on Form 10-K for the year ended
                    September 30, 2008, is hereby incorporated by reference.
        *10-a-5     Form of Restricted Stock Unit Agreement under Section 6 of the Company’s 2003 Director’s Stock Plan, as amended, filed as
                    Exhibit 10.3 to the Company’s Quarterly Report on Form 10-Q for the quarter ended March 31, 2008, is hereby incorporated by
                    reference.
        *10-a-6     Copy of the Company’s Directors Deferred Compensation Plan approved and adopted by the Board of Directors of the
                    Company on November 5, 2008, filed as Exhibit 10.2 to the Company’s Quarterly Report on Form 10-Q for the quarter ended
                    December 31, 2008, is hereby incorporated by reference.
        *10-a-7     Summary of Non-Employee Director Compensation and Benefits as of October 1, 2021.
         *10-b-1    Copy of the Company’s 2008 Long-Term Incentives Plan, as amended and restated through June 4, 2010, filed as Exhibit 99 to
                    the Company’s Current Report on Form 8-K dated June 10, 2010, is hereby incorporated by reference.
        *10-b-2     Form of Stock Option Agreement under the Company’s 2008 Long-Term Incentives Plan, filed as Exhibit 10.1 to the Company’s
                    Quarterly Report on Form 10-Q for the quarter ended June 30, 2008, is hereby incorporated by reference.
        *10-b-3     Forms of Stock Option Agreement under the Company’s 2008 Long-Term Incentives Plan for options granted to executive
                    officers of the Company after December 1, 2008, filed as Exhibit 10.3 to the Company’s Quarterly Report on Form 10-Q for the
                    quarter ended December 31, 2008, is hereby incorporated by reference.
        *10-b-4     Form of Stock Option Agreement under the Company’s 2008 Long-Term Incentives Plan, as amended, for options granted
                    to executive officers of the Company after December 6, 2010, filed as Exhibit 10.1 to the Company’s Quarterly Report on
                    Form 10-Q for the quarter ended December 31, 2010, is hereby incorporated by reference.
        *10-b-5     Form of Stock Option Agreement under the Company’s 2008 Long-Term Incentives Plan, as amended, for options granted
                    to executive officers of the Company after November 30, 2011, filed as Exhibit 10.1 to the Company’s Quarterly Report on
                    Form 10-Q for the quarter ended December 31, 2011, is hereby incorporated by reference.
        *10-b-6     Copy of the Company’s 2012 Long-Term Incentives Plan, as amended and restated through February 2, 2016, filed as Exhibit 4-c
                    to the Company’s Registration Statement on Form S-8 (No. 333-209706), is hereby incorporated by reference.
        *10-b-7     Form of Stock Option Agreement under the Company’s 2012 Long-Term Incentives Plan for options granted to executive
                    officers of the Company after December 5, 2012, filed as Exhibit 10.1 to the Company’s Quarterly Report on Form 10-Q for the
                    quarter ended December 31, 2012, is hereby incorporated by reference.
        *10-b-8     Form of Restricted Stock Agreement under the Company’s 2012 Long-Term Incentives Plan for shares of restricted stock
                    awarded to executive officers of the Company after December 5, 2012, filed as Exhibit 10.2 to the Company’s Quarterly Report
                    on Form 10-Q for the quarter ended December 31, 2012 is hereby incorporated by reference.
        *10-b-9     Form of Performance Share Agreement under the Company’s 2012 Long-Term Incentives Plan for performance shares
                    awarded to executive officers of the Company after December 5, 2012, filed as Exhibit 10.3 to the Company’s Quarterly Report
                    on Form 10-Q for the quarter ended December 31, 2012 is hereby incorporated by reference.
       *10-b-10     Form of Restricted Stock Agreement under the Company’s 2012 Long-Term Incentives Plan for certain awards of shares of
                    restricted stock to executive officers of the Company after October 29, 2019, filed as Exhibit 10-b-10 to the Company’s Annual
                    Report on Form 10-K for the year ended September 30, 2019, is hereby incorporated by reference.
        *10-b-11    Copy of the Company’s 2020 Long-Term Incentives Plan filed as Appendix A to the Company’s Definitive Proxy Statement for
                    the 2020 Annual Meeting of Shareowners is hereby incorporated by reference.
       *10-b-12     Form of Restricted Stock Agreement under the Company’s 2020 Long-Term Incentives Plan for certain awards of shares of
                    restricted stock to executive officers of the Company filed as Exhibit 10.1 to the Company’s Quarterly Report on Form 10-Q for
                    the quarter ended June 30, 2020, is hereby incorporated by reference.




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                                                                                        Item 15. Exhibits and Financial Statement Schedules




*10-b-13   Form of Restricted Stock Unit Agreement under the Company’s 2020 Long-Term Incentives Plan for certain awards of
           restricted stock units to executive officers of the Company, filed as Exhibit 10-b-13 to the Company’s Annual Report on
           Form 10-K for the year ended September 30, 2020, is hereby incorporated by reference.
*10-b-14   Form of Global Restricted Stock Unit Agreement under the Company’s 2020 Long-Term Incentives Plan for certain awards of
           restricted stock units to executive officers of the Company after December 9, 2020, filed as Exhibit 10-b-14 to the Company’s
           Annual Report on Form 10-K for the year ended September 30, 2020, is hereby incorporated by reference.
*10-b-15   Form of Stock Option Agreement for U.S. Employees under the Company’s 2020 Long-Term Incentives Plan for options
           awarded to executive officers of the Company after December 9, 2020, filed as Exhibit 10.1 to the Company’s Quarterly Report
           on Form 10-Q for the quarter ended December 31, 2020, is hereby incorporated by reference.
*10-b-16   Form of Restricted Stock Unit Agreement for U.S. Employees under the Company’s 2020 Long-Term Incentives Plan for
           restricted stock units awarded to executive officers of the Company after December 9, 2020, filed as Exhibit 10.2 to the
           Company’s Quarterly Report on Form 10-Q for the quarter ended December 31, 2020, is hereby incorporated by reference.
*10-b-17   Form of Performance Share Agreement for U.S. Employees under the Company’s 2020 Long-Term Incentives Plan for
           performance shares awarded to executive officers of the Company after December 9, 2020, filed as Exhibit 10.3 to the
           Company’s Quarterly Report on Form 10-Q for the quarter ended December 31, 2020, is hereby incorporated by reference.
 *10-c-1   Copy of the Company’s Deferred Compensation Plan, as amended and restated September 6, 2006, filed as Exhibit 10-f to the
           Company’s Annual Report on Form 10-K for the year ended September 30, 2006, is hereby incorporated by reference.
 *10-c-2   Memorandum of Proposed Amendment and Restatement of the Company’s Deferred Compensation Plan approved and
           adopted by the Board of Directors of the Company on November 7, 2007, filed as Exhibit 10.2 to the Company’s Quarterly
           Report on Form 10-Q for the quarter ended December 31, 2007, is hereby incorporated by reference.
 *10-d-1   Copy of the Company’s Incentive Compensation Plan effective October 1, 2020, filed as Exhibit 10-d-1 to the Company’s Annual
           Report on Form 10-K for the year ended September 30, 2020, is hereby incorporated by reference.
 *10-d-2   Copy of the Company’s Annual Incentive Compensation Plan for Senior Executive Officers, as amended December 3, 2003,
           filed as Exhibit 10-i-1 to the Company’s Annual Report for the year ended September 30, 2004, is hereby incorporated by
           reference.
 *10-e-1   Change of Control Agreement dated as of September 30, 2022 between the Company and Blake D. Moret, filed as Exhibit 99.1
           to the Company’s Current Report on Form 8-K dated October 21, 2022, is hereby incorporated by reference.
 *10-e-2   Form of Change of Control Agreement between the Company and each of Nicholas C. Gangestad, Scott A. Genereux, Rebecca
           W. House, Frank Kulaszewicz, and certain other officers filed as Exhibit 99.2 to the Company’s Current Report on Form 8-K
           dated October 21, 2022, is hereby incorporated by reference.
 *10-e-3   Letter Agreement dated September 3, 2009 between Registrant and Theodore D. Crandall, filed as Exhibit 99.2 to the
           Company’s Current Report on Form 8-K dated September 8, 2009, is hereby incorporated by reference.
 *10-e-4   Letter Agreement dated July 1, 2016 between Registrant and Blake D. Moret, filed as Exhibit 10.3 to the Company’s Quarterly
           Report on Form 10-Q for the quarter ended June 30, 2016, is hereby incorporated by reference.
 *10-e-5   Letter Agreement dated February 7, 2017 between Registrant and Patrick P. Goris, filed as Exhibit 10 to the Company’s
           Quarterly Report on Form 10-Q for the quarter ended March 31, 2017, is hereby incorporated by reference.
 *10-e-6   Letter Agreement dated March 1, 2021 between Registrant and Nicholas C. Gangestad
  10-g-1   Agreement and Plan of Distribution dated as of December 6, 1996, among Rockwell International Corporation (renamed Boeing
           North American, Inc.), the Company (formerly named New Rockwell International Corporation), Allen-Bradley Company, Inc.,
           Rockwell Collins, Inc., Rockwell Semiconductor Systems, Inc., Rockwell Light Vehicle Systems, Inc. and Rockwell Heavy
           Vehicle Systems, Inc., filed as Exhibit l0-b to the Company’s Quarterly Report on Form 10-Q for the quarter ended December 31,
           1996, is hereby incorporated by reference.
 10-g-2    Post-Closing Covenants Agreement dated as of December 6, 1996, among Rockwell International Corporation (renamed
           Boeing North American, Inc.), The Boeing Company, Boeing NA, Inc. and the Company (formerly named New Rockwell
           International Corporation), filed as Exhibit 10-c to the Company’s Quarterly Report on Form 10-Q for the quarter ended
           December 31, 1996, is hereby incorporated by reference.
 10-g-3    Tax Allocation Agreement dated as of December 6, 1996, among Rockwell International Corporation (renamed Boeing North
           American, Inc.), the Company (formerly named New Rockwell International Corporation) and The Boeing Company, filed as
           Exhibit 10-d to the Company’s Quarterly Report on Form 10-Q for the quarter ended December 31, 1996, is hereby incorporated
           by reference.
  10-h-l   Distribution Agreement dated as of September 30, 1997 by and between the Company and Meritor Automotive, Inc., filed as
           Exhibit 2.1 to the Company’s Current Report on Form 8-K dated October 10, 1997, is hereby incorporated by reference.
 10-h-2    Employee Matters Agreement dated as of September 30, 1997 by and between the Company and Meritor Automotive, Inc., filed
           as Exhibit 2.2 to the Company’s Current Report on Form 8-K dated October 10, 1997, is hereby incorporated by reference.
 10-h-3    Tax Allocation Agreement dated as of September 30, 1997 by and between the Company and Meritor Automotive, Inc., filed as
           Exhibit 2.3 to the Company’s Current Report on Form 8-K dated October 10, 1997, is hereby incorporated by reference.




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         Item 16. Form 10-K Summary




            10-i-1    Distribution Agreement dated as of June 29, 2001 by and among the Company, Rockwell Collins, Inc. and Rockwell Scientific
                      Company LLC, filed as Exhibit 2.1 to the Company’s Current Report on Form 8-K dated July 11, 2001, is hereby incorporated by
                      reference.
            10-i-2    Employee Matters Agreement dated as of June 29, 2001 by and among the Company, Rockwell Collins, Inc. and Rockwell
                      Scientific Company LLC, filed as Exhibit 2.2 to the Company’s Current Report on Form 8-K dated July 11, 2001, is hereby
                      incorporated by reference.
            10-i-3    Tax Allocation Agreement dated as of June 29, 2001 by and between the Company and Rockwell Collins, Inc., filed as
                      Exhibit 2.3 to the Company’s Current Report on Form 8-K dated July 11, 2001, is hereby incorporated by reference.
            10-j-1    $1,500,000,000 Five-Year Credit Agreement dated as of June 29, 2022, among the Company, the Banks listed on the signature
                      pages thereof and Bank of America, N.A., as Administrative Agent, filed as Exhibit 99 to the Company’s Current Report on
                      Form 8-K dated July 1, 2022, is hereby incorporated by reference.
              10-k    Purchase and Sale Agreement dated as of August 24, 2005 by and between the Company and First Industrial Acquisitions,
                      Inc., including the form of Lease Agreement attached as Exhibit I thereto, together with the First Amendment to Purchase
                      and Sale Agreement dated as of September 30, 2005 and the Second Amendment to Purchase and Sale Agreement dated
                      as of October 31, 2005, filed as Exhibit 10-p to the Company’s Annual Report on Form 10-K for the year ended September 30,
                      2005, is hereby incorporated by reference.
            10-l-1    Purchase Agreement, dated as of November 6, 2006, by and among Rockwell Automation, Inc., Rockwell Automation of Ohio,
                      Inc., Rockwell Automation Canada Control Systems, Grupo Industrias Reliance S.A. de C.V., Rockwell Automation GmbH
                      (formerly known as Rockwell International GmbH) and Baldor Electric Company, contained in the Company’s Current Report on
                      Form 8-K dated November 9, 2006, is hereby incorporated by reference.
            10-l-2    First Amendment to Purchase Agreement dated as of January 24, 2007 by and among Rockwell Automation, Inc., Rockwell
                      Automation of Ohio, Inc., Rockwell Automation Canada Control Systems, Grupo Industrias Reliance S.A. de C.V., Rockwell
                      Automation GmbH and Baldor Electric Company, filed as Exhibit 10.2 to the Company’s Quarterly Report on Form 10-Q for the
                      quarter ended March 31, 2007, is hereby incorporated by reference.
           10-m-1     Securities Purchase Agreement, dated June 11, 2018, between the Company and PTC Inc., filed as Exhibit 10.1 to the
                      Company’s Current Report on Form 8-K dated June 11, 2018, is hereby incorporated by reference.
          10-m-2      Registration Rights Agreement dated July 19, 2018, between the Company and PTC Inc., filed as Exhibit 10.1 to the Company’s
                      Current Report on Form 8-K dated as July 20, 2018, is hereby incorporated by reference.
          10-m-3      Amendment No. 1 to the Securities Purchase Agreement, dated May 11, 2021, between the Company and PTC Inc., filed as
                      Exhibit 10.1 to the Company’s Current Report on Form 8-K dated May 13, 2021, is hereby incorporated by reference.
          10-m-4      Agreement and Plan of Merger, dated June 24, 2021, among Plex Systems Holdings Inc., the Company, Merger Sub and
                      the Representative, filed as Exhibit 10.1 to the Company’s Current Report on Form 8-K dated June 25, 2021, is hereby
                      incorporated by reference.
                21    List of Subsidiaries of the Company.
                23    Consent of Independent Registered Public Accounting Firm.
                24    Powers of Attorney authorizing certain persons to sign this Annual Report on Form 10-K on behalf of certain directors and
                      officers of the Company.
               31.1   Certification of Periodic Report by the Chief Executive Officer pursuant to Rule 13a-14(a) of the Securities Exchange Act of 1934.
              31.2    Certification of Periodic Report by the Chief Financial Officer pursuant to Rule 13a-14(a) of the Securities Exchange Act of 1934.
              32.1    Certification of Periodic Report by the Chief Executive Officer pursuant to Section 906 of the Sarbanes-Oxley Act of 2002.
              32.2    Certification of Periodic Report by the Chief Financial Officer pursuant to Section 906 of the Sarbanes-Oxley Act of 2002.
               101    Interactive Data Files.
               104    Cover Page Interactive Data File (formatted as Inline XBRL and contained in Exhibit 101).
     *
           Management contract or compensatory plan or arrangement.




     ITEM 16. FORM 10-K SUMMARY
     None.




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                                                                                                                            SIGNATURES




SIGNATURES
Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the registrant has duly caused this report
to be signed on its behalf by the undersigned, thereunto duly authorized.

                                                                                ROCKWELL AUTOMATION, INC.
                                                                                By     /s/ NICHOLAS C. GANGESTAD
                                                                                       Nicholas C. Gangestad
                                                                                       Senior Vice President and
                                                                                       Chief Financial Officer

Dated: November 8, 2022
Pursuant to the requirements of the Securities Exchange Act of 1934, this report has been signed below on the 8th day of November 2022
by the following persons on behalf of the registrant and in the capacities indicated.

                                                                                By     /s/ NICHOLAS C. GANGESTAD
                                                                                       Nicholas C. Gangestad
                                                                                       Senior Vice President and
                                                                                       Chief Financial Officer
                                                                                       (Principal Financial Officer)
                                                                                By     /s/ TERRY L. RIESTERER
                                                                                       Terry L. Riesterer
                                                                                       Vice President and Controller
                                                                                       (Principal Accounting Officer)
                                                                                       Blake D. Moret*
                                                                                       Chairman of the Board, President and
                                                                                       Chief Executive Officer
                                                                                       (Principal Executive Officer)
                                                                                       and Director
                                                                                       William P. Gipson*
                                                                                       Director
                                                                                       J. Phillip Holloman*
                                                                                       Director
                                                                                       Steven R. Kalmanson*
                                                                                       Director
                                                                                       James P. Keane*
                                                                                       Director
                                                                                       Pam Murphy*
                                                                                       Director
                                                                                       Donald R. Parfet*
                                                                                       Director
                                                                                       Lisa A. Payne*
                                                                                       Director
                                                                                       Thomas W. Rosamilia*
                                                                                       Director
                                                                                       Robert Soderbery*
                                                                                       Director
                                                                                       Patricia A. Watson*
                                                                                       Director
                                                                                *By    /s/ REBECCA W. HOUSE
                                                                                       Rebecca W. House, Attorney-in-fact**
                                                                                **By   authority of powers of attorney filed herewith


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       SCHEDULE II




     SCHEDULE II

     ROCKWELL AUTOMATION, INC.

     VALUATION AND QUALIFYING ACCOUNTS

     FOR THE YEARS ENDED SEPTEMBER 30, 2022, 2021, AND 2020

                                                                                                                 Additions

                                                                                         Balance at       Charged to          Charged
                                                                                         Beginning         Costs and          to Other                          Balance at
      (in millions)                                                                         of Year        Expenses          Accounts      Deductions(2)       End of Year

      Description
      Year ended September 30, 2022
        Allowance for doubtful accounts(1)                                           $          13.2 $             4.7 $              — $             4.8 $            13.1
        Valuation allowance for deferred tax assets                                            32.6               3.4                1.1             14.0              23.1
      Year ended September 30, 2021
        Allowance for doubtful accounts(1)                                           $          15.2 $             3.1 $            0.4 $             5.5 $            13.2
        Valuation allowance for deferred tax assets                                            58.0               5.4                1.5             32.3             32.6
      Year ended September 30, 2020
        Allowance for doubtful accounts(1)                                           $          17.4 $             7.0 $             1.1 $           10.3 $            15.2
        Valuation allowance for deferred tax assets                                            93.8                3.0              0.2              39.0             58.0
      (1) Includes allowances for current and other long-term receivables.
      (2) Consists of amounts written off for the allowance for doubtful accounts and adjustments resulting from our ability to utilize foreign tax credits, capital losses,
          or net operating loss carryforwards for which a valuation allowance had previously been recorded.




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INDEX TO EXHIBITS*
Exhibit No.      Exhibit
           21    List of Subsidiaries of the Company.
          23     Consent of Independent Registered Public Accounting Firm.
          24     Powers of Attorney authorizing certain persons to sign this Annual Report on Form 10-K on behalf of certain directors and
                 officers of the Company.
         31.1    Certification of Periodic Report by the Chief Executive Officer pursuant to Rule 13a-14(a) of the Securities Exchange
                 Act of 1934.
        31.2     Certification of Periodic Report by the Chief Financial Officer pursuant to Rule 13a-14(a) of the Securities Exchange
                 Act of 1934.
        32.1     Certification of Periodic Report by the Chief Executive Officer pursuant to Section 906 of the Sarbanes-Oxley Act of 2002.
        32.2     Certification of Periodic Report by the Chief Financial Officer pursuant to Section 906 of the Sarbanes-Oxley Act of 2002.
          101    Interactive Data Files.
         104     Cover Page Interactive Data File (formatted as Inline XBRL and contained in Exhibit 101).
* See Part IV, Item 15(a)(3) for exhibits incorporated by reference.




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       Exhibit 31.1




     EXHIBIT 31.1
     CERTIFICATION
         I, Blake D. Moret, certify that:
     1. I have reviewed this Annual Report on Form 10-K of Rockwell Automation, Inc.;
     2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact
        necessary to make the statements made, in light of the circumstances under which such statements were made, not misleading
        with respect to the period covered by this report;
     3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material
        respects the financial condition, results of operations, and cash flows of the registrant as of, and for, the periods presented in this
        report;
     4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures
        (as defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange
        Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:
         a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under
            our supervision, to ensure that material information relating to the registrant, including its consolidated subsidiaries, is made
            known to us by others within those entities, particularly during the period in which this report is being prepared;
         b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed
            under our supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of
            financial statements for external purposes in accordance with generally accepted accounting principles;
         c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions
            about the effectiveness of the disclosure controls and procedures, as of the end of the period covered by this report based on
            such evaluation; and
         d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s
            most recent fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or
            is reasonably likely to materially affect, the registrant’s internal control over financial reporting; and
     5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial
        reporting, to the registrant’s auditors and the audit committee of the registrant’s board of directors (or persons performing the
        equivalent functions):
         a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting
            which are reasonably likely to adversely affect the registrant’s ability to record, process, summarize, and report financial
            information; and
         b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s
            internal control over financial reporting.

     Date: November 8, 2022

                                                                                                                   /s/ BLAKE D. MORET
                                                                                                                   Blake D. Moret
                                                                                                                   President and Chief
                                                                                                                   Executive Officer




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                                                                                                                                 Exhibit 31.2




EXHIBIT 31.2
CERTIFICATION
   I, Nicholas C. Gangestad, certify that:
1. I have reviewed this Annual Report on Form 10-K of Rockwell Automation, Inc.;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact
   necessary to make the statements made, in light of the circumstances under which such statements were made, not misleading
   with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material
   respects the financial condition, results of operations, and cash flows of the registrant as of, and for, the periods presented in this
   report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures
   (as defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange
   Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:
   a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under
      our supervision, to ensure that material information relating to the registrant, including its consolidated subsidiaries, is made
      known to us by others within those entities, particularly during the period in which this report is being prepared;
   b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed
      under our supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of
      financial statements for external purposes in accordance with generally accepted accounting principles;
   c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions
      about the effectiveness of the disclosure controls and procedures, as of the end of the period covered by this report based on
      such evaluation; and
   d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s
      most recent fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or
      is reasonably likely to materially affect, the registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial
   reporting, to the registrant’s auditors and the audit committee of the registrant’s board of directors (or persons performing the
   equivalent functions):
   a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting
      which are reasonably likely to adversely affect the registrant’s ability to record, process, summarize, and report financial
      information; and
   b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s
      internal control over financial reporting.

Date: November 8, 2022

                                                                                                         /s/ NICHOLAS C. GANGESTAD
                                                                                                         Nicholas C. Gangestad
                                                                                                         Senior Vice President and
                                                                                                         Chief Financial Officer




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       Exhibit 32.1




     EXHIBIT 32.1
     CERTIFICATION OF PERIODIC REPORT
     I, Blake D. Moret, President and Chief Executive Officer of Rockwell Automation, Inc. (the “Company”) certify, pursuant to Section 906
     of the Sarbanes-Oxley Act of 2002, 18 U.S.C. Section 1350, that:
         (1) the Annual Report on Form 10-K of the Company for the year ended September 30, 2022 (the “Report”) fully complies with the
             requirements of Section 13(a) of the Securities Exchange Act of 1934; and
         (2) the information contained in the Report fairly presents, in all material respects, the financial condition and results of operations
             of the Company.

     Date: November 8, 2022

                                                                                                                  /s/ BLAKE D. MORET
                                                                                                                  Blake D. Moret
                                                                                                                  President and Chief
                                                                                                                  Executive Officer




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                                                                                                                               Exhibit 32.2




EXHIBIT 32.2
CERTIFICATION OF PERIODIC REPORT
I, Nicholas C. Gangestad, Senior Vice President and Chief Financial Officer of Rockwell Automation, Inc. (the “Company”) certify, pursuant
to Section 906 of the Sarbanes-Oxley Act of 2002, 18 U.S.C. Section 1350, that:
   (1) the Annual Report on Form 10-K of the Company for the year ended September 30, 2022 (the “Report”) fully complies with the
       requirements of Section 13(a) of the Securities Exchange Act of 1934; and
   (2) the information contained in the Report fairly presents, in all material respects, the financial condition and results of operations
       of the Company.

Date: November 8, 2022

                                                                                                        /s/ NICHOLAS C. GANGESTAD
                                                                                                        Nicholas C. Gangestad
                                                                                                        Senior Vice President and
                                                                                                        Chief Financial Officer




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                              Exhibit 4
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1           IN THE UNITED STATES DISTRICT COURT

2               FOR THE DISTRICT OF DELAWARE

3

4     ROCKWELL AUTOMATION, INC.,   )
                                   )
5                   Plaintiff,     )No.21-1238
                                   )-CFC-GBW-JLH
6                vs.               )
                                   )
7     PARCOP S.R.L., d/b/a         )
      WIAUTOMATION,                )
 8                                 )
                    Defendant.     )
 9    -----------------------------

10

11

12

13              REMOTE VIDEOTAPED DEPOSITION OF

14                         FULVIO COPPOLA

15

16                 Wednesday, December 21, 2022

17

18

19

20

21

22

23    Reported by:
      LISA M. MURACO
24    JOB NO. 220088

25
     Case 1:21-cv-01238-GBW-JLH Document 175-1 Filed 03/24/23 Page 128 of 365 PageID #:
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                                                    Page 2                                                      Page 3
 1                                                            1   A P P E A R A N C E S:
 2                  Wednesday, December 21, 2022              2   (REMOTE)
 3                  8:00 a.m., Eastern                        3
 4                  2:00 p.m., Central European               4
 5                                                            5       ALSTON & BIRD LLP
 6          REMOTE Deposition of FULVIO COPPOLA,              6       Attorneys for Plaintiff
 7    held VIA ZOOM, before LISA M. MURACO, a                 7             90 Park Avenue
 8    Notary Public of the State of New York and              8             New York, NY 10016
 9    Florida.                                                9       BY: NEAL McLAUGHLIN, ESQ.
10                                                           10
11                                                           11
12                                                           12       BRACH EICHLER, LLC
13                                                           13       Attorneys for Defendant
14                                                           14             101 Eisenhower Parkway
15                                                           15             Roseland, NJ 07068
16                                                           16       BY: BOB KASOLAS, ESQ.
17                                                           17             ERIC ALVAREZ, ESQ.
18                                                           18
19                                                           19   ALSO PRESENT:
20                                                           20   Italian Interpreter, Rosanna Giliberti
21                                                           21   Legal Video Specialist, Brian Hood
22                                                           22   Rockwell Automation, John Miller
23                                                           23
24                                                           24
25                                                           25
                                                    Page 4                                                      Page 5
 1          THE VIDEOGRAPHER: Good afternoon                  1   deposition of Fulvio Coppola in the matter
 2    and good morning, Counselors. My name is                2   Rockwell Automation Incorporated versus
 3    Brian Hood and I'm the legal videographer               3   Parcop SRL doing business as WiAutomation
 4    in association with TSG Reporting                       4   entered in the United States District Court
 5    Incorporated. Because this is a remote                  5   for the District of Delaware, Case
 6    deposition, I will not be in the same room              6   No. 21-1238-GBW-JLH.
 7    with the witness. Instead, I will record                7         Today's date is December the 21st,
 8    this video-taped deposition remotely.                   8   2022, and the time is approximately
 9          The reporter, Lisa Muraco, also will              9   2:09 p.m., Central European time.
10    not be in the same room and will swear the             10         Again, my name is Brian Hood and I'm
11    witness in remotely.                                   11   the legal videographer from TSG Reporting
12          Do all parties stipulate to the                  12   Incorporated, headquartered at 228
13    validity of this video recording and remote            13   East 45th Street, Suite 810, New York, New
14    swearing and that it will be admissible in             14   York 10017.
15    the courtroom as if it had been taken                  15         The court reporter is Lisa Muraco,
16    following Rule 30 of the Federal Rules of              16   also in association with TSG Reporting.
17    Civil Procedures and the State's rules                 17         Will counsel please introduce
18    where this case is pending?                            18   yourselves for the record.
19          MR. McLAUGHLIN: On behalf of                     19         MR. McLAUGHLIN: This is Neal
20    Rockwell Automation, yes.                              20   McLaughlin on behalf of the Rockwell
21          MR. KASOLAS: On behalf of Bob                    21   Automation.
22    Kasolas, yes.                                          22         MR. KASOLAS: Good morning. This is
23          THE VIDEOGRAPHER: Thank you.                     23   Bob Kasolas with the law firm Brach Eichler
24          This marks the beginning of recorded             24   LLC on behalf of the defendant, Parcop SRL,
25    video label number 1 of the remote video               25   doing business as WiAutomation.

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                                                 Page 6                                                   Page 7
 1               THE VIDEOGRAPHER: Thank you.              1   fair to assume that you understand the
 2               Will the court reporter please swear      2   question?
 3         in or affirm the witness and interpreter.       3        A.    Okay.
 4    R O S A N N A    G I L I B E R T I, was duly         4        Q.    Do you understand that you are here
 5    sworn to interpret the questions from English        5   today to testify on behalf of the company
 6    into ITALIAN, and the answers from ITALIAN into      6   Parcop doing business as WiAutomation?
 7    English.                                             7        A.    Yes.
 8    F U L V I O C O P P O L A, called as a               8        Q.    I would like to share my screen now
 9    witness, having been duly sworn by a Notary          9   and introduce the first exhibit.
10    Public, was examined and testified through the      10              (Coppola Exhibit 1, Rockwell's
11    interpreter as follows:                             11        Re-notice of Deposition of Parcop SRL d/b/a
12    EXAMINATION BY                                      12        WiAutomation, marked for identification.)
13    MR. McLAUGHLIN:                                     13   BY MR. McLAUGHLIN:
14         Q.    Good afternoon, Mr. Coppola.             14        Q.    Can you see the document on the
15               Have you ever been deposed before?       15   screen?
16         A.    No.                                      16        A.    Yes.
17         Q.    Today, I'll be asking you several        17        Q.    Have you seen this document before
18    questions and I would ask that you wait for the     18   today?
19    interpreter to interpret them if you need her       19        A.    I would need to see all of it.
20    services.                                           20              MR. McLAUGHLIN: For the record,
21               If there is anything that is unclear     21        this is the document that's been filed on
22    either in the question or in the translation of     22        the docket as Docket 126, which is
23    question, please let us know so we can clarify.     23        Rockwell's Re-notice of Deposition of
24         A.    Okay.                                    24        Parcop SRL d/b/a WiAutomation.
25         Q.    And if you answer a question, is it      25   BY MR. McLAUGHLIN:
                                                 Page 8                                                   Page 9
 1         Q.    And scroll through the document.          1       Q.     Why not?
 2    It's 20 pages, I believe. At the --                  2              MR. KASOLAS: Objection to the
 3               (Multiple speakers.)                      3        extent it calls for the disclosure of
 4    BY MR. McLAUGHLIN:                                   4        attorney-client privileged communications.
 5         Q.    And in the document there are             5              You can answer, but it doesn't
 6    deposition Topics 1 through 89.                      6        involve the disclosure of communications
 7               Mr. Coppola, I'll ask you again.          7        with counsel.
 8    Have you seen this document before today?            8              THE INTERPRETER: I'm sorry. This
 9         A.    I believe, yes.                           9        is the interpreter. That was you can
10         Q.    And the deposition topics in this        10        answer and then do not --
11    document, what did you do to prepare to testify     11              MR. KASOLAS: He can answer to the
12    on those topics today?                              12        extent it didn't involve him disclosing
13               MR. KASOLAS: Objection to form to        13        communications with his lawyers.
14         the extent you are seeking attorney-client     14              THE INTERPRETER: Thank you.
15         privileged communications, you can ask the     15        A.    Because I think that there was no
16         question aside from any discussions he may     16   need to do it.
17         have had with counsel.                         17        Q.    Okay.
18         A.    I spoke for about an hour with the       18              Before starting WiAutomation, what
19    attorneys.                                          19   did you do for work?
20         Q.    When did this discussion take place?     20        A.    I was working in the restoration
21         A.    Sometime ago. About ten days ago,        21   industry.
22    if I'm right -- if I'm right.                       22        Q.    Is that like construction?
23         Q.    Did you review any documents to          23        A.    No. Restoration, restaurant, food
24    prepare for today's deposition?                     24   industry.
25         A.    No.                                      25        Q.    What is the highest level of

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                                                Page 34                                                  Page 35
 1         A.    So the client does not pay if the         1   company, maintain records of what its website
 2    client is calling just to get information            2   looks like?
 3    because it would be just like calling a              3              MR. KASOLAS: Objection to form.
 4    customer center, customer assistance center,         4        A.    I already said that Porfirio handles
 5    and ask for information about the product.           5   those things.
 6               But if the client needs physical          6        Q.    Are you able to testify today on the
 7    assistance, technical assistance on a product        7   topic of how WiAutomation archives what its
 8    to fix a product, or to develop a project, yes,      8   website looks like?
 9    the customer pays.                                   9              MR. KASOLAS: Objection to form.
10         Q.    WiAutomation's website has changed       10        A.    I did not understand what you mean.
11    over the years, right?                              11        Q.    Are you able to testify today on
12         A.    Yes.                                     12   behalf of WiAutomation about how you keep
13         Q.    When WiAutomation's website changes,     13   records of what your website looks like?
14    do you keep a record of what the old website        14        A.    Like I said -- like I said before,
15    used to look like?                                  15   Porfirio handles these things, and I will not
16         A.    I don't know because Porfirio            16   be able to specify how.
17    handles that.                                       17        Q.    Before today's deposition, did you
18         Q.    You understand that you're here          18   do anything to learn how WiAutomation keeps
19    today to testify on behalf of the company;          19   records of its website?
20    correct?                                            20        A.    That I'm aware of, we do not have
21               MR. KASOLAS: Objection to form.          21   specific archives.
22         Neal, the client is here on both 30(b)(6)      22        Q.    Would you know?
23         and fact witness, as you know.                 23              MR. KASOLAS: Objection to form.
24    BY MR. McLAUGHLIN:                                  24              He just told you the answer.
25         Q.    How does the WiAutomation, the           25        A.    I will need to ask Porfirio. He
                                                Page 36                                                  Page 37
 1    saves these things and he would have told me.        1   talked about it.
 2         Q.    So as you sit here today, you don't       2        Q.    When was the last time you talked
 3    know whether or not WiAutomation keeps records       3   with Porfirio about archives of your website?
 4    of what its old websites used to look like?          4        A.    I don't remember exactly. It was
 5               MR. KASOLAS: Objection to form.           5   some time ago. I believe a few months ago.
 6               THE INTERPRETER: I'm sorry. The           6        Q.    A few months ago did you have
 7         interpreter did not understand.                 7   archives of what WiAutomation's website used to
 8               May I ask for repetition?                 8   look like?
 9               MR. McLAUGHLIN: Yes, please.              9        A.    I do not know because Porfirio
10         A.    If we had archives, Porfirio would       10   handles that.
11    have told me.                                       11        Q.    So you don't recall the contents of
12         Q.    Did you ask Porfirio if WiAutomation     12   your conversation with Porfirio about
13    has archives of its old websites?                   13   WiAutomation's archive of websites?
14         A.    No.                                      14        A.    I don't -- I don't remember. But
15         Q.    So in order to understand the answer     15   like I said, if I ask him, he -- if I were to
16    to the question of whether or not WiAutomation      16   ask him, he would tell me. And -- and he would
17    maintains archives of its old websites, you         17   have told me if we had it.
18    would need to ask Porfirio for the answer;          18        Q.    When WiAutomation changes the
19    correct?                                            19   language on its website, what does it need to
20         A.    I told you. If we had them, he           20   do?
21    would have told me.                                 21              THE INTERPRETER: Sorry. This is
22         Q.    But you didn't ask him?                  22        the interpreter. I need a clarification.
23               MR. KASOLAS: Objection -- to form.       23        A language, meaning like different
24               (Multiple speakers.)                     24        language, Italian, or like the way it's
25         A.    Presently, no. In the past, yes, we      25        written, because in Italian --

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                                                Page 38                                                  Page 39
 1               MR. McLAUGHLIN: The way -- the way        1   physically do to change something on the
 2         it's written.                                   2   website.
 3               THE INTERPRETER: Thank you.               3        Q.    If Porfirio changes the text on a
 4         A.    What do you mean? What does it            4   WiAutomation website, what happens to the old
 5    mean? I'm not understanding.                         5   text?
 6         Q.    What does WiAutomation need to do to      6              MR. KASOLAS: Objection to form.
 7    change what is written on its website?               7              THE INTERPRETER: One second. The
 8               MR. KASOLAS: Objection to form.           8        interpreter needs to read one word one more
 9         A.    What do you mean what it needs to         9        time.
10    do? It needs to change the text.                    10              Thank you.
11         Q.    If WiAutomation wants to change the      11        A.    I don't know because I'm not an
12    text on one of its websites, what is the first      12   informatics person.
13    thing that WiAutomation needs to do?                13        Q.    I'm going to share my screen with
14         A.    Porfirio needs to get involved in        14   what will be Exhibit 4.
15    this.                                               15              (Coppola Exhibit 4, Screen Shot of
16         Q.    Okay.                                    16        WiAutomation Website, marked for
17               What does Porfirio do to change the      17        identification.)
18    text on the WiAutomation website?                   18   BY MR. McLAUGHLIN:
19         A.    I do not know. He handles that.          19        Q.    Do you see my screen?
20         Q.    In preparation for your deposition       20        A.    Yes.
21    today, did you ask Porfirio what he does to         21        Q.    This is a screen shot of what
22    change the text on WiAutomation's websites?         22   WiAutomation's website used to look like for a
23         A.    Not technically.                         23   particular Allen-Bradley product with the
24         Q.    What do you mean not technically?        24   catalog number 1756-L73.
25         A.    I do not know what he needs to           25              Do you see that?
                                                Page 40                                                  Page 41
 1         A.    Yes, I see it.                            1   saved the old graphics.
 2         Q.    Do you remember when WiAutomation's       2        Q.    Where did he save them?
 3    website used to look like this?                      3        A.    I do not know.
 4         A.    Yes, it was until the end of this         4        Q.    What format were they saved in?
 5    summer, if I remember correctly.                     5        A.    He handles that. I don't know.
 6         Q.    What happened to the old website?         6   What does it mean in what format?
 7         A.    That I know, it was simply changed,       7        Q.    Were they saved on a local disc at
 8    the graphic was simply changed.                      8   your office?
 9         Q.    Did WiAutomation do anything to           9        A.    So he's the one handing this. How
10    preserve records of what the old website used       10   do I know if it saves on a disc or on a PC? I
11    to look like?                                       11   believe that he might have it on his hard disc
12         A.    Like I said before, Porfirio is the      12   on his computer.
13    one who handles the website for a change of the     13        Q.    As you sit here today, do you know
14    graphics.                                           14   whether or not WiAutomation saved images or
15         Q.    So as you sit here today, you do not     15   files that represent what its website used to
16    have an answer to that question?                    16   look like before you changed it this summer?
17         A.    The website's changed on the             17        A.    I believe that Porfirio saves
18    graphics aspect.                                    18   something.
19         Q.    The question was: What did               19        Q.    Do you know for sure, as you sit
20    WiAutomation do to preserve records of what its     20   here today, or would you need to ask him to be
21    old website used to look like before you            21   sure?
22    changed it this summer?                             22        A.    I would need to ask.
23               MR. KASOLAS: Objection to form.          23        Q.    Looking back at this screen shot of
24         A.    Porfirio is the one who handles          24   your old website, it says right under "in
25    these things. So I believe that he might have       25   stock" it says: New factory sealed, original

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                                                Page 42                                                  Page 43
 1    product, 12-month warranty.                          1        A.    Yes.
 2               Do you see that?                          2        Q.    What is that intended to convey to
 3               THE INTERPRETER: This is Rosanna,         3   your customers?
 4         the interpreter. Could you enlarge it a         4        A.    That on products that they buy they
 5         little bit, please? Thank you.                  5   are 12 months of warranty.
 6         A.    Yes, I see that.                          6        Q.    Who was that warranty provided by?
 7         Q.    What does original product mean?          7        A.    The warranty comes from us. In
 8         A.    A product that was produced by the        8   fact, Mr. Miller, in 2020, asked us to specify
 9    factory of the brand.                                9   this thing.
10         Q.    What does new factory sealed mean?       10        Q.    You said that this is what your
11         A.    That the product is new and it is        11   website looked like up until this past summer;
12    sealed.                                             12   correct?
13         Q.    Sealed by who?                           13        A.    Yes, but I don't know if changes
14         A.    Sealed by the producer. The one          14   were made.
15    produced -- producing it.                           15        Q.    What do you mean by that answer?
16         Q.    So on this website that advertises       16        A.    I want to say that I do not know if
17    an Allen-Bradley product does that mean that        17   there were changes made.
18    the product that your customer would buy would      18        Q.    Changes made to what?
19    come sealed by Allen-Bradley or Rockwell            19        A.    To the terms and conditions of the
20    Automation?                                         20   website.
21         A.    Yes.                                     21        Q.    But the terms and conditions are a
22         Q.    On your old website it says:             22   separate part of the website from what we're
23    12-months warranty.                                 23   looking at on the screen; correct?
24               Do you see that?                         24        A.    Yes. But the warranty is specified.
25               MR. KASOLAS: Objection to form.          25        Q.    So looking at this old screen shot
                                                Page 44                                                  Page 45
 1    of your website, a customer would need to go to      1        1756 L73.
 2    a different website, the terms and conditions        2              And I'll mark a screen shot of this
 3    page, to understand what 12-months warranty          3        as Exhibit 5.
 4    means?                                               4              (Coppola Exhibit 5, Screen Shot,
 5         A.    In order for a client to read our         5        marked for identification.)
 6    website, must accept terms and conditions.           6              MR. KASOLAS: Neal, for the record,
 7         Q.    And that's on a different page than       7        is there a Bates stamp on this document?
 8    what we're looking at on screen?                     8              MR. McLAUGHLIN: This is a live Web
 9         A.    Yes. But before being able to             9        page, Bob.
10    proceed to the purchase -- with the purchase,       10              MR. KASOLAS: And what about the
11    the client needs to accept the terms and            11        previous exhibit. I didn't see a Bates
12    conditions first.                                   12        stamp on that one.
13         Q.    Okay.                                    13              MR. McLAUGHLIN: That was from
14               As I said, I'm going to mark this as     14        paragraph 56 of the complaint.
15    Exhibit 4. I'm going to stop sharing my             15              MR. KASOLAS: Okay.
16    screen. And I'm going to switch my screen to        16              But you didn't mark that as a Bates
17    what that page looks like today.                    17        stamp, the previous exhibit, and submit it
18               MR. KASOLAS: Objection to the            18        in discovery, did you?
19         comments by counsel.                           19              MR. McLAUGHLIN: We may have, but
20               MR. McLAUGHLIN: For the record,          20        it's not the PDF that I was showing him.
21         we're showing now the Web page U.S.            21              MR. KASOLAS: I didn't see a number
22         WiAutomation.com, forward slash, Allen         22        on it. That's why I'm asking you.
23         hyphen Bradley forward slash, PLC hyphen       23   BY MR. McLAUGHLIN:
24         systems forward slash ControlLogix,            24        Q.    Mr. Coppola, do you see the website
25         L-O-G-I-X, all one word, forward slash,        25   up on your screen there?

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 1    this Defense Number 3?                               1        Q.    The question, Mr. Coppola, is: What
 2         A.    So all the products, no, I'm sorry,       2   assurances did WiAutomation receive from
 3    all of the invoices that I've already given you      3   Rockwell Automation?
 4    including the RA Controls, Rockwell BV, so,          4              THE INTERPRETER: This is the
 5    basically, when these people from Rockwell           5        interpreter --
 6    needed to purchase products -- the products,         6              MR. KASOLAS: Are you asking for the
 7    they purchase them from us.                          7        client to reveal settlement discussions
 8               And then Rockwell sued us.                8        here?
 9         Q.    Is there anything else you are able       9              MR. McLAUGHLIN: I'm asking what the
10    to provide in terms of a factual basis for this     10        factual basis for this statement is.
11    Defense Number 3?                                   11              MR. KASOLAS: Are you asking the
12         A.    I would not know what to give more       12        witness to disclose settlement discussions?
13    than this.                                          13              MR. McLAUGHLIN: I don't know what
14         Q.    So I'm going to scroll down to           14        is the basis for this statement dated
15    Number 11. And it says: Defendant received          15        December 10th.
16    assurances from plaintiff and in reliance on        16              MR. KASOLAS: Why don't you read the
17    said assurances will suffer undue prejudice if      17        --
18    defendant ceases sale of Rockwell products.         18              (Multiple speakers.)
19               Do you see that?                         19              MR. KASOLAS: -- a little closer,
20               THE INTERPRETER: One second. I           20        and just let me know if you want the
21         have to look up a word. The interpreter        21        witness to disclose settlement discussions
22         needs to look up a word.                       22        that were had between the two sides.
23               MR. KASOLAS: Objection to form for       23              MR. McLAUGHLIN: All right. Let me
24         the same reasons given before.                 24        ask a clean question, then.
25    BY MR. McLAUGHLIN:                                  25              MR. KASOLAS: I'm doing you a favor.
                                               Page 281                                                 Page 282
 1               MR. McLAUGHLIN: Okay.                     1   use the marks at issue in this litigation as
 2    BY MR. McLAUGHLIN:                                   2   required by applicable case law.
 3         Q.    Other than settlement discussions         3              Do you see that?
 4    between WiAutomation and Rockwell Automation,        4              THE INTERPRETER: Reading to
 5    are there any other assurances that                  5        herself.
 6    WiAutomation received from Rockwell that are         6              (Document review.)
 7    referenced in this Defense Number 11?                7              MR. McLAUGHLIN: I think you are
 8         A.    The suppliers always supply the           8        translating the wrong sentence.
 9    products to us, and we relied on this -- this        9              I'm at 14.
10    fact, on the fact that they were supplying us       10              THE INTERPRETER: Okay. Wow. I got
11    the products. And we -- we -- we are                11        the longer one. I'm sorry.
12    counting -- we were counting on the suppliers       12              (Reading to herself.)
13    that today they are not answering, they are not     13   BY MR. McLAUGHLIN:
14    giving an answer because they don't want to         14        Q.    Mr. Coppola, does WiAutomation have
15    give the products to us.                            15   any evidence that Rockwell has not continuously
16               So it's like they are causing us         16   used the marks at issue in this litigation?
17    damages. It's like they're doing -- they're         17              MR. KASOLAS: Objection to form.
18    into a commercial war with us.                      18        A.    What does it mean? Rockwell is the
19         Q.    Is there anything else?                  19   one who should prove this thing.
20         A.    Yes. That there are clearly other        20        Q.    Do you have any information that
21    people who continue to sell the products with       21   would support this Defense Number 11 -- Number
22    no problem.                                         22   14, sorry.
23         Q.    Let's scroll down to Defense             23        A.    I talk about this with my attorney.
24    Number 4. It says: Plaintiff's claims are           24        Q.    Do you have any facts to support
25    barred because it has failed to continuously        25   this Defense 14?
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 1         A.    I'm telling I think that Rock is the      1        A.    I don't think so. And also because
 2    one who should prove this thing.                     2   we do not open the boxes of products. If there
 3         Q.    The -- for the Rockwell products          3   is one, it could be inside.
 4    that WiAutomation sells, does WiAutomation           4        Q.    If a customer of WiAutomation who
 5    provide its customers with copies of Rockwell        5   purchased a Rockwell product wanted to know
 6    Automation recall notices?                           6   where WiAutomation obtained that product from,
 7         A.    The distributors should be the one        7   would you be able tell them?
 8    to communicate to us the recall of the product,      8              MR. KASOLAS: Objection to form.
 9    the notices of recall of the products.               9        A.    This would mean -- does it mean that
10         Q.    Has WiAutomation ever sent one of        10   I should give the name of my supplier to the
11    its customers a Rockwell recall notice?             11   client? And this is the heart of the business.
12               MR. KASOLAS: Objection to form.          12   If I give the name of the supplier to the
13         A.    We never received such kind of a         13   customer, we have no reason of existing.
14    letter from the authorized distributors.            14        Q.    So if a customer were to ask
15         Q.    I'm asking about WiAutomation's          15   WiAutomation where a Rockwell product that it
16    communications with its customers, and the          16   received came from, you would not give them the
17    question is: Has WiAutomation ever sent to its      17   answer; correct?
18    customers a Rockwell Automation recall notice?      18              MR. KASOLAS: Objection to form.
19               MR. KASOLAS: Objection to form.          19        A.    I wouldn't know --
20         A.    If we never received it, I think we      20              (Multiple speakers.)
21    never sent it.                                      21        A.    No, I would not, because this is at
22         Q.    Has WiAutomation ever sent one of        22   the heart of the business. For anything just
23    its customers a Rockwell Automation safety          23   like for a car or another item, if you tell the
24    notice?                                             24   client where you buy them, then the company
25               MR. KASOLAS: Objection to form.          25   could have no reason of existing.
                                               Page 285                                                 Page 286
 1        Q.     Have -- sorry. Strike that.               1        Q.    What would you have to do to figure
 2               Has any customer of WiAutomation          2   out the names of your customers in the United
 3    purchased more than $10,000 worth of Rockwell        3   States who have purchased more than $10,000
 4    products from WiAutomation?                          4   worth of Rockwell product?
 5               MR. KASOLAS: Objection to form.           5              MR. KASOLAS: Objection to form.
 6         A.    So I cannot remember that, but from       6        A.    I would need to look at invoices,
 7    the invoices that you showed me before, I think      7   and if the brand is on the invoices.
 8    the amounts were above $10,000 or euro.              8        Q.    Did you do any of that in
 9         Q.    Does WiAutomation have any customers      9   preparation for today's deposition?
10    in the United States that have purchased            10              MR. KASOLAS: Objection to form.
11    $10,000 or more of Rockwell products?               11        A.    Like I told you before already, I
12         A.    I do not remember exactly. But yes,      12   searched together with administration and the
13    it could be.                                        13   girls in sales, but I -- I don't remember all
14         Q.    What are their names?                    14   of these names.
15         A.    If I do not remember exactly, I can      15        Q.    Would you be able to provide a list
16    never remember the names.                           16   if you had more time to do it?
17         Q.    Did you do anything to prepare for       17              MR. KASOLAS: Objection to form.
18    today's deposition to be able to provide me         18        A.    I would need to redo the entire work
19    those names?                                        19   from the beginning.
20               MR. KASOLAS: Objection to form.          20        Q.    But would it be possible?
21         A.    Yes. Some time ago, but I cannot         21              MR. KASOLAS: Objection to form.
22    remember the names of clients for sure.             22        A.    I do not know.
23         Q.    When you say some time ago, was it       23        Q.    Were all of the Rockwell Automation
24    more than a month ago?                              24   products that WiAutomation sells, do they all
25         A.    No, even more recently.                  25   come into the warehouse before being shipped to

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 1    customers?                                           1   monitoring this situation.
 2         A.    Yes.                                      2        Q.    Did you do any of that in
 3         Q.    For any product that WiAutomation         3   preparation for today?
 4    sells, is there ever a situation where a             4        A.    No, it's impossible.
 5    product gets shipped directly from one of your       5        Q.    Has anyone at WiAutomation
 6    sources to one of your customers?                    6   communicated with a company called EDGE Global
 7               MR. KASOLAS: Objection to form.           7   Supply?
 8         A.    No, absolutely not, for the same          8        A.    Could you repeat the name?
 9    reasons I mentioned before. If I tell one of         9              THE INTERPRETER: This is the
10    my clients who -- about my suppliers, my            10        interpreter.
11    company -- the company would have no reason to      11              MR. McLAUGHLIN: EDGE Global Supply.
12    exist.                                              12        A.    No. We simply notice that it has
13         Q.    What proportion of WiAutomation          13   many distributors, authorized distributors, all
14    sales of Rockwell Automation products are           14   over the world.
15    sourced after receiving a customer's order?         15        Q.    Has anyone at WiAutomation
16               MR. KASOLAS: Objection to form.          16   communicated with anyone at Rockwell?
17         A.    I do not know. I can't establish         17        A.    Not that I know.
18    that exactly.                                       18        Q.    What are WiAutomation's projected
19         Q.    Is it more than half of orders?          19   sales of Rockwell Automation products for the
20               MR. KASOLAS: Objection to form.          20   full year 2022?
21         A.    I don't know. I won't be able to         21              THE INTERPRETER: I'm sorry, fall,
22    say exactly.                                        22        F-A-L-L or F-U-L-L, full.
23         Q.    What would you have to do in order       23              MR. McLAUGHLIN: F-U-L-L.
24    to be able to answer that question?                 24              THE INTERPRETER: Thank you.
25         A.    I don't know. I wanted to start          25        A.    I do not know for sure. After the
                                               Page 289                                                 Page 290
 1    lawsuit they went down. The distributors             1        Q.    If a customer wanted to make a
 2    caused the damage to us, but I wouldn't be able      2   complaint about a Rockwell Automation product,
 3    to say -- to tell.                                   3   what ways could they communicate with
 4         Q.    What are WiAutomation's sales of          4   WiAutomation to provide that complaint?
 5    Rockwell Automation products from the beginning      5        A.    They can send us an e-mail or also
 6    of 2022 to today?                                    6   call us over the phone.
 7         A.    I do not know.                            7        Q.    Are there any other ways of
 8         Q.    Did you do anything to prepare            8   communication?
 9    yourself with an answer to that question in          9        A.    No. These are the ways we have to
10    advance of today's deposition?                      10   communicate with clients. And the chat.
11         A.    I had already looked in the past.        11        Q.    What complaints has WiAutomation
12         Q.    And those activities did not prepare     12   received from customers regarding Rockwell
13    you to answer the question of how much revenue      13   products?
14    WiAutomation has received to date for Rockwell      14        A.    None that I recall. Maybe only one
15    Automation products?                                15   client, but the client had made a mistake in
16         A.    The approximate estimate that we saw     16   purchasing the product.
17    before in the written answers.                      17        Q.    What was the mistake?
18         Q.    That was dated in August.                18        A.    He made a mistake in the purchase
19               Do you have any updated information?     19   with the product code. And he asked us to
20               MR. KASOLAS: Objection to form.          20   change it with another one.
21         A.    No, not at the moment.                   21        Q.    Are there any other complaints that
22         Q.    Does WiAutomation have a projection      22   WiAutomation has received regarding Rockwell
23    of the amount of sales of Rockwell products it      23   products?
24    anticipates making in 2023?                         24        A.    Not that I know.
25         A.    No, absolutely not.                      25        Q.    No WiAutomation customer ever

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                                                                                     Exhibit 4
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                              Exhibit 5
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       EXPERT REPORT OF PROFESSOR DAVID FRANKLYN CONCERNING
      CONSUMER PERCEPTIONS OF PRODUCT DIFFERENCES AND SELLER
   REPRESENTATIONS IN THE MATTER OF ROCKWELL v. PARCOP S.R.L. D/B/A
                           WI AUTOMATION

                                     Professor David Franklyn
                   University of Arizona, Sandra Day O’Connor College of Law
                Executive Director, McCarthy Institute for Intellectual Property Law




                                                                                       January 2023
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   OVERVIEW OF EXPERT REPORT, EXPERTISE, AND SUMMARY OF EXPERT FINDINGS

     1. Rockwell Automation, Inc. (“Rockwell Automation”) has retained me as an
          expert to provide opinions in connection with the investigation against Parcop
          S.R.L d/b/a World Industrial Automation, Inc. (“WI”), filed in the United States
          District Court for the District of Delaware. I am being compensated in this
          matter for my time at my standard hourly rate of $675. My compensation is not
          contingent upon the substance of my testimony or the outcome of this matter.


     2.   I am a professor of law and director of the McCarthy Institute for IP and Tech
          Law at Arizona State University (“ASU”).


     3. I am editor-in-chief and coauthor of McCarthy’s Desk Encyclopedia of
          Intellectual Property Law.


     4. The McCarthy Institute conducts wide-ranging survey research on consumer
          perception issues in both the United States and Europe.


     5. A key focus of my academic work involves research and lecturing on issues
          concerning consumer perceptions in the area of trademark law.


     6. I have consulted and/or qualified as an expert witness on behalf of clients in
          numerous cases involving consumer perception and behavior issues and related
          damages issues, including in matters in the United States (federal and various
          state courts), Asia, the European Union, the Middle East and South America.


     7. In addition to my survey research experience, I hold a J.D. from University of
          Michigan Law School.




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     8. Additional biographical material, including lists of testimony and publications, is
        provided in Appendix A.


     9. I understand that Rockwell Automation manufactures, markets, and sells
        industrial, electronic, and electronic control equipment under the Allen-Bradley
        brand.


     10. In addition to the product itself, Rockwell Automation provides a bundle of
        services that accompany the product, including service elements such as the
        direct manufacturer’s “remanufacturing” warranty, guidance from Rockwell
        Automation employees during the pre-sale and post-sale stage, software and
        firmware updates, and proactive notification around product recalls and
        cybersecurity threats.


     11. WI is a reseller of industrial, electrical, and electronic control equipment and
        parts. WI sells through a website: www.wiautomation.com (“WI website”).


     12. The WI website sells, among other things, what WI has represented as “new”
        Allen-Bradley products that guaranteed a “12 month warranty.”


     13. Below is a screenshot of an exemplary Allen-Bradley product that was offered for
        sale on the WI website.




                                                                                     2
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   Figure 1: World Industrial Website




      14. WI’s website also provided various representations regarding Allen-Bradley
         products and accompanying services which are offered with a purchase of those
         products.


      15. Rockwell Automation alleges that WI’s practices in the resale of Allen-Bradley
         products involve trademark infringement and unfair competition by WI in
         connection with WI’s resale of Allen-Bradley products.


      16. Rockwell Automation further alleges that the guarantees made on WI’s website
         concerning a 12 month warranty constitute false advertising in that it conveys to
         a purchaser that there is a manufacturer’s warranty from Rockwell when there is
         not.




                                                                                   3
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     17. Rockwell Automation and its counsel have retained me to study certain aspects
        of consumer perceptions related to the claims at-issue in this case, and to provide
        opinions based on the findings of those studies.

     18. I assume in my report that the following legal principles apply: trademark
        infringement focuses on whether there is a significant risk or likelihood that the
        reseller’s practices confuse or mislead customers about the quality or
        characteristics of the reseller’s goods; a key concern is that the customer cannot
        make an informed choice between buying directly from the manufacturer or its
        authorized distributors -- versus buying from the reseller.

     19. One type of evidence customarily used in making this determination is customer
        surveys. They include studies of consumer perceptions of differences between
        the goods/services offered by the original manufacturer, as compared to the
        reseller. They also include studies of consumer confusion about the equivalency
        of the goods/services. A consumer survey can provide helpful information on
        the degree customers are misled by statements or omissions in the reseller’s
        marketing materials.


     20. I have been retained here by Rockwell Automation and its counsel to conduct
        surveys and report my findings and conclusions, as they relate to WI’s reselling
        activities and marketing representations. In particular, I have been retained to
        provide my opinions in light of such surveys on the following:
           a. Whether WI’s resale of Allen-Bradley products (and accompanying
               services) are materially different than goods (and accompanying services)
               sold directly by Rockwell Automation or its authorized distributors, as
               perceived by relevant consumers, including whether and to what extent
               various differences are significant to the relevant consumer’s purchasing
               decisions.




                                                                                    4
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            b. Whether relevant consumers believe they will receive Rockwell
                 Automation’s manufacturer warranty when purchasing Allen-Bradley
                 products from WI.


     21. As part of my engagement for this matter, I have reviewed the following
        materials:
        •   Complaint filed by Rockwell Automation on August 27, 2021
        •   Answer filed by Rockwell Automation on December 10, 2021
        •   Website of Defendant
        •   Conversation with Rockwell Personnel


     22. As part of my analysis, I have conducted two randomized surveys of qualified
        respondents in the United States to obtain their perceptions of statements made
        by WI on its website to determine what is important to them in terms of services
        Rockwell Automation provides in connection with the sale of New Allen Bradley
        products. The first survey, which I call the “Material Differences survey”
        collected data from a total of 231 respondents. The second survey, which I call
        the “False Advertising survey” collected data from a total of 200 respondents.


     23. A brief summary of my findings and conclusions are set forth immediately
        below:
            a. My understanding is that Rockwell Automation offers several services
                 and benefits that accompany new products sold to its customers (through
                 its authorized distributors or through direct sales from Rockwell to
                 customers):
                     i. Manufacturer’s warranty (which not only repairs the product but
                       also provides all hardware, firmware, and software updates and
                       specialized testing to ensure the product meets all manufacturer’s
                       specifications and replacement of product where applicable);



                                                                                     5
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                 ii. Guidance from Rockwell Automation or its local authorized
                     distributor experts to assist with post-sale technical support;
                iii. A notification process for product recall notices;
                iv. A notification process for product safety notices;
                 v. Receive most recent version of the product;
                vi. Quality control maintained by the manufacturer or an authorized
                     distributor of the manufacturer throughout the supply chain;
                vii. Firmware and software updates;
               viii. The original manufacturer's label that accurately reflects the
                     product's version or manufactured date.
           b. The Material Differences survey demonstrates (i) that a substantial
              number of survey respondents considered all of these product and service
              attributes to be “very important” or “important” when making
              purchasing decisions and (ii) that the absence of these attributes would
              decrease consumers’ interest in purchasing a product from WI.
           c. The False Advertising survey demonstrates (i) that a substantial number
              of survey respondents believe that they would receive the manufacturer’s
              warranty when purchasing an Allen-Bradley product from WI and (ii)
              that they would be significantly less likely to make such a purchase if they
              knew a manufacturer’s warranty would not accompany their purchase.




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   A GENERAL DESCRIPTION OF THE SURVEYS

   Material Differences:
          The survey was conducted among purchasers, and those who influence purchase
   decisions, of industrial, electrical, and electronic control equipment to assess:
             a. The importance of service offerings on their purchase decision;
             b. Their expectations of the services that would accompany their purchase;
             c.   The impact on purchase interest of WI’s product offerings if consumers
                  were provided an accurate explanation of the product’s condition and
                  origin and the services that accompany the product.
   False Advertising:
          The survey was conducted among purchasers, and those who influence purchase
   decisions, of industrial, electrical, and electronic control equipment to assess:
      a. Whether purchasers believe Allen-Bradley products offered by WI come with
          Rockwell’s manufacturer’s warranty; and
      b. Whether purchasers would be less likely to purchase Allen-Bradley products
          from WI if they were to learn that those products were not accompanied by the
          manufacturer’s warranty.




   SURVEY 1: DETAILED SUMMARY: MATERIAL DIFFERENCES

                                        Survey Overview
      24. A total of 231 respondents participated in the survey, which consisted of a
          controlled experiment to test perceptions of the products and services that would
          be received if purchased from WI.


      25. As more fully described in the Relevant Universe section, this survey was
          conducted among:



                                                                                       7
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                 ● Full-time professionals employed in Engineering and Manufacturing or
                     Procurement and Purchasing;
                 ● Who are primary decision makers or have influence on decision making
                     for industrial, electrical, and electronic control devices; and
                 ● Who consult product, retailer, or manufacturer websites as part of their
                     research and selection process for industrial, electrical, and electronic
                     control devices.


                                           Experimental Design
         26. After respondents were screened and qualified to take the survey, they were
             exposed to a product currently for sale on the WI website and asked if they could
             see the image: 1




         27. After it was determined that respondents could see the image they were then
             presented with a series of paired questions, in a randomized order, to gauge the
             respondents’ opinion on the importance of product attributes.




   1
       Respondents who reported that they were unable to see the image were excluded.

                                                                                           8
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     28. The survey asked respondents how important each of these attributes was to
        them and whether or not the absence of these attributes would increase,
        decrease, or have no effect on their interest in purchasing a product.


     29. In order to gauge the importance of a manufacturer's warranty, respondents
        were asked how important it was to them that there be the original
        manufacturer's warranty when purchasing a product like the one shown in the
        stimulus.




     30. Respondents were then asked whether their interest would increase, decrease, or
        stay the same if they were to learn that the product did not come with a warranty
        from the manufacturer.




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     31. The same format was used throughout the survey to gauge the importance of
        each attribute. A copy of the Material Differences survey questionnaire is
        included in Appendix B.


     32. For quality control, two additional questions were included which asked the
        respondents about the importance of the product's serial number being an even
        number, and the product being manufactured on a Tuesday.


     33. Respondents who answered anything except “not at all important” to the above
        quality control questions were excluded from the final results.


     34. It is important to note that these survey images appeared larger on respondents’
        computer screens, and respondents had the ability to increase the size of the text
        and images by zooming in using their browser. While the question text is
        necessarily reduced in size to fit onto a printed page, they were large and easy to
        read on-screen in the context of the survey.




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                               Relevant Universe of Interest


     35. The relevant universe for this survey consisted of primary decision makers or
        those with purchase decision influence for industrial, electrical, or electronic
        control devices. I determined the relevant universe based on my own analysis
        and by consulting with Rockwell personnel to confirm my understanding of who
        is included in the relevant universe.


     36. Respondents were first asked about their current employment status.


     37. Respondents were required to select full-time, part-time or self-employed to
        qualify for this survey.


     38. Next, respondents were asked if they have any decision making role or influence
        in the following areas: procurement, purchasing, engineering, manufacturing,
        information technology. Respondents were required to select “yes” to continue
        with the survey.


     39. Next, respondents were asked to describe their personal involvement with
        purchase decisions related to industrial, electrical, and electronic control devices.
        Two other product types were also included as “distracters.” Respondents were
        required to be either a primary decision maker on these purchases or have
        influence on purchase decisions for these products.


     40. Respondents were then asked to select the companies they have purchased
        industrial, electrical or electronic control devices from within the past 10 years.


      41. Next, respondents were presented with a list of eight companies in the
          industrial automation industry and were terminated if they responded that
          they were employed by Rockwell Automation.

                                                                                    11
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      42. Next, respondents were asked to select the number 8 for quality control
          purposes. Respondents who did not select the number 8 were terminated from
          the survey.




                                      Sampling Plan


     43. The sample plan involved a random selection of respondents who are part of an
        online panel. Online surveys are well-accepted in the field of survey research as
        a standard, reliable methodology. Indeed, online surveys are now the most
        common method of conducting market research among consumers. Businesses
        and other organizations routinely make decisions of importance based on the
        results of online survey research, and online surveys have been accepted in
        evidence in numerous U.S. District Court cases. I have personally designed and
        executed numerous internet surveys that have been accepted by courts.

     44. The sample of panelists used in the survey was provided by Dynata, a leading
        supplier of online sample for surveys. Dynata is highly regarded as a reputable
        source of consumers for online surveys within the field of market research.
        Dynata utilizes appropriate industry procedures for ensuring the integrity and
        quality of its panels. Dynata ensures data integrity through their continued
        review of their panelists’ behavior on a variety of metrics:

            ● Timestamps to flag respondents who take surveys too quickly, indicating
               they are not paying sufficient attention.
            ● Identifying those who consistently tic items straight down or across grid-
               format questions, indicating a respondent is clicking without considering
               each item.
            ● Quality control questions to identify panelists’ inattention.

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            ● Real-time database analyses to stop fraudulent respondents.


     45. Using data that had previously been collected (completely unrelated to this
        survey), Dynata targeted a subpopulation of engineers. Invitations were then
        sent targeting those pre-identified panelists, thus giving a high degree of
        reliability that respondents entering the survey were indeed employed in the
        aforementioned field. The purpose of the survey was withheld from
        respondents and nothing in the invitation to panelists indicated that they
        received the invitation because of the field in which they were employed.
        Without knowing the purpose of the survey, respondents needed to meet the
        screening criteria in order to qualify for the survey.


      46. As is standard practice, respondents who took the survey in less than one third
          of the median time were removed from the data set.


                                Double-Blind Interviewing


      47. This study was administered under “double-blind” conditions. Respondents
          were uninformed as to the purpose and sponsorship of the study. The survey is
          also, by definition, “blind” in that there is no person administering the survey
          that can do anything to influence the results.




                                  Interviewing Procedures


      48. The online survey questionnaire was designed and constructed under my
          direction. Dynata handled programming, data collection, and processing. I
          thoroughly tested the programmed survey prior to any potential consumers

                                                                                   13
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          receiving the invitation to participate in the survey. The data set showing each
          consumer’s answers to all questions will be provided in electronic form.




                                   Interviewing Period
      49. Interviewing was conducted from December 26th, 2022 through January 3rd,
          2023.




                                                                                  14
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   SURVEY 1: DETAILED FINDINGS




         A. An overwhelming number of respondents found that all 8 attributes tested were
              either “important” or “very important” to their purchase decision, and a
              significant majority of respondents indicated that if they knew these attributes
              would not come with their purchased product, their interest in purchasing the
              product from WI’s website would decrease


          50. An average of 92.8% of respondents found all 8 of the tested attributes to be
               either “important” or “very important.” Furthermore, an average of 72.19% of
               respondents indicated that their interest in purchasing would decrease if the
               tested attributes were not included in their purchase decision.


         51. These averages were calculated using metrics depicted in the charts below. Each
              chart provides a detailed breakdown of consumers’ responses to each question
              tested in the main part of Survey 1, excluding the two quality control questions2.


         B. An overwhelming number of respondents indicated that receiving the original
              manufacturer’s warranty was “important” or “very important” to their
              purchase decision




   2
       Question 1 simply asked if respondents could see the displayed images.

                                                                                       15
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   Table 1: Importance of Manufacturer’s Warranty


    Question 2a: When purchasing new products like this one, how
    important is it for you to receive the original manufacturer's warranty?   Count     Percent

    Very important                                                              175       75.76%

    Important                                                                   44        19.05%

    Slightly important                                                           9        3.90%

    Not at all important                                                         3        1.30%

    I don't Know                                                                 0        0.00%

    Total                                                                       231       100%

      52. A total of 94.81% of respondents indicated that receiving the original
            manufacturer’s warranty was either important or very important to their
            purchasing decision.


      C. An overwhelming number of respondents indicated that being notified of product
            recall notices was “important” or “very important” to their purchase decision


   Table 2: Importance of Product Recall Notices


    Question 3a: When purchasing new products like this one,
    how important is it for you to be notified of any product
    recall notices when issued by the manufacturer?                  Count            Percent

    Very important                                                     190            82.25%

    Important                                                           34            14.72%

    Slightly important                                                  6             2.60%


                                                                                          16
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    Not at all important                                                  1             0.43%

    I don't Know                                                          0             0.00%

    Total                                                                231            100%



      53. A total of 96.97% of respondents indicated that receiving product recall notices
            from the manufacturer was either important or very important to their
            purchasing decision.



      D. An overwhelming number of respondents indicated that being notified of product
            safety notices was “important” or “very important” to their purchase decision


   Table 3: Importance of Safety Notices


    Question 4a: When purchasing new products like this one, how
    important is it for you to be notified of any product safety notices when
    issued by the manufacturer?                                                 Count     Percent

    Very important                                                               177      76.62%

    Important                                                                    45       19.48%

    Slightly important                                                            7        3.03%

    Not at all important                                                          2        0.87%

    I don't Know                                                                  0        0.00%

    Total                                                                        231       100%




                                                                                           17
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      54. A total of 96.10% of respondents indicated that being notified of safety notices
           from the manufacturer was either important or very important to their
           purchasing decision.


      E. A significant majority of respondents indicated that receiving post sale
           technical customer support from the manufacturer or authorized distributor was
           “important” or “very important” to their purchase decision




   Table 4: Importance of Post-Sale Technical Support

   Question 5a: When purchasing new products like this one, how
   important is it for you to receive post sale technical customer support
   from the manufacturer or its authorized distributor?                      Count   Percent

   Very important                                                             142    61.47%

   Important                                                                  61     26.41%

   Slightly important                                                         26     11.26%

   Not at all important                                                        2     0.87%

   I don't Know                                                                0     0.00%

   Total                                                                      231     100%

      55. A total of 87.88% of respondents indicated that receiving post sale technical
           support from the manufacturer was either important or very important to their
           purchasing decision.




                                                                                     18
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      F. An overwhelming number of respondents indicated that receiving the latest
            firmware or software related to the product was “important” or “very
            important” to their purchase decision


   Table 5: Importance of Latest Firmware/Software

    Question 6a: When purchasing new products like this one, how
    important is it for you to be entitled to receive the latest firmware or
    software related to this product offered by the manufacturer?              Count   Percent

    Very important                                                              171    74.03%

    Important                                                                   50     21.65%

    Slightly important                                                           9     3.90%

    Not at all important                                                         1     0.43%

    I don't Know                                                                 0     0.00%

    Total                                                                       231     100%

      56. A total of 95.67% of respondents indicated that being entitled to receive the latest
            firmware/software was either “important” or “very important”.




      G. An overwhelming number of respondents indicated that receiving the most recent
            version of the product was “important” or “very important” to their purchase
            decision




   Table 6: Importance of Receiving Latest Version of Product



                                                                                       19
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    Question 7a: When purchasing new products like this one, how
    important is it for you to receive the most recent version of this product
    available from the manufacturer?                                                 Count   Percent

    Very important                                                                    129    55.84%

    Important                                                                         78     33.77%

    Slightly important                                                                20      8.66%

    Not at all important                                                               4      1.73%

    I don't Know                                                                       0      0.00%

    Total                                                                             231     100%

      57. A total of 89.61% of respondents indicated that receiving the latest version of the
            product available from the manufacturer is either “important” or “very
            important.”




      H. An overwhelming number of respondents indicated that receiving a product that
            has had its quality control maintained by the manufacturer or authorized
            distributor was “important” or “very important” to their purchase decision


   Table 7: Importance of Quality Control Maintenance

    Question 8a: When purchasing new products like this one, how important
    is it for you to receive a product that has had its quality control maintained
    by the manufacturer or an authorized distributor of the manufacturer
    throughout the supply chain until it is purchased by you?                        Count   Percent

    Very important                                                                    158     68.40%



                                                                                             20
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    Important                                                                     63      27.27%

    Slightly important                                                             8      3.46%

    Not at all important                                                           2      0.87%

    I don't Know                                                                   0      0.00%

    Total                                                                         231     100%

      58. A total of 95.67% of respondents indicated that receiving quality control
            maintenance from the manufacturer or an authorized distributor of the
            manufacturer is either “important” or “very important” to their purchasing
            decision.


      I. A significant majority of respondents indicated that receiving a product that did
            not have its original manufacturer’s label removed or altered and replaced was
            “important” or “very important” to their purchase decision




   Table 8: Importance of Original Manufacturer's Label

    Question 9a: When purchasing new products like this for a business
    application, how important is it for you to receive a product that did not
    have its original manufacturer's label removed or altered and replaced
    with a label that purports to be from the manufacturer but is not and may
    inaccurately reflect the product's version or manufactured date?             Count    Percent

    Very important                                                                166     71.86%


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    Important                                                                    32     13.85%

    Slightly important                                                           12      5.19%

    Not at all important                                                         20      8.66%

    I don't Know                                                                 1       0.43%

    Total                                                                       231         100%

      59. A total of 85.71% of respondents indicated that receiving a product with its
            original manufacturer’s label intact was either important or very important.



      J. When exposed to a more realistic description of the product origin and its
            condition, as well as accompanying services, purchase interest declines for a
            significant number of consumers.


      60. After reviewing the hypothetical scenarios (all presented individually), a
            significant portion of consumers who indicated that a particular feature was
            “important” or “very important” showed a decrease of interest in purchasing the
            product from WI Automation.




   Table 9: Degree of decreased purchasing interest from WI amongst respondents who selected
   “important” or “very important” for a particular attribute
                                                                                    Decreased
                                                                                 purchase interest
                                                                     n=             based on
                                                                                     scenario




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   This product does not come with the manufacturer's
                                                                  219              84.02%
   warranty.

   You would not be automatically enrolled to receive product     224              67.41%
   recall notices from the manufacturer related to the product.

   You would not be automatically enrolled to receive product
                                                                  222              62.61%
   safety notices from the manufacturer related to the product.
   You would not be entitled to receive post sale technical
   customer support for the product from the manufacturer or      203              78.82%
   its authorized distributor.

   Any firmware or software on this product is unlicensed and
   you would not be entitled to receive any firmware or           221              78.73%
   software updates from the manufacturer.
   This product may not be the most recent version of this
                                                                  207              67.15%
   product available from the manufacturer.
   The product has not had its quality control maintained by
   the manufacturer or an authorized distributor of the
                                                                  221              76.92%
   manufacturer throughout the supply chain until it was
   purchased by you.
   The product that you would receive may have had its
   original manufacturer's label removed or altered and
   replaced with another label that purports to be from the       198              90.91%
   manufacturer but is not and may inaccurately reflect the
   product's version or manufactured date.




      61. A total of 84.02% of respondents who considered a manufacturer's warranty
          “important” or “very important” indicated that their interest in purchasing the
          product from WI’s website would decrease if they would not receive the
          manufacturer's warranty when purchasing from WI’s website.


      62. A total of 67.41% of respondents who considered product recall notices
          “important” or “very important” indicated that their interest in purchasing the

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        product from WI’s website would decrease if they were not automatically
        enrolled to receive product recall notices from the manufacturer.


     63. A total of 62.61% of respondents who considered product safety notices
        “important” or “very important” indicated that their interest in purchasing the
        product from WI’s website would decrease if they were not automatically
        enrolled to receive product safety notices from the manufacturer.


     64. A total of 78.82% of respondents who considered post sale technical support
        “important” or “very important” indicated that their interest in purchasing the
        product from WI’s website would decrease if they would not receive post sale
        technical support.


     65. A total of 78.73% of respondents who considered updated software/firmware
        “important” or “very important” indicated that their interest in purchasing the
        product from WI’s website would decrease if they learned that they would
        receive unlicensed firmware/software updates.

     66. A total of 67.15% of respondents who considered the product version
        “important” or “very important” indicated that their interest in purchasing the
        product from WI’s website would decrease if they learned that the product may
        not be the latest version available from the manufacturer.


     67. A total of 76.92% of respondents who considered quality control maintenance
        “important” or “very important” indicated that their interest in purchasing the
        product from WI’s website would decrease if they learned that the product has
        not had its quality control maintained by either the manufacturer or authorized
        distributor.




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     68. A total of 90.91% of respondents who considered the original manufacturer’s
        label “important” or “very important” indicated that their interest in purchasing
        the product from WI’s website would decrease if they learned that it may have
        had its original label altered and replaced with another label that purports to be
        from the manufacturer but may accurately reflect product version or
        manufacturer date.




   SURVEY 2: DETAILED SUMMARY: FALSE ADVERTISING

                                     Survey Overview


     69. A total of 200 respondents participated in the survey, which consisted of a
        controlled experiment to test perceptions of the products and services that would
        be received if purchased on the WI website, and the relationship between Allen-
        Bradley and WI.


     70. As more fully described in the Relevant Universe section, this survey was
        conducted among:
           ● Full-time professionals employed in Engineering and Manufacturing or
               Procurement and Purchasing;
           ● Who are primary decision makers or have influence on decision making
               for industrial, electrical, and electronic control devices; and
           ● Who consult product, retailer, or manufacturer websites as part of their
               research and selection process for industrial, electrical, and electronic
               control devices.




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                                           Experimental Design
         71. After respondents were screened and qualified to take the survey, they were
             exposed to screenshots of the WI landing page, a product featured on the WI
             website, and a screenshot of the WI warranty page. 3




   3
       Respondents who reported that they were unable to see the image were terminated.

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     72. Respondents were then asked a series of substantive questions to gauge their
        impressions regarding the product warranty, and a quality control question.


     73. Respondents were asked whether the product comes with a 12 month warranty
        from the manufacturer.




     74. They were then asked if the absence of a 12 month manufacturer’s warranty
        would affect their interest.




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     75. For quality control, respondents were asked if the product comes with a $1000
        rebate and were excluded if they responded “yes.”


     76. It is important to note that these survey images appeared larger on respondents’
        computer screens, and respondents had the ability to increase the size of the text
        and images by zooming in using their browser. While the question text is
        necessarily reduced in size to fit onto a printed page, they were large and easy to
        read on-screen in the context of the survey.




                               Relevant Universe of Interest


     77. The relevant universe for this survey consisted of primary decision makers or
        those with purchase decision influence for industrial, electrical, or electronic
        control devices. Further, respondents were required to consult product, retailer,
        or manufacturer websites as part of their research and selection process. I
        determined the relevant universe based on my own analysis and by consulting
        with Rockwell personnel to confirm my understanding of who is included in the
        relevant universe.


     78. Respondents were first asked about their current employment status.


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     79. Respondents were required to select full-time, part-time or self-employed to
        qualify for this survey.


     80. Next, respondents were asked if they have any decision making role or influence
        in the following areas: procurement, purchasing, engineering, manufacturing,
        information technology.


     81. Respondents were required to select “yes” to continue with the survey.


     82. Next, respondents were asked to describe their personal involvement with
        purchase decisions related to industrial, electrical, and electronic control devices.
        Two other product types were also included as “distracters.”


     83. Respondents were required to be either a primary decision maker on these
        purchases or have influence on purchase decisions for these products.


     84. Respondents were then asked to select the companies they have purchased
        industrial, electrical or electronic control devices from within the past 10 years.


     85. Next, respondents were presented with a list of eight companies in the industrial
        automation industry and were terminated if they responded that they were
        employed by Rockwell Automation.


     86. Respondents were then asked if, as part of their research, selection, and purchase
        process, they consult product, retailer, or manufacturer websites. Respondents
        were required to select “yes” to continue.




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     87. Next, respondents were asked to select the number 8 for quality control
        purposes. Respondents who did not select the number 8 were terminated from
        the survey.




                                      Sampling Plan


     88. The sample plan involved a random selection of respondents who are part of an
        online panel. Online surveys are well-accepted in the field of survey research as
        a standard, reliable methodology. Indeed, online surveys are now the most
        common method of conducting market research among consumers. Businesses
        and other organizations routinely make decisions of importance based on the
        results of online survey research, and online surveys have been accepted in
        evidence in numerous U.S. District Court cases. I have personally designed and
        executed numerous internet surveys that have been accepted by courts.

     89. The sample of panelists used in the survey was provided by Dynata, a leading
        supplier of online sample for surveys. Dynata is highly regarded as a reputable
        source of consumers for online surveys within the field of market research.
        Dynata utilizes appropriate industry procedures for ensuring the integrity and
        quality of its panels. Dynata ensures data integrity through their continued
        review of their panelists’ behavior on a variety of metrics:

           ● Timestamps to flag respondents who take surveys too quickly, indicating
               they are not paying sufficient attention.
           ● Identifying those who consistently tic items straight down or across grid-
               format questions, indicating a respondent is clicking without considering
               each item.
           ● Quality control questions to identify panelists’ inattention.
           ● Real-time database analysis to stop fraudulent respondents.



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     90. Using data that had previously been collected (completely unrelated to this
        survey), Dynata targeted a subpopulation of engineers. Invitations were then
        sent targeting those pre-identified panelists, thus giving a high degree of
        reliability that respondents entering the survey were indeed employed in the
        aforementioned fields. The purpose of the survey was withheld from
        respondents and nothing in the invitation to panelists indicated that they
        received the invitation because of the field in which they were employed.
        Without knowing the purpose of the survey, respondents needed to meet the
        screening criteria in order to qualify for the survey.


     91. As is standard practice, respondents who took the survey in less than one third
        of the median time were removed from the data set.




                                Double-Blind Interviewing
     92. This study was administered under “double-blind” conditions. Respondents
        were uninformed as to the purpose and sponsorship of the study. The survey is
        also, by definition, “blind” in that there is no person administering the survey
        that can do anything to influence the results.


                                 Interviewing Procedures


     93. The online survey questionnaire was designed and constructed under my
        direction. Dynata handled programming, data collection, and processing. I
        thoroughly tested the programmed survey prior to any potential consumers
        receiving the invitation to participate in the survey. The data set showing each
        consumer’s answers to all questions will be provided in electronic form.




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                                 Interviewing Period
     94. Interviewing was conducted from December 26th, 2022 through December 27th,
        2022.




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   SURVEY 2: DETAILED FINDINGS

        A. An overwhelming number of respondents believed that the product came with a
           manufacturer’s warranty


   Table 10: Respondent Perception of Manufacturer Warranty


   Question 2: Does this Product
   Come with a 12 month warranty
                                 Count         Percent
   from the manufacturer?
   Yes                             180         90.00%

   No                              9           4.50%

   I don't know                    11          5.50%

   Total                           200         100%




        95. To determine whether or not WI’s website gave the false impression of including
           a manufacturer’s warranty with the Allen-Bradley products, respondents were
           shown screenshots of the website and asked “does this product come with a 12
           month warranty from the manufacturer?” Of the 200 respondents who were asked
           this question, 90% had the false impression that the product comes with a
           warranty from the manufacturer. Of the 10% remaining, 5.5% responded that
           they were unsure whether or not the product comes with a manufacturer’s
           warranty. Only 4.5% of the total number of respondents indicated that they
           believed the product did not come with a manufacturer’s warranty.




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     B. A significant majority of consumers who believed the product came with a
        manufacturer’s warranty stated that the lack of a manufacturer’s warranty
        would decrease their interest in purchasing the product


     96. To determine the degree of reliance on the false impression of a manufacturer’s
        warranty on respondent’s purchasing decision, the data from those who had a
        false impression that the product came with a manufacturer’s warranty was
        isolated and analyzed. Of the 180 respondents who had a false impression that
        the product came with a manufacturer’s warranty, 68.9% indicated that the lack
        of a manufacturer’s warranty would decrease their interest in purchasing the
        product from WI’s website.




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   Conclusion

     97. Based on the extensive consumer research I describe in this report, it is clear that
        the following attributes are important to consumer’s purchasing decisions: (1)
        manufacturer’s warranty, (2) guidance from Rockwell Automation or its local
        authorized distributor experts to assist with post-sale technical support, (3) a
        notification process for product recall notices, (4) a notification process for
        product safety notices (5) receiving the most recent version of the product, (6)
        quality control maintained by the manufacturer or an authorized distributor of
        the manufacturer throughout the supply chain, (7) firmware and software
        updates, and (8) the original manufacturer's label that accurately reflects the
        product's version or manufactured date.


     98. Additionally, consumers’ interest in purchasing a Rockwell product from WI’s
        website decreases when they learn that the aforementioned attributes would not
        be included with the sale of a product.


     99. Furthermore, the representations made on WI’s website gave consumers a false
        impression that the warranty offered by WI for the Allen-Bradley products it
        sells is Rockwell’s manufacturer’s warranty. Were it not for these false
        impressions, consumers would be far less interested in purchasing Allen-Bradley
        products from WI’s website.




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     Dated: January 6, 2022




                                                 ________________________
                                                 Professor David Franklyn




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                              Exhibit 6
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                                             1  5281
                                                                                                        1    you.
                1                    IN THE UNITED STATES DISTRICT COURT                                2            Okay.   So I've taken a look at the
                2                     IN AND FOR THE DISTRICT OF DELAWARE                               3    letters and the attachments.      I also
                3                                                                                       4    re-reviewed the complaint, and I also skimmed
                             ROCKWELL AUTOMATION, INC.,     )
                4                                           )                                 03:09PM   5    the motion for judgment on the pleadings.           I
                             --------------------Plaintiff, )
                5                                           ) Case No.                                  6    think I have a pretty good idea about what's
                                    vs.                     ) 21-CV-1238-CLC-
                6                                           ) JLH                                       7    going on here, but I'll give each side a few
                                                            )
                7            PARCORP s.r.l.,                )
                                                            )                                           8    minutes to add anything they want to add to the
                8            --------------------Defendant. )
                                                                                                        9    letters.
                9                     TRANSCRIPT OF DISCOVERY CONFERENCE
                                                                                              03:09PM   10           This is Plaintiff's motion, so we'll hear
               10                     DISCOVERY CONFERENCE had before the
                                                                                                        11   from Plaintiff first.   Go ahead, counsel.
               11            Honorable Jennifer L. Hall, U.S.M.J., via
                                                                                                        12               MR. MCLAUGHLIN:       Thank you, Your
               12            teleconference on the 2nd of May, 2022.
                                                                                                        13   Honor.
               13
                                                                                                        14           I think the issues here are pretty
               14                                 APPEARANCES
                                                                                              03:09PM   15   simple.    We put forward a complaint that lays
               15                     HEYMAN ENERIO GATTUSO & HIRZEL, LLP
                                          BY: DOMINICK GATTUSO, ESQ.                                    16   out in detail all the facts that we need to
               16
                                                     -and-
               17                                                                                       17   support the claims that we have made.         Our
                                     ALSTON & BIRD LLP
               18                         BY: NEAL MCLAUGHLIN, ESQ.                                     18   response to the motion for judgment on the
               19                                       Counsel for Plaintiff                           19   pleadings goes into much more detail on that
               20                                                                             03:09PM   20   and discovery as we go.      We've issued our
                                     YOUNG, CONAWAY, STARGATT & TAYLOR
               21                         BY: ROBERT VRANA, ESQ.                                        21   requests.    They've issued theirs.    Our
               22                                    -and-                                              22   response --
               23                    BRACH EICHLER LLC                                                  23           (Telephonic interruption.)
                                          BY: BOB KASOLAS, ESQ.
               24                         ERIC ALVAREZ, ESQ.                                            24               MR. MCLAUGHLIN:       Excuse me?
               25                                       Counsel for Defendant       03:06PM
                                                                                              03:09PM   25               THE COURT:     This is Jen Hal.   I'm not

                                               DEANNA WARNER, CSR                                                              DEANNA WARNER, CSR
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                                                                             2                                                                                       4
          1                       THE COURT:      Good afternoon, everyone.                             1    sure whose voice that was.       You can continue.
          2         This is Jennifer Hall.      We're here for a                                        2    It wasn't me.
          3         discovery dispute teleconference.             This is                               3                MR. MCLAUGHLIN:       Okay.    So Rockwell's
          4         Rockwell versus Parcorp.         It's Civil Action                                  4    responses to Defendant's discovery requests are
03:07PM   5         Number 21-1238-CFC-JLH.             We have a court                       03:10PM   5    due later this week, on Thursday.       We'll be
          6         reporter on the line today.        The court reporter                               6    providing those on time.      Defendant's responses
          7         is Deanna Warner.                                                                   7    to Rockwell's requests were due initially
          8                May I have appearances, please, for                                          8    March 14th.     They weren't provided until many,
          9         Plaintiff.                                                                          9    many days after that, and they were deficient
03:08PM   10                      MR. GATTUSO:       Good afternoon, Your                     03:10PM   10   in many respects, and it's not because they
          11        Honor.       It's Dominick Gattuso on behalf of                                     11   don't understand what we're asking for.        It's
          12        Plaintiff Rockwell.      I also have with me on the                                 12   just they don't think that we should be getting
          13        line Neal McLaughlin from Alston and Bird, and                                      13   it.   And, you know, there's no grounds under
          14        Mr. Mclaughlin is going to be addressing the                                        14   the Federal Rules or otherwise for this sort of
03:08PM   15        questions Your Honor has.                                                 03:10PM   15   two-stage, "show me yours and I'll show you
          16                      THE COURT:      Very good.       Good                                 16   mine" type discovery.      Everybody needs to
          17        afternoon.                                                                          17   participate equilaterally, and Rockwell has
          18               May I have appearances for Defendant.                                        18   every intent to do that.
          19                      MR. VRANA:     Good afternoon, Your                                   19               THE COURT:     Thank you, Counsel.
03:08PM   20        Honor.       This is Rob Vrana from Young Conaway                         03:10PM   20           Let's hear from Defendant.
          21        pinch-hitting this afternoon for Ms. Kraman,                                        21               MR. KASOLAS:     Thank you, Your Honor.
          22        who is in a trial.     With me on the line today                                    22   Bob Kasolas from Brach Eichler on behalf of
          23        is Bob Kasolas and Eric Alvarez from Brach                                          23   Parcorp.    It's always a pleasure, Judge.
          24        Eichler in New Jersey.                                                              24           Let's put the facts into context, what
03:08PM   25                      THE COURT:      Good afternoon to all of                    03:11PM   25   Rockwell is saying.     We don't believe they've
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           1   alleged any factual detail in their pleading                      1   claim their products. These are very expensive
           2   that supports any kind of a cause of action or                    2   products, and if they were counterfeit or they
           3   Lanham Act. Particularly, they don't name what                    3   weren't legitimate or they weren't doing what
           4   product, what SKU, what model is in the                           4   they were supposed to be doing, if they weren't
03:11PM    5   automation system. There's absolutely no               03:13PM    5   genuine Rockwell products, it would cause
           6   detail whatsoever as to what products, or                         6   serious problems in the entire production
           7   Rockwell product or alleged counterfeit                           7   system.
           8   product, the type of counterfeit products my                      8          We have no allegations of that whatsoever
           9   client is selling in the marketplace --                           9   in the complaint. We have no idea what
03:11PM   10              THE COURT: Does it matter? Let me           03:13PM   10   products, what customers, nothing. Product
          11   ask you this: They say that you're not an                        11   numbers, zero numbers, what part and where in
          12   authorized distributor. I don't take you to                      12   the assembly line in the production system this
          13   have ever contested that. You admit that;                        13   module fits. It's all products coming in and
          14   right?                                                           14   out, it's all financials, it's all sources,
03:11PM   15              MR. KASOLAS: Correct, and we don't          03:13PM   15   it's all purchasing, it's all sales. And it's
          16   have to be an authorized distributor to resell                   16   not reasonable or proportional to the needs of
          17   the products.                                                    17   the case in this matter.
          18              THE COURT: That's your legal                          18          What I think is very telling is in the
          19   position, but if their legal position is                         19   letter submitted to Your Honor, they alleged
03:12PM   20   anything you all sell infringes their                  03:13PM   20   that just a couple weeks ago there was some
          21   trademark, then why isn't every product that                     21   alleged, quote, gray market or, quote,
          22   bears their trademark relevant? Is there some                    22   counterfeit goods sold in the United States
          23   difference between the products that the Court                   23   that was Rockwell products. One would think,
          24   should take into account in ordering discovery?                  24   Judge, on this particular motion in front of
03:12PM   25              MR. KASOLAS: We sell their products.        03:14PM   25   Your Honor, if they actually had something like
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           1   We don't counterfeit anything. We don't unseal                    1   that, they would have attached some of that to
           2   the package.                                                      2   the letter they submitted to the Court.
           3              THE COURT: I understand that. I                        3   Photographs, customer complaints, something to
           4   understand that, but their position is any time                   4   show that this alleged counterfeit or gray
03:12PM    5   you're selling their product, it's trademark           03:14PM    5   market transaction that took place outside the
           6   infringement. That's their position, so why                       6   pleading. But the reference is you'll see.
           7   should I distinguish between the products?                        7          There's nothing specific in the
           8              MR. KASOLAS: Because that's                            8   complaint, and there's nothing attached to
           9   completely unsupportable by law. They need to                     9   support the allegation outside the pleading.
03:12PM   10   identify with some specificity what the alleged        03:14PM   10   I'm not trying to belay discovery. I'm asking
          11   product is that's being sold, okay, what's                       11   him tell me specifically which products you
          12   different between that particular product, that                  12   sell that you allege my client is grey
          13   particular module, that particular component                     13   marketing or pawning off or causing
          14   that's being, quote/unquote, gray market or                      14   infringement in the marketplace and tailor your
03:12PM   15   pawned off as a Rockwell product versus what           03:14PM   15   discovery to that, not the entire company
          16   it's supposed to have, okay, in terms of if it                   16   across every single product, every single
          17   was a genuine Rockwell product, what customer                    17   customer, every single sale, and with the
          18   complaints there are in the field as to that                     18   entire financials from top to bottom.
          19   particular product, what the confusion is                        19          We filed the motion under 12(c) for that
03:12PM   20   alleged in the marketplace.                            03:14PM   20   particular reason, and to demonstrate I'm not
          21          You've got to put this into context.                      21   willing to delay, I have no problem with Your
          22   We're not talking about some shoes here. These                   22   Honor, magistrate in the matter, deciding the
          23   customers that buy this product, they're big                     23   motion, if that speeds things up. We'd like to
          24   operators. They have major assembly lines and                    24   actually have some specificity to what they're
03:13PM   25   production lines that allow these clients to           03:15PM   25   getting into, what they're looking for, what
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           1   products, what SKUs, what makes and models.                       1   infringement, Your Honor, violation of the
           2   How do you respond to this? Give everything                       2   Lanham Act. Anybody can resell anything they
           3   that has to do with your company from top to                      3   buy. There's no case law anywhere in any of
           4   bottom, your financials, your sources, who                        4   the 50 states or federal court that says if you
03:15PM    5   you're selling to, where you buy them from,            03:17PM    5   buy a product from an original owner, secondary
           6   where you're storing things --                                    6   owner, you can't resell that product.
           7              THE COURT: Just for their branded                      7          This idea that we're not an authorized
           8   products, though; right?                                          8   representative, we don't have to be an
           9              MR. KASOLAS: They're alleging                          9   authorized representative to sell their
03:15PM   10   Rockwell products but not which Rockwell               03:17PM   10   product. There are many, many resellers in the
          11   products. They number in the thousands, from                     11   marketplace that sell Rockwell products that
          12   what I understand.                                               12   were bought from an authorized distributor or
          13              THE COURT: Maybe I'm beating a dead                   13   bought directly from Rockwell or bought from a
          14   horse here, but you disagree with their legal                    14   third party. That in and of itself doesn't
03:15PM   15   position that you reselling their products in          03:17PM   15   constitute violation of the Lanham Act. You
          16   the U.S. is trademark infringement. You                          16   have to prove putting a phony mark on a product
          17   disagree with that, but they are alleging that                   17   that's not a Rockwell product, and therefore
          18   any time you sell their products in the U.S. as                  18   causing confusion in the marketplace. You have
          19   new that it's trademark infringement, so isn't                   19   to demonstrate there's a false designation to
03:16PM   20   that specific enough to what their case is for         03:18PM   20   argue some kind of misleading to the source of
          21   them to say Rockwell products?                                   21   goods.
          22              MR. KASOLAS: Your Honor, I don't                      22          There is nothing in this complaint,
          23   believe it satisfies the Twombly and Iqbal                       23   nothing in the detail. If you're selling
          24   standard, Judge. While it's a liberal                            24   products and we say you can't sell, therefore
03:16PM   25   standard, there has to be some specificity with        03:18PM   25   it's trademark infringement. That's not a
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           1   Twombly and Iqbal where I can actually read the                   1   cause of action in the Lanham Act. What they
           2   complaint and have some idea, be on fair                          2   should have done to satisfy Twombly and Iqbal
           3   notice, of what the allegations are against my                    3   is have some tiny amount of specificity, this
           4   client. As we stand here, my client has no                        4   make, this model, this particular product line.
03:16PM    5   idea what make/model product they're selling           03:18PM    5   You're selling this product into this stream of
           6   that's alleged to be infringed, which customers                   6   commerce. It's either not our product or you
           7   allegedly complained about infringement, what                     7   modified it or you're making misrepresentations
           8   the confusion is in the marketplace, what year,                   8   of their product of what it does, what it
           9   what component inside this assembly line.                         9   doesn't do when it comes to software or comes
03:16PM   10          I have no idea what we're responding to.        03:18PM   10   to warranty. It's just one conclusory
          11   It's an amorphous, conclusory, nonspecific,                      11   pleading.
          12   conclusory allegation which falls outside the                    12          And again, I'm not looking to delay the
          13   requirement of Twombly and Iqbal. You've got                     13   case. Maybe the solution is bifurcating,
          14   to have some specificity and say, hey, Parcorp,                  14   producing the documents that go towards
03:16PM   15   here, this module fits in this assembly line,          03:18PM   15   liability before we get to financial damages.
          16   this is the SKU number, this is the make, this                   16   Maybe like I said, I'm happy to do it. I don't
          17   is the model, this is the year, this is what                     17   know how the Court feels. I don't know how
          18   the difference is between what you're selling                    18   opposing counsel feels. I don't know how the
          19   and what we're actually selling. They put                        19   judge in the case feels. I'll let Your Honor
03:17PM   20   nothing like that. It's --                             03:19PM   20   decide the Rule 12(c) motion if that speeds
          21              THE COURT: I think the difference is                  21   things up just to demonstrate I'm not looking
          22   that you're the one that's selling it. That's                    22   to delay anything. I just think it's --
          23   how I take their allegations to be. That's the                   23              THE COURT: Thank you, Counsel. I
          24   difference.                                                      24   understand your point. Anything else you want
03:17PM   25              MR. KASOLAS: That's not trademark           03:19PM   25   to add about any of the particular requests?
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
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           1              MR. KASOLAS: I don't think we'd be                     1              MR. MCLAUGHLIN: Two things, I think.
           2   waiving -- I'm sorry, Judge. Go ahead.                            2   First is one of the material differences that
           3              THE COURT: It's fine. If there's                       3   we've alleged relates to the quality of the
           4   any finer point you want to put on any of the                     4   goods, so if these goods are being stored
03:19PM    5   arguments in your letter.                              03:21PM    5   improperly, then that can lead to physical
           6              MR. KASOLAS: It's in my letter. I                      6   differences in the goods, and part of
           7   don't like repeating myself. I know Your Honor                    7   requesting their location is so that we can ask
           8   read everything in the complaint, read the                        8   further questions about the storage in
           9   letters, read through the motion. I don't                         9   depositions or in further interrogatories or
03:19PM   10   think we should be waiving the particular              03:22PM   10   otherwise. It's some of the preliminary
          11   issues. There was no prejudice to opposing                       11   "getting our foot in" with regard to where
          12   counsel or the client in this matter. Both of                    12   these things are kept.
          13   our contacts in Italy got sick with COVID-19,                    13          And then second of all --
          14   so I don't believe -- I think there's good                       14              THE COURT: Are things being stored
03:19PM   15   cause to excuse us from not producing                  03:22PM   15   properly.
          16   everything in the 30 days.                                       16              MR. MCLAUGHLIN: I'm sorry?
          17          And this is -- we are a direct competitor                 17              THE COURT: Is there any reason to
          18   with them. As much as they want to argue we're                   18   think that these products are being stored
          19   not, yes, we do not make Rockwell products, but                  19   improperly that Defendants are selling?
03:20PM   20   we certainly compete with Rockwell in the              03:22PM   20              MR. MCLAUGHLIN: At this moment, I
          21   marketplace selling Rockwell products, and they                  21   don't know how they're storing these products,
          22   are a direct competitor in that sense. For                       22   so, no, I don't have any concrete evidence that
          23   them to be able to come in and look at every                     23   they're storing them improperly.
          24   single source of where we buy it from, where we                  24              THE COURT: All right. I can tell
03:20PM   25   sell to what, what or not we sell for, all of          03:22PM   25   you before we got on the phone today, we spent
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           1   our financials, our markups, our gross profit                     1   a lot of time reviewing the letters and the
           2   margins, our net margins, it's not fair at this                   2   papers in the case and have given this a great
           3   point with this pleading with such a lack of                      3   deal of thought. The dispute that Defendant
           4   specificity to be able to come and do this at a                   4   has about the requested discovery really comes
03:20PM    5   preliminary phase. I think there has to be             03:22PM    5   down to what we think is a legal disagreement
           6   some tailoring to meet the proportions of the                     6   with the plaintiffs about what may or may not
           7   case at this juncture.                                            7   constitute trademark infringement.
           8              THE COURT: Thank you, Counsel.                         8          Plaintiffs have a legal theory that it
           9   Let's turn it back over to Plaintiff for the                      9   does constitute trademark infringement. The
03:20PM   10   last word.                                             03:23PM   10   Court has ordered discovery to go forward.
          11              MR. MCLAUGHLIN: Yeah, I think Your                    11   We've reviewed each of the requests, and while
          12   Honor has it right. The accused products in                      12   some of the information obtained by the
          13   this case are every product that Defendant                       13   requests could be used by Plaintiffs for an
          14   sells that bears one or more of the asserted                     14   improper purpose, there is a protective order
03:21PM   15   trademarks. And if they sell thousands of              03:23PM   15   in this case that limits the use of the
          16   different types of Rockwell products, well,                      16   information for this litigation, and Plaintiff
          17   then, those are the accused products because                     17   has proffered the relevance of each of the
          18   every single sale of any one of those products                   18   pieces of information they requested in their
          19   is a trademark infringement, and that's what                     19   interrogatories.
03:21PM   20   this case is about.                                    03:23PM   20          The interrogatories don't look to be
          21              THE COURT: Let me ask you about your                  21   particularly burdensome. I understand what's
          22   request for their inventory and where their                      22   requested, and so the Court is going to order
          23   inventory is. What can you tell me about the                     23   that all of the interrogatories be responded by
          24   relevance of that and anything to add to your                    24   Defendant within 30 days. Based on Defendant's
03:21PM   25   letter?                                                03:23PM   25   proffer that there was some pandemic-related
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           1   issues that prevented them from filing their
           2   response on time, on this occasion, the Court
           3   is going to find that the objections are not
           4   waived, but moving forward, we'll request that
03:24PM    5   requests for extension of the deadline be asked
           6   for before the deadline hits.
           7         Any questions from counsel for Plaintiff?
           8              MR. MCLAUGHLIN: No, Your Honor.
           9   Thank you.
03:24PM   10              THE COURT: Any questions from
          11   counsel for Defendant.
          12              MR. KASOLAS: No, Judge. You put a
          13   lot of time into this. Thank you very much.
          14              THE COURT: Thank you, everyone.
03:24PM   15   Have a great afternoon. Take care.
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
                                DEANNA WARNER, CSR
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                                                                 18
           1                  CERTIFICATE

           2   STATE OF DELAWARE    )
                             ) ss:
           3   COUNTY OF NEW CASTLE   )

           4        I, Deanna L. Warner, a Certified
           5   Shorthand Reporter, do hereby certify that as
           6   such Certified Shorthand Reporter, I was
           7   present at and reported in Stenotype shorthand
           8   the above and foregoing proceedings in Case
           9   Number 21-CV-1238-CLC-JLH, ROCKWELL AUTOMATION,
          10   INC. Vs. PARCORP s.r.l., heard on May 2, 2022.
          11        I further certify that a transcript of
          12   my shorthand notes was typed and that the
          13   foregoing transcript, consisting of 18
          14   typewritten pages, is a true copy of said
          15   DISCOVERY CONFERENCE.
          16        SIGNED, OFFICIALLY SEALED, and FILED
          17   with the Clerk of the District Court, NEW
          18   CASTLE County, Delaware, this 10th day of May,
          19   2022.
          20
          21
                            Deanna L. Warner, CSR, #1687
          22                Speedbudget Enterprises, LLC
          23
          24
          25
                                 DEANNA WARNER, CSR
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                              Exhibit 7
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                               DUNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

    ROCKWELL AUTOMATION, INC.,                         : Civil Action No. 1:21-cv-01238
                                                       :
                   PlaintiffPlaintiff                  :
                                                       :
                          v.                           :
                                                       :
                                                       :
    PARCORP, S.R.L. D/B/A WI                           :
    AUTOMATION,                                        :
                                                       :
                   Defendants


   TO:     Neal McLaughlin, Esq.
           Alston & Bird
           90 Park Avenue
           15th Floor
           New York, NY 10016-1387

           Dominick Gattuso
           Heyman Enerio Gattuso & Hirzel LLP
           300 Delaware Ave., Suite 200
           Wilmington, DE 19801



   SIRS:
           PLEASE TAKE NOTICE that defendant, Parcop, S.r.l. d/b/a WiAutomation

   (“WiAutomation”), by and through its undersigned counsel Brach Eichler L.L.C., serves its Third

   Amended Responses to plaintiff, Rockwell Automation, Inc.’s First Set of Interrogatories.



    Dated: August 5, 2022
                                                    YOUNG CONAWAY               STARGATT       &
    Of Counsel:                                     TAYLOR, LLP


    Bob Kasolas                                     __________________________________
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   HIGHLY CONFIDENTIAL PURSUANT TO D. DEL. LR 26.2
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                                         pkraman@ycst.com
                                         Attorneys for Defendant Parcop S.r.l. d/b/a
                                         WiAutomation




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   HIGHLY CONFIDENTIAL PURSUANT TO D. DEL. LR 26
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                     RCK5069-IB8S Euro 411,40 + 22% tax
                     RCK22-HIM-C2S Euro 150,23 + 22% tax
                     RCK5069-IB8S Euro 411,40 + 22% tax
                     RCK22FD4P2N103 Euro 256,11 + 22% tax
                     RCK25BB017N104 Euro 622,66
                     RCK22-HIM-C2S Euro 155,48 + 22% tax
                     RCK5094-IB16 Euro 217,83 + 22% tax
                     RCK150-TC1 Euro 24.21 + 22% tax
                     RCK2198-K57CKD15M Euro 69,56 + 22% tax
                     RCK5069-OBV8S Euro 544,58 + 22% tax
                     RCK1734-IE4S Euro 713,11 + 22% tax
                     RCK2097-V34PR3 Euro 1.201,64 + 22% tax
                     RCK5069-OBV8S Euro 544,58 + 22% tax
                     RCK5069-RTB6-SPRING Euro 14,53 + 22% tax
                     RCK5069-IB16F Euro 207,05 + 22% tax
                     RCK5069-RTB6-SPRING Euro 14,53 + 22% tax
                     RCK1734-4IOL Euro 185,01 + 22% tax
                     RCK5069-RTB64-SCREW Euro 23,97 + 22% tax
                     RCK1734-IE4S Euro 713,11 + 22% tax
                     RCK150-C3NBD Euro 245,36 + 22% tax
                     RCK2080-MEMBAK-RTC2 Euro 154,27 + 22% tax
                     RCK1783-US8T Euro 144,18 + 22% tax
                     RCK25BA8P0N114 Euro 374,78+ 22% tax
                     RCK2713PT9WD1 Euro 1.550,84+ 22% tax
                     RCK104-C09EJ22 Euro 135,45+ 22% tax
                     RCK2198-H008-ERS2 Euro 1.184,18+ 22% tax
                     RCK22FA2P5N113 Euro 122,25 + 22% tax
                     RCK5094-IB16 Euro 217,83
                     RCK25BB5P0N104 Euro 358,28+ 22% tax

   Furthermore, pursuant to Fed. R. Civ. P. 33(d), WiAutomation states see WI003327-003433.

   WiAutomation further states that it is incapable of ascertaining what Rockwell Products it sold

   from 2018-2020 as it was a small company with limited resources and the records in

   WiAutomation’s possession are incomplete. Furthermore, many of the records that WiAutomation

   has in its possession do not identify the product that was purchased/sold. Thus, it is impossible

   toidentify       the   foregoing   with   any   greater   degree   of   specificity   than   already

   provided.INTERROGATORY NO. 4:




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          Describe any differences between Rockwell Products sold or offered for sale by WI

   Automation and Rockwell Products sold or offered for sale by Rockwell or Rockwell Authorized

   Distributors that WI Automation has disclosed to its customers, including without limitation any

   disclaimer WI Automation provides to its customers regarding the sale of Rockwell Products.

           RESPONSE: Objection. This request is overly broad, vague, and ambiguous to the extent
   it seeks information pertaining to any “differences” between Rockwell Products sold by
   WiAutomation and Rockwell or its “authorized distributors” that it disclosed to customers.
   WiAutomation further objects to the extent that this interrogatory calls for a legal conclusion.
   Subject to and without waiving its general or specific objections, WiAutomation states that there
   are no “differences” between Rockwell products sold or offered for sale by WiAutomation and
   Rockwell products sold or offered for sale by Rockwell or Rockwell Authorized Distributors.
   Nevertheless, WiAutomation provides the following terms and conditions on its website, which
   all purchasers of Rockwell products must agree to prior to purchase:

          WiAutomation is not an official distributor or representative brands on this site.
          The trademarks and names on this site belong to their respective owners. Rockwell:
          WiAutomation is not an authorized dealer of surpluses or affiliate of the
          manufacturer. Products may have older date codes or be an older series than the
          one available directly from the factory or authorized dealers. Since WiAutomation
          is not a Rockwell authorized distributor, the original manufacturer’s warranty does
          not apply (12-month WiAutomation Warranty applies). Some Allen-Bradley PLC
          products will have the firmware already installed, WiAutomation does not
          guarantee whether or not a PLC product will have firmware and, if it has firmware,
          if the firmware is the level of revision that is necessary for its application.
          WiAutomation also does not warrant the ability or right to download or otherwise
          obtain firmware for the product from Rockwell, its distributors, or any other source.
          WiAutomation will not obtain or provide firmware on behalf of the customer. It is
          customer's obligation to comply with the terms of any End User License Agreement
          or similar document relating to obtaining or installing the firmware.

   INTERROGATORY NO. 5:

          From 2015 to the present, identify the product name, quantity, product condition code, date

   of purchase, purchase price, product source name, date of sale, sale price, customer name, and

   discounts applied (if any) in the sourcing or selling of each unused Rockwell product.

          RESPONSE:
          Objection. This interrogatory is overly broad, unduly burdensome, and not proportional to
   the needs of the case in that it requests the identity of any and all Rockwell Product that



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   HIGHLY CONFIDENTIAL PURSUANT TO D. DEL. LR 26
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                 1606-XLB120E new factory sealed - purchased price n. 1 product approximately
                  Euro 150,00

                 2080-IF4 new factory sealed - purchased price n. 1 product approximately Euro
                  150,00

                 1769-OW8 new factory sealed - purchased price n.1 product approximately Euro
                  250,00

                 4x 1769-OF8C new factory sealed - purchased price n. 1 product approximately
                  Euro 1.800

                 10x 1734-OB8 new factory sealed - purchased price n. 1 product approximately
                  Euro 260,00

                 3x 1769-ECR new factory sealed - purchased price n. 1 product approximately Euro
                  30,00

                 22B-D6P0N104 new factory sealed - purchased price n. 1 product approximately
                  Euro 600,00

                 11x 1734-IB8 new factory sealed - purchased price n. 1 product approximately Euro
                  247,73

         All products are located in Monte di Procida (NA) via Fiomarino III trav n.
   13 at Parcop S.r.l. storage.The value of the current inventory is estimated to be
   between approximately Euro 60.000,00 – Euro 75.000,00
   INTERROGATORY NO. 9:
        Describe the product life cycle of unused Rockwell products sold by WI Automation, from

   acquisition through post-sale services, including without limitation sourcing, importation,

   inspecting, receiving, inventorying, warehousing, sorting by condition, marketing, sale, technical

   support and warranty and repair services, including all training provided to WI Automation

   personnel related to any of the foregoing.

          RESPONSE: Objection. This interrogatory is overly broad, unduly burdensome, and not
   proportional to the needs of the case in that it demands that WiAutomation describe the “product



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   life cycle” as it pertains to an unspecified number of products that WiAutomation sells.
   WiAutomation further objects to the term “unused Rockwell products” as vague, ambiguous, and
   confusing. Subject to and without waiving its objections, WiAutomation acquires the products at
   issue from a Rockwell Authorized Distributor, or other reputable source. WiAutomation only
   purchases new, genuine Rockwell products that are factory sealed. Once the product is in
   WiAutomation’s possession, the sealed Rockwell packaging—which is never opened by
   WiAutomation—is then verified externally by Parcop’s employees and then put in the storage
   (where new products are separated from used products). Once Parcop receives an order, the
   products are placed into a WiAutomation shipping box for delivery to WiAutomation’s customers.
   WiAutomation provides its own 12 month warranty for each Rockwell product sold. If a customer
   sends a complaint about malfunction the customer care employ talks to the director and he will
   approve to send the RMS for refund or replacement. All of the foregoing is based upon the
   following terms and conditions:


   The warranty for new and refurbished products is 12 months covered by WiAutomation from the
   delivery date, the used products are guaranteed for 3 months. If the item is not as described, you
   will have a full refund including all shipping costs. If the item is lost or damaged in transit will be
   refunded only in case of insurance. Whenever the User intends to make use of the remedies
   provided by the legal guarantee provided with the Products, the User shall contact the Holder at
   the email address info@wiautomation.com. The Holder shall promptly reply to the communication
   of the alleged lack of conformity and shall indicate to the User the specific procedure to be
   followed, taking into account the category of goods relating to the Product, and / or the alleged
   defect. In any case, defects due to transport by courier, improper use or assembly or inadequate
   storage or maintenance of the Products and degradation resulting from use are excluded from the
   Warranty.

   At the time of delivery, the Customer is required to verify the conformity of the Product with the
   Order.


   WIAUTOMATION UNDERTAKES TO REPLACE NON-INTACT OR NON-COMPLIANT
   PRODUCTS AND REPAIR OR REPLACE PRODUCTS RECOGNIZED AS DEFECTIVE AND
   COVERED BY THE WARRANTY.


   Returns are accepted only if previously authorized in writing by WiAutomation by sending the
   relative RMA (Return Material Authorization) code; upon receipt, WiAutomation examines the
   returns to verify that the Product is the one sold, that the defect exists, is attributable to its
   responsibility and is covered by the Warranty and, only in this case, replaces the defective
   Products. The Warranty is the only one provided by WiAutomation and replaces any other
   warranty, whether written, oral or implicit, except as provided below for the Consumer.


   The report of defects and / or non-conformities of the Products must be communicated to
   WiAutomation in writing, by email (sales@wiautomation.com), under penalty of forfeiture, (i)



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   HIGHLY CONFIDENTIAL PURSUANT TO D. DEL. LR 26
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   within 5 (five) days of delivery in the case of discrepancies of the Product or obvious defects and
   (ii) within 8 (eight) days of discovery in the case of hidden defects.


   WiAutomation is not an official distributor or representative of the brands on this site. The
   trademarks and names on this site belong to their respective owners. Rockwell: WiAutomation is
   not an authorized dealer of surpluses or affiliate of the manufacturer. Products may have older
   date codes or be an older series than the one available directly from the factory or authorized
   dealers. Since WiAutomation is not a rockwell authorized distributor, the original manufacturer's
   warranty does not apply (the 12-month WiAutomation warranty applies). Some Allen-Bradley PLC
   products will have the firmware already installed, WiAutomation does not guarantee whether or
   not a PLC product will have firmware and, if it has firmware, if the firmware is the level of revision
   that is necessary for its application. WiAutomation also does not warrant the ability or right to
   download or otherwise obtain firmware for the product from Rockwell, its distributors, or any
   other source. WiAutomation will not obtain or provide firmware on behalf of the customer. It is
   customer's obligation to comply with the terms of any End User License Agreement or similar
   document relating to obtaining or installing the firmware.



   INTERROGATORY NO. 10:

          Identify any contracts, agreements, or pricing documents that relate to Rockwell and/or

   Rockwell’s Authorized Distributors that WI Automation has reviewed in connection with the

   sourcing or sale of unused Rockwell products.


           RESPONSE: Objection. This interrogatory is overly broad, vague, ambiguous, unduly
   burdensome, and not proportional to the needs of the case in that it demands WiAutomation
   identify any and all “contracts, agreements, or pricing documents” relating to “Rockwell or
   Rockwell’s Authorized Distributors” that WiAutomation has reviewed. WiAutomation further
   objects to the extent that this interrogatory seeks irrelevant information that is outside the scope of
   permissible discovery . WiAutomation’s review of any particular contract or agreement has no
   bearing on the Plaintiff’s claims or defenses. WiAutomation further objects to the extent that this
   interrogatory seeks information protected by the attorney-client privilege and/or work product
   protection. Subject to and without waiving its general and specific objections, WiAutomation
   states that WiAutomation has not reviewed any relevant agreements between Rockwell and its
   Authorized Distributors.

   INTERROGATORY NO. 11:

          If you contend that any of Your sales of unused Rockwell Products were authorized by

   Rockwell, identify all such sales, describe why you contend that they were authorized.



                                   17
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                              Exhibit 8
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   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

    ROCKWELL AUTOMATION, INC.,

                   Plaintiff,

         v.                                             No. :21-cv-01238-GBW-JLH


    PARCORP S.R.L. d/b/a WI AUTOMATION,

                   Defendant.



                            DECLARATION OF MARK PALISZEWSKI

          I, Mark Paliszewski, hereby declare as follows:

          1.      I have personal knowledge of the matters set forth in this declaration. If I am called

   to testify I could and would testify competently to these matters under oath.

          2.      I am the Director of the Consulting and Investigative Group at Recon Management

   Group, LLC (“Recon”), which is based in Birmingham Farms, Michigan. I have worked at Recon

   since 2009 in various roles conducting internal and external investigations for clients. Before that,

   I worked for nearly twenty years as an investigator for the law firm Dickinson Wright PLLC,

   which is headquartered in Detroit, Michigan. I graduated from Madonna University, located in

   Livonia, Michigan, in 1991 with a Bachelor of Science degree in Criminal Justice.

          3.      Rockwell Automation, Inc. (“Rockwell”) retained the services of Recon to conduct

   test purchases of certain products from Parcop S.R.L. d/b/a WI Automation (“WI Automation”).

   I received Rockwell’s requests for these services and oversaw Recon’s work to complete them.

          4.      In April, 2020, acting on a request from Ryan Smaglik at Rockwell, I emailed WI

   Automation using the company name “J&J Systems” to request a quote for a number of different




                                                    1
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   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   Rockwell products and ultimately placed an order for two of the products to be delivered to an

   address in Texas.

            5.   The products that I ordered from WI Automation were delivered in May, 2020 to

   the address that I provided. Upon receipt of the products from WI Automation, I took photographs

   of the packaging and products and maintained those photographs in my file as was customary in

   the ordinary course of business and in accordance with the manner that I normally and regularly

   conduct my investigation activities. I sent these photographs to Mr. Smaglik on May 12, 2020 via

   email.

            6.   The photographs attached as Exhibit A to this declaration are true and accurate

   copies of the photographs that I took in May of 2020 of the products received from WI Automation.

   Exhibit A also includes true and correct images of the invoice and shipping label provided in and

   on the package.

            7.   In March of 2022, I was asked again by Mr. Smaglik to contact WI Automation to

   obtain a quote and initiate a purchase of certain Rockwell products. This time using the company

   name “Image-Tek Displays & Graphics,” I initiated a purchase of three Rockwell products from

   WI Automation for delivery to an address in Michigan.

            8.   The products that I ordered from WI Automation were delivered in April, 2022 to

   the address that I provided. Upon receipt of the products from WI Automation, I took photographs

   of the packaging and products and maintained those photographs in my file as was customary in

   the ordinary course of business and in accordance with the manner that I normally and regularly

   conduct my investigation activities. I sent these photographs to Mr. Smaglik on April 4, 2022 and

   April 14, 2022 via email.




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   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          9.     The photographs attached as Exhibit B to this declaration are true and accurate

   copies of the photographs that I took in April of 2022 of the products received from WI

   Automation.

          10.    After taking photographs, I sent the package received from WI Automation in

   April, 2022 to Neal McLaughlin, outside counsel for Rockwell.



          I certify under penalty of perjury that the foregoing is true and correct.

   DATED: February 17, 2023




                                                         Mark Paliszewski




                                                    3
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                          EXHIBIT A
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                          EXHIBIT B
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                              Exhibit 9
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                                                                              Page 1
1                              LUCA COPPOLA

2                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE
3
                               C.A. NO.: 21-1238-CFC-JLH
4

5     ----------------------------------------x

6     ROCKWELL AUTOMATION, INC.,

 7                             Plaintiff,

 8                vs.

 9    PARCORP S.R.L., d/b/a
      WIAUTOMATION,
10                       Defendant.

11    ----------------------------------------x

12
                               Tuesday, December 6, 2022
13                             2:03 p.m. Central European Time
                               Rome, Italy
14

15

16                VIDEOTAPE DEPOSITION OF LUCA COPPOLA

17                        (Through the Interpreter)

18                Taken on behalf of the Plaintiff before

19    Michael J. D'Amato, RMR, Notary Public in and for the

20    State of Florida at Large, pursuant to Notice of Taking

21    Deposition in the above cause.

22

23

24    Reported by: Michael J. D'Amato,
      Registered Merit Reporter
25    Job No. 220085
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                                                            Page 2                                                           Page 3
 1                          LUCA COPPOLA                              1                      LUCA COPPOLA
 2                          REMOTE APPEARANCES                        2                          I N D E X
 3                             ___________                            3   Witness                 Direct         Cross     Redir.
 4    For the Plaintiff:                                              4   LUCA COPPOLA
 5                                                                    5     By Mr. McLaughlin........7........................155
 6             ALSTON & BIRD LLP                                      6     By Mr. Kasolas.........................146
 7             90 Park Avenue                                         7
 8             New York, NY 10016                                     8   Certificate of Oath (Interpreter)........157
 9             BY: NEAL McLAUGHLIN, ESQ.                              9   Certificate of Oath (Witness)............158
10                                                                   10   Certificate of Reporter..................159
11                                                                   11   Errata sheet (to be forwarded upon execution)....160
12    For the Defendant:                                             12
13                                                                   13
14             BRACH EICHLER, LLC                                    14
15             101 Eisenhower Parkway                                15
16             Roseland, NJ 07068                                    16
17             BY: BOB KASOLAS, ESQ.                                 17
18                    ERIC ALVAREZ, ESQ.                             18
19                                                                   19
20    Also Present: Brian Hood, Legal Videographer, TSG              20
21                    John Miller, Rockwell in-house counsel         21
22                    Rosanna Giliberti, Italian Interpreter         22
23                                                                   23
24                                                                   24
25                                                                   25


                                                            Page 4                                                           Page 5
 1                         LUCA COPPOLA                               1                  LUCA COPPOLA
 2                     E X H I B I T      I N D E X                   2        THE VIDEOGRAPHER: Good morning and good
 3      Description                                     Page          3   afternoon. Counselors, my name is Brian Hood and
 4    EXHIBIT 1 Photograph of front gate to WiAutomation....44        4   I'm the legal videographer in association with TSG
 5    EXHIBIT 2 Screenshot of US.wiautomation.com website...59        5   Reporting Incorporated. Because this is a remote
 6    EXHIBIT 3 Screenshot of website page                            6   deposition, I will not be in the same room with the
 7    US.WiAutomation.com/join-our-team.....................64        7   witness. Instead, I will record this videotaped
 8    EXHIBIT 4 Email with Bates WI2605 and 2606............68        8   deposition remotely. The reporter, Michael
 9    EXHIBIT 5 Email with Bates Bates WI3025 to 3030.......70        9   D'Amato, also will not be in the same room and will
10    EXHIBIT 6 Web page for LinkedIn.com/company/                   10   swear the witness remotely.
11    WiAutomation/people...................................80       11        Do all parties stipulate to the validity of
12    EXHIBIT 7 Screenshot of website page                           12   this video recording and the remote swearing and
13    US.WiAutomation.com/allen-Bradley/PLC-                         13   that it will be admissible in the courtroom as if
14    systems/controllogix/1756L71..........................98       14   it had boon taken following Rule 30 of the Federal
15    EXHIBIT 8 Web page for catalog product                         15   Rules of Civil Procedures and the state's rules
16    20YD460N0ANNANAO.....................................101       16   where this case is pending?
17    EXHIBIT 9 Web page for WiAutomation product catalog            17        MR. McLAUGHLIN: On behalf of Rockwell
18    number 9324-RLM0100ENM...............................104       18   Automation, yes.
19                                                                   19        MR. KASOLAS: Yes, on behalf of Parcorp.
20                                                                   20        THE VIDEOGRAPHER: Thank you. This marks the
21                                                                   21   beginning of the recorded media labeled No. 1 of
22                                                                   22   the remote video deposition of Luca Coppola in the
23                                                                   23   matter Rockwell Automation, Inc. v. Parcorp S.R.L.,
24                                                                   24   d/b/a WiAutomation entered in the United States
25                                                                   25   District Court for the District of Delaware, Case

                                       TSG Reporting - Worldwide· · 877-702-9580
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                                                        Page 6                                                        Page 7
 1                       LUCA COPPOLA                             1                     LUCA COPPOLA
 2        No. 21-1238-GBW-JLA.                                    2           THE INTERPRETER: I will do my best.
 3             Today's date is December 6, 2022 and the time      3 THEREUPON:
 4        in Rome, Italy is approximately 2:059 P.M. Central      4                       LUCA COPPOLA,
 5        European Time. Again, my name is Brian Hood and         5 being by me first duly sworn or affirmed through the
 6        I'm the legal videographer from TSG Reporting,          6 interpreter to tell the truth, the whole truth and
 7        Incorporated headquartered at 228 East 45th Street,     7 nothing but the truth, as hereinafter certified,
 8        New York, New York 10017. The court reporter is         8 responded and testified as follows:
 9        Michael D'Amato also in association with TSG            9           THE WITNESS: I do.
10        Reporting. Will counsel please introduce               10                     DIRECT EXAMINATION
11        yourselves for the record.                             11 BY MR. McLAUGHLIN:
12             MR. McLAUGHLIN: This is Neal McLaughlin of        12      Q. Mr. Coppola, good afternoon. My name is Neal
13        Alston & Bird on behalf of Rockwell Automation.        13 McLaughlin. I'll be asking you the questions today.
14             MR. KASOLAS: Good morning. Bob Kasolas from       14 Have you ever been deposed before?
15        the law firm of Brach Eichler LLC on behalf of         15      A. No.
16        Parcorp doing business as WiAutomation. Nice to        16      Q. So today if there are any questions that I ask
17        meet you.                                              17 that are unclear to you would you please let me know so
18             THE VIDEOGRAPHER: The court reporter will now     18 that I can clarify them?
19        swear in or affirm the witness and interpreter.        19      A. Of course.
20    THEREUPON,                                                 20      Q. And if you answer a question is it fair to
21                      ROSANNA GILIBERTI,                       21 assume that you understood the question?
22    being by me first duly sworn or affirmed to truly and      22      A. Yeah.
23    accurately translate the questions in English to Italian   23      Q. What did you do to prepare for today's
24    and the answers in Italian to English, as hereinafter      24 deposition?
25    certified, responded and testified as follows:             25      A. I spoke with my Italian attorney and with my
                                                        Page 8                                                        Page 9
 1                       LUCA COPPOLA                        1                          LUCA COPPOLA
 2    brother.                                               2           Q. So your father owns restaurants and you were
 3        Q. What is the name of your Italian attorney?      3       managing those?
 4        A. Nico Palumbo.                                   4           A. Yes.
 5        Q. Did you review any documents in preparation     5           Q. Did you have any employment before that?
 6    for today?                                             6           A. No, I was studying.
 7        A. No.                                             7           Q. Where were you studying?
 8        Q. Approximately how long did you spend with Mr.   8           A. The high school here in Italy.
 9    Palumbo?                                               9           Q. Did you go to university?
10        A. About an hour this morning.                    10           A. Yes.
11        Q. How much time did you spend with your brother 11            Q. Which university?
12    to prepare for today?                                 12           A. In Bologna.
13        A. Same time.                                     13           Q. Did you receive a degree from the University?
14        Q. Is your brother Fulvio Coppola?                14           A. No, I only attended one year.
15        A. Yes.                                           15           Q. So after high school the only two jobs that
16        Q. What is your current occupation?               16       you've had are first managing your father's restaurants
17        A. I manage the warehouse.                        17       and second at Parcorp?
18        Q. For what company?                              18           A. Yes.
19        A. Parcorp S.R.L.                                 19           Q. How long ago did you start working at Parcorp?
20        Q. Before you managed the warehouse at Parcorp    20           A. 2017.
21    what was your employment, if any?                     21           Q. Did Parcorp exist before 2017?
22        A. I was managing the restoration [sic] places of 22           A. No.
23    my father's.                                          23           Q. So you've worked at Parcorp since the
24        Q. What do you mean the restoration places?       24       beginning of Parcorp?
25        A. Restaurants.                                   25           A. Yes.

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                                          5341
                                                   Page 30                                                       Page 31
 1                     LUCA COPPOLA                           1                      LUCA COPPOLA
 2      Q. But you don't know for sure who sealed the         2   other brand products from those same sources?
 3 boxes?                                                     3            MR. KASOLAS: Objection to form.
 4      A. If it arrives sealed I do not know who sealed      4       A. Yes.
 5 it.                                                        5       Q. But they come in different boxes?
 6           MR. McLAUGHLIN: Let's take a five-minute         6       A. Yes.
 7      break.                                                7       Q. Do you know why that is?
 8           THE VIDEOGRAPHER: The time is 2:59 p.m. and      8       A. No.
 9      we're off the record.                                 9            MR. KASOLAS: Objection to form.
10           (Recess taken in the proceedings)               10       A. No, I do not know the reason why they are in
11           THE VIDEOGRAPHER: This is the start of media    11   different boxes.
12      labeled No. 2. The time is 3:06 p.m. and we're       12       Q. These pieces of paper that you receive from
13      back on the record.                                  13   Fulvio to compare against the shipments that you
14 BY MR. McLAUGHLIN:                                        14   receive, what do you do with the pieces of paper after
15      Q. For the boxes that you receive that contain       15   you are through with them.
16 Rockwell Automation products, are there ever any other    16       A. Put them in a folder.
17 products with different brands in that same box?          17       Q. Where is that folder?
18           MR. KASOLAS: Objection to form.                 18       A. In the warehouse.
19      A. No.                                               19       Q. So there's a folder of shipment documents that
20      Q. So the boxes that you receive with Rockwell       20   say what's in the shipments that Parcorp receives?
21 Automation parts, it's always only Rockwell Automation    21       A. Yes, there is a folder. And then when the
22 parts, right?                                             22   folder gets full and there is too much in it I destroy
23      A. Yes.                                              23   what's in it.
24      Q. For the sources that you receive Rockwell         24       Q. When was the last time you destroyed what was
25 products from do you know if WiAutomation purchases       25   in that folder?
                                                   Page 32                                                       Page 33
 1                       LUCA COPPOLA                         1                      LUCA COPPOLA
 2        A. I don't know. I destroy it when the folder is    2       Q. Is there a shelf for used Rockwell Automation
 3    full, but I don't look, I don't see how long ago I      3   products?
 4    destroyed it.                                           4       A. Used products go all together.
 5        Q. Were any of the documents from the folder        5       Q. Is there a shelf for new Rockwell Automation
 6    provided to your lawyers?                               6   products?
 7             THE INTERPRETER: I'm sorry, was it "by your    7       A. Yes.
 8        lawyers"?                                           8       Q. Is there more than one shelf for new Rockwell
 9        Q. Were any of the documents in the folder          9   Automation products?
10    provided to your lawyers in this case?                 10       A. No. A shelf is divided -- a shelf is divided
11             THE INTERPRETER: Thank you.                   11   by -- has five shelfs.
12        A. I don't know. Fulvio talks to the attorney.     12            THE INTERPRETER: This is the interpreter. In
13        Q. Did you yourself receive any requests for       13       Italian shelf can mean the whole shelf or it can
14    these documents in connection with this case?          14       also mean like one shelf, like a specified. So I
15        A. No.                                             15       will interpret what I understood and then you go
16        Q. So after you open the boxes and you see what    16       from there.
17    the products are, what do you do with them?            17            MR. McLAUGHLIN: Thank you.
18        A. I already answered. I place them on the         18       A. Each shelf has five shelves.
19    shelves.                                               19       Q. Approximately how many Rockwell Automation
20        Q. Do you place the products on a particular       20   products are on the shelf at any one time?
21    shelf?                                                 21       A. More or less I think about 50, but I cannot
22        A. Yes, I give it to Danilo. Danilo knows that     22   tell you precisely.
23    he has to separate them by brands.                     23       Q. Is part of your responsibility at WiAutomation
24        Q. Is there a separate shelf for used products?    24   taking products off of the shelf to ship to customers?
25        A. Yes.                                            25       A. Yes, it is my responsibility, but I tell to

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                                                     Page 34                                                        Page 35
 1                      LUCA COPPOLA                           1                      LUCA COPPOLA
 2    the other guys.                                          2    together.
 3        Q. When a product -- sorry. Strike that.             3        Q. When you're preparing a shipment to a customer
 4             When a customer orders a Rockwell Automation    4    that includes Rockwell Automation products, how do you
 5    product are there different parts of your inventory      5    know which products to include in a package?
 6    that go to customers in the United States versus the     6             MR. KASOLAS: Objection to form.
 7    rest of the world?                                       7        A. Fulvio will give me the information for the
 8        A. Outside from where?                               8    order and the products to put in.
 9        Q. When you ship a Rockwell Automation product to 9           Q. Does this information for the order come in a
10    a customer do you look to see where it goes?            10    piece of paper?
11             MR. KASOLAS: Objection to form.                11        A. No.
12        A. Yes.                                             12        Q. How do you receive the information from
13        Q. What do you do with that information?            13    Fulvio?
14        A. I have to place the label on the box, on the     14        A. On my PC.
15    package so that the client receives it.                 15        Q. Is there a particular computer program that
16        Q. In your inventory of Rockwell Automation         16    you use to receive this information from Fulvio?
17    products do you have one part of the inventory that's   17        A. No. We send messages via WhatsApp.
18    for customers in the United States and another part of 18         Q. Does Fulvio work in the same building that you
19    the inventory that's for customers in other countries   19    do?
20    of the world?                                           20        A. Yes.
21        A. No.                                              21        Q. Does he work upstairs?
22        Q. So the inventory that you have at WiAutomation 22          A. What do you mean upstairs?
23    for Rockwell Automation products is all mixed together? 23        Q. Where in the building does Fulvio work?
24             MR. KASOLAS: Objection to form.                24        A. He works in the office.
25        A. Yes, our products on the inventory are all       25        Q. So when a shipment needs to get sent to a
                                                     Page 36                                                        Page 37
 1                       LUCA COPPOLA                           1                      LUCA COPPOLA
 2    customer, Fulvio sends you a WhatsApp message with the    2       Q. Where do you receive the information for the
 3    information for what is supposed to go inside the         3   labels from?
 4    package?                                                  4       A. Always via message from my brother.
 5        A. Yes.                                               5       Q. And these messages with the shipping
 6        Q. Do you ever receive that information any other     6   information are received by WhatsApp also?
 7    way from Fulvio?                                          7       A. Yes.
 8        A. No.                                                8       Q. These WhatsApp messages from your brother,
 9        Q. The entire time that you've worked at Parcorp      9   would they include the brand name of the products that
10    as the warehouse manager you've always received          10   you're preparing for shipment?
11    shipping information from your brother via WhatsApp?     11       A. Yes.
12        A. No, also by voice.                                12       Q. Is it ever the case that you receive
13        Q. Was there a time when you and your brother        13   information for a shipment and you do not have the
14    worked in the same part of the building that you could   14   products on hand at that time?
15    speak order information to one another?                  15       A. Yes, it happened.
16        A. Yes, in the old office.                           16       Q. What do you do in those cases?
17        Q. You mentioned a PC. Is there a computer in        17       A. I answer that I do not have it.
18    the warehouse that you use?                              18       Q. Do you know what happens next?
19        A. Yes, I already said yes.                          19            THE INTERPRETER: I'm sorry, the interpreter
20        Q. Other than receiving WhatsApp messages from       20       could not hear the full answer.
21    your brother, do you use the computer in the warehouse   21       A. Of course. I think it needs to be bought,
22    for anything else?                                       22   purchased.
23        A. Yes.                                              23       Q. For all of the purchases that WiAutomation's
24        Q. What else do you use it for?                      24   customers make do all of those products go through your
25        A. I use it to print labels.                         25   warehouse?

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                                                    Page 38                                                        Page 39
 1                      LUCA COPPOLA                         1                        LUCA COPPOLA
 2        A. Yes.                                            2         Q. We talked earlier that you sometimes send
 3        Q. So WiAutomation does not arrange for drop       3     emails to customs officers. Do you send emails to
 4    shipping from any of your sources to any of your       4     anyone else?
 5    customers directly?                                    5         A. No, I do not send messages other places, but
 6        A. No.                                             6     it happened very few times to send messages to customs.
 7        Q. Do you use packaging material in the packages   7         Q. So the only emails that you send are to
 8    that you send to customers?                            8     customs?
 9        A. Of course.                                      9         A. I sent to customs and sometimes to some
10        Q. Is any of that packaging antistatic packaging? 10     courier.
11        A. Only if products are open.                     11         Q. So the only emails that you send are to
12        Q. For any new products that you send out, do you 12     customs and to couriers?
13    include any antistatic packaging?                     13         A. Yes. By working in the warehouse that's all I
14        A. Sometimes yes, but the majority of products    14     need to do with the email.
15    already have the antistatic paper inside the box. But 15         Q. Do you use the computer for anything else?
16    I am not sure. But yes, sometimes it happens.         16         A. No.
17        Q. The computer that's in the warehouse, do you   17         Q. From the computer are you able to look up
18    use it for anything other than sending and receiving  18     information about shipments?
19    WhatsApp messages and printing shipping labels?       19         A. I can produce labels for shipment, but -- what
20        A. Yes.                                           20     do you mean by if I can look information about the
21        Q. What do you use it for?                        21     shipments?
22        A. I use it to send email.                        22         Q. Using the computer in the warehouse are you
23        Q. Are these emails that you send on behalf of    23     able to look up what products should be included in any
24    WiAutomation?                                         24     particular shipment?
25        A. Yes.                                           25         A. No, as I said, Fulvio sends me the products
                                                    Page 40                                                        Page 41
 1                       LUCA COPPOLA                          1                      LUCA COPPOLA
 2    that need to be included in shipments.                   2   website. I don't remember if I saw anything about the
 3        Q. Using the computer in the warehouse are you       3   recall of a product.
 4    able to look up any of WiAutomation's purchases?         4       Q. When you receive a Rockwell Automation product
 5        A. No, in the warehouse computer I don't see the     5   from one of your sources is it a part of your
 6    purchases.                                               6   procedures to see whether or not that product is
 7        Q. In the computer at the warehouse are you able     7   subject to a recall?
 8    to look up any customer orders?                          8            MR. KASOLAS: Objection to form.
 9        A. No, as I said, Fulvio sends me the orders from    9       A. No. It's not my task to check if a product
10    customers.                                              10   was recalled or not because I think that when the
11        Q. Have you ever seen a Rockwell Automation         11   product arrives it was not recalled, if the product
12    recall notice?                                          12   arrives.
13        A. No. The products have been purchased. When       13       Q. Do you know whether WiAutomation's sources
14    we receive the products that were purchased I don't     14   check to see if a product has been recalled?
15    think there is any recall.                              15            MR. KASOLAS: Objection to form.
16        Q. Have you ever visited the Rockwell Automation    16       A. I think yes, because Fulvio tells me. Fulvio
17    website?                                                17   is the one who talks with the suppliers and they will
18        A. Yes, it happens that I saw it.                   18   tell him if a product was recalled or not.
19        Q. What have you seen on the Rockwell Automation    19       Q. Have you ever seen a Rockwell product safety
20    website?                                                20   notice?
21        A. Porfirio at the beginning showed me what was     21       A. When Porfirio showed me the website at the
22    talked about in this sector, in this industry.          22   beginning I might have for sure erased it.
23        Q. Have you ever seen a Rockwell Automation         23       Q. When you ship Rockwell Automation products to
24    recall notice on Rockwell's website?                    24   customers have you ever included a Rockwell product
25        A. I saw a long time ago the Rockwell Automation    25   safety notice in the box?

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                            Exhibit 10
                                                                           1                                                                           2

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 1                                   53451
 2                    IN THE UNITED STATES DISTRICT COURT                       2   APPEARANCES CONTINUED:

 3                       FOR THE DISTRICT OF DELAWARE                           3

 4   ROCKWELL AUTOMATION,           )                                           4                  YOUNG CONAWAY STARGATT & TAYLOR
     INC.,                          )                                                              BY: PILAR GABRIELLE KRAMAN, ESQ.
 5                                  )                                           5
               Plaintiff,           )
 6                                  )    C.A. No. 21-1238-CFC-JLH               6                                     -and-
       v.                           )
 7                                  )                                           7                  BRACH EICHLER, LLC
     PARCORP S.R.L. d/b/a WI        )                                                              BY: BOB KASOLAS, ESQ.
 8   AUTOMATION,                    )                                           8                  BY: ERIC ALVAREZ, ESQ.
                                    )
 9             Defendant.           )                                           9                                Counsel for the Defendant

10                                                                             10

11                            Wednesday, March 30, 2022                        11
                                     10:00 a.m.
12                                 Teleconference                              12

13                                                                             13

14                                844 King Street                              14
                                Wilmington, Delaware
15                                                                             15

16     BEFORE: THE HONORABLE JENNIFER L. HALL                                  16
       United States District Court Judge
17                                                                             17                              _ _ _ _ _ _ _ _ _ _

18                                                                             18

19     APPEARANCES:                                                            19

20                                                                             20
                      HEYMAN ENERIO GATTUSO & HIRZEL
21                    BY: DOMINICK T. GATTUSO, ESQ.                            21

22                    -and-                                                    22

23                                                                             23
                      ALSTON & BIRD LLP
24                    BY: NEAL J. MCLAUGHLIN, ESQ.                             24

25                                 Counsel for the Plaintiff                   25




                                                                           3                                                                           4


 1                             P R O C E E D I N G S                            1   Mr. Kasolas will be doing the argument today.

 2                                                                              2                 THE COURT:    Very good.    Good morning to all of

 3          (Proceedings commenced via teleconference beginning                 3   you.

 4     at 10:00 a.m.)                                                           4                 So I can tell you that I've read all of the

 5                THE COURT:       Good morning, everyone.      This is         5   papers.     I think I have an understanding as to what's

 6     Jennifer Hall.    We are on the line today for a protective              6   going on here.     I'll give each side a chance to say

 7     order dispute.                                                           7   anything they want to add to the letters.

 8                This is Rockwell Automation versus                            8                 So it's basically mirror images of a dispute;

 9     WiAutomation.     It's Civil Action No. 21-1238-CFC-JLH.                 9   although, I understand there are different facts with

10                We have a court reporter on the line today.                  10   respect to the different attorneys proposed to be

11     The court reporter is Bonnie Archer.                                    11   receiving the information.

12                May I have appearances please for plaintiff                  12                 So let's hear from plaintiff first.      Go ahead

13     starting with Delaware counsel.                                         13   when you're ready, Counsel.

14                MR. GATTUSO:          Good morning, Your Honor.   It's       14                 MR. McLAUGHLIN:      Good morning, Your Honor.

15     Dominick Gattuso from Partner, Heyman Enerio Gattuso &                  15                 So you're right that the issues are similar,

16     Hirzel on behalf of Rockwell Automation.                                16   but I think that there's some important differences that

17                I also have with me on the line Neal McLaughlin              17   have come out in the briefing and that should be noted

18     from Alston & Bird.      And Mr. McLaughlin is going to speak           18   here.     The first, with respect to defendants' Italian

19     on behalf of Rockwell today, Your Honor.                                19   counsel, Mr. Palumbo.        We asked these basic questions of

20                THE COURT:        Very good.     Welcome.                    20   defendants:     Who he is, does he have any affiliation with

21                May I have appearances for defendant please                  21   the defendant, whether it's business or familial.           And,

22     starting with Delaware counsel.                                         22   you know, more information about what exactly his needs

23                MS. KRAMAN:      Good morning, Your Honor.    This is        23   are for plaintiff's highly confidential information.        And

24     Pilar Kraman at Young Conaway, and with me on the line is               24   there has been no real identification of a need for this

25     Bob Kasolas and Eric Alvarez of Brach Eichler, and                      25   highly confidential information.
                                                                        5                                                                         6

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 1         He's not -- Mr. Palumbo is not a trademark 53461 the litigation the way that Mr. Miller is.

 2   lawyer.   He's lot a litigator, it seems.       He's not entered        2               Here, it doesn't seem that he is involved in

 3   a declaration in support of any of the claims in the                    3   any of the actual litigation, just sort of communications

 4   letter briefs.    And we're still left with no real idea of             4   between the two U.S. law firms that they already have as

 5   why he needs this information or who he is.                             5   outside counsel and the principles of the company.

 6               With respect to Mr. Miller, he is a long time               6               For example, in their response to the letter

 7   employee of Rockwell Automation.        He's stated in the              7   briefing, they said that they need his feedback as to the

 8   declaration exactly what his involvement is and isn't, and              8   nature of WiAutomation's business.      Well, I mean, that

 9   he's a U.S. attorney.       He's bound by his ethical                   9   sounds like assisting them with discovery, which is

10   obligations to the Court.      And he has every intention of           10   another issue.   It doesn't require the need for Rockwell's

11   abiding by those.    And so I think every question has been            11   highly confidential information.

12   answered about Mr. Miller, but none really has about                   12               THE COURT:   Well, let me ask you this.   We were

13   Mr. Palumbo.                                                           13   talking about this in chambers the other day.   What do you

14               THE COURT:     Let me ask you about Mr. Palumbo.           14   anticipate that Rockwell is going to mark highly

15   Is part of your issue that he's an outside counsel?                    15   confidential here?

16               So there was an oral order cited by one of the             16               I mean, this is not a patent case, right?    What

17   parties from Judge Stark that talked about disclosure to               17   do you think you're going to be marking confidential;

18   an in-house counsel.     Would you have an issue with him if           18   what's the volume of stuff we're talking about?

19   he was in-house counsel?                                               19               MR. McLAUGHLIN:     We've laid it out in our

20               I mean, part of the issue here I think they're             20   response.   I think in the -- sorry, in our opening for the

21   saying is, we don't have in-house counsel, but we ought to             21   Mr. Palumbo letter.      And it's going to be composed

22   be able to have counsel of our choice in the country where             22   primarily of pricing information, the information

23   we are.                                                                23   regarding discounts to certain customers, and discounts

24               MR. McLAUGHLIN:    Well, I think we wouldn't have          24   between Rockwell and its authorized distributors.

25   an issue if he were in-house counsel and were involved in              25               And all of this information could be used by a




                                                                        7                                                                         8


 1   competitor or someone who's trying to compete with                      1   the way we speak English; although, they do a pretty good

 2   Rockwell and its authorized distributors to undercut us on              2   job.   And he's been critical in this case and will

 3   price.                                                                  3   continue to be critical in this case for us to evaluate

 4               There's also going to be highly confidential                4   the -- the information, the documents, the legal arguments

 5   internal procedures of Rockwell with regard to how it, for              5   being made by Rockwell, what legal arguments we want to

 6   example, maintains its inventory and the measures that it               6   take with our client.    We simply cannot do our job without

 7   does in-house to service warranty repairs.                              7   him.

 8               All of this information is highly confidential              8               So he says, we don't see the need for why

 9   and proprietary, and in the wrong hands, could put                      9   Mr. Palumbo is involved in the case.      He is absolutely

10   Rockwell at a great disadvantage.                                      10   pivotal and critical in our ability to represent this

11               THE COURT:     Okay.   All right.   Let's hear from        11   client.

12   the other side.                                                        12               And Your Honor's opinion in the Evertz

13               MR. KASOLAS:    Thank you, Your Honor.     Pleasure        13   Microsystems case, you know, is directly on point.      I find

14   to appear before the Court.        Bob Kasolas.    I'm going to        14   it very interesting and telling that the opposing side

15   apologize, I lost my voice the last couple of days.       So if        15   elected not to cite that case.

16   I'm scratchy, I regret it.                                             16               But that case is, I think, directly on point.

17               THE COURT:     You're fine.                                17   Your Honor made some good observations in that case.      One

18               MR. KASOLAS:      Thank you, Judge.     A couple of        18   is that even though it was a Canadian company seeking to

19   things.   I think that Your Honor hit a couple of nails on             19   provide its outside Canadian counsel with this alleged

20   the head.   One is that Mr. Palumbo is outside counsel,                20   highly confidential information, Your Honor noted the

21   he's not in-house counsel.     We're a small company.    But he        21   party involved is has a strong interest in choosing its

22   does serve a similar function to that of an in-house                   22   own counsel, citing the British Telecoms PLC case in the

23   counsel just to assist my client in reviewing all of the               23   Third District in 2019.      And Counsel's status as a

24   information, the facts, explaining the law to the client.              24   Canadian attorney was of no concern, since Mr. Palumbo, as

25   Obviously the client's Italian, they don't speak English               25   well, would have no problem agreeing to be bound by
                                                                          9                                                                      10

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 1  protective order submitted to this Court's jurisdiction to 53471 struggling as to why Mr. Palumbo needs to see it.

 2    enforce compliance in complying with Delaware Rules of                   2              So is there -- is there a way we can mediate

 3    Professional Conduct that permits foreign lawyers to                     3   this a little bit, work this out about what exactly you

 4    temporarily practice and appear before the Court.                        4   think Mr. Palumbo needs to see to be advising the client.

 5                 And the same with Judge Stark's opinion in the              5              I mean, if he doesn't need to see internal

 6    Onyx case.   The same with the District Court decision in                6   procedures of Rockwell.   Does he need to see this pricing

 7    iCeutica.    It's the same factual paradigm.                             7   information that they're talking about?      I mean, maybe

 8                 With respect to this argument that somehow                  8   there's no really no problem at all.      He can see the

 9    they're going to produce this very highly critical                       9   confidential information, but he can't see the highly

10    confidential information, the allegations in this case are              10   confidential information.

11    that somehow my client is selling knockoff products or                  11              Is there a particular document you think he

12    gray market products or packaging the price differently --              12   needs to see to be able to assist the client with the

13    they're open from their package and resealed.                           13   case?

14                 My client doesn't provide the same warranty                14              Can we talk about what those are today or can

15    that Rockwell provides.       My client doesn't provide the             15   we talk about those in the future if they come up?

16    same customer service.       I'm struggled with this entire             16              MR. KASOLAS:     We can talk about them both.

17    process to understand where Mr. McLaughlin's getting this               17              I mean, this case to me -- I think at some

18    confidential information he's planning on turning over to               18   point, Rockwell has to demonstrate that somewhere in the

19    us.   Because I don't think I've asked for some of this                 19   stream of commerce, my client is selling gray market goods

20    stuff.   So I'm not sure --                                             20   or knockoff goods, and they're not interchangeable terms.

21                 THE COURT:     I think that's where sort of --             21   And that was the critical issue.   And somehow my client is

22    this is sort of where I'm struggling.         So if you haven't         22   not providing the alleged quality control measures that

23    asked for it, I think that's sort of an implicit                        23   are supposed to accompany the product or is not, you know,

24    acknowledgment that you don't need it to defend the case.               24   honoring warranties.

25    And if you don't need it to defend the case, I'm                        25              I mean, I need Mr. Palumbo for that kind of




                                                                         11                                                                      12


 1    information to discuss it with him.        He needs to convey it         1   to the fact that we're open to some sort of negotiation

 2    to the client, and we can discuss it amongst all of                      2   here in one of our footnotes in the opening.   And that is

 3    ourselves to understand the legal impact, the legal                      3   that, you know, this pricing information is going to be

 4    arguments, the applicable law, the facts.                                4   core to our damages case.

 5                 THE COURT:     Absolutely.      Does he need the            5              You know, we come into this litigation with the

 6    plaintiff's pricing information?                                         6   benefit of having litigated all of these issues before in

 7                 MR. KASOLAS:     No.    The pricing information is          7   New Jersey and the ITC.   And we've done this case before,

 8    irrelevant unless Mr. McLaughlin's client is going to                    8   so we know what documents exist and that are going to be

 9    somehow argue that place in his argument of some likely to               9   essential to our case.

10    confuse in the marketplace or likely dilution or false                  10              So that's why we're, you know, bringing this to

11    origin of goods or something along those lines.                         11   the forefront now is that these highly confidential

12                 This is the first I'm hearing about pricing                12   documents are going to be at issue.

13    information, to be quite honest with you.                               13              So if there is some sort of middle ground --

14                 THE COURT:     All right.     Well, let's switch it        14   and again, we have no objection to Mr. Palumbo being

15    back over to Mr. McLaughlin real quick.                                 15   involved in this case.     What we do object to is him

16                 I'm hearing from Mr. Kasolas that they don't               16   receiving these highly confidential documents.

17    need to be showing Mr. Palumbo any pricing information.                 17              And so I think, you know, if we can draw that

18    Do you think this is something you all might be able to                 18   middle line where Mr. Palumbo would be allowed to review

19    work out?                                                               19   confidential, but not highly confidential, and then if

20                 I know you've negotiated sort of the general               20   there's a particular highly confidential document that he

21    terms of highly confidential information, but maybe you                 21   has a need to show and to receive, then we can discuss

22    can sort of redefine those in the proposed protective                   22   that at the appropriate time when we have that document in

23    order to accommodate the interest that both of you are                  23   front of us.

24    talking about.                                                          24              I think that --

25                 MR. McLAUGHLIN:        Yeah, and I think we alluded        25              THE COURT:     Okay.   Mr. Kasolas, what do you
                                                                          13                                                                         14

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 1  think about what we just heard from Mr. McLaughlin? 53481 a declaration from Mr. Palumbo as to who he is, what's his

 2               MR. KASOLAS:      It's refreshing.      It hasn't been         2   affiliation and any other questions that plaintiff has

 3    proposed previously.       I am very happy to try to work out             3   about his association with the defendant, to the extent

 4    some kind of a medium with Mr. McLaughlin as to the damage                4   there is one, aside from him just being their local

 5    calculation.                                                              5   Italian attorney.    That declaration needs to be signed and

 6                  I don't understand his damage calculation, to               6   under oath.

 7    be quite honest with Your Honor, but I'm certainly going                  7                 Mr. Palumbo will have to, if he receives any

 8    to work it out with him, if I can.         And to the extent I            8   confidential information, submit to the jurisdiction of

 9    think I need Mr. Palumbo to review the damage calculation,                9   the Court and sign an acknowledgement, which could be the

10    I'm going to need to compare, obviously, whatever price                  10   one that's set forth in the parties' proposed order.      Or

11    information Mr. McLaughlin's client is relying upon and                  11   if plaintiff has additional provisions they want to

12    juxtapose it to whatever figures my client has to find out               12   discuss with the defendant, the parties should discuss

13    that delta.     So...                                                    13   that as well.

14                  THE COURT:    So this -- yeah, no, and I get               14                 And then have a conversation with each other

15    that.   Here's what I'd like you to do, especially given                 15   about what the documents are and about what defendant

16    that Mr. McLaughlin has done the case before, it sounds                  16   really needs to be able to show to Mr. Palumbo to help

17    like we're at a different position than in a lot of                      17   defend the case.

18    litigation for we know exactly what documents exist and                  18                 And I'm inclined to say that there could be

19    what's going to be in them.                                              19   some pricing information that Mr. Palumbo might need to

20                  And so I think we might be able to get most of             20   help assist the client, as Mr. Kasolas pointed out today,

21    it resolved.    It sounds like there may be some issues with             21   that there is a strong interest in the client being able

22    pricing.                                                                 22   to retain an attorney of their choice.      And it doesn't

23                  What I'd like for you both to do is we will                23   have to be an attorney that an expert in the field or even

24    stick with Mr. Palumbo for now.          I need defendants to            24   a U.S. attorney, but I also understand plaintiffs' concern

25    provide the plaintiff some more information in the form of               25   about their confidential information.




                                                                          15                                                                         16


 1                  So I do think this should be able to be worked              1   highly confidential information if he agrees to be bound

 2    out with respect to Mr. Palumbo.                                          2   by the terms of the protective order?

 3                  Just sticking with Mr. Palumbo for a moment,                3                 MR. KASOLAS:   Thank you, Your Honor.

 4    are there any questions about what I just said from                       4                 So we were able to get extremely little

 5    Mr. McLaughlin?                                                           5   information about Mr. Miller leading up to the exchange

 6                MR. KASOLAS:      No problem at all, Your Honor.              6   with the Court and the letters that were submitted.

 7    And I can make it clear to the Court now and for                          7                 We were not ever made aware of the fact that

 8    Mr. McLaughlin that Mr. Palumbo has no affiliation with                   8   he's actually a senior officer of Rockwell Automated

 9    Parcorp.                                                                  9   Technology, LLC, which was never disclosed to us at any

10                  He's not a shareholder.      He's not an officer.          10   point in time.

11    He's not a director.       He's not a family member.       He            11                 In the interchange, for the first time ever

12    doesn't own any company that's an affiliate.          He doesn't         12   we -- I guess the term we use up here is sandbagging.        I

13    manage any company that's an affiliate.         He's strictly an         13   don't know what they call it down in Delaware.

14    outside independent attorney, who represents this client,                14                 But the certification was submitted for the

15    same exact way that I do.                                                15   first time from Mr. Miller setting forth what his alleged

16                  We will get that declaration for the Court                 16   roles are at Rockwell Automation and Rockwell Automation

17    though.                                                                  17   Technology, LLC.

18                  THE COURT:    Okay.     Great.   Any questions,            18                 But from our vantage point -- he's been there

19    Mr. McLaughlin?                                                          19   26 years.   He's the chief legal officer for intellectual

20                  MR. McLAUGHLIN:       None from me.                        20   property.   He's a vice president.    He heads another unit

21                  THE COURT:    Okay.     Very good.    All right.           21   in charge of licensing and intellectual property holdings.

22    Let's switch to Mr. Miller.          I think the ball is your            22                 It appears that he wears a lot of hats.   He's

23    Court, Mr. Kasolas.                                                      23   not just your stereotypical in-house attorney.        And in

24                  Given where we are with Mr. Palumbo, what's the            24   that capacity as an officer, director, a board member,

25    problem with having Mr. Miller have access to the clients'               25   running a division of Rockwell, overseeing all
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 1  intellectual property litigation and patents, I believe he 53491 authorized stream of commerce that they have a license to

 2    has certainly the capability of inadvertently disclosing                2   sell to with a parent company, in this case Rockwell.

 3    my client's confidential information to other individuals               3                 So what they're trying to do is they're trying

 4    or associates at Rockwell Automation.                                   4   to minimize and shrink the various channels and

 5                And I believe he's a competitive decision                   5   distribution numbers for their product in the stream of

 6    maker.   I mean, they acknowledge in their papers he's in               6   commerce throughout the world, so they can control it.

 7    charge of licensing.                                                    7   They can price it better.    They can eliminate competition

 8                Well, our clients are competitors.       As much as         8   to the sale of their products to -- that they want to sell

 9    Rockwell wants to say we don't design anything, we don't                9   them.

10    make anything; that's true.        We don't.   We don't compete        10                 So there's a serious concern my client has

11    in that sector of the field or the trade.                              11   because Mr. Miller is not just in-house counsel, but he's

12                But we do compete in the distribution network              12   an actual officer of the company.       He may be a director, I

13    phase of things, and they sell their products.         We sell         13   don't know.

14    our products.   We sell Rockwell products.         We sell             14                 He had this other -- he's in charge of

15    Rockwell competitor products.        Right.                            15   licensing which involved Rockwell's authorized

16                So absolutely my client is in direct                       16   distribution network; who they sell to, when they can

17    competition with Rockwell in the distribution sector of                17   sell, what they have to price things at.         That he is

18    these types of products.                                               18   really in charge of a campaign to eliminate competition in

19                And what we're concerned about is we believe               19   the field by companies like my client.

20    this case has been filed not because my client did                     20                 So I do believe there's a serious concern here

21    anything wrong, because they haven't, but it's been filed              21   that he is a competitive decision maker who's not just

22    because Rockwell's become increasingly frustrated with its             22   going to manage this litigation and help.        You know, the

23    authorized distribution throughout the world.                          23   Alston & Bird firm manages the case, litigate it, defend

24                They have what's called "leakers."      A leaker is        24   it, put papers together, do discovery, you know, frame

25    a term for an authorized distributor who sells outside the             25   their case.    But it's actually part of a mission to shut




                                                                        19                                                                          20


 1    down my client and other clients like him, who are                      1   product or is a gray market product because it doesn't

 2    competing with Rockwell in the distribution side of this                2   come with the bells and whistles that Rockwell products

 3    industry.                                                               3   are supposed to come with.

 4                THE COURT:     So I get -- I guess this is a                4                 They should have evidence in their possession

 5    question I have.   I think maybe I'm simplifying this too               5   already that they have come across that evidences that.

 6    much.                                                                   6   They can't use discovery as a fishing expedition and say,

 7                What you're worried about is that you don't                 7   okay, we want to know where you're getting your stuff from

 8    want them to find out where you're getting some of your                 8   because we think you are violating the Lanham Act or you

 9    products; is that fair to say?                                          9   are selling what we consider gray market.         They should

10                MR. KASOLAS:    That's correct because what they           10   have that already.

11    can do is they can go --                                               11                 I think they should have to first demonstrate

12                THE COURT:     Yeah.   So the problem I guess I'm          12   that to the Court somehow through the discovery process

13    having is like isn't that -- isn't that the case?                      13   that they have evidence that we have done this in the

14                Doesn't he need to have that information for               14   chain of commerce.

15    the case, and isn't that going to come out as part of                  15                 Because what they can't do is not have that in

16    discovery in the case?                                                 16   their possession and then use this case as a fishing

17                I mean, who else at the company, for their                 17   expedition to find out who is actually selling to us to

18    side, is going to know whether or not people are                       18   try to shut them down, so we don't compete with Rockwell.

19    distributing the products that are supposed to be                      19                 We actually sell legitimate, authentic,

20    distributing the products without asking them?                         20   unpackaged Rockwell products, Judge.         We do not sell

21                MR. KASOLAS:    Their allegation -- and they were          21   knockoff products, as Rockwell alleges in this case.

22    required to conduct due diligence before filing this                   22                 THE COURT:   All right.    I think I understand

23    lawsuit and to do background -- is that we are selling                 23   your position.    Let me turn it over to Mr. McLaughlin for

24    products into the field of commerce, into the stream of                24   the last word.

25    commerce that is labeled Rockwell but is not a Rockwell                25                 I'm hearing some concern from Mr. Kasolas about
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 1  your discovery request. Is this a protective order issue 53501 it, but they didn't.

 2   and is there anything else you want to say in response to             2                 So we need to litigate this case and go through

 3   Mr. Kasolas' comment about Mr. Miller being a competitive             3   discovery.    And Mr. Miller needs to be a part of that.

 4   decision maker?                                                       4                THE COURT:    Okay.    So I'm ready to rule on the

 5               MR. McLAUGHLIN:     This is Mr. McLaughlin.               5   portion of the dispute involving Mr. Miller.

 6               I think Your Honor hit it right on the head is            6                 The concerns I'm hearing from the defendant are

 7   that these issues about where defendant is getting its                7   not really protective order issues, and based on the

 8   product are core to their defense.                                    8   arguments today and the arguments in the paper, papers, I

 9               And, you know, if Rockwell can't know where               9   agree with plaintiff that it's appropriate for Mr. Miller

10   they're getting their product from, how do -- how does               10   to have access to this information in order to adequately

11   Rockwell expect it to litigate the case?       That's what it        11   represent the client.

12   really comes down to.                                                12                 I'm not seeing in the papers that there's a

13               I think the Hyundai Motor case that we cited in          13   serious risk of inadvertent disclosure based on the

14   our responsive brief took this issue head on and said                14   records before the Court.       And, of course, Mr. Miller has

15   yeah, an accused gray marketer, their sources are                    15   also agreed to undertake the acknowledgement attached to

16   direct -- are essential to the claims and defenses.       And        16   the proposed protective order.

17   so in-house counsel should be allowed to see that                    17                 So I think that resolves both issues here

18   information.                                                         18   today.   If there are any remaining issues about

19               Something Mr. Kasolas said, you know, really             19   Mr. Palumbo, and I don't anticipate that there will be

20   goes to the heart of it.      And that is if people are              20   based on what I was hearing today, you can raise those by

21   selling Rockwell products that are unauthorized to do so,            21   filing another motion for a teleconference.

22   that's trademark infringement.    And that's why we're here.         22                 Any questions from plaintiff?

23               So, you know, this isn't a fishing expedition.           23                 MR. McLAUGHLIN:      No questions, Your Honor.

24   You know, if defendant had any doubts as to the statements           24                 THE COURT:     Any questions from defendant?

25   made in our complaint, they could have moved to dismiss              25                 MR. KASOLAS:    None, Your Honor.    Thank you so




                                                                     23                                                                          24


 1   much for your time and courtesy today.      Greatly                   1

 2   appreciated.                                                          2                     CERTIFICATE OF COURT REPORTER

 3               THE COURT:   Thanks to everyone.     Good to hear         3

 4   from you.   Take care.                                                4        I hereby certify that the foregoing is a true and

 5      (The proceedings concluded at 10:26 p.m.)                          5   accurate transcript from my stenographic notes in the

 6                                                                         6   proceeding.

 7                                                                         7
                                                                                                                      /s/ Bonnie R. Archer
 8                                                                         8                                          Bonnie R. Archer, RPR
                                                                                                                      Official Court Reporter
 9                                                                         9                                          U. S. District Court

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   CERTAIN INDUSTRIAL AUTOMATION SYSTEMS AND               Inv. No. 337-TA-1074
   COMPONENTS THEREOF INCLUDING CONTROL
   SYSTEMS, CONTROLLERS, VISUALIZATION
   HARDWARE, MOTION CONTROL SYSTEMS,
   NETWORKING EQUIPMENT, SAFETY DEVICES, AND
   POWER SUPPLIES

                               PUBLIC CERTIFICATE OF SERVICE

          I, Lisa R. Barton, hereby certify that the attached COMMISSION OPINION has been
   served by hand upon the Commission Investigative Attorney, Brian Koo, Esq., and the
   following parties as indicated, on April 24, 2019.




                                                  Lisa R. Barton, Secretary
                                                  U.S. International Trade Commission
                                                  500 E Street, SW, Room 112
                                                  Washington, DC 20436

   On Behalf of Complainants Rockwell Automation, Inc.:

   Adam D. Swain                                                ☐ Via Hand Delivery
   ALSTON & BIRD LLP                                            ☒ Via Express Delivery
   950 F Street NW                                              ☐ Via First Class Mail
   Washington, DC 20004
                                                                ☐ Other:_____________

   Respondents

   Fractioni (Hongkong) Ltd.                                    ☐ Via Hand Delivery
   #327 Siping Road                                             ☒ Via Express Delivery
   Shanghai 200092                                              ☐ Via First Class Mail
   China
                                                                ☐ Other:_____________


   GreySolution Limited d/b/a Fibica                            ☐ Via Hand Delivery
   Unit B601, 6/F Block A                                       ☒ Via Express Delivery
   Universal Ind. Ctr.                                          ☐ Via First Class Mail
   19-25 Shan Mei St Sha Tin,
                                                                ☐ Other:_____________
   Fo Tan, Hong Kong


   KBS Electronics Suzhou Co, Ltd.                              ☐ Via Hand Delivery
   Block 7&43, No. 328 Hengyong Road,                           ☒ Via Express Delivery
   Jiading district, Shanghai, China, 201806                    ☐ Via First Class Mail
                                                                ☐ Other:_____________
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   CERTAIN INDUSTRIAL AUTOMATION SYSTEMS AND               Inv. No. 337-TA-1074
   COMPONENTS THEREOF INCLUDING CONTROL
   SYSTEMS, CONTROLLERS, VISUALIZATION
   HARDWARE, MOTION CONTROL SYSTEMS,
   NETWORKING EQUIPMENT, SAFETY DEVICES, AND
   POWER SUPPLIES
   Certificate of Service – Page 2

   Shanghai EuoSource Electronic Co., Ltd              ☐ Via Hand Delivery
   Block 43, No. 328, Hengyong Road                    ☒ Via Express Delivery
   Jiading District                                    ☐ Via First Class Mail
   Shanghai, China 201806
                                                       ☐ Other:_____________


   ShenZhen T-Tide Trading co., Ltd.                   ☐ Via Hand Delivery
   Room A-60S, Block.lexi.                             ☒ Via Express Delivery
   Minle industrial park                               ☐ Via First Class Mail
   Mei Ban Road '
                                                       ☐ Other:_____________
   Longhua District, Shcnzhen 51803 1
   China


   SOBuyCommercial (HK) Co. Limited                    ☐ Via Hand Delivery
   Flat B G/F Yeung Yiu Chung (No. 6)                  ☒ Via Express Delivery
   Ind. Bldg. No. 19 Chetmg Shun Street                ☐ Via First Class Mail
   Lai Chi Kok Kowloon
                                                       ☐ Other:_____________
   Hong Kong


   Suzhou Yi Micro Optical C0., Ltd.                   ☐ Via Hand Delivery
   d/b/a Suzhou Yiwei Guangxue Youxiangongsi           ☒ Via Express Delivery
   d/b/a Easy Micro-optics C0. LTD.                    ☐ Via First Class Mail
   Office Building 5F, 91 Weixin Rd
                                                       ☐ Other:_____________
   Suzhou, SIP, Jiangsu
   China, 215021


   Yaspro Electronics (Shanghai) Co., Ltd.             ☐ Via Hand Delivery
   Room 1808E,,No. 488, Vaohua Road                    ☒ Via Express Delivery
   Pudong New District                                 ☐ Via First Class Mail
   Shanghai, China
                                                       ☐ Other:_____________

   Can Electric Limited                                ☐ Via Hand Delivery
   No. 2 Danan Rd, Yueziu District                     ☒ Via Express Delivery
   Guangzhou, Guangdong, 510115                        ☐ Via First Class Mail
   China
                                                       ☐ Other:_____________
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                            Exhibit 13
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                                                                                                       1   Honor.
                1                    IN THE UNITED STATES DISTRICT COURT                               2                THE COURT:     Good morning.         Okay.       So
                2                     IN AND FOR THE DISTRICT OF DELAWARE                              3   we've got a couple things we need to figure out
                3                                                                                      4   here today.     I think what I'd like to start
                               ROCKWELL AUTOMATION, INC.,     )
                4                                             )                             11:06AM    5   with is just figure out what the status is
                               --------------------Plaintiff, )
                5                                             ) Case No.                               6   today of the discovery and any deficiencies
                                      vs.                     ) 21-CV-1238-CLC-
                6                                             ) JLH                                    7   that Plaintiff thinks exists, and we'll figure
                                                              )
                7              PARCORP s.r.l.,                )
                                                              )                                        8   out what needs to be done, and then we'll move
                8              --------------------Defendant. )
                                                                                                       9   on to what the Court should order about any
                9
                                      TRANSCRIPT OF DISCOVERY CONFERENCE                    11:06AM   10   past or present deficiencies.
               10
                                                                                                      11            So let's hear from Plaintiff.    I
               11                     DISCOVERY CONFERENCE had before the
                                                                                                      12   understand you've gotten some interrogatory
               12              Honorable Jennifer L. Hall, U.S.M.J., via
                                                                                                      13   responses in or around the same moment that you
               13              teleconference on the 15th of June, 2022.
                                                                                                      14   filed your letter.    So you've had a chance to
               14
                                                                                            11:06AM   15   look at those now, so why don't you take it
               15                                  APPEARANCES
               16                     HEYMAN ENERIO GATTUSO & HIRZEL, LLP
                                                                                                      16   real slow and walk me through exactly what it
                                          BY: DOMINICK GATTUSO, ESQ.
               17                                                                                     17   is you don't think you got that you're entitled
                                                      -and-
               18                                                                                     18   to.
                                     ALSTON & BIRD LLP
               19                         BY: NEAL MCLAUGHLIN, ESQ.                                   19                MR. MCLAUGHLIN:       Good morning, Your
               20                                         Counsel for Plaintiff             11:06AM   20   Honor.     Thank you.    This is Neal McLaughlin.
               21                                                                                     21            So, yeah, we did receive those
                                     YOUNG, CONAWAY, STARGATT & TAYLOR
               22                         BY: ROBERT VRANA, ESQ.                                      22   supplemental interrogatory responses shortly
               23                                     -and-                                           23   before we filed that letter last week, and, you
               24                    BRACH EICHLER LLC                                                24   know, we still don't have the basic information
                                          BY: BOB KASOLAS, ESQ.
               25
                                                          Counsel for Defendant
                                                                                            11:07AM   25   we need to prosecute this case, and it starts

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                                                                                                           Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz
                                                                               2                                                                                     4
           1                     THE COURT:        Good morning, everyone.                             1   with, for example, interrogatory number two.
           2        This is Jennifer Hall.      We're here for a                                       2   We asked them to identify their sources of the
           3        teleconference in Rockwell Automation versus                                       3   accused products.       They identified three
           4        Parcorp.     It's Civil Action Number                                              4   sources, which is fine if those are the three
11:05AM    5        21-1238-CFC-JLH.                                                        11:07AM    5   sources.
           6                May I have appearances, please, for                                        6            But then interrogatory number three asks
           7        Plaintiff, starting with Delaware counsel.                                         7   for each of those sources that you identified,
           8                     MR. GATTUSO:         Good morning, Your                               8   provide us the name of the product, the
           9        Honor.     It's Dominck Gattuso from Heyman,                                       9   quantity obtained, and the price paid.            And the
11:05AM   10        Enerio, Gattuso, and Hirzel on behalf of                                11:07AM   10   response that Defendants provided was just a
          11        Rockwell.     I have with me on the line Neal                                     11   list of a couple dozen part numbers and a
          12        McLaughlin from Alston and Bird, and                                              12   price.    It didn't identify where they got these
          13        Mr. McLaughlin is going to present today.                                         13   products from, how many.        And it's this type of
          14                     THE COURT:       Good morning to all of                              14   thing that carries through the remainder of the
11:05AM   15        you.                                                                    11:08AM   15   responses.     We're just a bit frustrated that we
          16                May I have appearances, please, for                                       16   can't get answers to those simple questions.
          17        Defendant.                                                                        17                THE COURT:     I get that.       So 'rog
          18                     MR. VRANA:       Good morning, Your Honor.                           18   three says name of these products, where you --
          19        This is Rob Vrana of Young Conaway.               I am                            19   which source you got it from, how many you got,
11:05AM   20        filling in this morning for Ms. Kraman, who                             11:08AM   20   and the price you paid.      And so you got some
          21        asked me to send her apologies.              She is                               21   names of products and a price, but it doesn't
          22        currently in the air on a flight.         And I'm                                 22   say how many or where you got it from; right?
          23        joined this morning by Bob Kasolas from New                                       23                MR. MCLAUGHLIN:      That's right.
          24        Jersey, from Brach Eichler in New Jersey.                                         24   That's right, Your Honor.
11:06AM   25                     MR. KASOLAS:         Good morning, Your                    11:08AM   25                THE COURT:     Can we walk through the
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           1   rest. Because I want to be real specific here                     1   in their response to interrogatory number five.
           2   about what needs to happen because general                        2              THE COURT: Got it. Okay. You know
           3   orders and broad strokes don't seem to be                         3   there's more based on the numbers don't add up,
           4   effective here for this case. So let's move                       4   and you know there's more based on you've got
11:08AM    5   on.                                                    11:10AM    5   independent information there was other sales.
           6          Is four okay, or is there something you                    6              MR. MCLAUGHLIN: That's correct.
           7   need about four?                                                  7              THE COURT: Okay. Got it.
           8              MR. MCLAUGHLIN: Four, I don't think,                   8         And you said there's also, with respect
           9   if I'm remembering correctly, was not the                         9   to the eight sales that are in interrogatory
11:08AM   10   subject of your prior May 2nd order.                   11:11AM   10   number five, you're missing some of the
          11              THE COURT: Okay.                                      11   requested information as well? Did I hear you
          12              MR. MCLAUGHLIN: I think we can skip                   12   say that?
          13   to interrogatory number five.                                    13              MR. MCLAUGHLIN: Yes. You know, for
          14              THE COURT: Five. Okay.                                14   those products, we don't have any of the
11:09AM   15              MR. MCLAUGHLIN: It requests the same        11:11AM   15   purchase information. Those --
          16   type of information about the accused products,                  16              THE COURT: Got it.
          17   the quantity, the condition code, the date of                    17              MR. MCLAUGHLIN: -- appear to be just
          18   purchase, purchase price, purchase source, but                   18   the sales information, but none of the purchase
          19   it also asks about the selling of those                          19   information.
11:09AM   20   products, the customer name, the discounts, and        11:11AM   20              THE COURT: Got it. All right. And
          21   the sale price and the date of sale. And all                     21   then what's the next one?
          22   we got from Defendants was -- I think we have                    22              MR. MCLAUGHLIN: Well, we can go to
          23   here eight different sales of particular                         23   interrogatory number six. We've asked them to
          24   products and then for the remainder of the                       24   identify the gross revenue, costs, expenses,
11:09AM   25   sales, they point us to their website for their        11:11AM   25   and profits of re: Automation, the whole
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                                                                6                                                                   8
           1   current offerings. We have no information as                      1   company, not just for the accused products on a
           2   to the remainder of the sales of the accused                      2   quarterly basis. And they've only provided us
           3   products from Defendants.                                         3   annual numbers, and they have not included any
           4              THE COURT: I guess there might only                    4   numbers at all for 2021.
11:09AM    5   be eight and then they've got a bunch in the           11:12AM    5              THE COURT: So okay. All right.
           6   warehouse; right? That's a possibility. We                        6   Next interrogatory.
           7   can ask them about that, but your view is you                     7              MR. MCLAUGHLIN: That's number seven.
           8   think there's more or --                                          8              THE COURT: Okay.
           9              MR. MCLAUGHLIN: Based on their                         9              MR. MCLAUGHLIN: We've asked them to
11:10AM   10   responses, I know that there's more. So when           11:12AM   10   identify revenue, costs, and expenses for the
          11   we get to interrogatory number six and number                    11   sale of the accused products, and all we got
          12   seven, it asks for their revenue attributable                    12   was just an approximate number, that 15 percent
          13   to the sales of the accused products, and in                     13   of their total numbers are attributed to
          14   2020 they say their gross revenue was                            14   Rockwell. It strikes me that they should have
11:10AM   15   3.5 million Euro, and then they say that the           11:12AM   15   more granular information than that approximate
          16   sale of the accused products are approximately                   16   number, and that's the number that we're asking
          17   15 percent of that. I don't think that amount                    17   for.
          18   of money is captured by the eight sales that                     18              THE COURT: Okay. Got it. Next one.
          19   they've identified here.                                         19              MR. MCLAUGHLIN: Interrogatory number
11:10AM   20              THE COURT: They never filed. Got            11:12AM   20   eight. We asked for the -- this is their
          21   you.                                                             21   inventory numbers that we've asked for. We've
          22              MR. MCLAUGHLIN: Yeah, and including                   22   asked for the purchase price and the condition
          23   sales that -- there's two sales in particular                    23   and the current value. We have a list of some
          24   that we know about that we provided them                         24   product numbers, some quantities, and then a
11:10AM   25   discovery about, and those sales are not listed        11:13AM   25   value that I don't know if it's the purchase
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           1   price, their current valuation, or something                      1   had just gotten it; right? So they were under
           2   else. So we just ask for, you know, clarity in                    2   a deadline to respond to the Court. I don't
           3   what information they're giving us here.                          3   know what time you gave it to them and what
           4               THE COURT: So you may all have a                      4   time they had to file, and, frankly, I don't
11:13AM    5   dispute about how current value might be               11:15AM    5   care.
           6   calculated. You just want to know what this                       6         Let's just figure out right now --
           7   number means that they've given you.                              7   because I'm looking at that, and I think it's
           8               MR. MCLAUGHLIN: Yeah, what are they                   8   pretty clear what it asks for, and it's missing
           9   giving us here? And you're right. We could                        9   some of this info. So can you get that info,
11:13AM   10   have disputes about that, but that's not ripe          11:15AM   10   and when can you do it?
          11   for discussion today.                                            11             MR. KASOLAS: Sure, Judge. If you
          12               THE COURT: Okay. All right. Next.                    12   look at interrogatory response supplemental
          13               MR. MCLAUGHLIN: I think that might                   13   number two, we disclose to them that our
          14   be it for the interrogatories that are -- that                   14   sources are Rockwell authorized distributors,
11:13AM   15   were the subject of the May 2nd order.                 11:16AM   15   Technology BSA, Sonepar Italia, and RS
          16               THE COURT: All right. And your                       16   Components s.r.l. So he knows who the sources
          17   letter referenced some issues about documents                    17   are for interrogatory number two.
          18   as well. I guess there's not a deadline yet                      18         Then you go to interrogatory number
          19   for substantial completion of document                           19   three. For each source identified in two,
11:14AM   20   discovery. Are there any disputes about                11:16AM   20   which we identified, he says -- I'm looking
          21   documents, or are you worried you might not get                  21   here -- identify for that source the quantity
          22   them?                                                            22   obtained and the price paid by Automation. So
          23               MR. MCLAUGHLIN: We received some                     23   we go bullet point by bullet point, every
          24   documents earlier this week. It was a single                     24   single product that we have purchased or sold,
11:14AM   25   PDF with 3,000 pages in it that appears to be          11:16AM   25   regarding Rockwell. I count 1, 2, 3, 4, 5, 6.
                                DEANNA WARNER, CSR                                                   DEANNA WARNER, CSR
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                                                             10                                                                    12
           1   just a bunch of e-mails all jumbled together in                   1             THE COURT: I see it too. I'm
           2   one PDF. We're working through getting the                        2   looking at the language of three, and it says
           3   appropriate metadata and other information for                    3   for each source provide the name of each
           4   that document, but I don't think that's ripe                      4   product obtained from that source. So I think
11:14AM    5   for today's discussion, but it's something             11:16AM    5   a reasonable reading of that, and maybe the
           6   that's on our radar.                                              6   only reasonable reading of that, is they want
           7               THE COURT: All right. I got it.                       7   to know which products you got from which
           8          All right. Let's turn it over to counsel                   8   sources. If you didn't understand that, that's
           9   for Defendant. Let's walk through here, these                     9   fine. When do you think you can get them that
11:14AM   10   interrogatories, and you can tell me what the          11:17AM   10   information?
          11   issue is.                                                        11             MR. KASOLAS: Judge, that's really
          12          So let's start with number three. That                    12   burdensome to go and figure out where he got a
          13   wants you to link up the distributors to what                    13   specific product. He could have got it from
          14   they sold, how many, and how much. What's the                    14   multiple distributors, and that's so tedious to
11:15AM   15   problem with putting that in the interrogatory         11:17AM   15   do.
          16   response, if it asks?                                            16         We did give them, though, 3,300 pages.
          17               MR. KASOLAS: Right, Your Honor.                      17   Mr. McLaughlin claims that they're e-mails.
          18   Thanks for your time today on this.                              18   There's tons of sales and purchase order
          19          This is the first time I'm hearing about                  19   information in those documents. They tell the
11:15AM   20   anything specific concerning supplemental              11:17AM   20   source, the purchase price, the sale price. He
          21   interrogatory responses because there's nothing                  21   has the information already in the document
          22   specific in the letter that was submitted to                     22   production.
          23   the Court on June 8th complaining about                          23         They produced 270 pages in response to
          24   my interrogatory responses so --                                 24   our document, most of which is a PowerPoint
11:15AM   25               THE COURT: What it appeared is they        11:17AM   25   presentation that they prepared internally at
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           1   Rockwell of what constitutes counterfeit goods.                   1          So again, the burdensome nature of this
           2   They produced one photograph of an alleged                        2   has to go to each product you've ever sold and
           3   product that they claim was a counterfeit                         3   find out how much you sold, the condition code,
           4   product or a trademark infringement that they                     4   which I don't know what that is, the date you
11:17AM    5   apparently took after they filed the complaint.        11:20AM    5   bought it, the date you sold it, the product
           6              THE COURT: We're not going to go                       6   source. I mean, this is really tedious stuff
           7   back through and replow old ground here.                          7   to put into an interrogatory.
           8              MR. KASOLAS: I'm not interested to                     8          We gave him 3,300 pages of buy/sell
           9   do that.                                                          9   information for the products we sold, who we
11:18AM   10              THE COURT: I'm asking you -- I'm            11:20AM   10   got it from, who we sold it to. That's
          11   looking at this list. I don't think it's                         11   where -- an exercise they're supposed to put
          12   responsive to interrogatory number three.                        12   together once they get the information. I
          13   You're going to need to answer interrogatory                     13   don't know how my client is going to go about
          14   number three with a chart that says for each                     14   putting together such detail.
11:18AM   15   type of product sold, where it got -- where it         11:20AM   15          So again, I will talk with them, and if
          16   came from, how many were sold. And if a                          16   it's not something they can put together, which
          17   certain type of product was sold and it was                      17   I suspect they can, I will get a declaration
          18   purchased from more than one distributor, that                   18   for the Court stating why they can't put that
          19   needs to be clear too so they can figure out                     19   together. If they can, we'll provide
11:18AM   20   exactly what you got and who it came from and          11:20AM   20   information. But to go product-by-product we
          21   how much you paid.                                               21   ever sold and say the amount, the quantity, the
          22          And maybe you paid different amounts over                 22   condition, the price, the sale, the source, the
          23   the course of time. I don't know the answer to                   23   customer name, the discount, I've never seen so
          24   that, but the chart needs to be able to reveal                   24   tedious in 20 years of practicing law for an
11:18AM   25   all that information. That's going to have to          11:20AM   25   interrogatory.
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
                     202 Ashfield Court, Smyrna, Delaware 19977                            202 Ashfield Court, Smyrna, Delaware 19977
               Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz                  Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz
                                                              14                                                                    16
           1   be answered within the next seven days and                        1              THE COURT: Here's the thing: If
           2   served on them.                                                   2   that can't be done, if it's in the information
           3          Let's move on to interrogatory number                      3   you've given them and it can't be done, the
           4   five. We have similar types of issues here.                       4   federal rules provide a very easy solution to
11:18AM    5   They want to know, they say, who these products        11:21AM    5   that problem, which is in Rule 33(d) that says,
           6   were sold to, customer names, and the sales                       6   "If the answer to an interrogatory may be
           7   price. Is there any issue with finding that                       7   determined by examining a party's business
           8   information?                                                      8   records, and if the burden will be
           9              MR. KASOLAS: Judge, yeah. First of                     9   substantially the same for either party, the
11:19AM   10   all, number three, I don't know if they can            11:21AM   10   responding party may answer by testifying the
          11   create that chart with the inventory software                    11   record must be reviewed" -- that's not in your
          12   and inventory protocols.                                         12   response -- "in sufficient detail to enable the
          13              THE COURT: I need to have a                           13   interrogating party to locate and identify them
          14   declaration from you that says why you can't do                  14   as readily as the responding party could."
11:19AM   15   it because one answer is, look, we don't keep          11:21AM   15          Your answer needs to include that, and it
          16   track of anything; right? Then that needs to                     16   needs to be signed.
          17   go into your interrogatory response and it                       17              MR. KASOLAS: Will do, Judge.
          18   needs to be signed under oath. Okay?                             18              THE COURT: Okay. I'm going to just
          19          If you can't answer it, I need somebody                   19   caution everybody if that's the path you're
11:19AM   20   to declare why and sign it under oath.                 11:22AM   20   going to take, everybody better be dang well
          21              MR. KASOLAS: Understood, Judge.                       21   sure that whatever records you specify contains
          22   Understood.                                                      22   the information they're looking for. If it
          23          With respect to five as well -- I'm just                  23   doesn't, some sort of explanation as to why
          24   getting -- just looking at my notes from what                    24   it's not there and why you couldn't find the
11:19AM   25   Mr. McLaughlin said.                                   11:22AM   25   information.
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
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               Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz                  Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz
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           1          Let's turn to number six. They say the                     1   It's factory sealed. The reason they produced
           2   problem here is that you haven't answered the                     2   it is because one or two seal numbers at the
           3   question as to 2021 because a financial                           3   end of the product were somehow erased or
           4   statement is not yet approved. What does that                     4   damaged.
11:22AM    5   mean? It means you have one, but it hasn't             11:25AM    5          How does he make that representation to
           6   been approved? Is there some reason why you                       6   the Court? His client produced nothing.
           7   can't just answer it and update it if the                         7   These -- the -- I would love to know how
           8   financial statement gets changed later?                           8   counsel can get on this call and say we think
           9              MR. KASOLAS: We don't want to                          9   there's more. They didn't produce anything.
11:22AM   10   provide something that's not accurate.                 11:25AM   10               THE COURT: Okay. Well --
          11              THE COURT: Write what you have in                     11               MR. KASOLAS: If I know where to look
          12   there and that it hasn't been approved and that                  12   for it, maybe he can enlighten me. Where is
          13   it's subject to change.                                          13   the more than eight sales coming from?
          14              MR. KASOLAS: Okay, Judge.                             14               THE COURT: If you've got an issue
11:23AM   15              THE COURT: Okay. Let's turn to              11:25AM   15   with their production, you can file a motion,
          16   number seven. Is there some reason why you                       16   and we'll go through that. What we're talking
          17   can't run the calculation and get a number                       17   about today is your responses, and I think I
          18   that's more accurate than approximately                          18   heard them say they think there's more based on
          19   15 percent?                                                      19   independent verification but also they think
11:23AM   20              MR. KASOLAS: I'm just catching up           11:25AM   20   there's more because they're looking at your
          21   here.                                                            21   other answers, and the numbers aren't adding
          22          Well, I don't think you can give a                        22   up.
          23   specific number because some products may have                   23          If the answer is you haven't gone through
          24   a higher cost of goods sold and margin, some                     24   the documents to compile the list, that's fine.
11:23AM   25   might have a lower one. They couldn't give a           11:25AM   25   Come up with a solution for that. But, again,
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
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                                                              18                                                                    20
           1   specific number. I believe that's why the                         1   if you're going to make a list of sales, it's
           2   option is 15 percent of gross revenue cost and                    2   got to be a complete list.
           3   production.                                                       3          All right. Let's move on to
           4              THE COURT: I'm not an accountant. I                    4   interrogatory number eight.
11:24AM    5   did take accounting for lawyers, but that was a        11:26AM    5               MR. KASOLAS: Just to be clear, Your
           6   multiple choice at the end, but my recollection                   6   Honor wants a chart for number five as well?
           7   of accounting is you can come up with some                        7   Unless it can't be --
           8   number and then make a disclosure about what                      8               THE COURT: I think we went through
           9   that number is, so have a number with a decimal                   9   this. It's either got to be a chart or it's
11:24AM   10   point in it.                                           11:26AM   10   got to comply with the rules for responding.
          11              MR. KASOLAS: Yes, Judge.                              11               MR. KASOLAS: Thank you, Judge.
          12              THE COURT: All right. Let's move on                   12               THE COURT: Okay. Are we ready to
          13   to -- by the way, I think I forgot. Let's move                   13   move on to eight?
          14   back to five. Apologies.                                         14               MR. KASOLAS: Yes, Your Honor.
11:24AM   15          They think there's more than eight sales.       11:27AM   15               THE COURT: All right. So in eight,
          16   So, again, if the point here is that it's in                     16   identify client name, quantity, condition,
          17   the documents you gave them, that needs to be                    17   purchase price, storage location, and value of
          18   clear as well.                                                   18   current inventory. They say that this
          19              MR. KASOLAS: Judge, for the record,                   19   number -- they just want to know what these
11:24AM   20   for the record, I don't know how Mr. McLaughlin        11:27AM   20   numbers mean. You've got a person says 2,700
          21   can make that representation as an officer of                    21   Euros. What's that? Is that how you value it?
          22   the court. They produced a photograph of one                     22   What you paid for it? What you're going to
          23   box, one product, that they bought somehow                       23   sell it for? I'd like to see you put that
          24   after this lawsuit was filed. It's a Rockwell                    24   information in there. Okay?
11:25AM   25   authorized product. It's in a Rockwell box.            11:27AM   25               MR. KASOLAS: Okay, Judge.
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
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               Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz                  Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz
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           1               THE COURT: All right. Okay. So                        1   my mind, it did.
           2   those responses all need to be updated within a                   2           They made burden objections before
           3   week of today at close of business.                               3   May 2nd, and I'm not going to hold that those
           4          Let's turn to Defendant's request for                      4   are going to be waived. I'm not seeing them
11:27AM    5   certain remedies under Rule 37. Defendants ask         11:30AM    5   try to raise any new objections today. It's
           6   the Court to strike -- or excuse me. Sorry.                       6   the same old objections. I considered them. I
           7   Plaintiff's request for certain remedies under                    7   overruled them. I'm ordering them to answer
           8   Rule 37. Plaintiff has asked the Court to                         8   the interrogatories, so I don't really think it
           9   strike Defendants' affirmative defenses.                          9   gets us that far, so that request is going to
11:28AM   10               MR. MCLAUGHLIN: Your Honor, if I           11:30AM   10   be denied.
          11   could clarify just for a minute what we're                       11           I'm going to talk about the fees and
          12   asking for.                                                      12   expenses. So you've requested attorney's fees
          13               THE COURT: Yeah.                                     13   incurred in getting these interrogatories
          14               MR. MCLAUGHLIN: What we're asking                    14   answered from them. You said in your letter
11:28AM   15   for is two different categories of relief. One         11:31AM   15   the amount was $31,658 plus reasonable expenses
          16   is the relief that we think is justified today,                  16   for filing the letter that you put that figure
          17   and then the second category is the relief that                  17   in.
          18   we think is justified if they continue to                        18           My order of June 6th required Defendants
          19   withhold the information that we requested.                      19   to file a responsive letter showing cause why
11:28AM   20               THE COURT: Okay. I got you. Let's          11:31AM   20   the Court should not grant the requested
          21   talk about the relief that you want me to order                  21   relief. I didn't see any argument in
          22   today. That's the attorney's fees?                               22   Defendant's letter of June 13th addressing at
          23               MR. MCLAUGHLIN: Correct, and a                       23   all why the Court shouldn't grant the requested
          24   finding that the objections to the                               24   attorney's fees, and so in light of that, I'm
11:28AM   25   interrogatories have been waived.                      11:31AM   25   going to order, consistent with Rule 37, that
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
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               Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz                  Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz
                                                               22                                                                    24
           1               THE COURT: What do you mean by that?                  1   Defendants pay the $31,658 in expenses incurred
           2   Objections to the interrogatories have been                       2   in raising this dispute as well as whatever
           3   waived? What does that get to? I get that's                       3   expenses incurred in filing their June 8th
           4   what the rule says. I'm trying to understand                      4   letter and getting on the phone here today.
11:29AM    5   what that means to help you going forward.             11:32AM    5           And to be clear, this cost shifting is
           6   Maybe I need another coffee today. Just walk                      6   required by Rule 37. I gave Defendants a
           7   me through how you see this playing out.                          7   chance to say why I shouldn't order it. I
           8               MR. MCLAUGHLIN: Sure. And I think                     8   didn't hear an answer to it, and so it's going
           9   we heard a little bit of it today again, just                     9   to be ordered.
11:29AM   10   arguments about what the interrogatories are           11:32AM   10           And that's going to conclude today's
          11   asking for and how they're burdensome to                         11   hearing. Is there anything else we need to
          12   respond to, and there's other interrogatories                    12   address while we're on the phone from
          13   that we haven't talked about today that I can                    13   Plaintiff?
          14   foresee being an issue before the close of                       14               MR. MCLAUGHLIN: No, Your Honor.
11:29AM   15   discovery. The initial responses were served           11:32AM   15   Thank you.
          16   19 days after the Federal Rules deadline. We                     16               THE COURT: Anything else from
          17   don't want to have to keep coming back to Your                   17   Defendant?
          18   Honor and taking up Your Honor's time trying to                  18               MR. KASOLAS: Yes, Judge. With all
          19   get answers to our interrogatories based on                      19   respect, I did address the issue in our June 13
11:29AM   20   objections that continue to keep bubbling              11:33AM   20   letter regarding fees. We pointed out -- it's
          21   around. So that's what we're looking for, is                     21   in the final paragraph of the letter regarding
          22   just some clarity going forward in terms of                      22   the Bridgestone Sports factors and the
          23   what information Defendants have to provide.                     23   Pennypack factors. The only thing is they
          24               THE COURT: Yeah, well, hopefully                     24   didn't make any effort to establish any of
11:30AM   25   today provided a lot of clarity. At least in           11:33AM   25   those factors.
                                DEANNA WARNER, CSR                                                    DEANNA WARNER, CSR
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                                                5453   1            CERTIFICATE
           1               THE COURT: To determine whether to
           2   strike or exclude under Federal Rule of Civil
                                                                                      2   STATE OF DELAWARE    )
           3   Procedure 37, so they asked about striking or
                                                                                                        ) ss:
           4   excluding. I denied that. You won that                                 3   COUNTY OF NEW CASTLE   )
11:33AM    5   argument for now.
           6           Where did you talk about fees? Explain                        4         I, Deanna L. Warner, a Certified
           7   any Pennypack factors that -- the extreme                             5    Shorthand Reporter, do hereby certify that as
           8   sanction of striking or excluding evidence.                           6    such Certified Shorthand Reporter, I was
           9               MR. KASOLAS: We also argued leading                       7    present at and reported in Stenotype shorthand
                                                                                     8    the above and foregoing proceedings in Case
11:33AM   10   up to today that they didn't identify in their
                                                                                     9    Number 21-CV-1238-CLC-JLH, ROCKWELL AUTOMATION,
          11   response to our supplemental production what
                                                                                    10    INC. Vs. PARCORP s.r.l., heard on
          12   our alleged deficiencies were, so providing                          11    June 15, 2022.
          13   interrogatories on both rounds of discovery                          12         I further certify that a transcript of
          14   process.                                                             13    my shorthand notes was typed and that the
11:34AM   15           I don't know how they get the $31,000                        14    foregoing transcript, consisting of 27
          16   for -- basically, I guess they want us to pay                        15    typewritten pages, is a true copy of said
                                                                                    16    DISCOVERY CONFERENCE.
          17   for them doing the work they would have done
                                                                                    17         SIGNED, OFFICIALLY SEALED, and FILED
          18   anyway in doing discovery interrogatories and
                                                                                    18    with the Clerk of the District Court, NEW
          19   analyzing the answer and demanding that more                         19    CASTLE County, Delaware, this 16th day of June,
11:34AM   20   specific documents be produced, interrogatories                      20    2022.
          21   be produced. At a minimum, they should have to                       21
          22   provide some kind of certification of services                       22
          23   for the Court to back up this very, very                                              Deanna L. Warner, CSR, #1687
                                                                                    23               Speedbudget Enterprises, LLC
          24   extreme number.
                                                                                    24
11:34AM   25               THE COURT: Okay. Here's the thing,
                                                                                    25
                                  DEANNA WARNER, CSR                                                        DEANNA WARNER, CSR
                      202 Ashfield Court, Smyrna, Delaware 19977                                   202 Ashfield Court, Smyrna, DE 19977
               Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz                       Phone: (302) 893-1158 E-mail: deanna@speedbudget.biz
                                                                   26
           1   though. You had an extra page and a half to
           2   make those arguments in your letter. I
           3   specifically said in my order that you should
           4   explain why the Court should not grant the
11:34AM    5   requested relief, so you had plenty of space to
           6   do it. You didn't do that. At this point in
           7   time, we're not going to rehash that. That's
           8   the Court's order.
           9           Anything else from Defendant aside from
11:34AM   10   the fees issue?
          11               MR. KASOLAS: No, Your Honor. Thank
          12   you.
          13               THE COURT: All right. Thanks,
          14   everybody. Take care. We'll be adjourned.
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
                                  DEANNA WARNER, CSR
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        warehouse [1] - 6:6
        Warner [1] - 27:22
        warner [1] - 27:4
        website [1] - 5:25
        week [3] - 3:23, 9:24,
         21:3
        whole [1] - 7:25
        withhold [1] - 21:19
        won [1] - 25:4
        worried [1] - 9:21
        write [1] - 17:11

                   Y

        years [1] - 15:24
        YOUNG [1] - 1:21
        Young [1] - 2:19




                                         DEANNA WARNER, CSR
                                202 Ashfield Court, Smyrna DE 19977
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                            Exhibit 14
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                                                                          Page 1

   1                             - - -
   2              IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
   3
                                       - - -
   4
        ROCKWELL AUTOMATION, INC., :
   5                               : CIVIL ACTION
                 Plaintiff,        :
   6                               :
                 vs.               :
   7                               :
        PARACORP, S.R.L., d/b/a    :
   8    WI AUTOMATION,             :
                                   :
  9              Defendant.        : NO. 1:21-cv-GBW-JLH
 10                            - - -
 11                 THURSDAY, NOVEMBER 17, 2022
 12                            - - -
 13             DISCOVERY MOTIONS taken at 844 N. King
 14     Street, Courtroom 6C, Wilmington, Delaware,
 15     commencing at 3:30 p.m., before John P. Donnelly,
 16     Registered Diplomate Reporter, and Notary Public in
 17     and for the Commonwealth of Pennsylvania and the
 18     State of Delaware.
 19                 BEFORE: JENNIFER L. HALL, J.
 20                            - - -
 21
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 22                 Registered Professional Reporters
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 23                          Wilmington, DE 19801
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       1 APPEARANCES:
       2
                                                                 1               THE COURT: Good afternoon, everyone.
            HEYMAN ENERIO GATTUSO & HIRZEL, LLP                  2   We are here today for a discovery dispute conference
       3    BY: DOMINICK T GATTUSO, ESQUIRE
            300 Delaware Avenue
                                                                 3   which is Rockwell Automated versus Parcorp, Civil
       4    Suite 200                                            4   Action Number 21-1238-GBW-KLH. Appearances for the
            Wilmington, Delaware 19801
       5    302-472-7301                                         5   record starting with Delaware counsel.
            dgattuso@heghlaw com                                 6               MR. GATTUSO: Good afternoon, Your
       6    and
            PAUL J TANCK, ESQUIRE PRO HAC VICE                   7   Honor. Dominick Gattuso from Heyman Enerio Gattuso
       7    Representing the Plaintiff                           8   & Hirzel on behalf of Rockwell. With me is Paul
       8
            YOUNG CONAWAY STARGATT & TAYLOR                      9   Tanck from Alston & Bird.
       9    BY: PILAR GABRIELLE KRAMAN, ESQUIRE                 10               THE COURT: Good afternoon.
            1000 North King Street
      10    Wilmington, Delaware 19801                          11               MS. KRAMAN: Good afternoon, Your
            302-576-3586
                                                                12   Honor. Pilar Kraman from Young Conaway for
      11    pkraman@ycst com
            and                                                 13   defendant. With me is counsel is Bob Kasolas from
      12    BOB KASOLAS, ESQUIRE PRO HAC VICE
            Representing the Defendant
                                                                14   Brach Eichler, and Alexis Stombaugh and Maliheh
      13                                                        15   Zare.
      14
      15                                                        16               THE COURT: Good afternoon to all of
                     ---                                        17   you. So I've got all these letters. Let me ask you
      16
      17 ALSO PRESENT:                                          18   this first, where are we with settlement. Let me
      18                                                        19   hear from plaintiff.
            ALEXIS STOMBAUGH
      19                                                        20               MR. TANCK: Your Honor, Paul Tanck
            MALIHEH ZARE                                        21   with Alston & Bird. Settlement has stalled. We
      20
      21             ---                                        22   have tried but I don't think there is going to be
      22
                                                                23   any other productive movement. So we are going to
      23
      24                                                        24   have to proceed.
                                                       Page 3                                                      Page 5
       1              INDEX                                  1                 THE COURT: So you want them -- the
       2              ---                                    2       depositions you have already noticed?
       3                                                     3                 MR. TANCK: Correct, Your Honor.
       4              ---                                    4                 THE COURT: You want them to be done
       5              EXHIBITS                               5       within seven days, I guess --
       6              ---                                    6                 MR. TANCK: Not done within seven
       7 NUMBER            DESCRIPTION                 PAGE 7        days. Just they give us dates within seven days.
       8 No exhibits were marked for identification.         8       The hard thing has been getting them to respond and
       9                                                     9       give us dates. Get them seven days to give us dates
      10                                                    10       within the next, I believe, it's 30 days, or I
      11                                                    11       forget what is in the order. There is a certain
      12                                                    12       amount of time for which they have to happen.
      13                                                    13                 The goal here, Your Honor, is that we
      14                                                    14       don't want to move the dispositive deadline or the
      15                                                    15       trial deadline. There is a lot of play in the
      16                                                    16       expert deadline. So if we get these depositions
      17                                                    17       done, which I believe we can, in the next X number
      18                                                    18       of days, weeks, that will allow us to get expert
      19                                                    19       discovery done and, otherwise, keep the case on
      20                                                    20       track to go to trial the way it's been set.
      21                                                    21                 THE COURT: Further to what you are
      22                                                    22       saying -- there is nothing wrong with what you are
      23                                                    23       saying -- you don't want to move it. It's not going
      24                                                    24       to get moved. So it is what it is. So I will just

                                                                                                        2 (Pages 2 - 5)
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                               DISCOVERY MOTIONS
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       1   say that at the outset.                                    1   they want to come back at some later time with an
       2             Let me ask you this, they want to                2   appropriate motion, then we can address that then.
       3   take a deposition of -- I want make sure my notes          3              THE COURT: Okay. Is it fair to say
       4   are right. They want to take a deposition of               4   if I give you the depositions you want, that you are
       5   Mr. Miller. Is that right? And you are moving for          5   going to be open to letting them depose Mr. Smaglik,
       6   a protective order.                                        6   both in his individual capacity and as a 30(b)(6)
       7             MR. TANCK: Correct.                              7   witness.
       8             THE COURT: Why don't you tell me                 8              MR. TANCK: I mean, I understand how
       9   about that.                                                9   that would be equitable in the circumstances. I
      10             MR. TANCK: Defendants have sought               10   just want to point out that we have been pursuing
      11   three depositions in this case. Initially, they           11   depositions since July, and trying to get it done.
      12   were seeking a gentleman named Ryan Smaglik, who is       12   And we gave our witnesses to them and they chose not
      13   located in London. He is in charge of our                 13   to take them in not the same way, the other way.
      14   investigations of trademarket goods. He is a              14              So while I understand they want these
      15   non-attorney witness that has all of the information      15   depositions, we gave Mr. Smaglik to them and they
      16   about the investigations and things like that.            16   didn't take it. We had to prepare him. We have
      17             They also sought a 30(b)(6)                     17   made travel arrangements from London, all these
      18   deposition on Rockwell on all topics they want            18   things. And it's prejudicial to have him do it
      19   topics on. They also then sought to have Mr. Miller       19   again. But I understand, Your Honor, if that's what
      20   deposed, who is the in-house counsel at Rockwell who      20   Your Honor wants to do, obviously, to move this case
      21   is in charge of this litigation. He is trial              21   forward to get it done, we will get it done.
      22   counsel for us.                                           22              THE COURT: Is there a dispute as to
      23             And so what we had offered initially            23   what exactly happened and who said? I realize what
      24   was that we would provide Mr. Smaglik, and the            24   it eventually devolved into was you are not going to
                                                            Page 7                                                          Page 9
       1   30(b)(6) witness, to answer everything and                 1   depose my guys. It eventually ended up that way.
       2   everything they want in this case. They were not           2   But how do you get there? Is there a dispute about
       3   satisfied -- we gave them dates. We gave them -- we        3   how it got there? Is that undisputed?
       4   were all set to do it. And they decided to withdraw        4             MR. TANCK: I think there is a little
       5   those depositions at the last minute even though we        5   bit of a he-said-she-said issue there.
       6   were prepared and ready to go.                             6   Unfortunately, I don't want to get into finger
       7              So the Miller deposition,                       7   pointing and name calling. But it's fair to say
       8   essentially, is our position is he's counsel. It's         8   that we completely disagree on what was the
       9   going to be fraught with issues involving privilege.       9   arrangement at the end of discovery on whether we
      10   And they haven't, otherwise, shown why there is any       10   should be going forward with those depositions or
      11   unique knowledge that Mr. Miller has that they can't      11   not.
      12   get from another witness. We are in the unique            12             And our position was that we agreed
      13   position now where because they didn't take any           13   that any noticed depositions at the end of discovery
      14   other depositions of anyone else, they can't get it       14   that hadn't been taken, can be taken after time.
      15   from anyone else because they didn't take it from         15   And we knew that they had withdrawn those. So we
      16   anyone else, not that they couldn't have gotten it        16   felt they had foregone their opportunity. They
      17   from anyone else.                                         17   believed that they didn't do that. And at this
      18              So we believe this is just harassing           18   point in time, it's not worth getting into a
      19   and it shouldn't go forward. And if they ever were        19   he-said-she-said.
      20   able to identify something unique that he had, well,      20             THE COURT: Agreed. Thank you very
      21   then we can talk about it then. But I don't believe       21   much. Let's hear from the other side.
      22   they can, and nor have they shown that yet.               22             MR. KASOLAS: Good afternoon, Your
      23              So we think it's appropriate to have           23   Honor. It's a pleasure to be before the District of
      24   him protected at this point in time. And, sure, if        24   Delaware.

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       1             THE COURT: I recognize your voice.            1   the one that's interacted with me, interfaced with
       2   It's good to see you in person.                         2   me since day one of all these matters.
       3             MR. KASOLAS: Same here, Judge.                3              And then I come and they say the
       4   First things first, I have never dealt with             4   settlement is stalled. Why is it stalled? My
       5   Mr. Tanck in this case. I have only dealt with          5   position, we've done all this work. We have one
       6   Mr. Neal McLaughlin, whether it's settlement or         6   basically significant issue outstanding. If it gets
       7   discovery, or working things out. He is not here        7   resolved, we will be done. That is what I have to
       8   today. I find that a little bit disappointing to        8   say about that.
       9   say the least.                                          9              My position is laid out in the
      10             With respect to status of the                10   letter.
      11   settlement discussions, I don't know why Mr. Tanck     11              THE COURT: If I let them -- first of
      12   says they stalled. I e-mailed Mr. McLaughlin this      12   all, yes, the letter says you are willing to let
      13   morning, and I spoke with him last week. We are        13   them depose your guys. Does that still remain the
      14   down to a single issue. He seems to always have a      14   case?
      15   different interpretation of who is supposed to get     15              MR. KASOLAS: I have dates.
      16   back to who.                                           16              THE COURT: What are the dates?
      17             But I think the idea to say that the         17              MR. KASOLAS: I have to look through
      18   discussions have stalled is not an accurate one.       18   my phone.
      19   Again, I don't deal with Mr. Tanck. I deal with        19              THE COURT: Fine, pull your phone
      20   Mr. McLaughlin, who is not here today.                 20   out. I would rather get this hashed out while
      21             I'm happy to talk about any topic            21   everyone is here in Delaware. Well, my hope is that
      22   regarding today, any sequence --                       22   it would be more productive. That is how we would
      23             THE COURT: Are there drafts getting          23   go moving forward.
      24   exchanged back and forth or is somebody all done?      24              MR. KASOLAS: I apologize for the
                                                        Page 11                                                      Page 13
       1              MR. KASOLAS: Many drafts have gone           1   delay.
       2   back and forth.                                         2             THE COURT: Take your time.
       3              THE COURT: Is somebody waiting on            3             MR. KASOLAS: So I can produce Luca
       4   one right now or has somebody told somebody --          4   Coppola on December 15, if that works for the other
       5              MR. KASOLAS: As far as I'm                   5   side, or December 20.
       6   concerned, I am waiting on a draft from his partner.    6             For Firio -- I can't profound his
       7   His partner e-mailed me this morning saying I           7   last name, I apologize -- another principal of the
       8   thought I was waiting for you to get back to us,        8   company. He can be deposed January 13. And the
       9   which is not accurate. But it is what it is. So to      9   third principal, Fulvio Coppola, can be deposed
      10   come in here and say the discussions have stalled is   10   January 20. And I understand the last
      11   just not accurate because I had a phone call with      11   correspondence from my client, they sounded like if
      12   Mr. McLaughlin last week.                              12   those exact dates don't work, they can play with the
      13              I have brought my notes with the            13   Thursday or the Friday. If it is on a Thursday,
      14   call. I e-mailed him about the call this morning.      14   they can do Friday. If it is on a Friday, they can
      15   I said to him, get back to me on my latest draft. I    15   do the Thursday.
      16   circulated the latest draft. To be candid with you,    16             THE COURT: Fulvio is also going to
      17   we are down to basically one significant issue.        17   be a 30(b)(6). Right?
      18              THE COURT: Don't tell me what it is.        18             MR. KASOLAS: Correct.
      19              MR. KASOLAS: But this kind of               19             THE COURT: Is that going to be on
      20   exemplifies why we are here today is there seems to    20   January 20 as well, does the other side need more
      21   be some kind of a disconnect communication-wise        21   than one day for that?
      22   between my side and what transpires on the Rockwell    22             MR. TANCK: So Your Honor, we
      23   side, whether it's with the firm, with the client.     23   understand that some of the witnesses are going to
      24   But to me, Mr. McLaughlin is not here today. He is     24   require translators or they are going to request

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       1   translators, and we already have in our discovery         1   position is they never moved for protective order of
       2   orders that they will carry over to the next day.         2   this Court, never briefed the issue in their letter.
       3   So we are going to need two days for each one. And        3   So our position is they waived that particular
       4   so for the 30(b)(6), I imagine we can do it all in        4   topic. On the first round of the September motions
       5   those two days.                                           5   in the letter submitted to Your Honor, they moved
       6              THE COURT: For the record, I gave a            6   for protective order. And they briefed the issue.
       7   thumbs up. So what about Luigi Scotto diCarlo, and        7   I didn't move to compel Mr. Miller's deposition.
       8   Pasquale Danilo Schiano DiCola?                           8              The second time around, they rely on
       9              MR. KASOLAS: The one witness is no             9   their September submissions to the Court, but they
      10   longer with the company, diCarlo. This was made          10   change their position so now we have to move to
      11   clear to them. So I can't produce someone who is         11   compel. It's not how it works. If he doesn't want
      12   not affiliated with the company anymore, doesn't         12   to produce Mr. Miller procedurally, it was their
      13   work with the company anymore. The other two             13   obligation make a motion for a protective order.
      14   witnesses I explained to Mr. McLaughlin --               14   And they failed to do it. That is number one.
      15              THE COURT: Wait, I thought it was             15              Number two, the proposition that
      16   Emmanuele Scotto diCarlo that is no longer with the      16   Mr. Miller is only an in-house counsel is simply not
      17   company.                                                 17   accurate. It is publicly available knowledge on the
      18              MR. KASOLAS: Yes.                             18   record that Mr. Miller is the president, the
      19              THE COURT: What about Luigi Scotto            19   president of Rockwell Automated Technologies, LLC,
      20   diCarlo?                                                 20   which is subsidiary owned by Rockwell company in
      21              MR. KASOLAS: He can be made                   21   this matter.
      22   available. I don't have exact dates for him. I           22              Why is that important? The entire
      23   spoke with Mr. McLaughlin. He said if we removed         23   subject matter of this litigation is exactly that,
      24   him from our witness list or our individuals that        24   Rockwell Automated Technologies. The modules, the
                                                          Page 15                                                         Page 17
       1   have knowledge of the facts of the case, they would       1   components, the parts that my client sells into the
       2   forego those depositions.                                 2   stream of commerce that they contend somehow are not
       3             THE COURT: Okay.                                3   genuine, new Rockwell parts. That somehow don't
       4             MR. KASOLAS: I can get him those                4   come along with the bells and whistles allegedly.
       5   days in the next two to three days. If                    5             So here you have an individual who is
       6   Mr. McLaughlin, who is not here today, is still           6   the president of the component of Rockwell that is
       7   going to stand by that representation to me, there        7   in charge of Rockwell Automated Technologies, the
       8   is no need for us to be concerned with those              8   identical subject matter of this case. And they
       9   particular employees.                                     9   come in to the Court and say he has no personal
      10             THE COURT: We are doing these over             10   knowledge about the facts of this case because he is
      11   Zoom. Right?                                             11   a lawyer for the company in this case. I find it
      12             MR. KASOLAS: Yes.                              12   very difficult to believe.
      13             THE COURT: So there is no time                 13             And he also helped to prepare their
      14   between November 17 and January 20 for Mr. Coppola       14   answers to interrogatories. In the first answer to
      15   to get deposed?                                          15   interrogatories that we propounded on them, we asked
      16             MR. KASOLAS: Those are the dates I             16   them delineate who assisted in the preparation of
      17   have that are concrete right now, Judge. I can get       17   these interrogatories, which asked for fact
      18   different dates if Your Honor directs me to.             18   information. They put down Mr. Smaglik and
      19             THE COURT: Yeah. All right. Okay.              19   Mr. Miller.
      20   So those are the dates. What do you want to tell me      20             Mr. Miller has definitely been
      21   about Mr. Miller? What makes you think he's got          21   involved in the investigation and assembly of the
      22   non-privileged information that is relevant to this      22   allegations against my client for this particular
      23   case?                                                    23   matter. He's also been involved in communications.
      24             MR. KASOLAS: First of all, my                  24   So I don't know how you come in here and say the man

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       1   who is the president of a division of Rockwell, in       1   nothing to do with the technologies of Rockwell and
       2   charge of Rockwell Automated Technologies, LLC, when     2   the product, and things like that.
       3   the subject matter in this case is exactly Rockwell      3              So that is probably why there was no
       4   Automated Technology products, how can he not have       4   information about that in the letter because he
       5   factual information?                                     5   doesn't know what it actually does.
       6              With respect to privilege, I'm not            6              With regards to the deposition
       7   going ask privileged information. And to the extent      7   dates -- unless you want to hear more about
       8   I did, counsel is very capable of saying "objection,     8   Mr. Miller.
       9   privileged. Do not answer." That's simple. We            9              THE COURT: No.
      10   cite a couple of cases from the District of Delaware    10              MR. TANCK: On the deposition dates,
      11   in our letter that state Courts here all the time       11   we -- Luigi diCarlo and for Pasquale, we do want
      12   say to the extent that somehow you get into some        12   dates for them. They were identified as witnesses
      13   area of privilege, counsel is very capable, on both     13   having relevant information. And they identified
      14   sides, of navigating that issue.                        14   all the relevant information that they had in, both
      15              So why do I have to take their word          15   in their initial disclosures and their Delaware
      16   for it that Mr. Miller doesn't know anything. He is     16   disclosures. And we want their depositions.
      17   not just in-house counsel. He is an officer of the      17              And with regards to the dates, again,
      18   division of his company in charge of the identical      18   we will be accommodating on the dates as best we
      19   subject matter in controversy here. He must have        19   can. But some of these we would like, especially
      20   personal knowledge of facts in this case.               20   the 30(b)(6), prior to the 20th because we want to
      21              THE COURT: I didn't take all that            21   get the expert depositions -- I'm sorry, the expert
      22   from your letter. I know we have page limits. You       22   reports done. And to the extent they need
      23   have some extra --                                      23   information from the defendants, having them happen
      24              MR. KASOLAS: We do highlight that            24   afterwards we are just going to have to supplement,
                                                         Page 19                                                      Page 21
       1   Mr. Miller, in our letter, is the president of           1   which might be difficult.
       2   Rockwell --                                              2             That being said, whatever dates we do
       3              THE COURT: A sub. That's all I                3   decide on or the Court orders, we would like that
       4   heard was he was president of a sub. I had no idea       4   they not be rescinded. Once they get set, they
       5   how that sub relates to the case at all.                 5   can't be rescinded, if that's possible.
       6              MR. KASOLAS: I understand. The                6             The last issue I will just point out,
       7   other issue is at some point I would expect Rockwell     7   you know, the accusations that my partner,
       8   in this case to come up with an expert report, which     8   Mr. McLaughlin, is not here is something nefarious
       9   I probably am going to move to strike as an opinion      9   or he doesn't want to be here. He is on a plane
      10   saying based on my discussions with Mr. Miller and      10   taking a deposition in another case. I have been
      11   Mr. Smaglik, here is my expert opinion. Well, if        11   working with him side-by-side, not only on this case
      12   they are going to rely on Mr. Miller to assist the      12   but for the last, I guess, seven, or eight years on
      13   expert in preparing an expert report, I absolutely      13   everything we do together. So I know exactly what
      14   have the right to take Mr. Miller's deposition in       14   is going on in this case.
      15   this case.                                              15             And I can tell you with regards to
      16              THE COURT: That is putting himself           16   the settlement, that there have been drafts that
      17   in issue, but they haven't done that yet. Have a        17   have gone back and forth. And it's, again, another
      18   seat, we will hear from other side about Mr. Miller.    18   issue of one side is clearly not agreeing with the
      19              MR. TANCK: So Your Honor, I will             19   other side on what the status of this settlement
      20   start with Mr. Miller first. Just to point out, the     20   negotiation is. And, frankly, we have been waiting
      21   Rockwell Automated Technologies sub that he is the      21   for them to abide by what they agreed to and they
      22   president of has nothing to go do with what counsel     22   are not.
      23   represented is what it does. It is a licensing          23             I don't want to get into finger
      24   entity. It is simply a licensing entity and has         24   pointing. It's safe to say that we are not settling

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       1   this case because it is -- we are very far apart.       1   out because this needs to be over.
       2   And it is not being done in any other way to say        2               Quite frankly, I am a little bit at a
       3   that counsel for both sides have had plenty of time     3   loss about when these can get done by, especially
       4   to get a deal done, if a deal was going to get done     4   since one side's witnesses are overseas. That said,
       5   and it is not getting done. And, unfortunately, we      5   I just -- it's really hard for me to believe that we
       6   have to continue litigating this case until that        6   can't find a date do a Zoom deposition closer than
       7   may -- a future opportunity may come around.            7   the next two months. So I am frustrated by that.
       8              But there is no nefarious reason why         8               So why don't we take a brief recess
       9   Mr. McLaughlin is not here. I know exactly what is      9   on this issue and you talk to each other and come up
      10   going on in this case from day one. We --              10   with what you think is a reasonable schedule to get
      11              THE COURT: Let me ask you this, and         11   the depositions done by and the expert reports and
      12   I apologize if I already asked you this, but it's      12   depositions done by. And then we will come back and
      13   been a long day. Is Mr. Smaglik available              13   order it because I don't know what else to do at
      14   reasonably --                                          14   this point.
      15              MR. TANCK: We will get him -- I             15               I don't feel like we can move forward
      16   mean, I don't know the dates specifically he is        16   without having a date on those. Or another
      17   available. I will --                                   17   possibility is we can reconvene for a brief
      18              THE COURT: Are we talking like a            18   teleconference Wednesday, once you have all had a
      19   month from now, or two months from now, or a week      19   chance to talk to your clients and witnesses about
      20   from now?                                              20   when can get these done. Any ideas?
      21              MR. TANCK: I would -- since he is           21               MR. TANCK: Your Honor, I am fairly
      22   our 30(b)(6) witness, if that's what they are going    22   certain that I can get things on our end done on any
      23   to be getting, I need to prepare him on all the        23   deadline you set. Because, like you said, things
      24   topics again. I would need some time to do that.       24   need to get done. And if we just keep pushing it
                                                        Page 23                                                         Page 25
       1   And it is Thanksgiving next week. So I would say        1   out, it's never going to get done.
       2   probably -- certainly in December we will have him      2              We had set forth, in our proposed
       3   available. It's not a problem.                          3   order, again, keeping the dispositive deadline where
       4             THE COURT: Okay. Have a seat. Let             4   it is, and the trial deadlines where it is, moving
       5   me tell you-all what I'm thinking here. I was going     5   the opening expert report to January 6.
       6   to tell you-all that it's all got to get done by        6              So what I would say is that the party
       7   December 14, and then you need to work with each        7   needs to complete all depositions prior to the new
       8   other to get the expert reports and depositions         8   year. And so we can work separately. And I heard
       9   completed so that you can meet your current deadline    9   some dates today from counsel that we can lock them
      10   of March 17 for Daubert and case dispositive           10   in on, if that's fine. I'm happy to do all the
      11   motions.                                               11   dates that they said, so long as they are before
      12             I'm going to modify that a little            12   January 1. And, frankly, there may be one or two
      13   bit. The March 17 deadline for the dispositive         13   that we can probably take after, but --
      14   motions and Daubert motions, that is going to stand.   14              THE COURT: You can do your expert
      15   That's not going to get changed.                       15   reports without them.
      16             Delaware counsel can tell you about          16              MR. TANCK: Yes, but I want the
      17   the reasons for that. In short, we need the time       17   30(b)(6) prior to January 1. But if Luigi can only
      18   open between that and the trial date. And the trial    18   do it because he is traveling for the holidays, I
      19   date is not going to get moved. So that is what we     19   can do him maybe in January. But I would like Your
      20   are doing there.                                       20   Honor, if you look at again, this is document 111-2
      21             So the reason why I was going to give        21   in our proposed order. That is a very -- we were
      22   you a date certain to get the depositions done is      22   thoughtful about putting that expert schedule
      23   because I felt like if I didn't, this was going to     23   together. That gives us plenty of time to get the
      24   get drawn out. And I don't want this to get drawn      24   experts done, deposed, prior to the deadline that

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       1   the Court is holding fast to.                           1   obtaining a deposition of opposing counsel, subject
       2             And I would just say that the                 2   to the rules that govern all of discovery.
       3   depositions have to be completed prior to that          3              I'm not persuaded in this case that
       4   January 6 date. And so I would say January 1, and       4   Mr. Miller's conduct is the subject of a claim or
       5   so by the end of the year. We will just get it          5   defense. I am persuaded that the subject matter of
       6   done.                                                   6   the deposition is likely to be intertwined with
       7             THE COURT: By the end of the year.            7   privileged information. I don't understand the
       8   All right. Comments from the other side on setting      8   plaintiff to be seeking to ingest Mr. Miller's
       9   a deadline by the end of the year for this. This is     9   advice or knowledge into the litigation. Of course,
      10   more involved than I want to be, by the way. But       10   that may turn out to be the case. And when it does,
      11   this is where we are.                                  11   we will revisit this issue.
      12             MR. KASOLAS: Understood. The                 12              But his role right now is not central
      13   problem I have now is my clients are seven hours       13   of the events at issue, nor is his knowledge
      14   ahead, 11:00 p m. I don't know if local counsel is     14   regarding the events at issue relevant to a claim of
      15   up. I don't know if the clients are up. I cannot       15   defense.
      16   communicate with them today, unfortunately. I can      16              So applying the rules and standards
      17   talk with counsel in the hallway based on what I       17   set forth in Federal Rule of Civil Procedure 26, I
      18   know and try to work it out with him. I do think       18   find that plaintiff has a strong interest in
      19   January 6 is a little bit overambitious. The last      19   avoiding the deposition of its chief IP counsel.
      20   two weeks of the year with Christmas and New Year.     20              Defendant hasn't identified any
      21   Next week is Thanksgiving. That is three weeks that    21   specific non-privileged information that can't be
      22   are not part of the process.                           22   obtained from another source. So either applying
      23             THE COURT: I get that.                       23   the Shelton standards, which one of the parties
      24             MR. KASOLAS: Happy to do that by the         24   cited in their brief, or the Rule 26 standards, the
                                                       Page 27                                                        Page 29
       1   end of January, that's easy.                            1   proposed deposition is not proportional to the needs
       2              THE COURT: That is not what we are           2   of the case.
       3   going to do. I think it is pretty generous of the       3              So I am going to grant the protective
       4   other side to say they will take a deposition, for      4   order without prejudice to this issue getting
       5   example, on December 31st. And then to be prepared      5   revisited later if it becomes an issue. But I
       6   to serve their expert reports on which they have the    6   honestly hope that it doesn't. Is there anything
       7   burden of proof. So it's basically going to be the      7   else we need to address today?
       8   end of the year unless you talk to your clients and     8              MR. TANCK: Nothing else from
       9   have a really good reason about why those can't get     9   plaintiff.
      10   done. Talk to them. Today's Thursday, tomorrow is      10              THE COURT: Thank you.
      11   Friday. File something on Monday if you guys can't     11              MR. KASOLAS: Very briefly. I
      12   get this worked out.                                   12   appreciate Your Honor's decision on the Mr. Miller
      13              MR. KASOLAS: That's for everyone's          13   deposition. But if it comes out that the expert
      14   deposition, both sides?                                14   does rely on information from Mr. Miller, it is
      15              THE COURT: That's right, absolutely.        15   going to create a serious problem for scheduling.
      16              MR. KASOLAS: That includes                  16              THE COURT: I understand that. It is
      17   Mr. Miller, as well, Your Honor?                       17   not going to happen. That would really be a bone
      18              THE COURT: No, it doesn't. Have a           18   headed move to put your advice of counsel at issue
      19   seat. I will talk to you about that.                   19   into the litigation in an expert report. We have
      20              Here is what I will say about               20   experienced counsel here, but we will deal with it.
      21   Mr. Miller. So plaintiff's motion for a protective     21              MR. KASOLAS: Thank you, Judge.
      22   order, I find it is not waived. I think it was         22              THE COURT: Okay. Thank you very
      23   reasonably raised. I have considered it. Of            23   much.
      24   course, there is no general prohibition against        24              (Whereupon, the hearing concluded at

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